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                       UNITED STATES DISTRICT COURT
                  FOR THE SOUTHERN DISTRICT OF TEXAS
                               VICTORIA DIVISION
__________________________________________
                                           )
STATE OF TEXAS, et al.                     )
                                           )
                        Plaintiffs         )
      v.                                   )   No. 6:23-cv-00007
                                           )
DEPARTMENT OF HOMELAND                     )
SECURTY., et al.                           )
                                           )
                        Defendants.        )
__________________________________________)


              CERTIFICATION OF ADMINISTRATIVE RECORD FOR
          THE IMPLEMENTATION OF A PAROLE PROCESS FOR CUBANS

       My name is Juliana Blackwell. I am employed with the U.S. Department of Homeland

Security, as the Deputy Executive Secretary. I am responsible for the oversight and management

of the Office of the Executive Secretary, which oversees the management of written

communication intended for, and originated by, the Secretary and Deputy Secretary of Homeland

Security and maintains official Department records. I have held this position since August 2019.

       I am the custodian of the Department of Homeland Security’s Implementation of a Parole

Process for Cubans, 88 Fed. Reg. 1,266 (Jan. 9, 2023), and of a copy of the administrative record

for the decision for DHS. I certify that, to the best of my knowledge, information, and belief, the

attached index contains the non-privileged documents considered by DHS, and that these

documents constitute the administrative record the agency considered.
                                                                          Digitally signed by
                                                         JULIANA J        JULIANA J BLACKWELL

                                                         BLACKWELL Date:        2023.03.17 21:51:56
                                                   ______________________________________
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                                                                               Juliana Blackwell
                                      Executed this 17th day of March, 2023 in Washington, D.C.
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      world/world/americas/cuba/article266767916.html
95.   Torres, Raquel, Migrant Aid Groups Stretched Thin as City Officials Seek Federal Help for Expected Wave, San Cuba AR_001708
      Antonio Report (Apr. 27, 2022) https://sanantonioreport.org/migrant-aid-groups-stretched-thin-city-officials-
      seek-federal-help
96.   United Nations High Comm’r for Refugees, Fact Sheet, Americas August 2022 (Aug. 22, 2022),                     Cuba AR_001712
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97.   Venancio, Mariakarla Nodarse, U.S.-Cuba Relations: The Old, the New and What Should Come Next, WOLA            Cuba AR_001719
      (Dec. 16, 2022), https://www.wola.org/analysis/us-cuba-relations-old-new-should-come-next/
98.   Vicent, Maurico, The Cuban Migration Crisis: Biggest Exodus in History Holds Key to Havana-Washington          Cuba AR_001725
      Relations, El País (Dec. 15, 2022), https://english.elpais.com/international/2022-12-15/the-cuban-migration-
      crisis-biggest-exodus-in-history-holds-key-to-havana-washington-relations.html
99.    Voice of America, US Policy Prompts Some Venezuelan Migrants to Change Route (Oct. 14, 2022),                 Cuba AR_001733
      https://www.voanews.com/a/us-policy-prompts-some-venezuelan-migrants-to-change-route



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100. Whelan, Robbie, Violence Plagues Migrants Under U.S. ‘Remain in Mexico’ Program: Migrants Seeking Shelter Cuba AR_001736
     in the U.S. Under Trump Administration Policy Report Rising Numbers of Kidnappings by Criminal Groups,
     Wall Street Journal (Dec. 28, 2019), https://www.wsj.com/articles/violence-plagues-migrants-under-u-s-remain-
     in-mexico-program-11577529000.




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                                                              Cuba AR_000001
                                                              Case 6:23-cv-00007 Document 92-1 Filed on 03/24/23 in TXSD Page 12 of 102
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                                                  and file the Form I–131 in effect at the                request to apply for the program. USCIS               average of 13,000–15,000 Form I–131
                                                  time of filing—and follow any                           will reject a request for parole under the            filings per year. The current OMB-
                                                  additional instructions included in the                 CFRP Program submitted without the                    approved estimate of the number of
                                                  program eligibility notice they receive                 required form and fee(s) or a request for             annual respondents filing a Form I–131
                                                  from either USCIS or the NVC in                         a fee waiver.                                         is 940,671. USCIS has overestimated the
                                                  submitting their application. A                            USCIS officers or Department of State              number of individuals who will use this
                                                  completed Form I–131 and fee or fee                     consular officers will interview                      form to apply for immigration benefits
                                                  waiver request must be filed for each                   qualified beneficiaries in Havana to                  to the degree that additional
                                                  individual on whose behalf parole is                    verify their eligibility for the program.             respondents who will use it to file for
                                                  being requested.                                        Beneficiaries may also have their                     the CFRP Program will be covered
                                                                                                          biometrics collected. If USCIS exercises              within the 940,671 estimated. USCIS is
                                                  III. Participation in the CFRP Program                  its discretion to authorize parole under              not changing the collection instrument
                                                  and Application Process                                 the CFRP Program, USCIS or the                        or increasing its burden estimates in
                                                     USCIS offers participation in the                    Department of State will issue the                    connection with this notice. Therefore,
                                                  CFRP Program to Cuban nationals who                     necessary travel documents to the                     USCIS is not publishing a notice under
                                                  reside in Cuba and who are the                          beneficiary in Cuba. These travel                     the PRA or making revisions to the
                                                  beneficiaries—including any eligible                    documents will enable the beneficiary                 currently approved burden for OMB
                                                  spouse and child accompanying or                        to travel safely to the United States and             control number 1615–0013.
                                                  following-to-join the principal                         seek parole by U.S. Customs and Border                   Additional information about the
                                                  beneficiaries (see INA sec. 203(d), 8                   Protection (CBP) at a U.S. port-of-entry              CFRP Program and the application
                                                  U.S.C. 1153(d))—of an approved Form                     to join his or her family member. A                   process will be posted on the USCIS
                                                  I–130, Petition for Alien Relative, but                 beneficiary who is paroled into the                   Web site at www.uscis.gov.
                                                  for whom an immigrant visa is not                       United States would then be eligible to                 Dated: December 11, 2014.
                                                  immediately available. Participation in                 apply to adjust status to that of lawful              León Rodrı́guez
                                                  the CFRP Program is voluntary.                          permanent resident after he or she has
                                                     Prior to the date of this notice, the                                                                      Director, U.S. Citizenship and Immigration
                                                                                                          been physically present in the United                 Services.
                                                  NVC mailed written notice to eligible                   States for one year as provided by the
                                                  U.S.-based U.S.C. and LPR petitioners                                                                         [FR Doc. 2014–29486 Filed 12–17–14; 8:45 am]
                                                                                                          Cuban Adjustment Act, Pub. L. 89–732,
                                                  with approved Forms I–130 indicating                                                                          BILLING CODE 9111–97–P
                                                                                                          80 Stat. 1161 (8 U.S.C. 1255 note), or
                                                  their beneficiaries’ eligibility to                     once the beneficiary’s visa becomes
                                                  participate in the CFRP Program. The                    available, whichever comes first.
                                                  notice invited an interested petitioner to                                                                    DEPARTMENT OF HOMELAND
                                                                                                             Participation in the CFRP Program is
                                                  submit to the NVC a copy of their                                                                             SECURITY
                                                                                                          not available to aliens who qualify as
                                                  approved Form I–130 and other                           ‘‘immediate relatives’’ under section                 U.S. Citizenship and Immigration
                                                  supporting documents to opt in to the                   201(b)(2)(A)(i) of the INA, 8 U.S.C.                  Services
                                                  CFRP Program and begin the process of                   1151(b)(2)(A)(i). Such aliens may seek
                                                  requesting parole. No formal application                immigrant visas for travel to the United              [CIS No. 2548–14; DHS Docket No. USCIS–
                                                  form or fee was required to apply. As of                States immediately upon the approval of               2014–0013]
                                                  the date of this notice, the NVC will no                the immigrant visa petitions filed on                 Implementation of Haitian Family
                                                  longer issue CFRP Program eligibility                   their behalf.                                         Reunification Parole Program
                                                  notices that do not require a form and                     For eligible beneficiaries who are not
                                                  fee to apply. Petitioners with CFRP                     ‘‘immediate relatives,’’ if an immigrant              AGENCY: U.S. Citizenship and
                                                  Program eligibility notices dated prior to              visa becomes available while the Form                 Immigration Services, DHS.
                                                  December 18, 2014 must submit to the                    I–131 is pending, the beneficiary will be             ACTION: Notice.
                                                  NVC the complete required                               able to proceed with the parole process
                                                  documentation to opt in to the CFRP                     to completion, if desired. Alternatively,             SUMMARY: This notice announces the
                                                  Program prior to February 17, 2015 in                   the beneficiary can choose to pursue                  implementation of U.S. Citizenship and
                                                  order to be grandfathered and                           immigrant visa processing, which will                 Immigration Services’ (USCIS) Haitian
                                                  considered for processing without a                     require payment of associated fees but                Family Reunification Parole (HFRP)
                                                  form and fee.                                           will enable the individual to apply for               Program. Under this program, USCIS
                                                     On or after February 17, 2015,                       admission to the United States as an                  offers certain Haitian beneficiaries of
                                                  participation in the CFRP Program will                  immigrant, if found eligible by the                   family-based immigrant petitions
                                                  be predicated on submission of a Form                   Department of State for the visa and                  approved on or before December 18,
                                                  I–131 and the requisite fee(s) or request               admissible by CBP at the port of entry.               2014 an opportunity to receive a
                                                  for fee waiver that has been approved by                                                                      discretionary grant of parole to enter the
                                                  USCIS. A U.S.C. or LPR petitioner in the                IV. Paperwork Reduction Act (PRA)                     United States up to approximately two
                                                  United States with an approved Form I–                     Under the PRA, 44 U.S.C. chapter 35,               years before their immigrant visas
                                                  130 that was filed on behalf of a                       all Departments are required to submit                become available, rather than remain in
                                                  beneficiary relative residing in Cuba, for              to the Office of Management and Budget                Haiti awaiting availability of their
                                                  whom a visa is not anticipated to be                    (OMB) for review and approval, any                    immigrant visas. The program is
                                                  available during the CFRP processing                    new reporting requirements they                       intended to expedite family
                                                                                                                                                                reunification through safe, legal, and
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                                                  time, will receive a written invitation                 impose. The Application for Travel
                                                  from the NVC regarding the                              Document, Form I–131, has been                        orderly channels of migration to the
                                                  beneficiary’s eligibility to participate in             approved by OMB and assigned OMB                      United States, increase existing avenues
                                                  the CFRP Program and the procedures                     control number 1615–0013. USCIS is                    for legal migration from Haiti, and help
                                                  for requesting parole, if desired. The                  making no changes to the Form in                      Haiti continue to recover from the
                                                  notice will instruct the recipient on how               connection with the CFRP Program and                  devastation and damage suffered in the
                                                  to file a completed Form I–131 and                      this notice; however, USCIS estimates                 January 12, 2010 earthquake.
                                                  submit the required fee(s) or fee waiver                that this notice will result in an annual             DATES:


                                                                                                                                                                                  Cuba AR_000002
                                             VerDate Sep<11>2014   19:23 Dec 17, 2014   Jkt 235001   PO 00000   Frm 00051   Fmt 4703   Sfmt 4703   E:\FR\FM\18DEN1.SGM   18DEN1
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                                                     • The HFRP Program will only be                      Furthermore, it supports U.S. goals for               for whom a visa is not available but
                                                  available to Haitian beneficiaries of                   Haiti’s long-term reconstruction and                  expected to become available within
                                                  family-based immigrant petitions                        development. Once paroled into the                    approximately 18 to 30 months, will
                                                  approved on or before December 18,                      United States, HFRP Program                           receive a written notice from the NVC
                                                  2014.                                                   beneficiaries will be eligible to apply for           regarding the beneficiary’s eligibility to
                                                     • On or after February 2, 2015, the                  employment authorization, and those                   participate in the HFRP Program and the
                                                  Department of State’s National Visa                     who are able to work may contribute to                procedures for requesting parole, if
                                                  Center (NVC) will begin sending to                      Haiti’s post-earthquake reconstruction                desired. The notice will instruct the
                                                  eligible petitioners written invitations to             and development through remittances.                  recipient on how to file a completed
                                                  apply to the HFRP Program.                              Whether to parole a particular alien                  Form I–131, Application for Travel
                                                  FOR FURTHER INFORMATION CONTACT:                        remains, however, a case-by-case,                     Document, and submit the required
                                                  Maura Nicholson, Deputy Chief,                          discretionary determination.                          fee(s) or fee waiver request to apply for
                                                  International Operations Division, U.S.                                                                       parole under the HFRP Program on
                                                                                                          II. Participation in the HFRP Program
                                                  Citizenship and Immigration Services,                                                                         behalf of each beneficiary. USCIS will
                                                                                                          and Application Process
                                                  Department of Homeland Security, 20                                                                           reject a request for parole under the
                                                  Massachusetts Avenue NW., Suite 3300,                      USCIS offers participation in the                  HFRP Program that is not submitted as
                                                  Washington, DC 20529, Telephone (202)                   HFRP Program to eligible Haitians: (1)                instructed, without the required
                                                  272–1892.                                               In Haiti; (2) who are the beneficiaries               completed form, or without the fee(s) or
                                                                                                          (including any accompanying or                        a request for a fee waiver.
                                                  SUPPLEMENTARY INFORMATION:
                                                                                                          following-to-join spouse and children 3)                 USCIS or Department of State
                                                  I. Background of the HFRP Program                       of Forms I–130, Petition for Alien                    consular officers will interview
                                                     The rebuilding and development of a                  Relative, that were approved on or                    qualified beneficiaries in Port au Prince,
                                                  safe and economically strong Haiti is a                 before the date of publication of this                Haiti, to verify their eligibility for the
                                                  priority for the United States. While                   notice; (3) whose immigrant visas are                 program. Beneficiaries may also have
                                                  progress has been made since the 2010                   not available, but are expected to                    their biometrics collected. If USCIS
                                                  earthquake that devastated parts of the                 become available within approximately                 exercises its discretion to grant parole
                                                  country, Haiti continues to face                        18 to 30 months; and (4) whose                        under the HFRP Program, USCIS or the
                                                  significant development challenges.                     petitioning relatives in the United States            Department of State will issue the
                                                  Reconstruction and development in                       have received a written invitation to                 necessary travel documents to the
                                                  Haiti will continue for many years.1                    apply for the HFRP Program on their                   beneficiary in Haiti. These travel
                                                     With the exception of ‘‘immediate                    behalf from the Department of State’s                 documents will enable the beneficiary
                                                  relatives’’ of U.S. citizens (USCs) (i.e.,              National Visa Center (NVC).                           to travel to the United States and seek
                                                  parent, spouse and unmarried child(ren)                    The NVC will issue a written                       parole from U.S. Customs and Border
                                                  under 21 years of age), see Immigration                 invitation to petitioners of approved                 Protection (CBP) at a U.S. port-of-entry
                                                  and Nationality Act (INA) sec.                          Forms I–130 based upon the date when                  to join his or her family. A beneficiary
                                                  201(b)(2)(A)(i), 8 U.S.C. 1151(b)(2)(A)(i),             the immigrant visas for their beneficiary             who is paroled into the United States
                                                  the number of family-based immigrant                    relatives are expected to become                      would then be eligible to apply to adjust
                                                  visas that are available in any given year              available. Each year the NVC will                     status to that of lawful permanent
                                                  is limited by statute. See INA secs.                    identify approved Forms I–130 whose                   resident once the beneficiary’s
                                                                                                          filing dates (priority dates) are expected            immigrant visa becomes available.
                                                  201(c), 202(a) & 203, 8 U.S.C. 1151(c),
                                                                                                          to become current in approximately the                   Participation in the HFRP Program is
                                                  1152(a) & 1153. These statutory limits
                                                                                                          next 18 to 30 months, meaning that the                not available to aliens who qualify as
                                                  have resulted in long waiting periods
                                                                                                          immigrant visas for those cases are                   ‘‘immediate relatives’’ under section
                                                  before family members remaining in
                                                                                                          expected to become available within                   201(b)(2)(A)(i) of the INA, 8 U.S.C.
                                                  Haiti may join the U.S.C. and lawful
                                                                                                          that timeframe. The NVC will prioritize               1151(b)(2)(A)(i). Such aliens may seek
                                                  permanent resident (LPR) family
                                                                                                          the issuance of invitations to petitioners            immigrant visas for travel to the United
                                                  members in the United States who
                                                                                                          within that group, beginning with the                 States immediately upon the approval of
                                                  petitioned for them.
                                                     Under the HFRP Program, USCIS will                   oldest Form I–130 filing date and                     immigrant visa petitions filed on their
                                                  exercise its discretionary parole                       working forward to the most recent                    behalf. If, however, an immigrant visa
                                                  authority 2 to permit certain eligible                  filing date. The number of HFRP                       becomes available for a beneficiary who
                                                  Haitians in Haiti to join their family                  Program invitations may be limited                    is not an ‘‘immediate relative’’ while the
                                                  members in the United States up to                      annually based on U.S. Government                     Form I–131 is pending, the beneficiary
                                                  approximately two years before their                    operational capacity in Haiti and the                 will still be able to complete the parole
                                                  immigrant visas become available,                       availability of U.S. Government                       process, if desired. Alternatively, the
                                                  thereby promoting family unity. By                      resources to aid program beneficiaries.               beneficiary can choose to pursue
                                                  expanding existing legal means for                      Initially, the U.S. Government will seek              immigrant visa processing, which will
                                                  Haitians to immigrate, the HFRP                         to interview approximately 5,000 HFRP                 require payment of associated fees, but
                                                  Program serves a significant public                     Program beneficiaries in Haiti per year.              will enable the individual to apply for
                                                  benefit by promoting safe, legal, and                   Petitioners will be given a deadline by               admission to the United States as an
                                                  orderly migration to the United States.                 which they must apply to have their                   immigrant, if found eligible by the
                                                                                                          beneficiary relatives considered for                  Department of State for the visa and
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                                                    1 http://www.state.gov/s/hsc/factsheets/2014/         parole under the program. Participation               admissible by CBP at the port of entry.
                                                  219539.htm.                                             in the HFRP Program is voluntary.
                                                    2 See INA sec. 212(d)(5)(A), 8 U.S.C. 1182(d)(5)(A)      On or after February 2, 2015, eligible             III. Paperwork Reduction Act (PRA)
                                                  (permitting parole of certain aliens into the United    U.S.-based U.S.C. and LPR petitioners                    Under the PRA, 44 U.S.C. chapter 35,
                                                  States, as a matter of discretion and on a case-by-     with approved Forms I–130 filed on                    all Departments are required to submit
                                                  case basis, for urgent humanitarian reasons or
                                                  significant public benefit); see also 8 CFR 212.5(c)    behalf of a beneficiary relative in Haiti             to the Office of Management and Budget
                                                  & (d) (discretionary authority for establishing                                                               (OMB) for review and approval, any
                                                  conditions of parole and for terminating parole).         3 See INA sec. 203(d), 8 U.S.C. 1153(d).            new reporting requirements they

                                                                                                                                                                                  Cuba AR_000003
                                             VerDate Sep<11>2014   19:23 Dec 17, 2014   Jkt 235001   PO 00000   Frm 00052   Fmt 4703   Sfmt 4703   E:\FR\FM\18DEN1.SGM   18DEN1
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                                                  impose. The USCIS, Application for                      upcoming requests that certain                        Federal and Indian lands and the OCS
                                                  Travel Document, (Form I–131), has                      companies voluntarily provide                         at http://www.onrr.gov/Laws_R_D/
                                                  been approved by OMB and assigned                       information on the amount of revenue                  PubLaws/default.htm.
                                                  OMB control number 1615–0013. USCIS                     which they have paid to the Federal                      In September 2011, President Obama
                                                  is making no changes to this form in                    government for extracting Federally-                  announced the U.S. commitment to
                                                  connection with the implementation of                   owned natural resources.                              domestic implementation of EITI, a key
                                                  the HFRP Program and this notice.                       DATES: Submit written comments on or                  element of the President’s Open
                                                  USCIS estimates that the HFRP Program                   before February 17, 2015.                             Government Partnership commitments.
                                                  will result in an average of 5,000 Form                 ADDRESSES: You may submit comments
                                                                                                                                                                President Obama appointed the
                                                  I–131 filings per year. The current OMB-                on this ICR to ONRR by using one of the               Secretary of the Interior as the senior
                                                  approved estimated number of annual                     following three methods (please use                   U.S. official to lead USEITI
                                                  respondents filing Form I–131 is                        ONRR 2014–0002 as an identifier in                    implementation. EITI is a voluntary
                                                  940,671. USCIS believes it has                          your comment):                                        global effort designed to strengthen
                                                  overestimated the number of                                1. Electronically, go to http://                   transparency, accountability, and public
                                                  individuals who will use this form to                   www.regulations.gov. In the entry titled              trust for the revenues paid and received
                                                  apply for immigration benefits to the                   ‘‘Enter Keyword or ID,’’ enter ONRR–                  for a country’s oil, gas, and mineral
                                                  degree that additional respondents who                  2014–0002 and then click ‘‘Search.’’                  resources. The Administration renewed
                                                  will use it to file a HFRP Program-                     Follow the instructions to submit public              its commitment to implement EITI in
                                                  related request will be covered within                  comments. ONRR will post all                          the December 2013 U.S. Open
                                                  the 940,671 estimated. Because USCIS is                 comments.                                             Government National Action Plan. By
                                                  not changing the collection instrument                     2. Mail comments to Mr. Luis Aguilar,              signing onto the global EITI standard,
                                                  or increasing its burden estimates in                   Regulatory Specialist, ONRR, P.O. Box                 the U.S. Government will help ensure
                                                  connection with this notice, it is                      25165, MS 61030A, Denver, Colorado                    that American taxpayers are receiving
                                                  publishing no notice under the PRA and                  80225–0165.                                           every dollar due for the extraction of
                                                  making no revisions to the currently                       3. Hand-carry or mail comments,                    these valuable public resources. The
                                                  approved burden for OMB control                         using an overnight courier service, to                EITI Standard contains the set of
                                                  number 1615–0013.                                       ONRR. Our courier address is Building                 requirements that countries need to
                                                     Additional information about the                     85, Room A–614, Denver Federal                        meet in order to be recognized first as
                                                  HFRP program and the application                        Center, West 6th Ave. and Kipling St.,                an EITI Candidate and, ultimately, an
                                                  process will be posted on the USCIS                     Denver, Colorado 80225.                               EITI-Compliant Country. In March 2014,
                                                  Web site at www.uscis.gov.                              FOR FURTHER INFORMATION CONTACT: For
                                                                                                                                                                the U.S. became the first G7 country to
                                                    Dated: December 11, 2014.                             questions on technical issues, contact                achieve Candidate Country status. When
                                                                                                          Mr. Jon Swedin, Program Analyst, at                   fully implemented, EITI will ensure
                                                  León Rodrı́guez,
                                                                                                          (303) 231–3028, or email                              more transparency in how the country’s
                                                  Director, U.S. Citizenship and Immigration                                                                    natural resources are governed and also
                                                  Services.                                               Jonathan.Swedin@onrr.gov. For other
                                                                                                          questions, contact Mr. Luis Aguilar,                  will provide full disclosure of
                                                  [FR Doc. 2014–29533 Filed 12–17–14; 8:45 am]
                                                                                                          telephone (303) 231–3418, or email                    government revenues from its extractive
                                                  BILLING CODE 9111–97–P                                                                                        sector.
                                                                                                          Luis.Aguilar@onrr.gov. You may also
                                                                                                                                                                   The following laws and executive
                                                                                                          contact Mr. Aguilar to obtain copies, at
                                                                                                                                                                initiative are applicable to USEITI,
                                                  DEPARTMENT OF THE INTERIOR                              no cost, of (1) the ICR, (2) any associated
                                                                                                                                                                including the Secretary’s and ONRR’s
                                                                                                          form, and (3) the regulations that require
                                                  [Docket No. ONRR–2014–0002; DS63610000                                                                        management of mineral resource
                                                                                                          us to collect the information.
                                                  DR2PS0000.CH7000 145D0102R2]                                                                                  production, revenue, and information
                                                                                                          SUPPLEMENTARY INFORMATION:                            disclosure obligations:
                                                                                                             Title: United States Extractive
                                                  Office of Natural Resources Revenue;                                                                          • U.S. Open Government National
                                                  Agency Information Collection                           Industries Transparency Initiative
                                                                                                                                                                   Action Plan
                                                  Activities: Proposed Collection–United                  (USEITI) Revenue Information                          • Freedom of Information Act, as
                                                  States Extractive Industries                            Collection.                                              amended (5 U.S.C. 552)
                                                                                                             OMB Control Number: 1012—0NEW.                     • Outer Continental Shelf Lands Act, as
                                                  Transparency Initiative (USEITI)
                                                                                                             Bureau Form Number: United States
                                                  Revenue Information Collection,                                                                                  amended (43 U.S.C. 1331–56b),
                                                                                                          Extractive Industries Transparency
                                                  Comment Request                                                                                                  including provisions of the Energy
                                                                                                          Initiative (USEITI) Company Payment
                                                                                                                                                                   Policy Act of 2005 (42 U.S.C. 15801
                                                  AGENCY: Office of Natural Resources                     Reporting Template.
                                                                                                                                                                   et seq.)
                                                  Revenue (ONRR), Interior.                                  Abstract: The Secretary of the U.S.                • Federal Oil and Gas Royalty
                                                  ACTION: Notice of a new information                     Department of the Interior is responsible                Management Act of 1982 as amended
                                                  collection.                                             for mineral resource development on                      by the Federal Oil and Gas Royalty
                                                                                                          Federal and Indian lands and the Outer                   Simplification and Fairness Act of
                                                  SUMMARY: To comply with the                             Continental Shelf (OCS). Under various                   1996 (30 U.S.C. 1701–1759).
                                                  Paperwork Reduction Act of 1995                         laws, the Secretary’s responsibility is to            • Geothermal Steam Act of 1970 (30
                                                  (PRA), we are inviting comments on an                   manage mineral resources production                      U.S.C. 1001–28)
                                                  information request that we will submit                 on Federal and Indian lands and the                   • Mineral Leasing Act (30 U.S.C. 181–
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                                                  to the Office of Management and Budget                  OCS, collect the royalties and other                     287)
                                                  (OMB) for review and approval. This                     mineral revenues due, and distribute the              • Mineral Leasing Act for Acquired
                                                  Information Collection Request (ICR)                    funds collected under those laws. ONRR                   Lands (30 U.S.C. 351–60)
                                                  covers the voluntary paperwork                          performs the royalty management
                                                  requirements for participation in the                   functions and assists the Secretary in                General Information
                                                  United States’ implementation of the                    carrying out the Department’s                           International EITI requirements direct
                                                  Extractive Industries Transparency                      responsibility. We have posted those                  participating governments to publish
                                                  Initiative (EITI). It encompasses                       laws pertaining to mineral leases on                  annual reports to help citizens

                                                                                                                                                                                  Cuba AR_000004
                                             VerDate Sep<11>2014   19:23 Dec 17, 2014   Jkt 235001   PO 00000   Frm 00053   Fmt 4703   Sfmt 4703   E:\FR\FM\18DEN1.SGM   18DEN1
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                                                              Case 6:23-cv-00007 Document 92-1 Filed on 03/24/23 in TXSD Page 16 of 102
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                                                  DEPARTMENT OF HOMELAND                                  telephone message). Please note contact               Overview of This Information
                                                  SECURITY                                                information provided here is solely for               Collection
                                                                                                          questions regarding this notice. It is not              (1) Type of Information Collection:
                                                  U.S. Citizenship and Immigration                        for individual case status inquiries.                 Revision of a Currently Approved
                                                  Services                                                Applicants seeking information about                  Collection.
                                                  [OMB Control Number 1615–0016]                          the status of their individual cases can                (2) Title of the Form/Collection:
                                                                                                          check Case Status Online, available at                Application for Relief under Former
                                                  Agency Information Collection                           the USCIS Web site at http://                         Section 212(c) of the Immigration and
                                                  Activities: Application for Relief Under                www.uscis.gov, or call the USCIS                      Nationality Act.
                                                  Former Section 212(c) of the                            National Customer Service Center at                     (3) Agency form number, if any, and
                                                  Immigration and Nationality Act, Form                   (800) 375–5283; TTY (800) 767–1833.                   the applicable component of the DHS
                                                  I–191; Revision of a Currently                          SUPPLEMENTARY INFORMATION:                            sponsoring the collection: I–191; USCIS.
                                                  Approved Collection                                                                                             (4) Affected public who will be asked
                                                                                                          Comments:
                                                  AGENCY: U.S. Citizenship and                                                                                  or required to respond, as well as a brief
                                                  Immigration Services, Department of                        You may access the information                     abstract: Primary: Individuals or
                                                  Homeland Security.                                      collection instrument with instructions,              households. Form I–191 is necessary for
                                                                                                          or additional information by visiting the             USCIS to determine whether the
                                                  ACTION: 60-day notice.
                                                                                                          Federal eRulemaking Portal site at:                   applicant is eligible for discretionary
                                                  SUMMARY: The Department of Homeland                     http://www.regulations.gov and enter                  relief under former section 212(c) of the
                                                  Security (DHS), U.S. Citizenship and                    USCIS–2006–0070 in the search box.                    Immigration and Nationality Act.
                                                  Immigration Services (USCIS) invite the                 Regardless of the method used for                       (5) An estimate of the total number of
                                                  general public and other Federal                        submitting comments or material, all                  respondents and the amount of time
                                                  agencies to comment upon this                           submissions will be posted, without                   estimated for an average respondent to
                                                  proposed revision of a currently                        change, to the Federal eRulemaking                    respond: The estimated total number of
                                                  approved collection of information. In                  Portal at http://www.regulations.gov,                 respondents for the information
                                                  accordance with the Paperwork                           and will include any personal                         collection I–191 is 600 and the
                                                  Reduction Act (PRA) of 1995, the                        information you provide. Therefore,                   estimated hour burden per response is
                                                  information collection notice is                        submitting this information makes it                  1.5 hours.
                                                  published in the Federal Register to                    public. You may wish to consider                        (6) An estimate of the total public
                                                  obtain comments regarding the nature of                 limiting the amount of personal                       burden (in hours) associated with the
                                                  the information collection, the                         information that you provide in any                   collection: The total estimated annual
                                                  categories of respondents, the estimated                voluntary submission you make to DHS.                 hour burden associated with this
                                                  burden (i.e., the time, effort, and                     DHS may withhold information                          collection is 900 hours.
                                                  resources used by the respondents to                    provided in comments from public                        (7) An estimate of the total public
                                                  respond), the estimated cost to the                     viewing that it determines may impact                 burden (in cost) associated with the
                                                  respondent, and the actual information                  the privacy of an individual or is                    collection: The estimated total annual
                                                  collection instruments.                                 offensive. For additional information,                cost burden associated with this
                                                  DATES: Comments are encouraged and
                                                                                                          please read the Privacy Act notice that               collection of information is $75,750.
                                                  will be accepted for 60 days until July                 is available via the link in the footer of
                                                                                                                                                                Samantha Deshommes,
                                                  8, 2016.                                                http://www.regulations.gov.
                                                                                                                                                                Acting Chief, Regulatory Coordination
                                                  ADDRESSES: All submissions received
                                                                                                             Written comments and suggestions                   Division, Office of Policy and Strategy, U.S.
                                                  must include the OMB Control Number                     from the public and affected agencies                 Citizenship and Immigration Services,
                                                  1615–0016 in the subject box, the                       should address one or more of the                     Department of Homeland Security.
                                                  agency name and Docket ID USCIS–                        following four points:                                [FR Doc. 2016–10803 Filed 5–6–16; 8:45 am]
                                                  2006–0070. To avoid duplicate                              (1) Evaluate whether the proposed                  BILLING CODE 9111–97–P
                                                  submissions, please use only one of the                 collection of information is necessary
                                                  following methods to submit comments:                   for the proper performance of the
                                                     (1) Online. Submit comments via the                  functions of the agency, including                    DEPARTMENT OF HOMELAND
                                                  Federal eRulemaking Portal Web site at                  whether the information will have                     SECURITY
                                                  http://www.regulations.gov under e-                     practical utility;
                                                                                                             (2) Evaluate the accuracy of the                   U.S. Citizenship and Immigration
                                                  Docket ID number USCIS–2006–0070;
                                                                                                          agency’s estimate of the burden of the                Services
                                                     (2) Email. Submit comments to
                                                  USCISFRComment@uscis.dhs.gov;                           proposed collection of information,                   [CIS No. 2573–15; DHS Docket No. USCIS–
                                                     (3) Mail. Submit written comments to                 including the validity of the                         2016–0003]
                                                  DHS, USCIS, Office of Policy and                        methodology and assumptions used;
                                                  Strategy, Chief, Regulatory Coordination                   (3) Enhance the quality, utility, and              Filipino World War II Veterans Parole
                                                  Division, 20 Massachusetts Avenue NW,                   clarity of the information to be                      Policy
                                                  Washington, DC 20529–2140.                              collected; and                                        AGENCY: U.S. Citizenship and
                                                  FOR FURTHER INFORMATION CONTACT:                           (4) Minimize the burden of the                     Immigration Services, Department of
                                                  USCIS, Office of Policy and Strategy,                   collection of information on those who                Homeland Security (DHS).
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                                                  Regulatory Coordination Division,                       are to respond, including through the                 ACTION: Notice.
                                                  Samantha Deshommes, Acting Chief, 20                    use of appropriate automated,
                                                  Massachusetts Avenue NW.,                               electronic, mechanical, or other                      SUMMARY: This notice announces the
                                                  Washington, DC 20529–2140,                              technological collection techniques or                implementation of U.S. Citizenship and
                                                  Telephone number (202) 272–8377                         other forms of information technology,                Immigration Services’ (USCIS) Filipino
                                                  (This is not a toll-free number.                        e.g., permitting electronic submission of             World War II Veterans Parole (FWVP)
                                                  Comments are not accepted via                           responses.                                            policy. Under this policy, USCIS will

                                                                                                                                                                                  Cuba AR_000006
                                             VerDate Sep<11>2014   17:44 May 06, 2016   Jkt 238001   PO 00000   Frm 00052   Fmt 4703   Sfmt 4703   E:\FR\FM\09MYN1.SGM   09MYN1
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                                                  offer certain beneficiaries of approved                  themselves. For certain Filipino                         individuals who fall within the general
                                                  family-based immigrant visa petitions                    American family members, this wait can                   criteria but whose cases present
                                                  an opportunity to request a                              exceed 20 years.2                                        overriding adverse factors (e.g., criminal
                                                  discretionary grant of parole on a case-                   Recognizing the contributions and                      history) would not be approved.
                                                  by-case basis so that they may come to                   sacrifices of Filipino veterans who
                                                  the United States as they wait for their                 fought for the United States during                      II. Participation in the FWVP Policy
                                                  immigrant visa numbers to become                         World War II and their families, USCIS                   and Application Process
                                                  available. Among other things, the                       has decided to implement the FWVP                           Those who may benefit from the
                                                  policy recognizes the extraordinary                      policy. In many cases, paroling these                    FWVP policy are individuals: (1) who
                                                  contributions and sacrifices of Filipino                 family members may also allow them to                    are the beneficiaries of Forms I–130,
                                                  veterans who fought for the United                       provide support and care for elderly                     Petition for Alien Relative, including
                                                  States during World War II. The policy                   veterans or their surviving spouses.                     any accompanying or following-to-join
                                                  also enhances the ability of such elderly                Under this policy, USCIS will consider                   spouse and children,5 who were
                                                  veterans and their spouses to obtain care                individual requests for parole submitted                 approved on or before the filing date of
                                                  and support from their family members                    for certain relatives who are the                        the parole request (Form I–131,
                                                  abroad.                                                  beneficiaries of approved family-based                   Application for Travel Document); (2)
                                                  DATES: On or after June 8, 2016,                         immigrant visa petitions filed by                        whose qualifying relationship with the
                                                  individuals will be able to request                      Filipino veterans or their surviving                     petitioning relative existed on or before
                                                  parole under the FWVP policy.                            spouses.3 Where USCIS determines that                    May 9, 2016; (3) whose petitioning
                                                  FOR FURTHER INFORMATION CONTACT:                         exercising such discretion is                            relative is residing in the United States
                                                  Maura Nicholson, Deputy Chief,                           appropriate, USCIS may approve parole                    (or, if deceased, was residing in the
                                                  International Operations Division, U.S.                  requests for such relatives so that they                 United States at the time of death); (4)
                                                  Citizenship and Immigration Services,                    may wait in the United States until they                 whose immigrant visas are not
                                                  Department of Homeland Security, 20                      are able to adjust status under existing                 authorized for issuance per the
                                                  Massachusetts Avenue NW., Suite 3300,                    immigration laws.4                                       Application Final Action Dates chart for
                                                  Washington, DC 20529, Telephone 202–                       In light of the circumstances                          family-sponsored preference cases on
                                                  272–1892. (This is not a toll-free                       described above, among other                             the Department of State’s Visa Bulletin;
                                                  number.)                                                 considerations, USCIS believes that the                  and (5) whose petitioning relatives have
                                                                                                           parole of qualified applicants who                       established they are either Filipino
                                                  SUPPLEMENTARY INFORMATION:                               establish on a case-by-case basis that                   World War II veterans or are the
                                                  I. Background of the FWVP Policy                         they are eligible for consideration under                surviving spouses of such individuals.
                                                                                                           this policy and merit a favorable
                                                     More than 260,000 Filipino soldiers                                                                               The Filipino veteran’s qualifying
                                                                                                           exercise of discretion would generally
                                                  enlisted to fight for the United States                                                                           World War II military service must have
                                                                                                           yield a ‘‘significant public benefit.’’
                                                  during World War II. Estimates indicate                                                                           previously been recognized by the
                                                                                                           Additionally, considering the advanced
                                                  that as many as 26,000 of these brave                                                                             Department of Defense and must be
                                                                                                           age of World War II Filipino veterans
                                                  individuals became U.S. citizens. As                     and their spouses, and their increased                   described in section 405 of the
                                                  U.S. citizens or lawful permanent                        need for care and companionship,                         Immigration Act of 1990 (IMMACT’90),6
                                                  residents (LPRs), these veterans may                     grants of parole under the FWVP policy                   as amended by section 112 of
                                                  petition for certain of their family                     would often address urgent                               Department of Justice Appropriations
                                                  members to come to the United States.                    humanitarian concerns. In all cases,                     Act, 1998, which requires an individual
                                                  Estimates indicate that there are                        whether to parole a particular                           to fall within one of three categories: 7
                                                  approximately between 2,000 to 6,000                     individual under this policy is a                           1. Individuals who are listed on the
                                                  Filipino American World War II                           discretionary determination that will be                 final roster prepared by the recovered
                                                  veterans still alive in the United States                made on a case-by-case basis.                            Personnel Division of the United States
                                                  today, many of whom greatly desire to                    Accordingly, parole applications for                     Army of those who served honorably in
                                                  have their family members in the United                                                                           an active duty status with the
                                                  States during their final days.1                            2 The January 2016 Visa Bulletin issued by the        Philippine Army during the World War
                                                     With the exception of ‘‘immediate                     Department of State indicates that for individuals       II occupation and liberation of the
                                                  relatives’’ (i.e., parents, spouses,                     chargeable to the Philippines, visas may be issued       Philippines;
                                                  unmarried children under 21 years of                     to individuals with priority dates ranging from
                                                                                                           before August 01, 2014 for family-sponsored second          2. Individuals who are listed on the
                                                  age) of U.S. citizens, see Immigration                   preference category (for spouses and unmarried           final roster prepared by the Guerilla
                                                  and Nationality Act (INA) sec.                           children of LPRs) to before July 22, 1992 for the        Affairs Division of the United States
                                                  201(b)(2)(A)(i), 8 U.S.C. 1151(b)(2)(A)(i),              family-sponsored fourth preference category (for         Army of those who received recognition
                                                                                                           siblings of U.S. citizens). See January 2016 Visa
                                                  the number of family-sponsored                           Bulletin, U.S. Department of State, Bureau of            as having served honorably in an active
                                                  immigrant visas that are available in any                Consular Affairs, available at http://                   duty status within a recognized guerilla
                                                  given year is limited by statute. See INA                www.travel.state.gov/content/dam/visas/Bulletins/        unit during the World War II occupation
                                                  secs. 201(a) and (c), 202(a) and 203, 8                  visabulletin_january2016.pdf.
                                                                                                              3 See INA sec. 212(d)(5)(A), 8 U.S.C. 1182(d)(5)(A)
                                                                                                                                                                    and liberation of the Philippines; or
                                                  U.S.C. 1151(a) and (c), 1152(a) and                                                                                  3. Individuals who served honorably
                                                                                                           (permitting parole of certain aliens into the United
                                                  1153. These statutory limits have                        States, as a matter of discretion and on a case-by-      in an active duty status within the
                                                  resulted in long waiting periods before                  case basis, for urgent humanitarian reasons or           Philippine Scouts or within any other
                                                  family members may join the                              significant public benefit); see also 8 CFR 212.5(a)
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                                                                                                           and (c)–(e) (discretionary authority for establishing
                                                                                                                                                                    component of the United States Armed
                                                  petitioning U.S. citizens or LPRs in the                 conditions of parole and for terminating parole).        Forces in the Far East (other than a
                                                  United States and become LPRs                               4 INA sec. 245(a), 8 U.S.C. 1255(a), permits          component described in clauses 1 or 2)
                                                                                                           adjustment of status for an alien paroled into the       at any time during the period beginning
                                                     1 See Modernizing and Streamlining our Legal          United States. Under 8 CFR 245.1(d)(1)(v), a parolee
                                                  Immigration System for the 21st Century 38 (July         is considered to be in a lawful status for purposes
                                                                                                                                                                     5 See INA sec. 203(d), 8 U.S.C. 1153(d).
                                                  2015), available at https://www.whitehouse.gov/          of INA sec. 245(c)(2) if an individual is seeking
                                                                                                                                                                     6 See Pub. L. 101–649, 104 Stat. 4978.
                                                  sites/default/files/docs/final_visa_modernization        adjustment of status as an immediate relative or
                                                  _report1.pdf.                                            family-based immigrant.                                   7 See Pub. L. 105–119, 111 Stat. 2440.




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                                             VerDate Sep<11>2014   17:44 May 06, 2016   Jkt 238001    PO 00000   Frm 00053   Fmt 4703   Sfmt 4703   E:\FR\FM\09MYN1.SGM    09MYN1
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                                                  September 1, 1939, and ending                           World War II veteran, or surviving                    Protection (CBP) to join his or her
                                                  December 31, 1946.                                      spouse, with an approved Form I–130                   family member. Before the beneficiary’s
                                                     USCIS will review government                         may request parole under the FWVP                     parole expires, the beneficiary would be
                                                  records to verify that the Filipino                     policy on behalf of his or her eligible               required to (1) seek re-parole; (2) if
                                                  veteran’s World War II military service                 beneficiary relatives (or, if a self-                 eligible, apply to adjust status to that of
                                                  was recognized by the Department of                     applicant, on his or her own behalf). An              lawful permanent resident or apply and
                                                  Defense. When this documentation is                     eligible petitioner or self-applicant must            be processed overseas for an immigrant
                                                  not available, USCIS will issue a                       file a completed Form I–131,                          visa; or (3) depart the United States.
                                                  Request for Evidence to allow the                       Application for Travel Document, and a
                                                  petitioner to submit evidence                           completed Form I–134, Affidavit of                       If an immigrant visa becomes
                                                  establishing the Filipino veteran’s                     Support, and submit the required fee(s)               available to an individual who is not an
                                                  military service.                                       or fee waiver request 9 on behalf of each             ‘‘immediate relative’’ while a Form I–
                                                     When the petitioning relative in the                 beneficiary he or she wishes to have                  131 filed under the FWVP policy is
                                                  United States is the Filipino World War                 considered for parole. The veteran,                   pending, the individual will be
                                                  II veteran, individuals eligible for parole             surviving spouse, or self-petitioner must             considered for parole under this policy,
                                                  consideration could include                             provide documentation of the veteran’s                if desired. Alternatively, the beneficiary
                                                  beneficiaries under any family-                         qualifying World War II military service              can choose to pursue immigrant visa
                                                  sponsored preference category.                          as described under section 405 of                     processing, which will require payment
                                                  Individuals who qualify as ‘‘immediate                  IMMACT’90, as amended. Detailed                       of associated fees, but will enable the
                                                  relatives’’ under section 201(b)(2)(A)(i)               instructions on how to request parole                 individual to apply for admission to the
                                                  of the INA, 8 U.S.C. 1151(b)(2)(A)(i),                  under this policy will be included in the             United States as an immigrant, if found
                                                  however, will not be eligible for parole                Instructions to Form I–131, Application               eligible by the Department of State for
                                                  under this policy because immigrant                     for Travel Document, and on the USCIS                 the immigrant visa and admissible by
                                                  visas for these individuals are already                 Web site at (www.uscis.gov). USCIS will               CBP at a U.S. port of entry.
                                                  immediately available. Immediate                        reject a Form I–131 that is not properly
                                                  relatives may seek immigrant visas for                  filed. USCIS strongly encourages                      III. Paperwork Reduction Act (PRA)
                                                  travel to the United States immediately                 individuals seeking to request parole
                                                  upon the approval of immigrant visa                     under the FWVP policy to make such                       Under the PRA, 44 U.S.C. chapter 35,
                                                  petitions filed on their behalf. In                     requests within 5 years from June 8,                  all Departments are required to submit
                                                  situations where the petitioning relative               2016 in order for their qualifying family             to the Office of Management and Budget
                                                  in the United States is the surviving                   members to be considered under this                   (OMB) for review and approval, any
                                                  spouse of a Filipino World War II                       policy. Following the first four years of             new reporting requirements they
                                                  veteran, eligible individuals who may                   the implementation of this policy,                    impose. The USCIS, Application for
                                                  be considered for parole under this                     USCIS will conduct additional outreach                Travel Document, (Form I–131), has
                                                  policy include only the child, son, or                  and evaluate whether the volume of                    been approved by OMB and assigned
                                                  daughter of the surviving spouse who is                 actual or potential requests would                    OMB control number 1615–0013. USCIS
                                                  also the child, son, or daughter of the                 support maintaining the policy, or                    is only revising the Form I–131
                                                  Filipino World War II veteran.8                         whether it should be phased out at the                Instructions in connection with the
                                                     In cases where the petitioning relative              end of 5 years.                                       implementation of the FWVP policy and
                                                  is deceased, eligible individuals                          USCIS or Department of State
                                                  described in this paragraph may also                                                                          this notice. USCIS filed an emergency
                                                                                                          consular officers will interview all                  request with OMB and obtained
                                                  seek parole on their own behalf, under                  individuals considered for parole under
                                                  this policy, in cases where USCIS has                                                                         approval of the changes to the Form I–
                                                                                                          the FWVP policy to determine whether
                                                  reinstated the approval of Form I–130,                                                                        131 Instructions. More information
                                                                                                          parole is appropriate on a case-by-case
                                                  Petition for Alien Relative, for                        basis.10 Individuals requesting parole                regarding the annual burden impact
                                                  humanitarian reasons. If such petition is               under this policy may also be required                resulting from the implementation of
                                                  reinstated, the self-petitioner must                    to have their biometrics collected. If                this new policy will be provided during
                                                  establish (1) a qualifying family                       USCIS favorably exercises its discretion              the next renewal cycle of the Form I–
                                                  relationship with the deceased Filipino                 to issue parole under the FWVP policy                 131. Currently, USCIS estimates that the
                                                  veteran or spouse (i.e. the self-petitioner             by approving the Form I–131, USCIS or                 FWVP policy might result in
                                                  is a qualifying child, son, daughter,                   the Department of State will issue the                approximately 6,000 new respondents
                                                  brother or sister of the Filipino World                 necessary travel documents to the                     filing Form I–131s. The current OMB-
                                                  War II veteran); and (2) that the                       beneficiary in the location he or she was             approved estimated number of
                                                  deceased Filipino veteran had                           interviewed. These travel documents                   respondents filing Form I–131 is
                                                  qualifying World War II military service,               generally will enable the beneficiary to              940,671. USCIS believes it has
                                                  as described above. Again, each of these                travel to a U.S. port-of-entry and request            overestimated the number of
                                                  parole requests will be reviewed on a                   parole from U.S. Customs and Border                   individuals who will use this form to
                                                  case-by-case basis to determine whether                                                                       apply for immigration benefits to the
                                                  the petitioner has met the criteria for                   9 The Director of USCIS has determined that
                                                                                                                                                                degree that additional respondents who
                                                  parole and merits a favorable exercise of               individuals seeking parole under the FWVP policy
                                                                                                                                                                will use it to file a request under the
                                                  discretion.                                             may request a waiver of the fee for Form I–131,
                                                     Seeking parole under the FWVP                        Application for Travel Document. Making the fee       FWVP policy will be covered within the
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                                                  policy is voluntary.                                    waiver available for those applicants who are         940,671 estimated.
                                                                                                          unable to pay is in the public interest and
                                                     On or after June 8, 2016, an eligible                consistent with other applicable law, consistent         Additional information about the
                                                  U.S.-based U.S. citizen or LPR Filipino                 with 8 CFR 103.7(d). A fee waiver may be requested    consideration of parole requests under
                                                                                                          by completing Form I–912, Request for Fee Waiver,     the FWVP policy will be posted on the
                                                    8 See INA sec. 101(b)(1) (defining ‘‘child’’). This   in accordance with its instructions, and submitting
                                                  definition includes individuals who qualify as step-    that form with Form I–131.                            USCIS Web site at www.uscis.gov.
                                                  children, legitimized children, children born out of      10 The Department of State, however, will not

                                                  wedlock and adopted children.                           make parole determinations.


                                                                                                                                                                                  Cuba AR_000008
                                             VerDate Sep<11>2014   17:44 May 06, 2016   Jkt 238001   PO 00000   Frm 00054   Fmt 4703   Sfmt 4703   E:\FR\FM\09MYN1.SGM   09MYN1
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                                                    Dated: May 2, 2016.                                     2. Maria Rea, Assistant Regional                    www.fws.gov/sacramento. Copies of
                                                  León Rodrı́guez,                                       Administrator, by mail/hand-delivery at               these documents are also available for
                                                  Director, U.S. Citizenship and Immigration              National Oceanic and Atmospheric                      public inspection, by appointment,
                                                  Services.                                               Administration, West Coast Region,                    during regular business hours, at the
                                                  [FR Doc. 2016–10750 Filed 5–6–16; 8:45 am]              National Marine Fisheries Service, 650                Sacramento Fish and Wildlife Office.
                                                  BILLING CODE 9111–97–P                                  Capitol Mall, Suite 5–100, Sacramento,                Additionally, hard-bound copies of the
                                                                                                          California 95814; or by facsimile to                  DEIS/R and Draft Plan are available for
                                                                                                          (916) 930–3629. You may telephone                     viewing, or for partial or complete
                                                  DEPARTMENT OF THE INTERIOR                              (916) 930–3600 to make an appointment                 duplication, at the following locations
                                                                                                          during regular business hours to drop                 in Chico:
                                                  Fish and Wildlife Service                               off comments at the National Marine                     • Butte County Association of
                                                                                                          Fisheries Service.                                    Governments, 2580 Sierra Sunrise
                                                  DEPARTMENT OF COMMERCE                                    Please send comments related                        Terrace, Suite 100;
                                                                                                          specifically to the California                          • Biggs Branch Library, 464A B
                                                  National Oceanic and Atmospheric                        Environmental Quality Act (CEQA)                      Street;
                                                  Administration                                          process to the Jon Clark, Executive                     • Chico Branch Library, 1108
                                                                                                          Director, Butte County Association of                 Sherman Avenue;
                                                  [FWS–R8–ES–2016–N044; FF08ESMF00–
                                                                                                          Governments, 2580 Sierra Sunrise                        • Gridley Branch Library, 299 Spruce
                                                  FXES11120800000–156]                                                                                          Street; and
                                                                                                          Terrace, Suite 100, Chico, California
                                                                                                                                                                  • Oroville Branch Library, 1820
                                                  Proposed Habitat Conservation Plan/                     95928. You may also submit comments
                                                                                                                                                                Mitchell Avenue.
                                                  Natural Community Conservation Plan                     by facsimile to (530) 879–2444.
                                                  for Western Butte County, California:                   FOR FURTHER INFORMATION CONTACT:                      Alexandra Pitts,
                                                  Environmental Impact Statement                            (1) Rick Kuyper, Endangered Species                 Deputy Regional Director, Pacific Southwest
                                                                                                          Division; Mike Thomas, Chief,                         Region, U.S. Fish and Wildlife Service,
                                                  AGENCY: Fish and Wildlife Service,                                                                            Sacramento, California.
                                                  Interior; National Marine Fisheries                     Conservation Planning Division; or Eric
                                                                                                          Tattersall, Deputy Assistant Field                    Angela Somma,
                                                  Service, Commerce.                                                                                            Chief, Endangered Species Conservation
                                                  ACTION: Notice; reopening of public
                                                                                                          Supervisor, at the Sacramento Fish and
                                                                                                          Wildlife Office address above or at (916)             Division, Office of Protected Resources,
                                                  comment period.                                                                                               National Marine Fisheries Service.
                                                                                                          414–6600 (telephone); or
                                                                                                                                                                [FR Doc. 2016–10863 Filed 5–6–16; 8:45 am]
                                                  SUMMARY: We, the U.S. Fish and                            (2) Gretchen Umlauf, National Marine
                                                                                                          Fisheries Service, at the address above               BILLING CODE 4333–15–P
                                                  Wildlife Service and the National
                                                  Marine Fisheries Service, are reopening                 or at (916) 930–5646 (telephone).
                                                  the comment period for our joint request                  If you use a telecommunications
                                                                                                                                                                DEPARTMENT OF THE INTERIOR
                                                  for comments on the Butte Regional                      device for the deaf, please call the
                                                  Conservation Plan (Plan) and the Draft                  Federal Information Relay Service at                  Bureau of Indian Affairs
                                                  Environmental Impact Statement/Report                   (800) 877–8339.
                                                  (DEIS/R) for Authorization of Incidental                                                                      [167 A2100DD/AAKC001030/
                                                                                                          SUPPLEMENTARY INFORMATION: We are
                                                  Take and Implementation of the Plan.                                                                          A0A501010.999900]
                                                                                                          reopening the comment period for the
                                                  As of January 19, 2016, we have                         Butte Regional Conservation Plan and a                Renewal of Agency Information
                                                  received comments from four                             DEIS/R for Authorization of Incidental                Collection for Indian Self-
                                                  organizations and individuals                           Take and Implementation of the Plan.                  Determination and Education
                                                  requesting that the comment period be                   On November 18, 2015, we opened a 90-                 Assistance Contracts
                                                  extended. In response to these requests,                day public comment period via a
                                                  we are reopening the comment period.                    Federal Register notice (80 FR 72108).                AGENCIES: Bureau of Indian Affairs, DOI.
                                                     If you previously submitted                          This comment period officially closed                 ACTION: Notice of request for comments.
                                                  comments, you need not resubmit them;                   on February 16, 2016. Public meetings
                                                  we have already incorporated them into                                                                        SUMMARY: In compliance with the
                                                                                                          in Butte County were held in the cities               Paperwork Reduction Act of 1995, the
                                                  the public record and will fully consider               of Chico on January 5, 2016, and
                                                  them in finalizing these documents.                                                                           Bureau of Indian Affairs (BIA) is seeking
                                                                                                          Oroville and Gridley on January 6, 2016.              comments on the renewal of Office of
                                                  DATES: Submitting Comments: To ensure                   As of January 19, 2016, we have
                                                  consideration, written comments must                                                                          Management and Budget (OMB)
                                                                                                          received comments from four                           approval for the collection of
                                                  be received by June 8, 2016, no later                   organizations and individuals
                                                  than 5 p.m. Pacific Time.                                                                                     information for Indian Self-
                                                                                                          requesting that the comment period be                 Determination and Education
                                                  ADDRESSES: Submitting Comments:                         extended. In response to requests from                Assistance Contracts, authorized by
                                                  Please address written comments to one                  the public, we have reopened the                      OMB Control Number 1076–0136. This
                                                  of the following individuals:                           comment period (see DATES).
                                                     1. Mike Thomas, Chief, Conservation                                                                        information collection expires July 31,
                                                  Planning Division; or Eric Tattersall,                  Background Information                                2016.
                                                  Assistant Field Supervisor, by mail/                      For background information, see our                 DATES: Submit comments on or before
                                                  hand-delivery at U.S. Fish and Wildlife                 November 18, 2015, notice (80 FR                      July 8, 2016.
                                                  Service, Sacramento Fish and Wildlife                                                                         ADDRESSES: You may submit comments
mstockstill on DSK3G9T082PROD with NOTICES




                                                                                                          72108).
                                                  Office, 2800 Cottage Way, W–2605,                                                                             on this information collection activities
                                                  Sacramento, California 95825; or by                     Document Availability                                 to Ms. Sunshine Jordan, Acting Division
                                                  facsimile to (916) 414–6713. You may                      You may obtain copies of the Draft                  Chief, Office of Indian Services—
                                                  telephone (916) 414–6600 to make an                     Plan and DEIS/R from any of the                       Division of Self-Determination, 1849 C
                                                  appointment during regular business                     individuals in FOR FURTHER INFORMATION                Street NW., MS 4513–MIB, Washington,
                                                  hours to drop off comments at the                       CONTACT, or from the Sacramento Fish                  DC 20240, telephone: (202) 513–7616,
                                                  Sacramento Fish and Wildlife Office.                    and Wildlife Office Web site at http://               email: Sunshine.Jordan@bia.gov.

                                                                                                                                                                                  Cuba AR_000009
                                             VerDate Sep<11>2014   17:44 May 06, 2016   Jkt 238001   PO 00000   Frm 00055   Fmt 4703   Sfmt 4703   E:\FR\FM\09MYN1.SGM   09MYN1
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                                                                                                                                                             Vol. 82, No. 10

                                                                                                                                                             Tuesday, January 17, 2017


                                              This section of the FEDERAL REGISTER                    Lane SW., Mail Stop 0445, Washington,                  Homeland Security 1) to remove,
                                              contains regulatory documents having general            DC 20528.                                              without a hearing before an immigration
                                              applicability and legal effect, most of which              Please submit your comments by only                 judge, aliens arriving in the United
                                              are keyed to and codified in the Code of                one method. Comments received by                       States who are inadmissible under
                                              Federal Regulations, which is published under           means other than those listed above or                 sections 212(a)(6)(C) or 212(a)(7) of the
                                              50 titles pursuant to 44 U.S.C. 1510.
                                                                                                      received after the comment period has                  Act, 8 U.S.C. 1182(a)(6)(C) and
                                              The Code of Federal Regulations is sold by              closed will not be reviewed. All                       1182(a)(7), for lack of valid documents
                                              the Superintendent of Documents. Prices of              comments received will be posted                       necessary for admission or entry or for
                                              new books are listed in the first FEDERAL               without change on http://                              procuring or seeking to procure a visa,
                                              REGISTER issue of each week.                            www.regulations.gov. The http://                       other immigration-related
                                                                                                      www.regulations.gov Web site is the                    documentation, admission to the United
                                                                                                      Federal e-rulemaking portal and                        States, or other immigration benefit by
                                              DEPARTMENT OF HOMELAND                                  comments posted there are available                    fraud or willful misrepresentation of a
                                              SECURITY                                                and accessible to the public.                          material fact.
                                                                                                      Commenters should not include                             Expedited removal proceedings under
                                              Office of the Secretary                                 personal information such as Social                    section 235(b) of the Act, 8 U.S.C.
                                                                                                      Security Numbers, personal addresses,                  1225(b), may be applied to two
                                              8 CFR Part 235                                          telephone numbers, and email addresses                 categories of aliens. First, expedited
                                              [DHS Docket No. DHS–2017–0003]                          in their comments as such information                  removal proceedings may be used for
                                                                                                      will become viewable by the public on                  aliens who are ‘‘arriving in the United
                                              RIN 1601–AA81
                                                                                                      the http://www.regulations.gov Web                     States.’’ Section 235(b)(1)(A)(i) of the
                                              Eliminating Exception to Expedited                      site. It is the commenter’s responsibility             Act, 8 U.S.C. 1225(b)(1)(A)(i). Second,
                                              Removal Authority for Cuban Nationals                   to safeguard his or her information.                   the Secretary, in his or her sole and
                                              Arriving by Air                                         Comments submitted through http://                     unreviewable discretion, may designate
                                                                                                      www.regulations.gov will not include                   certain other aliens to whom the
                                              AGENCY: Office of the Secretary,                        the commenter’s email address unless                   expedited removal provisions may be
                                              Department of Homeland Security.                        the commenter chooses to include that                  applied. Section 235(b)(1)(A)(iii), 8
                                              ACTION: Final rule; request for                         information as part of his or her                      U.S.C. 1225(b)(1)(A)(iii); see 8 CFR
                                              comments.                                               comment.                                               235.3(b)(1)(ii).
                                                                                                         Postal delivery in Washington, DC,                     When it created the expedited
                                              SUMMARY: This final rule revises                        may be delayed due to security                         removal process, Congress also created
                                              Department of Homeland Security                         concerns. Therefore, DHS encourages                    a limited exception for certain aliens
                                              (DHS) regulations to eliminate the                      the public to submit comments through                  who arrived at a U.S. port of entry by
                                              categorical exception from expedited                    the http://www.regulations.gov Web                     aircraft. Under section 235(b)(1)(F) of
                                              removal proceedings for Cuban                           site.                                                  the Act, 8 U.S.C. 1225(b)(1)(F),
                                              nationals who arrive in the United                         Docket: For access to the docket to                 expedited removal ‘‘shall not apply to
                                              States at a port of entry by aircraft. As               read background documents or                           an alien who is a native or citizen of a
                                              a result of these changes, Cuban                        comments received, go to the Federal                   country in the Western Hemisphere
                                              nationals who arrive in the United                      eRulemaking portal at http://                          with whose government the United
                                              States at a port of entry by aircraft will              www.regulations.gov. If you need                       States does not have full diplomatic
                                              be subject to expedited removal                         assistance to review the comments,                     relations and who arrives by aircraft at
                                              proceedings commensurate with                           please contact the person identified in                a port of entry.’’ For many years, this
                                              nationals of other countries.                           the FOR FURTHER INFORMATION CONTACT                    exception applied to Cuban nationals
                                              DATES: This final rule is effective                     section below.                                         due to the lack of full diplomatic
                                              January 13, 2017. Interested persons are                FOR FURTHER INFORMATION CONTACT:                       relations between the United States and
                                              invited to submit written comments on                   Amanda Baran, Principal Director for                   Cuba. DHS regulations implementing
                                              this final rule on or before March 20,                  Immigration Policy, 202–282–8805,                      section 235(b)(1) of the Act, 8 U.S.C.
                                              2017.                                                   Amanda.baran@hq.dhs.gov.                               1225(b)(1), thus expressly stated that the
                                              ADDRESSES: You may submit comments,                     SUPPLEMENTARY INFORMATION:                             expedited removal provisions apply to
                                              identified by Regulatory Information                                                                           ‘‘[a]rriving aliens, as defined in 8 CFR
                                                                                                      I. Background                                          1.2, except for citizens of Cuba arriving
                                              Number (RIN) 1601–AA81 and DHS
                                              Docket Number DHS–2017–0003, by                            Section 302 of the Illegal Immigration              at a United States port-of-entry by
                                              any one of the following methods:                       Reform and Immigrant Responsibility                    aircraft.’’ 8 CFR 235.3(b)(1)(i); see also 8
                                                 • Federal e-Rulemaking Portal                        Act of 1996 (IIRIRA), Public Law 104–
                                                                                                                                                               1 Under section 1517 of title XV of the Homeland
                                              www.regulations.gov. Follow the Web                     208, Div. C, 110 Stat. 3009–546,
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                                                                                                                                                             Security Act of 2002 (HSA), Public Law 107–296,
                                              site instructions for submitting                        amended section 235(b) of the                          116 Stat. 2135, any reference to the Attorney
                                              comments.                                               Immigration and Nationality Act                        General in a provision of the INA describing
                                                 • Mail or Hand Delivery/Courier:                     (‘‘Act’’), 8 U.S.C. 1225(b), to authorize              functions that were transferred from the Attorney
                                              Please submit all written comments                      what are known as ‘‘expedited removal                  General or other Department of Justice (DOJ) official
                                                                                                                                                             to DHS by the HSA ‘‘shall be deemed to refer to the
                                              (including and CD–ROM submissions)                      proceedings.’’ Specifically, section                   Secretary’’ of Homeland Security. See 6 U.S.C. 557
                                              to Amanda Baran, Principal Director for                 235(b) was amended to authorize the                    (2003) (codifying HSA, tit. XV, sec. 1517); 6 U.S.C.
                                              Immigration Policy, DHS, 245 Murray                     Attorney General (now the Secretary of                 542 note; 8 U.S.C. 1551 note.


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                                         VerDate Sep<11>2014   16:30 Jan 13, 2017   Jkt 241001   PO 00000   Frm 00001   Fmt 4700   Sfmt 4700   E:\FR\FM\17JAR1.SGM   17JAR1
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                                              CFR 1235.3(b)(1)(i) (parallel Department                favorable immigration policies for                     modified at any time.’’ Section
                                              of Justice (DOJ) regulations stating that               Cuban nationals.                                       235(b)(1)(A)(iii)(I) of the Act, 8 U.S.C.
                                              the expedited removal provisions apply                     The application of the expedited                    1225(b)(1)(A)(iii)(I). And this rule is
                                              to ‘‘[a]rriving aliens, as defined in [8                removal authorities to Cuban nationals                 necessary to remove quickly from the
                                              CFR 1001.1(q)], except for citizens of                  must reflect these new realities.                      United States certain Cuban nationals
                                              Cuba arriving at a United States port-of-               Accordingly, DHS is eliminating                        who arrive by air at U.S. ports of entry.
                                              entry by aircraft’’).2                                  provisions in its regulations that                     The ability to detain such aliens while
                                                 Since that regulation was                            categorically exempt Cuban nationals                   admissibility and identity are
                                              promulgated, significant changes in the                 who arrive at a U.S. port of entry by                  determined and protection claims are
                                              relationship between the United States                  aircraft from expedited removal                        adjudicated, as well as to quickly
                                              and Cuba have occurred. In December                     proceedings under 8 CFR 235.3.                         remove those without protection claims
                                              2014, President Obama announced a                       Importantly, the statutory provision                   or claims to lawful status, is a necessity
                                              historic opening between the United                     categorically barring the use of                       for national security and public safety.
                                              States and Cuba, as well as an approach                 expedited removal for certain aliens                      Pre-promulgation notice and
                                              for reestablishing diplomatic relations                 who arrive by air no longer applies to                 comment would undermine these
                                              and adjusting regulations to facilitate                 Cuban nationals, as the United States                  interests, while endangering human life
                                              greater travel, commerce, people-to-                    and Cuba have reestablished full                       and having a potential destabilizing
                                              people ties, and the free flow of                       diplomatic relations. Moreover,                        effect in the region. Specifically, DHS is
                                              information to, from, and within Cuba.                  previous U.S. policy justifications for                concerned that publication of the rule as
                                              On July 20, 2015, the United States and                 exempting Cuban nationals from                         a proposed rule, which would signal a
                                              Cuba formally reestablished full                        expedited removal—including Cuba’s                     significant change in policy while
                                              diplomatic relations and opened                         general refusal to accept the repatriation             permitting continuation of the exception
                                              embassies in each other’s countries. In                 of its nationals—are no longer valid in                for Cuban nationals, could lead to a
                                              the time following the reestablishment                  many respects. Finally, a categorical                  surge in migration of Cuban nationals
                                              of full diplomatic relations, the United                exception severely impairs the                         seeking to travel to and enter the United
                                              States and Cuba have taken concrete                     Government’s ability to remove                         States during the period between the
                                              steps towards enhancing security,                       unauthorized aliens encountered within                 publication of a proposed and a final
                                              building bridges between our peoples,                   the United States. For these reasons,                  rule. Such a surge would threaten
                                              and promoting economic prosperity for                   DHS, in consultation with the                          national security and public safety by
                                              citizens of both countries. And recent                  Department of State, has determined                    diverting valuable Government
                                              migration discussions have yielded                      that a categorical exception from                      resources from counterterrorism and
                                              important changes that will                             expedited removal for Cuban nationals                  homeland security responsibilities. A
                                              dramatically affect travel and migration                is no longer in the interests of the                   surge could also have a destabilizing
                                              between our two countries. Among                        United States. Accordingly, as a result                effect on the region, thus weakening the
                                              other things, Cuba has agreed to accept                 of this final rule, Cuban nationals will               security of the United States and
                                              and facilitate the repatriation of its                  be subject to expedited removal                        threatening its international relations.
                                              nationals who are ordered removed                       proceedings under section 235(b) of the                Additionally, a surge could result in
                                              from the United States. This                            INA and 8 CFR 235.3 like nationals of                  significant loss of human life.
                                              arrangement and other changes remain                    other countries. For the same reasons,                 Accordingly, DHS finds that it would be
                                              the focus of ongoing diplomatic                         DHS is also publishing a notice in this                impracticable and contrary to the public
                                              discussions between the two countries.                  issue of the Federal Register to remove                interest to accept pre-promulgation
                                              DHS, in consultation with the                           the parallel exceptions for expedited                  comments on this rule. For the same
                                              Department of State, has determined                     removal of Cuban nationals who arrive                  reasons, DHS also finds good cause to
                                              that the limitation at section 235(b)(1)(F)             by sea or who are encountered by an                    issue this rule without a 30-day delayed
                                              of the Act, 8 U.S.C. 1225(b)(1)(F) no                   immigration officer within 100 air miles               effective date requirement of the APA,
                                              longer applies with respect to Cuba.                    of the U.S. border.                                    see 5 U.S.C. 553(d).3
                                                 Moreover, DHS has recently seen a                                                                              In addition, the change implemented
                                              significant increase in attempts by                     II. Statutory and Regulatory                           by this rule is part of a major foreign
                                              Cuban nationals to illegally enter the                  Requirements                                           policy initiative announced by the
                                              United States. Many of those Cuban                                                                             President, and is central to ongoing
                                                                                                      A. Administrative Procedure Act
                                              nationals have taken a dangerous                                                                               diplomatic discussions between the
                                              journey through Central America and                        The implementation of this rule as a                United States and Cuba with respect to
                                              Mexico; others have taken to the high                   final rule, with provisions for post-                  travel and migration between the two
                                              seas in the dangerous attempt to cross                  promulgation public comments, is based                 countries. DHS, in consultation with the
                                              the Straits of Florida. DHS believes this               on the good cause exception found in                   Department of State, has determined
                                              increase in attempted migration has                     section 553 of the Administrative                      that eliminating the exception from
                                              been driven in part by the perception                   Procedure Act (APA) (5 U.S.C.                          expedited removal proceedings for
                                              that there is a limited window before                   553(b)(B)). Delaying the implementation                Cuban nationals involves a foreign
                                              the United States will eliminate                        of the change announced in this rule to                affairs function of the United States, 5
                                                                                                      allow pre-promulgation notice and                      U.S.C. 553(a)(1), and is also exempt
                                                2 DOJ initially promulgated 8 CFR 235.3(b)(1)(i) as   comment would be impracticable and                     from the notice and comment and 30-
                                              an exercise of the functions of the former              contrary to the public interest. Congress              day delayed effective date requirements
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                                              Immigration and Naturalization Service (INS) and
                                              the Executive Office for Immigration Review. See 62
                                                                                                      explicitly authorized the Secretary of                 of the APA on that basis. DHS is
                                              FR 10312 (Mar. 6, 1997). Following enactment of         Homeland Security to designate
                                              the HSA, 8 CFR 235.3(b)(1)(i) was transferred to        categories of aliens to whom expedited                    3 In addition, in light of the lack of pre-

                                              DHS, and effectively duplicated in parallel DOJ         removal proceedings may be applied,                    publication notice and comment and a delayed
                                              regulations at 8 CFR 1235.3(b)(1)(i). See 68 FR                                                                effective date for the related notice that DHS has
                                              10349 (Mar. 5, 2003). DOJ is revising its parallel
                                                                                                      and made clear that ‘‘[s]uch designation               published in this issue of the Federal Register, a
                                              regulation by separate rulemaking in this issue of      shall be in the sole and unreviewable                  delay in the effective date of this regulation would
                                              the Federal Register.                                   discretion of the Secretary and may be                 be incongruous and unnecessary.


                                                                                                                                                                                Cuba AR_000011
                                         VerDate Sep<11>2014   16:30 Jan 13, 2017   Jkt 241001   PO 00000   Frm 00002   Fmt 4700   Sfmt 4700   E:\FR\FM\17JAR1.SGM   17JAR1
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                                              nevertheless providing the opportunity                    Authority: 8 U.S.C. 1101 and note, 1103,             postmarked on or before that date. The
                                              for the public to comment.                              1183, 1185 (pursuant to E.O. 13323, 69 FR              electronic Federal Docket Management
                                                                                                      241, 3 CFR, 2004 Comp., p. 278), 1201, 1224,           System (FDMS) will accept comments
                                              B. Executive Orders 13563 and 12866                     1225, 1226, 1228, 1365a note, 1365b, 1379,             until midnight Eastern Time at the end
                                                                                                      1731–32; Title VII of Public Law 110–229; 8
                                                 Executive Orders 13563 and 12866                                                                            of that day.
                                                                                                      U.S.C. 1185 note (section 7209 of Pub. L.
                                              direct agencies to assess the costs and                 108–458); Pub. L. 112–54.                              ADDRESSES: Please submit written
                                              benefits of available regulatory                                                                               comments to Jean King, General
                                              alternatives and, if regulation is                      ■ 2. Revise § 235.3(b)(1)(i) to read as
                                                                                                                                                             Counsel, Executive Office for
                                              necessary, to select regulatory                         follows:
                                                                                                                                                             Immigration Review, 5107 Leesburg
                                              approaches that maximize net benefits                   § 235.3 Inadmissible aliens and expedited              Pike, Suite 2600, Falls Church, Virginia
                                              (including potential economic,                          removal.                                               22041. To ensure proper handling,
                                              environmental, public health and safety                 *     *     *     *     *                              please reference RIN No. 1125–AA80 or
                                              effects, distributive impacts, and                        (b) * * *                                            EOIR Docket No. 401 on your
                                              equity). Executive Order 13563                            (1) * * *                                            correspondence. You may submit
                                              emphasizes the importance of                              (i) Arriving aliens, as defined in 8                 comments electronically or view an
                                              quantifying both costs and benefits, of                 CFR 1.2;                                               electronic version of this proposed rule
                                              reducing costs, of harmonizing rules,                                                                          at www.regulations.gov.
                                                                                                      *     *     *     *     *
                                              and of promoting flexibility.                                                                                  FOR FURTHER INFORMATION CONTACT: Jean
                                                 The Office of Management and Budget                    Signed: at Washington, DC, this 11th of
                                                                                                      January 2017.                                          King, General Counsel, Executive Office
                                              has not designated this rule as a                                                                              for Immigration Review, 5107 Leesburg
                                              significant regulatory action under                     Jeh Charles Johnson,
                                                                                                                                                             Pike, Suite 2600, Falls Church, Virginia
                                              section 3(f) of Executive Order 12866.                  Secretary of Homeland Security.
                                                                                                                                                             22041; telephone (703) 605–1744 (not a
                                              Accordingly, the Office of Management                   [FR Doc. 2017–00915 Filed 1–13–17; 8:45 am]
                                                                                                                                                             toll-free call).
                                              and Budget has not reviewed this rule.                  BILLING CODE P
                                                                                                                                                             SUPPLEMENTARY INFORMATION:
                                              C. Regulatory Flexibility Act
                                                                                                                                                             I. Public Participation
                                                 The Regulatory Flexibility Act (5                    DEPARTMENT OF JUSTICE                                    Interested persons are invited to
                                              U.S.C. 601 et seq.), as amended by the
                                                                                                                                                             participate in this rulemaking by
                                              Small Business Regulatory Enforcement                   Executive Office for Immigration                       submitting written data, views, or
                                              and Fairness Act of 1996, requires an                   Review                                                 arguments on all aspects of this rule.
                                              agency to prepare a regulatory flexibility
                                                                                                                                                             EOIR also invites comments that relate
                                              analysis that describes the effect of a                 8 CFR Part 1235                                        to the economic, environmental, or
                                              proposed rule on small entities when
                                                                                                      [AG Order No. 3817–2017; EOIR Docket No.               federalism effects that might result from
                                              the agency is required to publish a                     401]                                                   this rule. To provide the most assistance
                                              general notice of proposed rulemaking.
                                                                                                      RIN 1125–AA80                                          to EOIR, comments should explain the
                                              A small entity may be a small business
                                                                                                                                                             reason for any recommended change,
                                              (defined as any independently owned
                                                                                                      Eliminating Exception to Expedited                     and should include data, information, or
                                              and operated business not dominant in
                                                                                                      Removal Authority for Cuban Nationals                  authority that supports such
                                              its field that qualifies as a small
                                                                                                      Arriving by Air                                        recommended change.
                                              business per the Small Business Act); a                                                                          All comments submitted for this
                                              small not-for-profit organization; or a                 AGENCY: Executive Office for                           rulemaking should include the agency
                                              small governmental jurisdiction                         Immigration Review, Department of                      name and RIN 1125–AA80 or EOIR
                                              (locality with fewer than 50,000 people).               Justice.                                               Docket No. 401. Please note that all
                                              Because this final rule is exempt from                  ACTION: Final rule; request for                        comments received are considered part
                                              notice-and-comment rulemaking                           comments.                                              of the public record and will be made
                                              requirements under 5 U.S.C. 553, a                                                                             available for public inspection at
                                              regulatory flexibility analysis is not                  SUMMARY: This final rule revises
                                                                                                                                                             www.regulations.gov., including
                                              required.                                               Executive Office for Immigration                       personally identifiable information
                                                                                                      Review (EOIR) regulations to eliminate                 (such as a person’s name, address, or
                                              Regulatory Amendments
                                                                                                      the categorical exception from                         any other data that might personally
                                              List of Subjects for 8 CFR Part 235                     expedited removal proceedings for                      identify that individual) voluntarily
                                                Administrative practice and                           Cuban nationals who arrive in the                      submitted by the commenter.
                                              procedure, Aliens, Immigration,                         United States at a port of entry by                      If you want to submit personally
                                              Reporting and recordkeeping                             aircraft. This final rule conforms with a              identifiable information as part of your
                                              requirements.                                           parallel Department of Homeland                        comment, but do not want it to be
                                                                                                      Security (DHS) regulation. As a result of              posted online, you must include the
                                              Authority and Issuance                                  these changes, Cuban nationals who                     phrase ‘‘PERSONALLY IDENTIFIABLE
                                                For the reasons stated in the                         arrive in the United States at a port of               INFORMATION’’ in the first paragraph
                                              preamble, part 235 of title 8 of the Code               entry by aircraft will be subject to                   of your comment and identify what
                                              of Federal Regulations is amended as set                expedited removal proceedings                          information you want redacted.
                                              forth below:                                            commensurate with nationals of other                     If you want to submit confidential
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                                                                                                      countries.                                             business information as part of your
                                              8 CFR CHAPTER I
                                                                                                      DATES: This final rule is effective                    comment, but do not want it to be
                                              PART 235—INSPECTION OF PERSONS                          January 13, 2017. Interested persons are               posted online, you must include the
                                              APPLYING FOR ADMISSION                                  invited to submit written comments on                  phrase ‘‘CONFIDENTIAL BUSINESS
                                                                                                      this final rule on or before March 20,                 INFORMATION’’ in the first paragraph
                                              ■ 1. The authority citation for part 235                2017. Comments received by mail will                   of your comment. You also must
                                              continues to read:                                      be considered timely if they are                       prominently identify confidential

                                                                                                                                                                              Cuba AR_000012
                                         VerDate Sep<11>2014   16:30 Jan 13, 2017   Jkt 241001   PO 00000   Frm 00003   Fmt 4700   Sfmt 4700   E:\FR\FM\17JAR1.SGM   17JAR1
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                                                              Cuba AR_000014
Case 6:23-cv-00007 Document 92-1 Filed on 03/24/23 in TXSD Page 25 of 102




                                                              Cuba AR_000015
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                                                              Cuba AR_000016
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                                               DEPARTMENT OF HOMELAND                                  III. Public Comments on Proposed Rule                  expects to facilitate the use of parole in
                                               SECURITY                                                   A. Summary of Public Comments                       this area.
                                                                                                          B. Legal Authority                                     Under this final rule, an applicant
                                               8 CFR Parts 103, 212, and 274a                             C. Significant Public Benefit                       would need to demonstrate that his or
                                                                                                          D. Definitions
                                                                                                                                                              her parole would provide a significant
                                               [CIS No. 2572–15; DHS Docket No. USCIS–                    E. Application Requirements
                                               2015–0006]                                                 F. Parole Criteria and Conditions                   public benefit because he or she is the
                                                                                                          G. Employment Authorization                         entrepreneur of a new start-up entity in
                                               RIN 1615–AC04                                              H. Comments on Parole Process                       the United States that has significant
                                                                                                          I. Appeals and Motions To Reopen                    potential for rapid growth and job
                                               International Entrepreneur Rule                            J. Termination of Parole                            creation. DHS believes that such
                                               AGENCY: U.S. Citizenship and                               K. Opposition to the Overall Rule                   potential would be indicated by, among
                                               Immigration Services, DHS.                                 L. Miscellaneous Comments on the Rule               other things, the receipt of (1)
                                                                                                          M. Public Comments on Statutory and                 significant capital investment from U.S.
                                               ACTION: Final rule.                                           Regulatory Requirements                          investors with established records of
                                                                                                       IV. Statutory and Regulatory Requirements
                                               SUMMARY: This final rule amends                                                                                successful investments or (2) significant
                                                                                                          A. Unfunded Mandates Reform Act of 1995
                                               Department of Homeland Security                            B. Small Business Regulatory Enforcement            awards or grants from certain Federal,
                                               (DHS) regulations to implement the                            Fairness Act of 1996                             State, or local government entities. The
                                               Secretary of Homeland Security’s                           C. Executive Orders 12866 and 13563                 final rule also includes alternative
                                               discretionary parole authority in order                    1. Summary                                          criteria for applicants who partially
                                               to increase and enhance                                    2. Purpose of the Rule                              meet the thresholds for capital
                                               entrepreneurship, innovation, and job                      3. Volume Estimate                                  investment or government awards or
                                               creation in the United States. The final                   4. Costs                                            grants and can provide additional
                                               rule adds new regulatory provisions                        5. Benefits                                         reliable and compelling evidence of
                                                                                                          6. Alternatives Considered                          their entities’ significant potential for
                                               guiding the use of parole on a case-by-                    D. Regulatory Flexibility Act
                                               case basis with respect to entrepreneurs                                                                       rapid growth and job creation. An
                                                                                                          E. Executive Order 13132
                                               of start-up entities who can demonstrate                   F. Executive Order 12988                            applicant must also show that he or she
                                               through evidence of substantial and                        G. Paperwork Reduction Act                          has a substantial ownership interest in
                                               demonstrated potential for rapid                                                                               such an entity, has an active and central
                                               business growth and job creation that                   I. Executive Summary                                   role in the entity’s operations, and
                                               they would provide a significant public                 A. Purpose of the Regulatory Action                    would substantially further the entity’s
                                               benefit to the United States. Such                                                                             ability to engage in research and
                                                                                                          Section 212(d)(5) of the Immigration                development or otherwise conduct and
                                               potential would be indicated by, among                  and Nationality Act (INA), 8 U.S.C.
                                               other things, the receipt of significant                                                                       grow its business in the United States.
                                                                                                       1182(d)(5), confers upon the Secretary                 The grant of parole is intended to
                                               capital investment from U.S. investors                  of Homeland Security the discretionary
                                               with established records of successful                                                                         facilitate the applicant’s ability to
                                                                                                       authority to parole individuals into the               oversee and grow the start-up entity.
                                               investments, or obtaining significant                   United States temporarily, on a case-by-
                                               awards or grants from certain Federal,                                                                            DHS believes that this final rule will
                                                                                                       case basis, for urgent humanitarian                    encourage foreign entrepreneurs to
                                               State or local government entities. If                  reasons or significant public benefit.
                                               granted, parole would provide a                                                                                create and develop start-up entities with
                                                                                                       DHS is amending its regulations                        high growth potential in the United
                                               temporary initial stay of up to 30                      implementing this authority to increase
                                               months (which may be extended by up                                                                            States, which are expected to facilitate
                                                                                                       and enhance entrepreneurship,                          research and development in the
                                               to an additional 30 months) to facilitate               innovation, and job creation in the
                                               the applicant’s ability to oversee and                                                                         country, create jobs for U.S. workers,
                                                                                                       United States. As described in more                    and otherwise benefit the U.S. economy
                                               grow his or her start-up entity in the                  detail below, the final rule would
                                               United States.                                                                                                 through increased business activity,
                                                                                                       establish general criteria for the use of              innovation, and dynamism. Particularly
                                               DATES: This final rule is effective July                parole with respect to entrepreneurs of                in light of the complex considerations
                                               17, 2017.                                               start-up entities who can demonstrate                  involved in entrepreneur-based parole
                                               FOR FURTHER INFORMATION CONTACT:                        through evidence of substantial and                    requests, DHS also believes that this
                                               Steven Viger, Adjudications Officer,                    demonstrated potential for rapid growth                final rule will provide a transparent
                                               Office of Policy and Strategy, U.S.                     and job creation that they would                       framework by which DHS will exercise
                                               Citizenship and Immigration Services,                   provide a significant public benefit to                its discretion to adjudicate such
                                               Department of Homeland Security, 20                     the United States. In all cases, whether               requests on a case-by-case basis under
                                               Massachusetts Avenue NW., Suite 1100,                   to parole a particular individual under                section 212(d)(5) of the INA, 8 U.S.C.
                                               Washington, DC 20529–2140;                              this rule is a discretionary                           1182(d)(5).
                                               Telephone (202) 272–1470.                               determination that would be made on a
                                               SUPPLEMENTARY INFORMATION:                              case-by-case basis.                                    B. Legal Authority
                                                                                                          Given the complexities involved in                    The Secretary of Homeland Security’s
                                               Table of Contents                                       adjudicating applications in this                      authority for the proposed regulatory
                                               I. Executive Summary                                    context, DHS has decided to establish                  amendments can be found in various
                                                  A. Purpose of the Regulatory Action                  by regulation the criteria for the case-by-            provisions of the immigration laws.
                                                  B. Legal Authority                                   case evaluation of parole applications                 Sections 103(a)(1) and (3) of the INA, 8
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                                                  C. Summary of the Final Rule Provisions              filed by entrepreneurs of start-up                     U.S.C. 1103(a)(1), (3), provides the
                                                  D. Summary of Changes From the Notice                entities. By including such criteria in                Secretary the authority to administer
                                                    of Proposed Rulemaking
                                                  E. Summary of Costs and Benefits
                                                                                                       regulation, as well as establishing                    and enforce the immigration and
                                                  F. Effective Date                                    application requirements that are                      nationality laws. Section 402(4) of the
                                               II. Background                                          specifically tailored to capture the                   Homeland Security Act of 2002 (HSA),
                                                  A. Current Framework                                 necessary information for processing                   Public Law 107–296, 116 Stat. 2135, 6
                                                  B. Final Rule                                        parole requests on this basis, DHS                     U.S.C. 202(4), expressly authorizes the

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                                               Secretary to establish rules and                        grant of parole; and (2) has an active and              considered under this rule for a
                                               regulations governing parole. Section                   central role in the operations and future               discretionary grant of parole lasting up
                                               212(d)(5) of the INA, 8 U.S.C.                          growth of the entity, such that his or her              to 30 months (2.5 years) based on the
                                               1182(d)(5), vests in the Secretary the                  knowledge, skills, or experience would                  significant public benefit that would be
                                               discretionary authority to grant parole                 substantially assist the entity in                      provided by the applicant’s (or family’s)
                                               for urgent humanitarian reasons or                      conducting and growing its business in                  parole into the United States. An
                                               significant public benefit to applicants                the United States. See final 8 CFR                      applicant will be required to file a new
                                               for admission temporarily on a case-by-                 212.19(a)(1). Such an applicant cannot                  application specifically tailored for
                                               case basis.1 Section 274A(h)(3)(B) of the               be a mere investor.                                     entrepreneurs to demonstrate eligibility
                                               INA, 8 U.S.C. 1324a(h)(3)(B), recognizes                  3. Significant U.S. Capital Investment                for parole based upon significant public
                                               the Secretary’s general authority to                    or Government Funding. The applicant                    benefit under this rule, along with
                                               extend employment authorization to                      can further validate, through reliable                  applicable fees. Applicants will also be
                                               noncitizens in the United States. And                   supporting evidence, the entity’s                       required to appear for collection of
                                               section 101(b)(1)(F) of the HSA, 6 U.S.C.               substantial potential for rapid growth                  biometric information. No more than
                                               111(b)(1)(F), establishes as a primary                  and job creation. An applicant may be                   three entrepreneurs may receive parole
                                               mission of DHS the duty to ‘‘ensure that                able to satisfy this criterion in one of                with respect to any one qualifying start-
                                               the overall economic security of the                    several ways:                                           up entity.
                                               United States is not diminished by                        a. Investments from established U.S.                    USCIS adjudicators will consider the
                                               efforts, activities, and programs aimed at              investors. The applicant may show that                  totality of the evidence, including
                                               securing the homeland.’’                                the entity has received significant                     evidence obtained by USCIS through
                                                                                                       investment of capital from certain                      background checks and other means, to
                                               C. Summary of the Final Rule Provisions                 qualified U.S. investors with established               determine whether the applicant has
                                                  This final rule adds a new section 8                 records of successful investments. An                   satisfied the above criteria, whether the
                                               CFR 212.19 to provide guidance with                     applicant would generally be able to                    specific applicant’s parole would
                                               respect to the use of parole for                        meet this standard by demonstrating                     provide a significant public benefit, and
                                               entrepreneurs of start-up entities based                that the start-up entity has received                   whether negative factors exist that
                                               upon significant public benefit. An                     investments of capital totaling $250,000                warrant denial of parole as a matter of
                                               individual seeking to operate and grow                  or more from established U.S. investors                 discretion. To grant parole, adjudicators
                                               his or her start-up entity in the United                (such as venture capital firms, angel                   will be required to conclude, based on
                                               States would generally need to                          investors, or start-up accelerators) with               the totality of the circumstances, that
                                               demonstrate the following to be                         a history of substantial investment in                  both: (1) The applicant’s parole would
                                               considered for a discretionary grant of                 successful start-up entities.                           provide a significant public benefit, and
                                               parole under this final rule:                             b. Government grants. The applicant                   (2) the applicant merits a grant of parole
                                                  1. Formation of New Start-Up Entity.                 may show that the start-up entity has                   as a matter of discretion.
                                               The applicant has recently formed a                     received significant awards or grants                     If parole is granted, the entrepreneur
                                               new entity in the United States that has                from Federal, State or local government                 will be authorized for employment
                                               lawfully done business since its creation               entities with expertise in economic                     incident to the grant of parole, but only
                                               and has substantial potential for rapid                 development, research and                               with respect to the entrepreneur’s start-
                                               growth and job creation. An entity may                  development, or job creation. An                        up entity. The entrepreneur’s spouse
                                               be considered recently formed if it was                 applicant would generally be able to                    and children, if any, will not be
                                               created within the 5 years immediately                  meet this standard by demonstrating                     authorized for employment incident to
                                               preceding the date of the filing of the                 that the start-up entity has received                   the grant of parole, but the
                                               initial parole application. See 8 CFR                   monetary awards or grants totaling                      entrepreneur’s spouse, if paroled into
                                               219.12(a)(2), 8 CFR 103.2(a)(7).                        $100,000 or more from government                        the United States pursuant to 8 CFR
                                                  2. Applicant is an Entrepreneur. The                 entities that typically provide such                    212.19, will be permitted to apply for
                                               applicant is an entrepreneur of the start-              funding to U.S. businesses for                          employment authorization consistent
                                               up entity who is well-positioned to                     economic, research and development, or                  with new 8 CFR 274a.12(c)(34). DHS
                                               advance the entity’s business. An                       job creation purposes.                                  retains the authority to revoke any such
                                               applicant may meet this standard by                       c. Alternative criteria. The final rule               grant of parole at any time as a matter
                                               providing evidence that he or she: (1)                  provides alternative criteria under                     of discretion or if DHS determines that
                                               Possesses a significant (at least 10                    which an applicant who partially meets                  parole no longer provides a significant
                                               percent) ownership interest in the entity               one or more of the above criteria related               public benefit, such as when the entity
                                               at the time of adjudication of the initial              to capital investment or government                     has ceased operations in the United
                                                                                                       funding may be considered for parole                    States or DHS has reason to believe that
                                                  1 In sections 402 and 451 of the HSA, Congress       under this rule if he or she provides                   the approved application involves fraud
                                               transferred from the Attorney General to the            additional reliable and compelling                      or misrepresentation. See new 8 CFR
                                               Secretary of Homeland Security the general
                                               authority to enforce and administer the immigration
                                                                                                       evidence that they would provide a                      212.19(k).
                                               laws, including those pertaining to parole. In          significant public benefit to the United                  As noted, the purpose of this parole
                                               accordance with section 1517 of title XV of the         States. Such evidence must serve as a                   process is to provide qualified
                                               HSA, any reference to the Attorney General in a         compelling validation of the entity’s                   entrepreneurs of high-potential start-up
                                               provision of the INA describing functions
                                               transferred from the Department of Justice to DHS
                                                                                                       substantial potential for rapid growth                  entities in the United States with the
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                                               ‘‘shall be deemed to refer to the Secretary’’ of        and job creation.                                       improved ability to conduct research
                                               Homeland Security. See 6 U.S.C. 557 (codifying the         This final rule states that an applicant             and development and expand the
                                               HSA, tit. XV, section 1517). Authorities and            who meets the above criteria (and his or                entities’ operations in the United States
                                               functions of DHS to administer and enforce the          her spouse and minor, unmarried
                                               immigration laws are appropriately delegated to                                                                 so that our nation’s economy may
                                               DHS employees and others in accordance with             children,2 if any) generally may be
                                               section 102(b)(1) of the HSA, 6 U.S.C. 112(b)(1);                                                               under section 101(b)(1) of the INA, 8 U.S.C.
                                               section 103(a) of the INA, 8 U.S.C. 1103(a); and 8        2 The terms ‘‘child’’ and ‘‘children’’ in this        1101(b)(1) (defining a child as one who is
                                               CFR 2.1.                                                proposed rule have the same meaning as they do          unmarried and under twenty-one years of age).


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                                               benefit from such development and                       awards or grants from U.S. government                  entrepreneurs (and their spouses and
                                               expansion, including through increased                  entities that regularly provide such                   children) may receive such additional
                                               capital expenditures, innovation, and                   funding to start-up entities; or a                     periods of parole with respect to any
                                               job creation. The final rule allows                     combination of both. An applicant                      one qualifying entity.
                                               individuals granted parole under this                   would generally be expected to                            As with initial parole applications,
                                               rule to be considered for re-parole for an              demonstrate that the entity received at                USCIS adjudicators will consider the
                                               additional period of up to 30 months                    least $500,000 in additional qualifying                totality of the evidence, including
                                               (2.5 years) if, and only if, they can                   funding during the initial parole period.              evidence obtained by USCIS through
                                               demonstrate that their entities have                    As noted previously, any private                       verification methods, to determine
                                               shown signs of significant growth since                 investment that the applicant is relying               whether the applicant has satisfied the
                                               the initial grant of parole and such                    upon as evidence that the investment                   above criteria and whether his or her
                                               entities continue to have substantial                   criterion has been met must be made by                 continued parole would provide a
                                               potential for rapid growth and job                      qualified U.S. investors (such as venture              significant public benefit. To be re-
                                               creation.                                               capital firms, angel investors, or start-up            paroled, adjudicators will be required to
                                                 An applicant under this rule will                     accelerators) with a history of                        conclude, based on the totality of the
                                               generally need to demonstrate the                       substantial investment in successful                   circumstances, both: (1) That the
                                               following to be considered for a                        start-up entities. Government awards or                applicant’s continued parole would
                                               discretionary grant of an additional                    grants must be from U.S. federal, state                provide a significant public benefit, and
                                               period of parole:                                       or local government entities with                      (2) that the applicant continues to merit
                                                 1. Continuation of Start-Up Entity.                   expertise in economic development,                     parole as a matter of discretion. If the
                                               The entity continues to be a start-up                   research and development, or job                       applicant is re-paroled, DHS retains the
                                               entity as defined by the proposed rule.                 creation.                                              authority to revoke parole at any time as
                                               For purposes of seeking re-parole, an                      b. Revenue generation. The applicant                a matter of discretion or if DHS
                                               applicant may be able to meet this                      may show that the start-up entity has                  determines that parole no longer
                                               standard by showing that the entity: (a)                generated substantial and rapidly                      provides a significant public benefit,
                                               Has been lawfully operating in the                      increasing revenue in the United States                such as when the entity has ceased
                                               United States during the period of                      during the initial parole period. To                   operations in the United States or DHS
                                               parole; and (b) continues to have                       satisfy this criterion, an applicant will              believes that the application involved
                                               substantial potential for rapid growth                  need to demonstrate that the entity                    fraud or made material
                                               and job creation.                                       reached at least $500,000 in annual                    misrepresentations.
                                                 2. Applicant Continues to Be an                       revenue, with average annualized                          The entrepreneur and any dependents
                                               Entrepreneur. The applicant continues                   revenue growth of at least 20 percent,                 granted parole under this program will
                                               to be an entrepreneur of the start-up                   during the initial parole period.                      be required to depart the United States
                                               entity who is well-positioned to                           c. Job creation. The applicant may                  when their parole periods have expired
                                               advance the entity’s business. An                       show that the start-up entity has                      or have otherwise been terminated,
                                               applicant may meet this standard by                     demonstrated substantial job creation in               unless such individuals are otherwise
                                               providing evidence that he or she: (a)                  the United States during the initial                   eligible to lawfully remain in the United
                                               Continues to possess a significant (at                  parole period. To satisfy this criterion,              States. At any time prior to reaching the
                                               least 5 percent) ownership interest in                  an applicant will need to demonstrate                  5-year limit for parole under this final
                                               the entity at the time of adjudication of               that the entity created at least 5 full-time           rule, such individuals may apply for
                                               the grant of re-parole; and (b) continues               jobs for U.S. workers during the initial               any immigrant or nonimmigrant
                                               to have an active and central role in the               parole period.                                         classification for which they may be
                                               operations and future growth of the                        d. Alternative criteria. As with initial            eligible (such as classification as an O–
                                               entity, such that his or her knowledge,                 parole, the final rule includes                        1 nonimmigrant or as a lawful
                                               skills, or experience would substantially               alternative criteria under which an                    permanent resident pursuant to an EB–
                                               assist the entity in conducting and                     applicant who partially meets one or                   2 National Interest Waiver). Because
                                               continuing to grow its business in the                  more of the above criteria related to                  parole is not considered an admission to
                                               United States. This reduced ownership                   capital investment, revenue generation,                the United States, parolees are ineligible
                                               amount takes into account the need of                   or job creation may be considered for re-              to adjust or change their status in the
                                               some successful start-up entities to raise              parole under this rule if he or she                    United States under many immigrant or
                                               additional venture capital investment by                provides additional reliable and                       nonimmigrant visa classifications. For
                                               selling ownership interest during their                 compelling evidence that his or her                    example, if such individuals are
                                               initial years of operation.                             parole will continue to provide a                      approved for a nonimmigrant or
                                                 3. Significant U.S. Investment/                       significant public benefit. As discussed               employment-based immigrant visa
                                               Revenue/Job Creation. The applicant                     above, such evidence must serve as a                   classification, they would generally
                                               further validates, through reliable                     compelling validation of the entity’s                  need to depart the United States and
                                               supporting evidence, the start-up                       substantial potential for rapid growth                 apply for a visa with the Department of
                                               entity’s continued potential for rapid                  and job creation.                                      State (DOS) for admission to the United
                                               growth and job creation. An applicant                      As indicated above, an applicant who                States as a nonimmigrant or lawful
                                               may be able to satisfy this criterion in                generally meets the above criteria and                 permanent resident.
                                               one of several ways:                                    merits a favorable exercise of discretion                 Finally, DHS is making conforming
                                                 a. Additional Investments or Grants.                  may be granted an additional 30-month                  changes to the employment
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                                               The applicant may show that during the                  period of re-parole, for a total maximum               authorization regulations at 8 CFR
                                               initial period of parole the start-up                   period of 5 years of parole under 8 CFR                274a.12(b) and (c), the employment
                                               entity received additional substantial                  212.19, to work with the same start-up                 eligibility verification regulations at 8
                                               investments of capital, including                       entity based on the significant public                 CFR 274a.2(b), and fee regulations at 8
                                               through qualified investments from U.S.                 benefit that would be served by his or                 CFR 103.7(b)(i). The final rule amends
                                               investors with established records of                   her continued parole in the United                     8 CFR 274a.12(b) by: (1) Adding
                                               successful investments; significant                     States. No more than three                             entrepreneur parolees to the classes of

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                                               aliens authorized for employment                            DHS is revising proposed 8 CFR                       with the change to the qualified
                                               incident to their immigration status or                     212.19(a)(1), a provision that defines the           investment definition by adding ‘‘or
                                               parole, and (2) providing temporary                         term ‘‘entrepreneur,’’ and establishes a             other security convertible into equity
                                               employment authorization for those                          minimum ownership percentage                         commonly used in financing
                                               applying for re-parole. The final rule                      necessary to meet the definition. In the             transactions within their respective
                                               amends 8 CFR 274a.12(c) by extending                        NPRM, DHS proposed that the                          industries.’’
                                               eligibility for employment authorization                    entrepreneur must have an ownership                     • Start-up Entity Definition. In the
                                               to the spouse of an entrepreneur paroled                    interest of at least 15 percent for initial          final rule, DHS is revising the definition
                                               into the United States under 8 CFR                          parole, and 10 percent for re-parole. In             of a start-up entity as proposed in 8 CFR
                                               212.19. The final rule amends 8 CFR                         response to public comment, DHS is                   212.19(a)(2). In the NPRM, DHS
                                               274a.2(b) by designating the                                modifying this requirement to allow                  proposed that an entity may be
                                               entrepreneur’s foreign passport and                         individuals who have an ownership                    considered recently formed if it was
                                               Arrival/Departure Record (Form I–94)                        interest of at least 10 percent in the               created within the 3 years preceding the
                                               indicating entrepreneur parole as                           start-up entity at the time of                       date of filing of the initial parole
                                               acceptable evidence for employment                          adjudication of the initial grant of                 request. In response to public comment,
                                               eligibility verification (Form I–9)                         parole, and at least a 5 percent                     DHS is modifying this provision so that
                                               purposes.3 The final rule also amends 8                     ownership interest at the time of                    an entity may be considered recently
                                               CFR 103.7(b)(i) by including the fee for                    adjudication of a subsequent period of               formed if it was created within the 5
                                               the new Application for Entrepreneur                        re-parole, to qualify under this                     years immediately preceding the filing
                                               Parole form.                                                definition.                                          date of the initial parole request.
                                                                                                              • Qualified Investment Definition.                Additionally, for purposes of paragraphs
                                               D. Summary of Changes From the                              DHS is revising proposed 8 CFR                       (a)(3) and (a)(5) of this section, which
                                               Notice of Proposed Rulemaking                               212.19(a)(4), which establishes the                  pertain to the definitional requirements
                                                  Following careful consideration of                       definition of a qualified investment. In             to be a qualified investor or qualified
                                               public comments received, including                         the NPRM, DHS proposed that the term                 government award or grant,
                                               relevant data provided by stakeholders,                     ‘‘qualified investment’’ means an                    respectively, DHS made corresponding
                                               DHS has made several modifications to                       investment made in good faith, and that              changes in this final rule such that an
                                               the regulatory text proposed in the                         is not an attempt to circumvent any                  entity may be considered recently
                                               Notice of Proposed Rulemaking (NPRM)                        limitations imposed on investments                   formed if it was created within the 5
                                               published in the Federal Register on                        under this section, of lawfully derived              years immediately preceding the receipt
                                               August 31, 2016. See 81 FR 60129.                           capital in a start-up entity that is a               of the relevant grant(s), award(s), or
                                               Those changes include the following:                        purchase from such entity of equity or               investment(s).
                                                  • Minimum Investment Amount. In                          convertible debt issued by such entity.                 • Job Creation Requirement. In the
                                               the final rule, DHS is responding to                        In response to public comment, DHS is                final rule, DHS is revising proposed 8
                                               public comment by revising proposed 8                       modifying this definition to include                 CFR 212.19(c)(2)(ii)(B)(2), a provision
                                               CFR 212.19(b)(2)(ii)(B)(1), a provision                     other securities that are convertible into           that identifies the minimum job creation
                                               that identifies the qualifying investment                   equity issued by such an entity and that             requirement under the general re-parole
                                               amount required from one or more                            are commonly used in financing                       criteria. In the NPRM, DHS proposed
                                               qualified investors. In the NPRM, DHS                       transactions within such entity’s                    that an entrepreneur may be eligible for
                                               proposed a minimum investment                               industry.                                            an additional period of parole by
                                               amount of $345,000. Based on data                              • Qualified Investor Definition. DHS              establishing that his or her start-up
                                               provided by the public, DHS is revising                     is revising proposed 8 CFR 212.19(a)(5),             entity has created at least 10 qualified
                                               this figure to $250,000. Thus, under the                    which establishes the definition of a                jobs during the initial parole period. In
                                               final rule, an applicant would generally                    qualified investor. In the NPRM, DHS                 response to public comment, DHS is
                                               be able to meet the investment standard                     proposed that an individual or                       modifying this provision so that an
                                               by demonstrating that the start-up entity                   organization may be considered a                     entrepreneur may qualify for re-parole if
                                               has received investments of capital                         qualified investor if, during the                    the start-up entity created at least 5
                                               totaling $250,000 or more from                              preceding 5 years: (i) The individual or             qualified jobs with the start-up entity
                                               established U.S. investors (such as                         organization made investments in start-              during the initial parole period.
                                               venture capital firms, angel investors, or                  up entities in exchange for equity or                   • Revenue Generation. In the final
                                               start-up accelerators) with a history of                    convertible debt in at least 3 separate              rule, DHS is clarifying proposed 8 CFR
                                               substantial investment in successful                        calendar years comprising a total within             212.19(c)(2)(ii)(B)(3), a provision that
                                               start-up entities. In addition, DHS has                     such 5-year period of no less than                   identifies the minimum annual revenue
                                               increased the timeframe during which                        $1,000,000; and (ii) subsequent to such              requirement under the general re-parole
                                               the qualifying investments must be                          investment by such individual or                     criteria. DHS has clarified that for the
                                               received from 365 days to 18 months                         organization, at least 2 such entities               revenue to be considered for purposes of
                                               immediately preceding the filing of an                      each created at least 5 qualified jobs or            re-parole, it must be generated in the
                                               application for initial parole.                             generated at least $500,000 in revenue               United States.
                                                  • Definition of Entrepreneur:                            with average annualized revenue growth                  • Parole Validity Periods. In the final
                                               Ownership Criteria. In the final rule,                      of at least 20 percent. In this final rule,          rule, DHS is revising proposed 8 CFR
                                                                                                           the minimum investment amount has                    212.19(d)(2) and (3), which are
                                                 3 Additionally, DHS is making a technical change
                                                                                                           been decreased from the originally                   provisions that identify the length of the
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                                               to this section by adding the Department of State
                                               (DOS) Consular Report of Birth Abroad (Form FS–
                                                                                                           proposed $1,000,000 to $600,000. The                 initial and re-parole periods. In the
                                               240) to the regulatory text and to the ‘‘List C’’ listing   requirement that investments be made                 NPRM, DHS proposed (1) a potential
                                               of acceptable documents for Form I–9 verification           in at least 3 separate calendar years has            initial period of parole of up to 2 years
                                               purposes. This rule departs from the Notice of              also been removed from this final rule.              beginning on the date the request is
                                               Proposed Rulemaking by not adding ‘‘or successor
                                               form’’ after Form FS–240. DHS determined that
                                                                                                           DHS is also making revisions to the                  approved by USCIS and (2) a potential
                                               inclusion of the phrase is unnecessary and may              form of investment made by the                       period of re-parole of up to 3 years
                                               cause confusion in the future.                              individual or organization consistent                beginning on the date of the expiration

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                                               of the initial parole period. First, DHS                final rule makes conforming revisions to               filing costs is estimated to be $8,136,571
                                               revised 8 CFR 212.19(d)(2) to correct                   this provision based on changes to the                 annually.
                                               that the initial parole period would                    definition of entrepreneur and to the                     DHS anticipates that establishing a
                                               begin running on the date the individual                material change provisions.                            parole process for those entrepreneurs
                                               is initially paroled into the United                                                                           who stand to provide a significant
                                               States. Second, in response to public                   E. Summary of Costs and Benefits                       public benefit will advance the U.S.
                                               comment, DHS revised 8 CFR                                DHS does not anticipate that this rule               economy by enhancing innovation,
                                               212.19(d)(2) and (3) to provide 2                       will generate significant costs and                    generating capital investments, and
                                               potential parole periods of up to 30                    burdens to private or public entities.                 creating jobs. DHS does not expect
                                               months each, rather than an initial 2-                  Costs of the rule stem from filing fees                significant negative consequences or
                                               year period followed by a potential 3-                                                                         labor market impacts from this rule;
                                                                                                       and opportunity costs associated with
                                               year period of re-parole. Specifically, 8                                                                      indeed, DHS believes this rule will
                                                                                                       applying for parole, and the requirement
                                               CFR 212.19(d)(2) now provides that an                                                                          encourage entrepreneurs to pursue
                                                                                                       that the entrepreneur notify DHS of any
                                               applicant who meets the eligibility                                                                            business opportunities in the United
                                                                                                       material changes.
                                               criteria (and his or her spouse and                                                                            States rather than abroad, which can be
                                               minor, unmarried children, if any) may                    DHS estimates that 2,940                             expected to generate significant
                                               be considered under this rule for a                     entrepreneurs will be eligible for parole              scientific, research and development,
                                               discretionary grant of an initial parole                annually and can apply using the                       and technological impacts that could
                                               period of up to 30 months (2.5 years)                   Application for Entrepreneur Parole                    create new products and produce
                                               based on the significant public benefit                 (Form I–941). Each applicant for parole                positive spillover effects to other
                                               that would be provided by the                           will face a total filing cost—including                businesses and sectors. The impacts
                                               applicant’s (or family’s) parole into the               the application form fee, biometric filing             stand to benefit the economy by
                                               United States. DHS also revised in this                 fee, travel costs, and associated                      supporting and strengthening high-
                                               final rule the period of re-parole in 8                 opportunity costs—of $1,591, resulting                 growth, job-creating businesses in the
                                               CFR 212.19(d)(3) to reduce the period of                in a total cost of $4,678,336                          United States.
                                               re-parole from 3 years to 30 months in                  (undiscounted) for the first full year the
                                               order to extend the initial parole period,              rule will take effect and any subsequent               F. Effective Date
                                               while still maintaining the overall 5-                  year. Additionally, dependent family                      This final rule will be effective on
                                               year period of parole limitation.                       members (spouses and children) seeking                 July 17, 2017, 180 days from the date of
                                                  • Material Changes. In the final rule,               parole with the principal applicant will               publication in the Federal Register.
                                               DHS is revising proposed 8 CFR                          be required to file an Application for                 DHS has determined that this 180-day
                                               212.19(a)(10), a provision that defines                 Travel Document (Form I–131) and                       period is necessary to provide USCIS
                                               material changes. The final rule adds                   submit biographical information and                    with a reasonable period to ensure
                                               the following to the definition of                      biometrics. DHS estimates                              resources are in place to process and
                                               material changes: ‘‘a significant change                approximately 3,234 dependent spouses                  adjudicate Applications for
                                               with respect to ownership and control                   and children could seek parole based on                Entrepreneur Parole filed by eligible
                                               of the start-up entity.’’ This reflects a               the estimate of 2,940 principal                        entrepreneurs and related applications
                                               change from the originally proposed                     applicants. Each spouse and child 14                   filed by eligible dependents under this
                                               language of any significant change to the               years of age and older seeking parole                  rule without sacrificing the quality of
                                               entrepreneur’s role in or ownership and                 will face a total cost of $765 per                     customer service for all USCIS
                                               control in the start-up entity or any                   applicant,4 for a total aggregate cost of              stakeholders. USCIS believes it will thus
                                               other significant change with respect to                $2,474,914.5 Additionally, spouses who                 be able to implement this rule in a
                                               ownership and control of the start-up                   apply for work authorization via an                    manner that will avoid delays of
                                               entity. Additionally, the final rule at 8               Application for Employment                             processing these and other applications.
                                               CFR 212.19(a)(1) adds language that                     Authorization (Form I–765) will incur a
                                               permits the entrepreneur during the                                                                            II. Background
                                                                                                       total additional cost of $446 each. Based
                                               initial parole period to reduce his or her              on the same number of entrepreneurs,                   A. Discretionary Parole Authority
                                               ownership interest, as long as at least 5               the estimated 2,940 spouses 6 will incur
                                               percent ownership is maintained. This                                                                             The Secretary of Homeland Security
                                                                                                       total costs of $1,311,830 (undiscounted).              has discretionary authority to parole
                                               provision was revised in response to a                  The total cost of the rule to include
                                               number of public comments that                                                                                 into the United States temporarily
                                                                                                       direct filing costs and monetized non-                 ‘‘under conditions as he may prescribe
                                               requested that DHS reconsider how and
                                               when material changes should be                                                                                only on a case-by-case basis for urgent
                                                                                                         4 On October 24, 2016, U.S. Citizenship and
                                               reported.                                                                                                      humanitarian reasons or significant
                                                                                                       Immigration Services published a final rule
                                                  • Reporting of Material Changes. In                  establishing a new fee schedule for immigration        public benefit any individual applying
                                               the final rule, DHS is revising proposed                benefits and services (81 FR 73292). The new filing    for admission to the United States,’’
                                               8 CFR 212.19(j), a provision that                       fees for Form I–131 and Form I–765, $575 and $410,     regardless of whether the alien is
                                                                                                       respectively, will be effective on December 23,        inadmissible. INA section 212(d)(5)(A),
                                               describes reporting of material changes.                2016. This final rule uses those new filing fees in
                                               DHS is revising 8 CFR 212.19(j) to allow                estimating costs to potential applicants under this    8 U.S.C. 1182(d)(5)(A).7 The Secretary’s
                                               DHS to provide additional flexibility in                rule.                                                  parole authority is expansive. Congress
                                               the future with respect to the manner in                  5 For parole requests for children under the age     did not define the phrase ‘‘urgent
                                                                                                       of 14, only the filing fee will be required, as such   humanitarian reasons or significant
                                               which material changes are reported to
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                                                                                                       children do not appear for biometric collection.
                                               DHS. The final rule also makes                          Applicants under the age of 14 and over the age of
                                                                                                                                                              public benefit,’’ entrusting
                                               conforming changes based on changes to                  79 are not required to be fingerprinted. However,      interpretation and application of those
                                               the definition of entrepreneur.                         they may still be required to attend a biometrics
                                                  • Termination of Parole. In the final                appointment in order to have their photographs and       7 Although section 212(d)(5) continues to refer to
                                                                                                       signatures captured.                                   the Attorney General, the parole authority now
                                               rule, DHS is revising proposed 8 CFR                      6 DHS used a simple one-to-one mapping of            resides exclusively with the Secretary of Homeland
                                               212.19(k)(2), a provision that describes                entrepreneurs to spouses to obtain 2,940 spouses,      Security. See Matter of Arrabally, 25 I. & N. Dec.
                                               automatic termination of parole. The                    the same number as entrepreneur parolees.              771, 777 n.5 (BIA 2012).


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                                               standards to the Secretary. Aside from                  will appear at all hearings and will                    authorized parole period. See 8 CFR
                                               requiring case-by-case determinations,                  depart from the United States when                      235.1(h)(2). CBP retains the authority to
                                               Congress limited the parole authority by                required to do so. See 8 CFR 212.5(d).                  deny parole to a parole applicant or to
                                               restricting its use with respect to two                    Each of the DHS immigration                          modify the length of advance parole
                                               classes of applicants for admissions: (1)               components—USCIS, U.S. Customs and                      authorized by USCIS. See 8 CFR
                                               Aliens who are refugees (unless the                     Border Protection (CBP), and U.S.                       212.5(c).
                                               Secretary determines that ‘‘compelling                  Immigration and Customs Enforcement                        Because parole does not constitute an
                                               reasons in the public interest with                     (ICE)—has been delegated the authority                  admission, individuals may be paroled
                                               respect to that particular alien require                to parole applicants for admission in                   into the United States even if they are
                                               that the alien be paroled . . . rather                  accordance with section 212(d)(5) of the                inadmissible under section 212(a) of the
                                               than be admitted as a refugee’’ under                   INA, 8 U.S.C. 1182(d)(5). See 8 CFR                     INA, 8 U.S.C. 1182(a). Further, parole
                                               INA section 207, 8 U.S.C. 1157), see INA                212.5(a). The parole authority is often                 does not provide a parolee with
                                               section 212(d)(5)(B), 8 U.S.C.                          utilized to permit an individual who is                 nonimmigrant status or lawful
                                               1182(d)(5)(B); and (2) certain alien                    outside the United States to travel to                  permanent resident status. Nor does it
                                               crewmen during a labor dispute in                       and come into the United States without                 provide the parolee with a basis for
                                               specified circumstances (unless the                     a visa. USCIS, however, also accepts                    changing status to that of a
                                               Secretary ‘‘determines that the parole of               requests for ‘‘advance parole’’ by                      nonimmigrant or adjusting status to that
                                               such alien is necessary to protect the                  individuals who seek authorization to                   of a lawful permanent resident, unless
                                               national security of the United States’’),              depart the United States and return to                  the parolee is otherwise eligible.
                                               INA section 214(f)(2)(A), 8 U.S.C.                      the country pursuant to parole in the                      Under current regulations, once
                                               1184(f)(2)(A).                                          future. See 8 CFR 212.5(f); Application                 paroled into the United States, a parolee
                                                  Parole decisions are discretionary                   for Travel Document (Form I–131).                       is eligible to request employment
                                               determinations and must be made on a                    Aliens who seek parole as entrepreneurs                 authorization from USCIS by filing a
                                               case-by-case basis consistent with the                  under this rule may need to apply for                   Form I–765 application with USCIS. See
                                               INA. To exercise its parole authority,                  advance parole if at the time of                        8 CFR 274a.12(c)(11). If employment
                                               DHS must determine that an                              application they are present in the                     authorization is granted, USCIS issues
                                               individual’s parole into the United                     United States after admission in, for                   the parolee an employment
                                               States is justified by urgent                           example, a nonimmigrant classification,                 authorization document (EAD) with an
                                               humanitarian reasons or significant                     as USCIS is unable to grant parole to                   expiration date that is commensurate
                                               public benefit. Even when one of those                  aliens who are not ‘‘applicants for                     with the period of parole on the
                                               standards would be met, DHS may                         admission.’’ See INA section                            parolee’s Arrival/Departure Record
                                               nevertheless deny parole as a matter of                 212(d)(5)(A), 8 U.S.C. 1182(d)(5)(A); see               (Form I–94). The parolee may use this
                                               discretion based on other factors.8 In                  also INA section 235(a)(1), 8 U.S.C.                    EAD to demonstrate identity and
                                               making such discretionary                               1225(a)(1) (describing ‘‘applicants for                 employment authorization to an
                                               determinations, USCIS considers all                     admission’’). Advance authorization of                  employer for Form I–9 verification
                                               relevant information, including any                     parole by USCIS does not guarantee that                 purposes as required by section 274A(a)
                                               criminal history or other serious adverse               the individual will be paroled by CBP                   and (b) of the INA, 8 U.S.C. 1324a(a)
                                               factors that would weigh against a                      upon his or her appearance at a port of                 and (b). Under current regulations, the
                                               favorable exercise of discretion.                       entry.10 Rather, with a grant of advance                parolee is not employment authorized
                                                  Parole is not an admission to the                    parole, the individual is issued a                      by virtue of being paroled, but instead
                                               United States. See INA sections                         document authorizing travel (in lieu of                 only after receiving a discretionary grant
                                               101(a)(13)(B), 212(d)(5)(A), 8 U.S.C.                   a visa) indicating ‘‘that, so long as                   of employment authorization from
                                               1101(a)(13)(B), 1182(d)(5)(A); see also 8               circumstances do not meaningfully                       USCIS based on the Application for
                                               CFR 1.2 (‘‘An arriving alien remains an                 change and the DHS does not discover                    Employment Authorization.
                                               arriving alien even if paroled pursuant                 material information that was                              Parole will terminate automatically
                                               to section 212(d)(5) of the Act, and even               previously unavailable, . . . DHS’s                     upon the expiration of the authorized
                                               after any such parole is terminated or                  discretion to parole him at the time of                 parole period or upon the departure of
                                               revoked.’’). Parole may also be                         his return to a port of entry will likely               the individual from the United States.
                                               terminated at any time in DHS’s                         be exercised favorably.’’ 11                            See 8 CFR 212.5(e)(1). Parole also may
                                               discretion, consistent with existing                       Currently, upon an individual’s                      be terminated on written notice when
                                               regulations; in those cases, the                        arrival at a U.S. port of entry with a                  DHS determines that the individual no
                                               individual is ‘‘restored to the status that             parole travel document (e.g., a                         longer warrants parole or through the
                                               he or she had at the time of parole.’’ 8                Department of State (DOS) foil,                         service of a Notice to Appear (NTA). See
                                               CFR 212.5(e); see also INA section                      Authorization for Parole of an Alien into               8 CFR 212.5(e)(2)(i).
                                               212(d)(5)(A), 8 U.S.C. 1182(d)(5)(A).9                  the United States (Form I–512L), or an
                                                                                                                                                               B. Final Rule
                                                  DHS regulations at 8 CFR 212.5                       Employment Authorization Document
                                               generally describe DHS’s discretionary                  (Form I–766)), a CBP officer at a port of                 Following careful consideration of
                                               parole authority, including the authority               entry inspects the prospective parolee. If              public comments received, DHS has
                                               to set the terms and conditions of                      parole is authorized, the CBP officer                   made several modifications to the
                                               parole. Some conditions are described                   issues an Arrival/Departure Record                      regulatory text proposed in the NPRM
                                               in the regulations, including requiring                 (Form I–94) documenting the grant of                    (as described above in Section I.C.). The
                                               reasonable assurances that the parolee                  parole and the length of the parolee’s                  rationale for the proposed rule and the
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                                                                                                                                                               reasoning provided in the background
                                                 8 The denial of parole is not subject to judicial        10 See Matter of Arrabally, 25 I. & N. Dec. at 779   section of that rule remain valid with
                                               review. See INA section 242(a)(2)(B)(ii), 8 U.S.C.      n.6 (citing 71 FR 27585, 27586 n.1 (May 12, 2006)       respect to these regulatory amendments.
                                               1252(a)(2)(B)(ii); Bolante v. Keisler, 506 F.3d 618,    (‘‘[A] decision authorizing advance parole does not     Section III of this final rule includes a
                                               621 (7th Cir. 2007).                                    preclude denying parole when the alien actually
                                                 9 The grounds for termination set forth in            arrives at a port-of-entry, should DHS determine        detailed summary and analysis of public
                                               212.19(k) are in addition to the general grounds for    that parole is no longer warranted.’’)).                comments that are pertinent to the
                                               termination of parole described at 8 CFR 212.5(e).         11 Id.                                               proposed rule and DHS’s role in

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                                               administering the International                         executive branch. Another commenter                    more restrictive than earlier versions of
                                               Entrepreneur Rule. A brief summary of                   indicated that the proposed rule is too                the parole authority, which did not
                                               comments deemed by DHS to be out of                     vague regarding whether ‘‘the agency                   always require case-by-case review and
                                               scope or unrelated to this rulemaking,                  intends to grant parole to aliens already              now includes additional limits on the
                                               making a detailed substantive response                  present in the United States,’’ and                    use of parole for refugees and certain
                                               unnecessary, is provided in Section                     questioned whether the proposed                        alien crewmen. See INA section
                                               III.K. Comments may be reviewed at the                  exercise of parole authority is supported              212(d)(5)(B), 8 U.S.C. 1182(d)(5)(B)
                                               Federal Docket Management System                        by legislative history, is consistent with             (refugees); INA section 214(f)(2)(A), 8
                                               (FDMS) at http://www.regulations.gov,                   the INA’s overall statutory scheme, and                U.S.C. 1184(f)(2)(A) (alien crewmen);
                                               docket number USCIS–2015–0006.                          whether ‘‘significant public benefit                   Illegal Immigration Reform and
                                                                                                       parole’’ as outlined in this rule is                   Immigrant Responsibility Act of 1996,
                                               III. Public Comments on the Proposed                    ‘‘arbitrary and capricious.’’                          Public Law 104–208, div. C, sec. 602(a)–
                                               Rule                                                       Response. DHS agrees with the                       (b), 110 Stat. 3009–689 (1996) (changing
                                               A. Summary of Public Comments                           commenter that contended that the                      the standard for parole). But the statute
                                                                                                       Secretary has authority to promulgate                  clearly continues to authorize the
                                                 In response to the proposed rule, DHS                 this rule. As noted above, DHS’s                       granting of parole. Across
                                               received 763 comments during the 45-                    authority to promulgate this rule arises               Administrations, moreover, it has been
                                               day public comment period. Of these,                    primarily from sections 101(b)(1)(F) and               accepted that the Secretary can identify
                                               43 comments were duplicate                              402(4) of the HSA; sections 103(a)(1)                  classes of individuals to consider for
                                               submissions and approximately 242                       and (3) of the INA, 8 U.S.C. 1103(a)(1),               parole so long as each individual
                                               were letters submitted through mass                     (3); section 212(d)(5) of the INA, 8                   decision is made on a case-by-case basis
                                               mailing campaigns. As those letters                     U.S.C. 1182(d)(5); and section                         according to the statutory criteria. See,
                                               were sufficiently unique, DHS                           274A(h)(3)(B) of the INA, 8 U.S.C.                     e.g., 8 CFR 212.5(b) (as amended in
                                               considered all of these comment                         1324a(h)(3)(B). The Secretary retains                  1997); Cuban Family Reunification
                                               submissions. Commenters consisted                       broad statutory authority to exercise his              Parole Program, 72 FR 65,588 (Nov. 21,
                                               primarily of individuals but also                       discretionary parole authority based                   2007). This rule implements the parole
                                               included startup incubators, companies,                 upon ‘‘significant public benefit.’’                   authority in that way.
                                               venture capital firms, law firms and                       DHS disagrees with the comment                         In addition to the concerns described
                                               representatives from State and local                    asserting that the proposed rule would                 above, one commenter argued that the
                                               governments. Approximately 51 percent                   effectively create a new visa category,                proposed rule did not clearly explain
                                               of commenters expressed support for                     which only Congress has the authority                  whether ‘‘the agency intends to grant
                                               the rule and/or offered suggestions for                 to do. See INA section 101(a)(15), 8                   parole to aliens already present in the
                                               improvement. Nearly 46 percent of                       U.S.C. 1101(a)(15) (identifying                        United States.’’ DHS believes it is clear
                                               commenters expressed general                            nonimmigrant categories). Congress                     under this rule that an individual who
                                               opposition to the rule without                          expressly empowered DHS to grant                       is present in the United States as a
                                               suggestions for improvement. For                        parole on a case-by-case basis, and                    nonimmigrant based on an inspection
                                               approximately 3 percent of the public                   nothing in this rule uses that authority               and admission is not eligible for parole
                                               comments, DHS could not ascertain                       to establish a new nonimmigrant                        without first departing the United States
                                               whether the commenter supported or                      classification. Among other things,                    and appearing at a U.S. port of entry to
                                               opposed the proposed rule.                              individuals who are granted parole—                    be paroled into United States. See INA
                                                 DHS has reviewed all of the public                    which can be terminated at any time in                 sections 212(d)(5)(A), 235(a)(1); 8 U.S.C.
                                               comments received in response to the                    the Secretary’s discretion—are not                     1182(d)(5)(A), 1225(a)(1). As further
                                               proposed rule and addresses relevant                    considered to have been ‘‘admitted’’ to                discussed in section III.H. of this rule,
                                               comments in this final rule. DHS’s                      the United States, see INA sections                    moreover, DHS does not contemplate
                                               responses are grouped by subject area,                  101(a)(13)(B), 212(d)(5)(A), 8 U.S.C.                  using this rule to grant requests for
                                               with a focus on the most common issues                  1101(a)(13)(B), 1182(d)(5)(A); and                     parole in place for initial requests for
                                               and suggestions raised by commenters.                   cannot change to a nonimmigrant                        parole.
                                               B. Legal Authority                                      category as a parolee, see INA section                    Comment: A commenter objected to
                                                                                                       248(a), 8 U.S.C. 1258(a). Nor does parole              the extension of employment
                                                  Comments. One commenter                              confer lawful permanent resident status.               authorization by this rule to
                                               supported DHS’s stated authority for                    To adjust status to that of a lawful                   entrepreneur parolees for the sole
                                               promulgating this regulation and said                   permanent resident, individuals                        purpose of engaging in entrepreneurial
                                               that the INA grants the Secretary of                    generally must, among other things, be                 employment, stating that DHS is barred
                                               Homeland Security the authority to                      admissible to the United States, have a                from doing so given the comprehensive
                                               establish policies governing parole and                 family or employment-based immigrant                   legislative scheme for employment-
                                               that efforts to reduce barriers to                      visa immediately available to them, and                based temporary and permanent
                                               entrepreneurship via regulatory reform                  not be subject to the various bars to                  immigration.
                                               directly addresses DHS’s mandate, ‘‘to                  adjustment of status. See INA section                     Response: DHS disagrees with the
                                               ensure that the overall economic                        245(a), (c), (k); 8 U.S.C. 1255(a), (c), (k);          commenter. Under a plain reading of
                                               security of the United States is not                    8 CFR 245.1.                                           INA section 103(a), 8 U.S.C. 1103(a), the
                                               diminished by efforts, activities, and                     DHS further disagrees with the                      Secretary is provided with broad
                                               programs aimed at securing the                          comment that this rule is inconsistent                 discretion to administer and enforce the
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                                               homeland.’’ On the other hand, some                     with the legislative history on parole.                Nation’s immigration laws and broad
                                               commenters questioned DHS’s authority                   Under current law, Congress has                        authority to ‘‘establish such regulations
                                               to implement this rule. A commenter                     expressly authorized the Secretary to                  . . . and perform such other acts as he
                                               asserted that the rule created a new visa               grant parole on a case-by-case basis for               deems necessary for carrying out his
                                               category which is under the exclusive                   urgent humanitarian reasons or                         authority under the [INA],’’ see INA
                                               purview of Congress, and therefore an                   significant public benefit. The statutory              section 103(a)(3), 8 U.S.C. 1103(a)(3).
                                               illegal extension of authority by the                   language in place today is somewhat                    Further, the specific definitional

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                                               provision at section 274A(h)(3)(B) of the                  Given the way job creation will                     ownership percentage requirements in
                                               INA, 8 U.S.C. 1324a(h)(3)(B), which was                 already be considered, DHS believes it                 this final rule adequately account for the
                                               raised by the commenter, presumes that                  is unnecessary to make ‘‘job quality’’ its             possibility of equity dilution, while
                                               employment may be authorized by the                     own separate criterion in determining                  ensuring that the individual continues
                                               Secretary and not just by statute. See                  whether to grant parole or re-parole. It               to have a substantial ownership interest
                                               Arizona Dream Act Coal. v. Brewer, 757                  is also unclear how the commenter                      in, and assumes more than a nominal
                                               F.3d 1053, 1062 (9th Cir. 2014)                         believes DHS should apply any such                     financial risk related to, the start-up
                                               (‘‘Congress has given the Executive                     criterion. Under this final rule, DHS will             entity.
                                               Branch broad discretion to determine                    evaluate the totality of the                              Given that this is a new and complex
                                               when noncitizens may work in the                        circumstances, including the evidence                  process, DHS declines to adopt a
                                               United States.’’); Perales v. Casillas, 903             about job creation, in determining                     separate option of establishing
                                               F.2d 1043, 1048, 1050 (5th Cir. 1990)                   whether to parole an individual into the               substantial ownership interest based on
                                               (describing the authority recognized by                 United States for significant public                   a valuation of the entrepreneur’s
                                               INA 274A(h)(3) as ‘‘permissive’’ and                    benefit.                                               ownership interest. DHS believes that
                                               largely ‘‘unfettered’’). The fact that                                                                         the percentages provided within the
                                               Congress has directed the Secretary to                  D. Definitions                                         final rule offer clear guidance to
                                               authorize employment to specific                        1. Entrepreneur—Ownership Criteria                     stakeholders and adjudicators as to what
                                               classes of foreign nationals in certain                                                                        constitutes a substantial ownership
                                                                                                          Comments: Several commenters
                                               statutory provisions does not diminish                                                                         interest regardless of the industry
                                                                                                       expressed concern with the 15 percent
                                               the Secretary’s broad authority under                                                                          involved. Reliance upon valuations of
                                                                                                       ‘‘substantial ownership interest’’                     an owner’s interest would unnecessarily
                                               other statutory provisions to administer
                                                                                                       requirement in the definition of                       complicate the adjudicative review
                                               the immigration laws, including through
                                                                                                       ‘‘entrepreneur’’ in the proposed rule.                 process, could potentially increase fraud
                                               the extension of employment
                                                                                                       One such commenter said the 15                         and abuse, and may be burdensome for
                                               authorization. See generally 8 CFR
                                                                                                       percent ‘‘substantial ownership                        the applicant to obtain from an
                                               274a.12 (identifying, by regulation,
                                                                                                       interest’’ requirement is only reasonable              independent and reliable source. DHS,
                                               numerous ‘‘classes of aliens authorized
                                                                                                       for smaller startups and proposed that                 therefore, believes that the best
                                               to accept employment’’).
                                                                                                       the rule also separately include a dollar              indicator of an entrepreneur’s
                                               C. Significant Public Benefit                           amount to satisfy the ‘‘substantial                    ownership interest is the individual’s
                                                  Comment: One commenter stated that                   ownership interest’’ requirement (e.g.,                ownership percentage since that is easy
                                               the quality of the jobs created should be               15 percent ownership interest or                       for an applicant to establish and
                                               a factor in determining whether the                     ownership interest valued at $150,000                  provides an objective indicator for DHS
                                               entrepreneur’s parole will provide a                    or more). Several commenters                           to assess. DHS has decided to take an
                                               significant public benefit. The                         recommended that the final rule reduce                 incremental approach and will consider
                                               commenter suggested formalizing some                    the initial parole threshold from 15 to                potential modifications in the future
                                               form of priority criteria.                              10 percent and reduce the re-parole                    after it has assessed the implementation
                                                  Response: Under this final rule,                     threshold from 10 to 5 percent. Other                  of the rule and its impact on operational
                                               evidence regarding job creation may be                  commenters suggested that 10 percent                   resources.
                                               considered in determining whether to                    ownership per individual would be a
                                               parole an individual into the United                    more appropriate threshold because                     2. Other Comments on Entrepreneur
                                               States for ‘‘significant public benefit.’’              some start-ups may be founded by teams                 Definition
                                               An entrepreneur may be considered for                   of founders that need to split equity and                 Comment: One commenter stated that,
                                               an initial period of parole if the                      requiring more than 15 percent                         in defining who counts as an
                                               entrepreneur’s start-up entity has                      ownership might be too restrictive and                 ‘‘entrepreneur,’’ the rule should take
                                               received a qualifying investment or                     limit business creativity and growth.                  into account whether an individual has
                                               grant. Alternatively, if the entity has                    Response: Consistent with the                       been successful in the past, including by
                                               received a lesser investment or grant                   commenters’ concerns and suggestions,                  having previously owned and
                                               amount, the entrepreneur may still be                   DHS is revising the definition of                      developed businesses, generated more
                                               considered for parole by providing other                entrepreneur in this final rule to reduce              than a certain amount of revenue,
                                               reliable and compelling evidence of the                 the ownership percentage that the                      created more than a certain number of
                                               start-up entity’s substantial potential for             individual must possess. See 8 CFR                     jobs, or earned at least a certain amount.
                                               rapid growth and job creation. Evidence                 212.19(a)(1). Based on further analysis,                  Response: Under this final rule,
                                               pertaining to the creation of jobs, as well             DHS believes that the thresholds from                  evidence regarding an entrepreneur’s
                                               as the characteristics of the jobs created              the proposed rule could have                           track record may be considered in
                                               (e.g., occupational classification and                  unnecessarily impacted an                              determining whether to parole an
                                               wage level) may be considered by DHS                    entrepreneur’s ability to dilute his or                individual into the United States for
                                               in determining whether the evidence,                    her ownership interest to raise                        ‘‘significant public benefit.’’ The final
                                               when combined with the amount of                        additional funds and grow the start-up                 rule’s definition of entrepreneur
                                               investment, grant or award, establishes                 entity. In this final rule, an individual              requires the applicant to show that he
                                               that the entrepreneur will provide a                    may be considered to possess a                         or she both: (1) Possesses a substantial
                                               significant public benefit to the United                substantial ownership interest if he or                ownership interest in the start-up entity,
                                               States. As with initial parole                          she possesses at least a 10 percent                    and (2) has a central and active role in
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                                               determinations, evidence pertaining to                  ownership interest in the start-up entity              the operations of that entity, such that
                                               the creation of jobs, as well as the                    at the time of adjudication of the initial             the alien is well-positioned, due to his
                                               characteristics of the jobs created (e.g.,              grant of parole and possesses at least a               or her knowledge, skills, or experience,
                                               occupational classification and wage                    5 percent ownership interest in the                    to substantially assist the entity with the
                                               level) may be considered by DHS to                      start-up entity at the time of                         growth and success of its business. See
                                               determine whether the entrepreneur                      adjudication of a subsequent period of                 new 8 CFR 212.19(a)(1). Some of the
                                               should be granted re-parole.                            re-parole. DHS believes that the revised               factors suggested by the commenter are

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                                               relevant evidence that the applicant can                role,’’ and therefore is well-positioned               authorization and join the emerging
                                               submit to show that he or she is well-                  to advance the entity’s business, will be              startup company, resulting in loss of key
                                               positioned to substantially assist the                  determined based on the totality of the                technical ability, delay, and additional
                                               entity with the growth and success of its               evidence provided on a case-by-case                    cost for the startup company to achieve
                                               business. DHS will also evaluate the                    basis. Such evidence may include:                      market success. The commenter believes
                                               totality of the evidence to determine                      • Letters from relevant government                  this rule could alleviate this investment
                                               whether an applicant’s presence in the                  agencies, qualified investors, or                      risk.
                                               United States will provide a significant                established business associations with                    Response: As discussed above, an
                                               public benefit and that he or she                       an understanding of the applicant’s                    applicant for parole under this rule may
                                               otherwise merits a favorable exercise of                knowledge, skills or experience that                   provide any relevant, probative, and
                                               discretion. Given the way an                            would advance the entity’s business;                   credible evidence indicating the
                                               entrepreneur’s track record may already                    • news articles or other similar                    applicant’s ability to advance the
                                               be considered on a case-by-case basis,                  evidence indicating that the applicant                 entity’s business in the United States.
                                               DHS believes it is unnecessary to make                  has received significant attention and                 Such evidence includes documentation
                                               the specific factors identified by the                  recognition;                                           pertaining to intellectual property of the
                                               commenter their own separate criteria                      • documentation showing that the                    start-up entity, such as a patent, that
                                               in determining whether to grant parole                  applicant or entity has been recently                  was obtained by the applicant or as a
                                               or re-parole.                                           invited to participate in, is currently                result of the applicant’s efforts and
                                                  Comment: A few commenters                            participating in, or has graduated from                expertise. DHS will consider such
                                               recommended that DHS clarify the term                   one or more established and reputable                  evidence to determine whether the
                                               ‘‘well-positioned’’ as used in the                      start-up accelerators;                                 applicant performs, or will perform, an
                                               definition of ‘‘entrepreneur.’’ See final 8                • documentation showing that the                    active and central role in the start-up
                                               CFR 212.19(a)(1) (requiring an                          applicant has played an active and                     entity.
                                               international entrepreneur to prove that                central role in the success of prior start-               Given the breadth of evidence that
                                               he or she ‘‘is well-positioned, due to his              up or other relevant business entities;                can already be considered in these
                                               or her knowledge, skills, or experience,                   • degrees or other documentation                    determinations, DHS declines to amend
                                               to substantially assist the entity with the             indicating that the applicant has                      the definition of ‘‘entrepreneur’’ in 8
                                               growth and success of its business’’).                  knowledge, skills, or experience that                  CFR 212.19(a)(1) to include some
                                               The commenters believe that the                         would significantly advance the entity’s               consideration of ‘‘intellectual property’’
                                               proposed rule did not explain how an                    business;                                              as a specific metric to determine if the
                                               applicant would demonstrate that he or                     • documentation pertaining to                       applicant will have an active and
                                               she is ‘‘well-positioned.’’ The                         intellectual property of the start-up                  central role in the start-up entity. DHS
                                               commenters recommend that the                           entity, such as a patent, that was                     believes it is appropriate to allow for
                                               ‘‘substantial ownership interest’’ test in              obtained by the applicant or as a result               sufficient flexibility in the definition for
                                               the same provision should provide a                     of the applicant’s efforts and expertise;              adjudicators to evaluate each case on its
                                               rebuttable presumption that the                            • a position description of the                     own merits. Given the considerable
                                               entrepreneur is ‘‘well-positioned’’ and                 applicant’s role in the operations of the              range of entrepreneurial ventures that
                                               that the ‘‘significant capital financing’’              company; and                                           might form the basis for an application
                                               requirements reflect the market demand                     • any other relevant, probative, and                for parole under this rule, DHS believes
                                               for the entrepreneur to grow the                        credible evidence indicating the                       that such flexibility is important to
                                               business.                                               applicant’s ability to advance the                     ensure that cutting edge industries or
                                                  Response: DHS believes that both the                 entity’s business in the United States.                groundbreaking ventures are not
                                               proposed rule and this final rule                          Particularly given the way this                     precluded from consideration simply
                                               sufficiently explain how an applicant                   evidence will be evaluated on a case-by-               because of an overly rigid or narrow
                                               may establish that he or she is ‘‘well-                 case basis, and the need to ensure parole              definition of ‘‘entrepreneur.’’
                                               positioned’’ to grow the start-up entity.               is justified by significant public benefit,               Comment: One commenter noted that
                                               An applicant may generally establish                    DHS declines to adopt the commenters’                  DHS’s inclusion of criteria in section
                                               that he or she is well-positioned to                    suggestion of adopting a rebuttable                    IV.B.1. of the NPRM, ‘‘Recent Formation
                                               advance the entity’s business by                        presumption that certain applicants                    of a Start-Up Entity,’’ is reminiscent of
                                               providing evidence that he or she: (1)                  meet the ‘‘well-positioned’’                           criteria used in the O–1 nonimmigrant
                                               Possesses a significant (at least 10                    requirement. The burden of proof                       classification for individuals with
                                               percent) ownership interest in the entity               remains with the applicant.                            extraordinary ability, except for the
                                               at the time of adjudication of the initial                 Comment: One commenter                              focus on entrepreneurial endeavors. The
                                               grant of parole, and (2) has an active and              representing a group of technology                     commenter especially welcomed the
                                               central role in the operations and future               companies recommended that DHS add                     final ‘‘catch-all’’ that referenced ‘‘any
                                               growth of the entity, such that his or her              the term ‘‘intellectual property’’ as a                other relevant, probative, and credible
                                               knowledge, skills, or experience would                  metric that an adjudicator would take                  evidence indicating the entity’s
                                               substantially assist the entity in                      into consideration when determining                    potential for growth.’’ The commenter
                                               conducting and growing its business in                  the ‘‘active and central role’’ that the               asserted that as it pertains to
                                               the United States. Such an applicant                    international entrepreneur performs in                 ‘‘newspaper articles,’’ one of the major
                                               cannot be a mere investor. The                          the organization. The commenter noted                  difficulties of the O–1 petition process
                                               applicant must be central to the entity’s               that it had several member companies                   is the lack of awareness by adjudicators
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                                               business and well-positioned to actively                that have non-citizen inventors on a key               of tech-press publications, such as
                                               assist in the growth of that business,                  patent application, and have had core                  Recode or TechCrunch. The commenter
                                               such that his or her presence would                     intellectual property developed by non-                explained that coverage in these
                                               help the entity create jobs, spur research              citizens, often within the university                  publications is very valuable to startups,
                                               and development, or provide other                       environment. In many of these                          and forcing startups to garner traditional
                                               benefits to the United States. Whether                  situations, the non-citizen inventors                  media coverage in publications like the
                                               an applicant has an ‘‘active and central                were unable to obtain work                             Wall Street Journal or the New York

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                                               Times is often counterproductive                        This commenter asserted that the draft                 that ‘‘recently formed’’ should include
                                               towards the entrepreneur’s success.                     rule does not adequately account for                   entities formed within the last 10 years,
                                                  Response: DHS agrees with the                        situations where a typical entrepreneur                and also requested that where
                                               commenter that the list of evidence                     partially qualifies or does not qualify for            applicable, DHS accept alternative
                                               provided in the preamble to the NPRM                    parole, but nevertheless seeks to start a              evidence to determine and establish that
                                               and this final rule provides an                         business in the United States. The                     the company is a ‘‘start-up’’ entity, such
                                               illustrative, non-exhaustive list of the                commenter stated that USCIS and the                    as letters of attestation from investors,
                                               types of evidence that might be                         White House should plan to have a                      industry experts within a particular
                                               submitted by an applicant to establish                  separate case study team to evaluate                   niche field, and government agencies
                                               that he or she meets the definition of                  each application.                                      that speak to the average growth cycle
                                               entrepreneur in 8 CFR 212.19(a)(1).                        Response: DHS believes that the rule                of a new company within a particular
                                               Applicants may submit any relevant,                     provides a reasonable and clear                        area. A few commenters stated that the
                                               probative and credible evidence that                    definition of an entrepreneur. This rule               3-year limitation was appropriate.
                                               demonstrates the entity’s potential for                 is not designed or intended to provide                    Response: In response to these
                                               growth, including tech-press                            parole to everyone who seeks to be an                  comments, DHS revised proposed 8 CFR
                                               publications.                                           entrepreneur, but will instead provide a               212.19(a)(2) and the definition of ‘‘start-
                                                  Comment: One commenter                               framework for case-by-case                             up entity’’ in this final rule to require
                                               recommended broadening the proposed                     determinations based upon specified                    that the entity must have been formed
                                               requirement that the parolee play a                     criteria for determining that a grant of               within the 5 years immediately
                                               central role in operations. The                         parole in this context provides a                      preceding the filing of the initial parole
                                               commenter noted that the DHS                            significant public benefit. The                        application, rather than 3 years as
                                               November 2014 memorandum,12 which                       framework in this rule is consistent with              proposed. DHS believes that this
                                               initially directed USCIS to develop a                   DHS’s parole authority under INA                       definition appropriately reflects that
                                               proposed rule under the Secretary’s                     section 212(a)(5), 8 U.S.C. 1182(a)(5),                some entities, particularly given the
                                               parole authority, refers to researchers,                and is based on the statutory                          industry in which the entity operates,
                                               not just managers or founders. The                      authorization to provide parole for                    may require a longer gestation time
                                               commenter stated that in the technology                 significant public benefit. Each                       before receiving substantial investment,
                                               world, ‘‘technical founders’’ are key                   application for parole under this rule                 grants, or awards. This 5-year limitation
                                               employees who lead the research and                     will be adjudicated by an Immigration                  continues to reflect the Department’s
                                               development phase, and recommended                      Services Officer trained on the                        intention for parole under this final
                                               that these technical founders be                        requirements for significant public                    rule: To incentivize and support the
                                               included even if they are not managing                  benefit parole under 8 CFR 212.19. DHS                 creation and growth of new businesses
                                               overall operations. To keep this                        believes that a separate case-study team               in the United States, so that the country
                                               expansion targeted, the commenter                       could unnecessarily complicate and                     may benefit from their substantial
                                               recommended requiring a technical                       delay adjudications and declines to                    potential for rapid growth and job
                                               founder to have an advanced degree in                   adopt the commenter’s suggestion.                      creation. DHS recognizes that the term
                                               a STEM field from a U.S. institution of                                                                        ‘‘start-up’’ is usually used to refer to
                                               higher education.                                       3. Definition of Start-Up Entity—
                                                                                                                                                              entities in early stages of development,
                                                  Response: DHS agrees that ‘‘technical                ‘‘Recently-Formed’’ and the 3-year
                                                                                                                                                              including various financing rounds used
                                               founders’’ are often key employees who                  Limitation
                                                                                                                                                              to raise capital and expand the new
                                               play an important role in the                              Comment: Several commenters                         business, but the term ‘‘goes beyond a
                                               development and success of a start-up                   expressed concern with the definition of               company just getting off the ground.’’ 13
                                               entity. DHS disagrees, however, with                    ‘‘start-up entity’’ and the requirement                Limiting the definition of ‘‘start-up’’ in
                                               the commenter’s assertion that the                      that an entity, in order to satisfy that               this proposed rule to entities that are
                                               definition of entrepreneur in 8 CFR                     definition, must have been created                     less than 5 years old at the time the
                                               212.19(a)(1) does not sufficiently                      within the 3 years immediately                         parole application is filed is a
                                               encompass technical founders.                           preceding the parole request filing date.              reasonable way to help ensure that the
                                               Technical founders can perform a                        A few individual commenters said that                  entrepreneur’s entity is the type of new
                                               central and active role in the operations               the 3-year limitation could be                         business likely to experience rapid
                                               of their start-up entity, and may be well-              inadequate in certain situations, such as              growth and job creation, while still
                                               positioned, due to their knowledge,                     when investing in an inactive business                 allowing a reasonable amount of time
                                               skills, or experience, to substantially                 with other co-founders to initiate the                 for the entrepreneur to form the
                                               assist the entity with the growth and                   start-up, or when investing in high-                   business and obtain qualifying levels of
                                               success of its business. The definition of              priority areas like healthcare,                        investor financing (which may occur in
                                               ‘‘entrepreneur’’ is not limited to those                biotechnology, and clean energy that                   several rounds) or government grants or
                                               individuals who manage the overall                      have long gestation times. A couple of                 awards.
                                               operations of the start-up entity. Thus,                individual commenters said that the 3-
                                               DHS believes it is unnecessary to                       year limitation may not be necessary                   4. Other Comments on the Definition of
                                               broaden the definition of                               given the other, more stringent                        Start-up Entity
                                               ‘‘entrepreneur’’ in the way the                         requirements in the proposed rule.                        Comment: One commenter said that
                                               commenter suggests.                                     Some commenters provided the                           formation should be defined to be either
                                                  Comment: One commenter suggested                     following recommendations relating to                  the creation of a legal entity under
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                                               that the rule should provide a clear-cut                the 3-year limitation: Eliminate the                   which the activities of the business
                                               definition of a typical entrepreneur.                   limitation, lengthen the period to 5
                                                                                                       years, lengthen the period to 10 years,                   13 U.S. Small Business Administration, Startups &
                                                 12 Memorandum from Jeh Johnson, DHS
                                                                                                       or include a case-by-case provision                    High Growth Businesses, available at https://
                                               Secretary, Policies Supporting U.S. High-Skilled                                                               www.sba.gov/content/startups-high-growth-
                                               Business and Workers 4 (Nov. 20, 2014), at https://
                                                                                                       allowing for submissions that may                      businesses (‘‘In the world of business, the word
                                               www.dhs.gov/sites/default/files/publications/14_        satisfy the definition of ‘‘start-up                   ‘startup’ goes beyond a company just getting off the
                                               1120_memo_business_actions.pdf.                         entity.’’ One commenter recommended                    ground.’’).


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                                               would be conducted or the effective                     to retain and attract international                    considered for parole under this rule.
                                               date of an agreement between the                        entrepreneurs who will provide a                       An applicant who only partially meets
                                               entrepreneur and an existing business to                significant public benefit to the United               one or both of the criteria in 8 CFR
                                               launch the business activities as a start-              States.                                                212.19(b)(2)(ii) may still be eligible for
                                               up, branch, department, subsidiary, or                     Comment: An individual commenter                    consideration for parole under this rule
                                               other activity of an existing business                  requested that staffing companies be                   if the applicant provides additional
                                               entity. Another commenter suggested                     included as a type of startup.                         reliable and compelling evidence that
                                               that DHS consider restructuring (e.g.,                     Response: In this final rule, and for               the start-up entity has the substantial
                                               use successor-in-interest rules) and                    purposes of parole under this program,                 potential for rapid growth and job
                                               other pivots (in terms of changes in the                DHS defines a ‘‘start-up entity’’ as a U.S.            creation. DHS recognizes that the rule
                                               service or product, as well as markets)                 business entity that was recently                      does not provide specific evidence that
                                               during the 3-year period immediately                    formed, has lawfully done business                     must be submitted in order to satisfy the
                                               preceding the filing of the parole                      during any period of operation since its               alternative criteria in 8 CFR
                                               application and at time of application                  date of formation, and has substantial                 212.19(b)(2)(iii). DHS believes that
                                               for re-parole.                                          potential for rapid growth and job                     providing a specific set of evidence
                                                  Response: DHS appreciates the                        creation. See 8 CFR 212.19(a)(2). The                  would have the unintended effect of
                                               commenters’ suggestions and notes that                  rule requires that entities meet certain               narrowing a provision that was designed
                                               recent formation within the definition of               specified criteria for obtaining parole,               to allow for the submission of any
                                               ‘‘start-up entity’’ in 8 CFR 212.19(a)(2)               but the rule does not specifically                     evidence that the applicant believes
                                               is already limited to the creation of the               exclude staffing companies from                        may establish the substantial potential
                                               entity within the 5 years immediately                   participating if they otherwise meet                   of his or her start-up entity, recognizing
                                               preceding the filing date of the alien’s                these criteria. DHS therefore will not                 that such evidence may vary depending
                                               initial parole request. DHS further                     revise the definition of start-up entity in            on the nature of the business and the
                                               declines to amend 8 CFR 212.19(a)(2) to                 this rule as requested by the commenter.               industry in which it operates. DHS
                                               broaden what may be considered                             Comment: One commenter asserted                     believes that it is important to retain
                                               ‘‘recently formed’’ to include the                      that the rule fails to specify how a start-            criteria that provide flexibility to the
                                               effective date of an agreement between                  up entity can demonstrate that it has                  applicant and DHS. Such flexibility is
                                               the entrepreneur and an existing                        ‘‘lawfully done business’’ or ‘‘has                    consistent with DHS’s parole authority
                                               business to launch new business                         substantial potential for rapid growth                 and the case-by-case nature of each
                                               activities, restructurings and other                    and job creation.’’ The commenter                      parole determination as required by
                                               pivots. Given that this is a new and                    recommended revising the definition to                 statute. See INA section 212(d)(5)(A), 8
                                               complex process, DHS has decided to                     more closely align with 8 CFR                          U.S.C. 1182(d)(5)(A).
                                               take an incremental approach and will                   214.2(l)(1)(ii)(G)(2) and (l)(1)(ii)(H) by                DHS does not believe that the rule
                                               consider potential modifications in the                 instead requiring evidence that the                    should be revised to align with 8 CFR
                                               future after it has assessed the                        entity is or will be engaged in the                    214.2(l)(1)(ii)(G)(2) and (l)(1)(ii)(H). The
                                               implementation of the rule and its                      regular, systematic, and continuous                    requirements set forth in 8 CFR
                                               impact on operational resources.                        provision of goods or services. This                   214.2(l)(1)(ii)(G)(2) and (l)(1)(ii)(H)
                                                  Comment: One commenter suggested                     commenter suggested that the                           relate specifically to eligibility for
                                               that start-up entities under this rule                  submission of expert witness testimony                 classification as an L–1 nonimmigrant
                                               should be limited to businesses that fill               by a reputable third party, such as a                  and are not necessarily relevant to the
                                               a need that is currently not being                      recognized professor or leader in the                  requirements set forth in this rule,
                                               fulfilled in the United States.                         start-up entity’s proposed field, should               which are specifically designed to
                                                  Response: One of the goals of this                   be given deference and treated under                   provide the framework by which USCIS
                                               final rule is to increase and enhance                   the final rule as a rebuttable                         will determine whether to grant parole
                                               entrepreneurship, innovation, and job                   presumption establishing that the start-               to certain individuals for significant
                                               creation in the United States; and, under               up ‘‘has substantial potential for rapid               public benefit. Particularly given the
                                               this rule, evidence regarding the                       growth and job creation.’’                             way this evidence will be evaluated on
                                               expected contributions of a start-up                       Response: DHS declines to adopt the                 a case-by-case basis, and the need to
                                               entity will be considered in determining                commenter’s suggested changes in this                  ensure parole is justified by significant
                                               whether to parole an individual into the                final rule. DHS believes that an                       public benefit, DHS declines to adopt
                                               United States. A successful start-up                    applicant can demonstrate the start-up                 the commenters’ suggestion of adopting
                                               entity, particularly one with high-                     entity’s lawful business activities                    a rebuttable presumption that certain
                                               growth potential, will fulfill an                       through many different means and will                  entities have substantial potential for
                                               identified business need. For example,                  keep this requirement flexible to                      rapid growth and job creation. The
                                               the entrepreneur may be starting the                    account for the many differences among                 burden of proof remains with the
                                               business to alter an existing industry                  start-up entities. Such evidence might                 applicant.
                                               through innovative products or                          include, but is not limited to, business
                                               processes, innovative and more efficient                permits, equipment purchased or                        5. Qualified Government Award or
                                               methods of production, or cutting-edge                  rented, contracts for products or                      Grant
                                               research and development to expand an                   services, invoices, licensing agreements,                 Comment: One commenter stated that
                                               existing market or industry. It is also                 federal tax returns, sales tax filings, and            the rule’s grant-based criteria for
                                               unclear from the commenter’s                            evidence of marketing efforts.                         consideration focused too narrowly on
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                                               suggestion how ‘‘business need’’ would                     DHS believes that the rule provides a               awards made by government entities
                                               be defined, and DHS believes that                       clear framework for establishing that a                The commenter noted that
                                               attempting to do so in this rule could                  start-up entity has substantial potential              entrepreneurs seek grants from a variety
                                               result in an overly restrictive definition              for rapid growth and job creation. See 8               of sources and that funding from non-
                                               that fails to account for future                        CFR 212.19(b)(2)(ii) and (iii). An                     profits or not-for-profit entities (such as
                                               innovation, would be unnecessarily                      applicant generally must satisfy the                   U.S. universities) can be significant
                                               rigid, and would lessen the rule’s ability              criteria in 8 CFR 212.19(b)(2)(ii) to be               sources of start-up capital. The

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                                               commenter requested that the rule be                    or foreign relations concerns, DHS                     significant in nature. This promotes fair
                                               revised to allow entrepreneurs of non-                  declines to expand the definition of                   and efficient administration of the
                                               profit start-up entities to qualify for                 qualified government grant or award to                 process under this rule, while also
                                               parole under this program based on the                  include grants or awards from a foreign                ensuring the integrity of that process. In
                                               receipt of charitable grants.                           governmental entity. To eliminate                      addition, equity investments and
                                                  Response: DHS appreciates the                        potential confusion, DHS is revising the               convertible debt investments both
                                               commenter’s suggestion, but declines to                 definition as proposed to specifically                 involve a distinctive level of expert
                                               adopt the suggestion in this final rule to              exclude foreign government entities.                   review, due diligence, and oversight.
                                               include charitable grants as a type of                  The receipt of significant funding from                For example, according to the Small
                                               qualifying grant or award under 8 CFR                   certain U.S. federal, state or local                   Business Administration, venture
                                               212.19(a)(3). DHS believes, given the                   government entities is an important                    capital firms and angel investors
                                               nature of charitable grants, that they                  factor that DHS will weigh in                          typically review a business plan and
                                               would not present the same level of                     determining if the entrepreneur will                   evaluate a start-up’s management team,
                                               validation regarding the entity’s high-                 provide a significant public benefit to                market, products and services, operating
                                               growth potential as would a grant or                    the United States. DHS believes that                   history, corporate governance
                                               award from a Federal, State, or local                   significant funding from certain U.S.                  documents, and financial statements
                                               government entity with expertise in                     federal, state or local governmental                   before making an equity investment.14
                                               economic development, research and                      entities is a strong indicator of a start-             Such investment generally also involves
                                               development, or job creation. Since the                 up entity’s substantial potential for                  active monitoring via board
                                               validating quality of a substantial                     rapid growth, including through                        participation, strategic marketing,
                                               government grant or award is an                         enhancing innovation, generating                       governance, and capital structure.15
                                               important factor DHS will rely upon to                  revenue, obtaining significant additional              While non-monetary contributions
                                               determine if the entrepreneur will                      investments of capital, and creating                   made to a start-up entity may not be
                                               provide a significant public benefit to                 jobs. Such government entities regularly               considered as a qualified investment for
                                               the United States, and since that same                  evaluate the potential of U.S.                         purposes of the general criteria of a
                                               validating quality does not necessarily                 businesses, so the choice to provide a                 parole determination under this rule,
                                               extend to charitable grants or awards,                  significant award or grant to a particular             the rule does not prohibit such
                                               DHS declines to adopt the commenter’s                   start-up entity can be a compelling                    contributions and they may be
                                               suggestion. DHS notes, however, that                    indicator of that start-up’s substantial               considered as evidence under the
                                               nothing in this final rule prohibits                    potential for rapid growth and job                     alternative criteria at 8 CFR
                                               entrepreneurs from accepting charitable                 creation. Because these government                     212.19(b)(2)(iii) and (c)(2)(iii) to
                                               grants or pointing to such funding as                   entities are formed to serve the U.S.                  establish that the start-up entity has, or
                                               evidence that parole would be justified                 public, their choice to fund a particular              continues to have, substantial potential
                                               and that they merit a favorable exercise                business may be more indicative than                   for rapid growth and job creation.
                                               of discretion. Moreover, given that this                that of a foreign government as to                        Comment: One commenter stated that
                                               is a new and complex process, DHS has                   whether the business’s operations                      the requirement that start-up capital
                                               decided to take an incremental                          would provide a significant public                     must be equity or convertible debt may
                                               approach and will consider potential                    benefit in the United States. DHS                      be too limiting given the venture finance
                                               modifications in the future after it has                believes that the reliability and weight               markets today. The commenter said that
                                               assessed the implementation of the rule                 of the independent assessment                          other investment instruments are
                                               and its impact on operational resources.                performed by certain U.S. federal, state               commonly used by sophisticated market
                                                  Comment: One commenter noted that                    or local governmental entities before                  participants, and that such investments
                                               the definition of qualified government                  issuing a grant or award does not                      might not technically be considered
                                               award or grant and the phrase ‘‘federal,                necessarily extend to grants or awards                 equity or convertible debt even though
                                               state, or local government entity,’’ are                made by foreign governmental entities.                 they are bona fide capital investments.
                                               ambiguous as to whether an                              DHS therefore declines to adopt the                    The commenter recommended that the
                                               entrepreneur may qualify under the rule                 commenter’s suggestion to revise the                   definition be made ‘‘future-proof’’ by
                                               based on a grant by a foreign                           rule to include funding from foreign                   creating a catch-all for other investment
                                               government. According to the                            governmental entities as one of the                    instruments that are convertible,
                                               commenter, the rule does not explicitly                 criteria in 8 CFR 212.19(a)(3).                        exchangeable, or exercisable for equity
                                               state that the ‘‘federal, state, or local
                                                                                                       6. Qualified Investment                                in the start-up, regardless of the name of
                                               government entity’’ needs to be
                                                                                                                                                              the investment instrument.
                                               restricted to entities in the United                       Comment: Some commenters                               Response: DHS understands that the
                                               States. The commenter encouraged                        suggested that DHS define ‘‘capital’’                  regulatory text may not capture all
                                               USCIS to adopt a broad approach in                      broadly to include cash, cash
                                                                                                                                                              possible future investment instruments
                                               determining which kinds of grants may                   equivalents, secured or unsecured loan
                                                                                                                                                              and has amended the regulatory text to
                                               qualify and to allow entrepreneurs to                   proceeds, payments for or obligations
                                                                                                                                                              capture other commonly used
                                               qualify if their start-up entity attracts               under binding leases, the value of
                                                                                                                                                              convertible securities now and in the
                                               substantial foreign government                          goods, equipment, and intangible
                                                                                                                                                              future. The final rule defines ‘‘qualified
                                               financing. The commenter also                           property such as patent rights,
                                                                                                                                                              investment’’ as an investment made in
                                               suggested that USCIS and CBP should                     trademarks, trade secrets, and
                                                                                                                                                              good faith, and that is not an attempt to
                                               again emphasize that parole may be                      distinctive ‘‘know how.’’
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                                                                                                                                                              circumvent any limitations imposed on
                                               discretionarily denied in cases that                       Response: DHS declines to adopt the
                                                                                                                                                              investments under this section, of
                                               could risk national security or impair                  commenters’ suggestions. ‘‘Qualified
                                                                                                                                                              lawfully derived capital in a start-up
                                               international relations.                                investment’’ as a general criterion for
                                                  Response: While DHS always                           parole is limited to a specific monetary                 14 Venture Capital, https://www.sba.gov/starting-
                                               maintains the ability to deny parole in                 investment in the form of equity or                    business/finance-your-business/venture-capital/
                                               its discretion, including in those cases                convertible debt, to ensure that the                   venture-capital.
                                               where there may be a national security                  investment is easily valued as well as                   15 Id.




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                                               entity that is a purchase from such                     removed the proposed requirement that                  track record of successfully investing in
                                               entity of its equity, convertible debt or               the total investment amount be made in                 start-up entities. An investor’s
                                               other security convertible into its equity              3 separate calendar years and,                         successful track record of investing in
                                               commonly used in financing                              consistent with its analysis of relevant               start-up entities provides an important
                                               transactions within such entity’s                       investment data, reduced the amount                    measure of objective validation that
                                               industry. DHS believes that this                        from $1,000,000 to $600,000.16 DHS is                  DHS will rely upon as part of evaluating
                                               definition, in practice, will apply to                  also making revisions consistent with                  whether granting parole to a particular
                                               other securities convertible into equity                the change to the qualified investment                 individual would provide a significant
                                               (other than convertible debt) that are or               definition by adding ‘‘other securities                public benefit.
                                               become commonly used within the                         that are convertible into equity issued                   DHS also declines to adopt the
                                               start-up entity’s industry, and DHS may                 by such an entity and that are                         investor track record criteria associated
                                               issue additional guidance in the future                 commonly used in financing                             with AngelList’s requirements, as DHS
                                               regarding such securities as necessary.                 transactions within such entity’s                      believes that the past success of
                                               Given that this program is new and                      industry.’’ DHS agrees with commenters                 qualified investors can be demonstrated
                                               complex, DHS has decided to take an                     that the qualified investor requirement                sufficiently by utilizing the criteria set
                                               incremental approach and will consider                  is more stringent than the SEC                         forth in the final rule. DHS has
                                               potential modifications in the future                   ‘‘accredited investor’’ definition, but                maintained the requirements under 8
                                               after it is able to assess implementation               believes the additional parameters for                 CFR 212.19(a)(5)(ii) as evidence that the
                                               of the rule and its impact on operational               qualified investors under the rule are                 investor has had previous successful
                                               resources.                                              appropriate. The ‘‘accredited investor’’               investments, which are similar to
                                                                                                       definition for SEC purposes is focused                 certain criteria for a start-up entity to
                                               7. Qualified Investor                                                                                          demonstrate eligibility for re-parole
                                                                                                       on the investing entity’s assets or the
                                                  Comment: Several commenters,                         individual investor’s net worth or                     under this rule. See final 8 CFR
                                               including associations and individual                   annual income,17 not on the investor’s                 212.19(a)(5)(ii).
                                               commenters, stated that the proposed                                                                              Comment: A joint submission from an
                                               ‘‘qualified investor’’ definition is more                  16 To arrive at this level, DHS relied on the       advocacy group and a non-profit
                                               stringent than the ‘‘accredited investor’’              $250,000 median seed round for active firms that       organization proposed that DHS create a
                                               definition adopted by the Securities and                successfully exited accelerators, as is described      ‘‘whitelist’’ of qualified investors and
                                                                                                       more fully in in the ‘‘Volume Projections’’
                                               Exchange Commission (SEC). Several                      subsection of the ‘‘Statutory and Regulatory           modify the rule such that any start-up
                                               commenters stated that many angel                       Requirements’’ section of this final rule notice.      receiving an investment from a
                                               investors, especially newer investment                  Second, DHS multiplied this figure by 2.4, which       whitelisted investor proceed through an
                                               firms and angels, would not be                          is an estimate of the average number of investments    expedited review process. The
                                                                                                       made over a five-year period by qualified investors.
                                               considered ‘‘qualified investors’’ under                DHS arrived at the figure for average investments
                                                                                                                                                              commenter said that this would both
                                               this rule. One of these commenters                      over five years using the following methodology.       streamline the parole process and
                                               suggested revising the definition of a                  DHS used the ‘‘investor graph’’ section of the Seed    diminish the burden on adjudicators to
                                               qualified investor using the guidelines                 DB data set to extract investment round information    analyze the merits of often complicated
                                                                                                       for investors that have invested in various startup
                                               set forth by AngelList, which requires                  accelerators’ portfolio companies. The search
                                                                                                                                                              technology companies. The commenter
                                               all syndicate leads on their site to have               engine is not set up in a manner in which random       said that the qualification process for
                                               registered as accredited investors, to                  sampling can be done, so DHS obtained data for         such an investor whitelist could be
                                               have made at least two direct                           nine accelerators chosen from the 2016 Seed            significantly more robust than the rule’s
                                               investments in technology start-ups, and                Accelerator Rankings project (SARP), the report of
                                                                                                       which is found at: http://seedrankings.com/pdf/
                                                                                                                                                              proposed definition of ‘‘qualified
                                               to have attracted additional funding                    sarp_2016_accelerator_rankings.pdf. SARP ranks         investor’’ and should be updated on an
                                               beyond the syndicate lead. Some                         accelerators via a composite scoring system based      annual or biannual basis. Another joint
                                               commenters generally stated that many                   on various metrics, including funding value            submission suggested the creation of a
                                               potentially high-growth firms started by                averages and exit performance, and produces a list     ‘‘Known Qualified Investor’’ program,
                                                                                                       of the top-rated accelerators, although there is no
                                               international entrepreneurs will not                    pre-set number of accelerators that can appear in      similar to the ‘‘Known Employer’’ pilot
                                               qualify for parole or re-parole because                 the ranking list each year. In the 2016 SARP report    program recently created by DHS in a
                                               the business did not receive an                         there were twenty-three Seed Accelerators ranked       different context, to assist the overall
                                               investment from a qualified U.S.                        out of a total of 160 that the program tracks. DHS     adjudication process.
                                                                                                       was able to extract investment round data from nine
                                               investor, and encouraged the rule to be                 of the twenty-three SARP ranked accelerators, for a
                                                                                                                                                                 Response: DHS appreciates the
                                               more flexible to allow for additional                   total of about 3,600 individual investment rounds.     commenters’ suggestions. The Known
                                               sources of capital.                                     Next, DHS grouped these rounds for the five-year       Employer program referenced by the
                                                  Response: In response to comments                    period October 2011–November 2016 to result in         commenter remains in a pilot stage.
                                               received, DHS is revising proposed 8                    3,085 records. Next, DHS removed duplicates to
                                                                                                       parse the list into records for unique investor
                                                                                                                                                              DHS will assess the effectiveness of the
                                               CFR 212.19(a)(5), which provides the                    names. As a result, 1,329 unique investors             Known Employer program after the pilot
                                               definition of a qualified investor. For                 remained. Dividing the 3,085 by 1,329 investors        is complete, and then determine
                                               purposes of this section, such an                       yields an average of 2.4, which DHS used as a          whether the program should be made
                                               individual or organization may be                       reasonable estimate of the average number of           permanent. If the program is successful,
                                                                                                       investments that qualified investors made in a five
                                               considered a qualified investor if,                     year period, at least for the specific accelerators    DHS will assess whether it may be
                                               during the preceding 5 years, the                       involved. DHS notes that there are several caveats     expanded to other adjudication
                                               individual or organization made                         to this analysis. First, the data only includes        contexts. Committing to use a similar
                                               investments in start-up entities in                     investments made through accelerators. If non-         program in the context of this
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                                                                                                       accelerator investments were included, for which
                                               exchange for equity or convertible debt                 DHS could not obtain data, the average would likely    rulemaking would thus be premature.
                                               or other security convertible into equity               be higher. Second, some rounds did not include an      DHS also declines to adopt the
                                               commonly used in financing                              amount and some investor names appeared with           commenters’ suggestion to create a
                                               transactions within their respective                    variations. DHS conducted several data runs based      ‘‘whitelist of qualified investors’’ and an
                                                                                                       on different filtering techniques and generally the
                                               industries comprising a total in such 5-                range of average investments was between 2.32 and      expedited process for applications based
                                               year period of no less than $600,000.                   2.5.                                                   on investment from such investors at
                                               See final 8 CFR 212.19(a)(5)(i). DHS has                   17 17 CFR 230.501(a).                               this time. Given that this is a new and

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                                               complex process, DHS has decided to                     funds must come from either U.S.                       U.S. investors and becoming eligible for
                                               take an incremental approach and will                   citizens, lawful permanent residents, or               parole under this rule. Another
                                               consider potential modifications in the                 entities that are majority owned and                   commenter cited data concluding that
                                               future after the Department has assessed                controlled by U.S. citizens or lawful                  foreign entrepreneurs currently outside
                                               the implementation the process and its                  permanent residents. Nearly all                        of the United States are at a particular
                                               impact on operational resources.                        commenters on this topic expressed                     disadvantage, as they lack access to
                                                                                                       concerns about this requirement as a                   U.S.-based angel and venture funding.
                                               8. Evidence Required To Establish                                                                                 Response: DHS agrees that the U.S.
                                                                                                       major limiting factor of the rule. Some
                                               Qualified Investor                                                                                             location of the start-up entity and its
                                                                                                       commenters focused on the potential
                                                  Comment: Several commenters                          economic benefits of broadening the                    related growth and job creation should
                                               expressed concern about the burden of                   definition of ‘‘qualified investor’’ to                be a critical component of eligibility
                                               proving that investors have met the                     include foreign investment. These                      under this rule in order to help ensure
                                               revenue and job creation criteria in the                commenters asserted that it would be                   the exercise of parole is justified by
                                               definition of qualified investor, which                 economically beneficial to allow non-                  significant public benefit to the United
                                               the commenters said could prevent                       U.S. investments, as there are many                    States. DHS believes, however, that the
                                               investors from participating. One                       experienced investors from outside the                 ‘‘qualifying investor’’ must also be a
                                               commenter stated that early-stage                       United States that could bring direct                  U.S. citizen or lawful permanent
                                               investors usually do not keep records of                foreign investment into the country and                resident or an entity that is majority
                                               employees or the revenues of their                      create jobs. Another commenter stated                  owned or controlled by U.S. citizens or
                                               portfolio companies, and that those                     that, by limiting qualification to                     lawful permanent residents. DHS can
                                               companies would not be inclined to                      domestic investors, DHS is foregoing a                 evaluate more rapidly, precisely, and
                                               respond to paperwork requests from                      critical opportunity to attract foreign                effectively whether these investors have
                                               their investors that do not relate to their             entrepreneurs and their investments.                   an established track record of prior
                                               own success. Another commenter said                        Response: DHS disagrees with the                    investments, in part due to greater
                                               that some investors do not make their                   assertion that this rule precludes or                  access to relevant and reliable records.
                                               investments known publicly and the                      otherwise discourages foreign                          Such investors will also be subject to
                                               vast majority of investors do not make                  investment. This rule does not preclude                the laws of the United States, which
                                               public their returns (let alone the                     entrepreneurs from seeking and                         provides some additional assurance that
                                               number of jobs created). Another                        obtaining investment from any number                   the entrepreneurs they back will
                                               commenter said that the rule should                     of sources, whether that is foreign                    provide a significant public benefit to
                                               only require evidence of publicly                       investment, personal funds, or funds                   the United States.
                                               available information, concluding that it               from friends and family. This rule,                       DHS is not prohibiting foreign
                                               would be too invasive to require                        however, does limit the types of                       investors from investing in the
                                               disclosure of confidential employee data                investment that will be considered by                  entrepreneur’s start-up entity, but rather
                                               or other confidential financial                         DHS as a qualifying investment for                     is simply limiting those investors that
                                               information of third-party companies                    purpose of determining if the                          can serve as ‘‘qualified investors’’ for
                                               that have no ties to the start-up entity                entrepreneur and his or her start-up                   purposes of establishing the
                                               related to the parole applicant. A few                  entity meet the requirements for                       entrepreneur’s eligibility for parole
                                               commenters requested that DHS allow                     consideration for parole set out in 8 CFR              under this rule. DHS anticipates that
                                               venture capitalists, accelerators, and                  212.19. DHS believes it is important to                entrepreneurs living outside the United
                                               incubators to register so that they would               limit the type and source of investment                States will be able to demonstrate
                                               not be required to produce the evidence                 that will be considered a qualifying                   eligibility for parole consideration
                                               of their qualifications with each parole                investment, since the investment is                    under this rule, whether based on
                                               application.                                            meant to serve in part as an objective                 investment from U.S. investors, grants
                                                  Response: DHS does not believe that                  way to help ensure and validate that the               or awards from certain U.S. Government
                                               providing evidence of revenues                          start-up entity’s activities will benefit              entities, or a mixture of alternative
                                               generated or jobs created by entities in                the United States. DHS does not believe                criteria. For all the reasons above, the
                                               which the investor previously invested                  investments from foreign sources—                      definition of ‘‘qualified investor’’ will
                                               is overly burdensome or would require                   which are significantly more difficult                 help DHS manage an efficient process
                                               the investor to publicly reveal otherwise               for DHS to evaluate for legitimacy and                 for adjudicating requests under this rule
                                               sensitive information. DHS believes,                    screen for indicators of fraud and                     while appropriately screening for
                                               given the significance of an investor’s                 abuse—would provide the same                           potential fraud or abuse and ensuring
                                               track record of successful investment in                measure of objective validation.                       that each grant of parole is justified by
                                               start-ups to the determination of                          Comment: Multiple commenters                        significant public benefit to the United
                                               significant public benefit, that the need               stated that eligibility criteria should                States.
                                               for this evidence outweighs the                         focus exclusively on the location of the                  Comment: Other commenters focused
                                               potential burden on the applicant and                   start-up entity and its related growth                 on specific ways that DHS might allow
                                               investor to compile and submit it.                      and job creation, not on the citizenship               applicants to use foreign investment to
                                               However, as DHS continues to assess                     and residence of the investor. Some                    establish their eligibility for parole
                                               the implementation of the process once                  commenters stated that excluding                       consideration, including by limiting
                                               the rule is final, the Department will                  foreign investors from the definition of               such investment to the entrepreneur’s
                                               consider potential ways to modify the                   ‘‘qualified investors’’ is unduly limiting,            country of origin, or to only those
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                                               process given the kinds of issues raised                because many high-potential                            foreign investors who do not present a
                                               by these comments.                                      international entrepreneurs might not                  national security concern. A few
                                                                                                       have a pre-existing relationship with a                commenters asserted that DHS has the
                                               9. Foreign Funding/Investment                           U.S.-based investor. Commenters state                  capability to verify the bona fides of
                                                  Comment: Several commenters                          that such entrepreneurs, especially if                 foreign investors through, for example,
                                               provided input on the proposed                          living in other countries, would have                  the following mechanisms: Making
                                               requirement that ‘‘qualified investor’’                 difficulty attracting investment from                  inquiries through U.S. embassy officials,

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                                               requesting resumes and the investment                   include self-funding by the entrepreneur               SEC-compliant intermediary, such as an
                                               history for foreign angel investors,                    applicant. DHS believes that this                      SEC-compliant crowdfunding platform,
                                               requesting similar documentation used                   definition should include only those                   will be treated no differently for
                                               by EB–5 petitioners to establish their                  investors who have a history of making                 purposes of this rule than had the
                                               lawful source of funds, and consulting                  similar investments over a 5-year period               investments been made directly. In
                                               publicly available data on reputable                    and who can demonstrate that at least                  order to promote the integrity of
                                               foreign investors with a history of                     two of the entities receiving such                     adjudications under this rule, DHS
                                               successful investments in various                       investments have subsequently                          declines to make changes to the
                                               countries. Some commenters provided                     experienced significant growth in                      definition of ‘‘qualified investor’’ that
                                               suggestions for alternative or revised                  revenue or job creation. See final 8 CFR               would effectively treat funds generated
                                               definitions relating to foreign investors               212.19(a)(5). DHS believes that the                    through crowdfunding platforms as a
                                               that could remain easily verifiable by                  investment of a substantial amount of                  different class of eligible investment.
                                               DHS, with the burden being on the                       capital by qualified investors in an                   DHS notes, however, that evidence of a
                                               investor, including (1) professionally                  entrepreneur’s start-up entity can serve               successful donation-based or securities-
                                               managed funds with at least $10 million                 as a strong indication of the entity’s                 based crowdfunding campaign could be
                                               under management and registered with                    substantial and demonstrated potential                 provided under the rule’s alternative
                                               the local jurisdiction, and (2) angel                   for rapid business growth and job                      eligibility criteria.
                                               investors that have made credible                       creation. Self-funding, while a rational               b. Established U.S. Investors
                                               investments in U.S. companies under                     financing strategy for many
                                               the same standards as U.S. ‘‘qualified                  entrepreneurs, does not provide the                       Comment: One commenter questioned
                                               investors.’’ Finally, an individual                     same objective and external validation                 the requirement that capital be received
                                               commenter expressed concerns that                       that DHS requires in assessing whether                 ‘‘from established U.S. investors (such
                                               even investments from U.S. sources                      granting parole to an individual is                    as venture capital firms, angel investors,
                                               could be suspect, and could serve as a                  justified based on significant public                  or start-up accelerators) with a history of
                                               pass-through for ineligible investors                   benefit.                                               substantial investment in successful
                                               such as the entrepreneur’s family or                                                                           start-up entities.’’ The commenter stated
                                               foreign nationals.                                      11. Other Comments on Qualified                        that the requirement increases the
                                                  Response: While DHS understands                      Investors                                              relative bargaining power of established
                                               that international entrepreneurs can                    a. Crowdfunding                                        investors working with entrepreneurs
                                               attract legitimate investment capital                                                                          seeking parole under this rule, while
                                               from non-U.S. sources, DHS believes—                       Comment: Several commenters stated                  diminishing that of new venture capital
                                               as explained at greater length above—                   that the rule should allow crowdfunding                firms, new angel investors, and new
                                               that it is appropriate and important to                 as a qualified investment. These                       start-up accelerators. The commenter
                                               require that a ‘‘qualified investment’’                 commenters noted that entrepreneurs                    stated that if it is kept in its current
                                               come from a U.S. source as one of the                   have raised over a billion dollars in                  form, the rule is not clear whether an
                                               general criteria to establish that the                  investments through various types of                   investment from a non-established
                                               start-up entity has the substantial                     crowdfunding platforms, which serve to                 investor would jeopardize the parole
                                               potential for rapid growth and job                      broaden the base of available investors                eligibility of an entrepreneur whose
                                               creation. DHS is prepared to monitor the                and demonstrate a venture’s potential                  start-up entity is also funded by
                                               bona fide nature of such U.S.-based                     growth. Commenters also cited the                      established investors.
                                               investments, as described in greater                    Jumpstart Our Business Startups Act                       Response: The definition of ‘‘qualified
                                               detail above. Moreover, the rule neither                (JOBS Act) of 2012, which created a                    investor, including the requirement that
                                               precludes an applicant from securing                    national regulatory framework for                      an investor have a history of substantial
                                               funding from non-U.S. sources nor                       securities-based crowdfunding                          investment in successful start-up
                                               precludes such funding from being                       platforms in particular, along with                    entities, is intended to help ensure that
                                               considered, non-exclusively, under the                  public statements suggesting that                      such investors are bona fide and not
                                               alternative criteria at 8 CFR                           securities-based crowdfunding is                       concealing fraud or other illicit
                                               212.19(b)(2)(iii) or (c)(2)(iii). Given that            recognized by Congress and the                         activity—and thus protect the integrity
                                               this is a new and complex process, DHS                  Administration as a valuable and                       of the parole process under this rule.
                                               will consider potential modifications in                increasingly-used investment tool. One                 The definition is also intended to ensure
                                               the future after it has assessed the                    commenter also stated that allowing the                that a qualifying investment serves as a
                                               implementation of the rule and its                      use of crowdfunding platforms would                    strong and reliable indicator of the start-
                                               impact on operational resources.                        increase the pool of potential applicants              up entity’s substantial potential for
                                                                                                       for entrepreneurial parole and could                   rapid growth and job creation, which is
                                               10. Self-Funding/‘‘Bootstrapping’’                      provide a workable intermediary for                    relevant to assessing whether granting
                                                  Comment: Several commenters argued                   foreign investment in eligible start-up                parole to an entrepreneur is justified by
                                               that entrepreneurs should be able to                    entities. One commenter suggested                      significant public benefit.
                                               demonstrate eligibility for parole under                potential requirements that would                         DHS emphasizes that the rule does
                                               this rule not only through funding from                 facilitate the use of crowdfunding                     not prohibit investment from U.S.
                                               U.S. investors or U.S. Government                       investment sources, such as setting a                  investors who do not have an
                                               entities, but also through self-financing               threshold amount for eligible                          established track record of substantial
                                               (known as ‘‘bootstrapping’’). One                       crowdfunding investments and                           investment in start-up entities under the
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                                               commenter noted that many highly                        confirming that such investments have                  rule’s definition of ‘‘qualified investor.’’
                                               successful start-up founders initially                  been deposited in the start-up entity’s                Any investment from an investor who is
                                               grew their companies through                            bank account after the end of the                      not a qualified investor, however, will
                                               bootstrapping, not by raising capital                   crowdfunding campaign.                                 not count toward the minimum
                                               from external investors.                                   Response: DHS appreciates the                       investment criteria associated with the
                                                  Response: DHS declines to expand the                 commenters’ suggestions. Investments                   initial parole period or re-parole period.
                                               definition of ‘‘qualified investment’’ to               made in a start-up entity through an                   DHS will, of course, monitor all

                                                                                                                                                                               Cuba AR_000031
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                                               elements of an application for evidence                 12. Qualified Jobs                                     benefit created by an entrepreneur’s
                                               of fraud or other illegal or illicit                    a. Qualifying Employee                                 start-up entity.19
                                               activities. It will also assess the totality                                                                   b. Full-Time Employment
                                               of the evidence in evaluating whether                      Comments: Two commenters
                                               granting parole to an entrepreneur is                   recommended that DHS broaden the                          Comments: Several commenters said
                                               justified by significant public benefit.                definition of the term ‘‘qualifying                    that the rule should have a more flexible
                                                                                                       employee.’’ One commenter stated that                  definition of ‘‘full-time employment.’’
                                               c. Approved Regional Centers                            the term should include any individual                 One commenter said that the definition
                                                                                                       authorized to work in the United States,               of the term should not require the job
                                                  Comment: One commenter requested                                                                            to be filled for at least a year and should
                                               that USCIS-approved Regional Centers                    regardless of immigration status, to
                                                                                                       avoid creating a conflict for employers                include job-sharing arrangements.
                                               (based on an approved Form I–924) be                                                                           Another commenter recommended that
                                                                                                       who are prohibited from discriminating
                                               allowed to qualify as established U.S.                                                                         the definition of full-time employment
                                                                                                       based on an individual’s citizenship or
                                               investors. The commenter stated that                                                                           include combinations of part-time
                                                                                                       immigration status. Another commenter
                                               investment by a Regional Center in a                                                                           positions.
                                                                                                       advocated for the inclusion of
                                               U.S. start-up entity would be a natural                                                                           Response: DHS declines to expand the
                                                                                                       independent contractors in the
                                               extension of what Regional Centers                      definition of qualifying employee.                     definition of full-time employment to
                                               already do, since Regional Centers pool                                                                        include jobs filled for less than a year
                                               investment for qualified EB–5 visa                         Response: DHS declines to expand the                by a qualifying employee, job-sharing
                                               projects.                                               definition of qualifying employee,                     arrangements, and combinations of part-
                                                                                                       which already includes a U.S. citizen, a               time jobs. DHS believes that the creation
                                                  Response: DHS believes it is                         lawful permanent resident, or other
                                               important to limit qualifying investors                                                                        of long-term and full-time positions is a
                                                                                                       immigrant lawfully authorized to be                    more reliable indicator that an
                                               to those who have an established record                 employed in the United States, who is                  entrepreneur’s start-up entity is
                                               of successful investments in start-up                   not an entrepreneur of the relevant start-             continuing to yield significant public
                                               entities. DHS believes that such a record               up entity or the parent, spouse, brother,              benefit. Jobs filled for less than a year
                                               would include, during the 5-year period                 sister, son, or daughter of such an                    could be temporary or seasonal, thus
                                               immediately preceding the filing of the                 entrepreneur. See final 8 CFR                          limiting the duration and impact of the
                                               parole application, one or more                         212.12(a)(7). DHS believes that creating               benefit. Additionally, including job-
                                               investments in other start-up entities in               jobs for these individuals is more likely              sharing or combinations of part-time
                                               exchange for equity or convertible debt                 to provide a significant public benefit                positions could significantly complicate
                                               comprising a total of no less than                      given their stronger ties to the United                adjudications. The final rule, moreover,
                                               $600,000. See final 8 CFR                               States. Similarly, DHS believes that                   already reduces by half the threshold
                                               212.19(a)(5)(i). DHS will require                       entrepreneurs and start-up entities that               number of jobs to qualify for a re-parole
                                               monetary commitments, rather than                       create positions for employees are more                period, making it all the more
                                               non-monetary commitments such as                        likely to provide a significant public                 reasonable to require that each of such
                                               credit for in-kind value (e.g., credit for              benefit than those who rely only on                    jobs be full-time positions as part of the
                                               services), given the difficulty of valuing              arrangements with independent                          criteria for ensuring that granting parole
                                               such commitments and the potential for                  contractors. Such arrangements would                   to an international entrepreneur is
                                               fraud and abuse. The applicant would                    generally have a weaker nexus to the                   justified by significant public benefit.20
                                               also need to show that, subsequent to                   start-up entity, may not have been
                                               such investment by the investor, at least               created as a direct result of the start-up             13. Material Change
                                               2 such entities each created at least 5                 entity’s activities, and could be more                   Comment: One commenter
                                               qualified jobs or achieved at least                     difficult to validate. Nothing in this rule            recommended that the final rule
                                               $500,000 in revenue with average                        either supersedes or conflicts with                    expressly exempt from the definition of
                                               annualized revenue growth of at least 20                nondiscrimination laws enacted under                   ‘‘material change’’ transitions that are
                                               percent. See final 8 CFR 212.19(a)(5)(ii).              the Immigration Reform and Control Act                 typical within start-ups, such as a
                                                                                                       (IRCA).18 Under existing law, it would                 company’s (1) pivoting its products or
                                                  As described in greater detail above,
                                                                                                       generally be an unfair immigration-                    services; (2) bringing on board a
                                               these criteria are intended to ensure that
                                                                                                       related employment practice for an                     significant round of funding that could
                                               investors are bona fide and thus protect
                                                                                                       entity to discriminate against someone                 dilute the entrepreneur’s ownership
                                               the integrity of the parole process under
                                                                                                       authorized to work in the United States                interest; (3) changing the role of a
                                               this rule. They are also intended to                    because of that person’s national origin               founder to meet the needs of the
                                               ensure that a qualifying investment                     or, in the case of a ‘‘protected                       growing company; or (4) by virtue of a
                                               serves as a strong and reliable indicator               individual,’’ citizenship status. See 8                foreseeable stock or asset acquisition,
                                               of the start-up entity’s substantial                    U.S.C. 1324b(a) (generally prohibiting                 executing a merger into or with a related
                                               potential for rapid growth and job                      such practices, subject to specific                    or unrelated entity, or some other form
                                               creation, which is relevant to assessing                exceptions, and defining ‘‘protected                   of corporate restructuring. A few
                                               whether granting parole to an                           individual’’ to include U.S. citizens,
                                               entrepreneur is justified by significant                lawful permanent residents, and certain                   19 It is important to note that job creation during

                                               public benefit. DHS declines to adopt a                 other immigrants). This rule does not                  the initial period of parole is not the only way to
                                               special provision for regional centers                                                                         demonstrate the start-up entity’s continued
                                                                                                       permit any such otherwise prohibited
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                                                                                                                                                              substantial potential for rapid growth and job
                                               approved to participate in the EB–5 visa                practices. Instead, it uses the creation of            creation. See final 8 CFR 212.19(c)(2)(ii)(A),
                                               program. Although such centers are not                  jobs for U.S. citizens, permanent                      (c)(2)(ii)(C), and (c)(2)(iii).
                                               categorically excluded from the                         residents, and other authorized                           20 As explained earlier, job creation during the

                                               definition of ‘‘qualified investor’’ under              immigrants as one indication of the                    initial period of parole is not the only way to
                                                                                                                                                              demonstrate the start-up entity’s continued
                                               this rule, they would need to meet all                                                                         substantial potential for rapid growth and job
                                               the same criteria as any other qualified                  18 Public Law 99–603 section 102, 100 Stat. 3359     creation. See final 8 CFR 212.19(c)(2)(ii)(A),
                                               investor.                                               (Nov. 6, 1986); INA section 274B.                      (c)(2)(ii)(C), and (c)(2)(iii).


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                                               commenters recommended that DHS                         continues to provide, a significant                    so that the assistance of an attorney is
                                               clarify what constitutes a ‘‘material                   public benefit to the United States. DHS               not required.
                                               change’’ given the rapidly evolving                     has revised the final rule to limit                      Response: DHS agrees with the
                                               nature of start-ups.                                    material change regarding ownership                    comment that the Form I–941 is
                                                  Response: DHS appreciates the                        changes only to ‘‘a significant change                 beneficial for capturing information
                                               concerns expressed by commenters                        with respect to ownership and control                  specific to parole requests filed under
                                               regarding the material change definition                of the start-up entity.’’ For example, a               this rule. DHS declines to model the
                                               in the NPRM. This final rule reflects                   significant change with respect to                     application process for parole under this
                                               changes that help clarify what                          ownership and control of the start-up                  rule after the Canadian express entry
                                               constitutes a material change, with the                 entity may include a transfer of equity                program as that program is a points
                                               understanding that start-up entities are                in the start-up entity that results in an              system designed to manage applications
                                               likely to experience a variety of                       owner or owners not previously                         for permanent residence under certain
                                               transitions as part of their legitimate                 identified on the Application for                      Canadian federal economic immigration
                                               development and growth. DHS                             Entrepreneur Parole (Form I–941)                       programs.21 DHS has attempted to
                                               disagrees, however, that all of the events              collectively acquiring a controlling stake             develop the Form I–941 to be as simple
                                               listed by commenters should be                          in the entity. DHS recognizes that                     as possible for applicants while
                                               specifically exempted from the                          achieving a significant round of funding               capturing sufficient information to
                                               definition of material change. Some                     for the start-up entity during the initial             enable adjudicators to make appropriate
                                               changes to the start-up entity can clearly              parole period may often constitute the                 case-by-case decisions under the
                                               impact the determination of whether the                 very qualifying investment that renders                statutory and regulatory requirements
                                               entrepreneur provides, or will continue                 the entrepreneur eligible for a re-parole              for parole.
                                               to provide, a significant public benefit                period under this rule’s significant                   2. Submissions of Documentary/
                                               to the United States. It is essential to the            public benefit test, despite diluting the              Supporting Evidence
                                               rule’s integrity that such material                     entrepreneur’s ownership interest.
                                               changes are clearly defined and reported                                                                          Comment: Two commenters
                                                                                                       While DHS will make these
                                               to DHS. In the final rule, DHS has                                                                             expressed concern that the evidentiary
                                                                                                       determinations on a case-by-case basis,
                                               outlined those changes that DHS                                                                                requirements were excessive and that
                                                                                                       DHS does not anticipate that such
                                               believes are critical to the continuing                                                                        start-up entities operating in ‘‘stealth-
                                                                                                       significant changes with respect to
                                               eligibility of the entrepreneur to be                                                                          mode’’ would not be able to provide
                                                                                                       ownership and control of the start-up
                                               granted parole based on a significant                                                                          letters or media articles. Both
                                                                                                       entity will often result in termination of
                                               public benefit to the United States.                                                                           commenters suggested that evidence of
                                                                                                       parole. A full vetting of new investors
                                               Specifically, the final rule maintains                                                                         a significant capital investment from a
                                                                                                       with a significant ownership interest,                 qualified investor should be sufficient to
                                               that the following changes are material:                however, can provide DHS with
                                               Any criminal charge, conviction, plea of                                                                       demonstrate the potential for rapid
                                                                                                       additional insights into the start-up                  growth and job creation.
                                               no contest, or other judicial                           entity’s activities in the United States
                                               determination in a criminal case                                                                                  Response: As an initial matter, DHS
                                                                                                       and will help DHS ensure the                           recognizes there may be legitimate
                                               concerning the entrepreneur or start-up                 entrepreneur is continuing to provide a
                                               entity; any complaint, settlement,                                                                             reasons for operating a start-up in a
                                                                                                       significant public benefit to the United               manner that does not attract significant
                                               judgment, or other judicial or                          States. In the future, DHS may issue
                                               administrative determination                                                                                   public attention. In part for this reason,
                                                                                                       additional guidance on the scope of                    this final rule extends the definition of
                                               concerning the entrepreneur or start-up
                                                                                                       such significant changes in ownership                  start-up entity to include entities formed
                                               entity in a legal or administrative
                                                                                                       interest if deemed necessary.                          within the 5 years immediately
                                               proceeding brought by a government                         DHS believes these changes are
                                               entity; any settlement, judgment, or                                                                           preceding the filing date of the
                                                                                                       sufficient to clarify the definition of                applicant’s initial parole request. DHS
                                               other legal determination concerning                    ‘‘material change’’ in regulation and to
                                               the entrepreneur or start-up entity in a                                                                       believes that start-up entities that are
                                                                                                       provide entrepreneurs with sufficient                  seeking to operate without significant
                                               legal proceeding brought by a private                   detail about the kinds of changes that
                                               individual or organization other than                                                                          public attention will generally have
                                                                                                       could impact their eligibility and must                sufficient time to emerge from that
                                               proceedings primarily involving claims
                                                                                                       be reported. Given that this is a new and              status prior to the parole application.
                                               for damages not exceeding 10 percent of
                                                                                                       complex process, DHS will consider                        DHS agrees with the commenters that
                                               the current assets of the entrepreneur or
                                                                                                       potential modifications in the future                  evidence of having received substantial
                                               start-up entity; a sale or other
                                                                                                       after it has assessed the implementation               investment from a qualified investor
                                               disposition of all or substantially all of
                                                                                                       of the rule and its impact on operational              may be sufficient to establish that the
                                               the start-up entity’s assets; the
                                                                                                       resources.                                             start-up entity has the potential for
                                               liquidation, dissolution, or cessation of
                                               operations of the start-up entity; and the              E. Application Requirements                            rapid growth and job creation (one
                                               voluntary or involuntary filing of a                                                                           factor in making parole determinations
                                                                                                       1. Application for Entrepreneur Parole                 under this rule). See 8 final CFR
                                               bankruptcy petition by or against the
                                               start-up entity. DHS has revised the                       Comments: One commenter                             212.19(b)(2)(ii)(B)(1). DHS understands
                                               definition of ‘‘material change’’ to                    supported the Application for                          that other evidence that may be required
                                               include the cessation of the                            Entrepreneur Parole (Form I–941), and                  to establish eligibility for parole
                                               entrepreneur’s qualifying ownership                     called it ‘‘ideal’’ because without the                consideration under this rule, including
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                                               interest in the start-up entity.                        form applicants must attempt to list                   whether the applicant is well-positioned
                                                  DHS recognizes that not all changes to               information on existing application                    to advance the entity’s business, may
                                               the ownership structure of a start-up                   forms that do not specifically relate to               not be a matter of public record. DHS
                                               entity constitute a change of such                      entrepreneurs. Another commenter                       believes, however, that even an
                                               significance that it would reasonably                   requested that the application process                 entrepreneur operating a company in
                                               affect the outcome of the determination                 resemble the Canadian express entry
                                               of whether the entrepreneur provides, or                immigration system and be simplified                     21 http://www.cic.gc.ca/english/express-entry/.




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                                               ‘‘stealth mode’’ should generally be able               innovation, and growth—rather than                     recommended setting the threshold at
                                               to provide such evidence for purposes                   create it in another country.                          $250,000, and DHS’s further analysis of
                                               of satisfying the requirements of this                                                                         seed and angel investment data
                                                                                                       4. Other Comments on Application
                                               rule. Indeed, for entrepreneurs to be                                                                          indicates that this level is reasonable.
                                                                                                       Requirements
                                               paroled under this rule, they must                                                                             As is described more fully in the
                                               persuade adjudicators, based on the                        Comment: One commenter asked that                   ‘‘Volume Projections’’ subsection of the
                                               totality of the evidence, that they will                DHS clarify the application procedures                 ‘‘Statutory and Regulatory
                                               provide a significant public benefit.                   for Canadians and whether they may                     Requirements’’ section of this final rule,
                                                                                                       apply at the border or whether they                    DHS’s analysis of investments received
                                               3. Application Requirements of Spouses
                                                                                                       must visit a U.S. consulate prior to                   by a set of new firms that graduated
                                               and Minor Children
                                                                                                       requesting to be paroled at a U.S. port                from startup accelerator programs
                                                  Comment: DHS received a few                          of entry.                                              revealed that the median seed
                                               comments supporting the provision in                       Response: Canadians and applicants                  investment was $250,000.22 Following
                                               the proposed rule allowing the spouse                   from other countries may apply for                     the intent of this final rule to increase
                                               and children of an entrepreneur granted                 parole under this rule while inside or                 and enhance entrepreneurship,
                                               parole under this rule to also apply for                outside of the United States. If the                   innovation, and job creation in the
                                               and be granted parole in the United                     applicant’s parole request is approved,                United States, DHS determined that
                                               States in order to accompany or                         the applicant would request to be                      investment amounts that entrepreneurs
                                               ultimately join the entrepreneur. One                   paroled by Customs and Border                          would need to meet to be considered for
                                               commenter also supported the proposal                   Protection at a U.S. port of entry after               parole under this rule should be more
                                               to allow the spouse, if granted parole, to              arriving from outside the United States.               in line with typical early investment
                                               obtain employment authorization in the                  Canadian nationals who will be                         rounds, rather than the higher
                                               United States in order to work and help                 appearing at a U.S. port of entry directly             investment levels typical of later
                                               support the entrepreneur’s family.                      from Canada will not have to visit a U.S.              rounds. In each individual case, DHS
                                                  Response: DHS agrees with these                      consulate prior to appearing at the port               must be persuaded that granting parole
                                               comments. Each spouse or child seeking                  of entry and requesting that CBP grant                 would provide a significant public
                                               parole must independently establish                     parole. Canadian nationals who will not                benefit and that the person requesting
                                               eligibility for parole based on significant             be appearing at a U.S. port of entry                   parole merits a favorable exercise of
                                               public benefit (or, alternatively, for                  directly from Canada, and will instead                 discretion.
                                               urgent humanitarian reasons), and that                  be travelling to the United States from                   Comment: One commenter stated that
                                               the individual merits a favorable                       another country abroad to request a                    there should not be a minimum
                                               exercise of discretion. In a case in which              grant of parole may, similar to other
                                               an entrepreneur has been granted parole                                                                        investment amount and suggested that
                                                                                                       applicants, have to visit a U.S. consulate             the rule instead establish minimum
                                               based on significant public benefit                     first in order to obtain travel
                                               under this rule, DHS may consider                                                                              revenue amounts. Several other
                                                                                                       documentation (e.g., a boarding foil)                  commenters suggested that evidence of
                                               granting parole to the entrepreneur’s                   that allows the individual to travel to a
                                               spouse and children who provide a                                                                              rapid revenue growth should be a
                                                                                                       U.S. port of entry. In all cases, however,             standalone eligibility criterion for the
                                               significant public benefit by                           the individual must have an approved
                                               maintaining family unity and thereby                                                                           initial parole period under 8 CFR
                                                                                                       Form I–941 before the individual may                   212.19(b)(2)(ii).
                                               further encouraging the entrepreneur to
                                                                                                       appear at the port-of-entry to request a                  Response: DHS disagrees with the
                                               operate and grow his or her business in
                                                                                                       grant of parole.                                       suggestion that there should not be a
                                               the United States—and to provide the
                                               benefits of such growth to the United                   F. Parole Criteria and Conditions                      minimum investment amount.
                                               States.                                                                                                        Establishing a minimum investment
                                                  Under this final rule, spouses of                    1. Minimum Investment                                  amount based on available data
                                               entrepreneur parolees who wish to                         Comment: Numerous commenters—                        provides a clear and predictable
                                               obtain employment authorization must                    including advocacy groups, law firms,                  benchmark for how an applicant may
                                               apply for an EAD pursuant to 8 CFR                      associations, and individual                           demonstrate that a start-up entity has
                                               274a.12(c)(34), consistent with current                 commenters—argued that the proposed                    substantial potential for rapid growth
                                               parole policy that allows parolees to                   rule’s minimum investment criterion for                and job creation (one factor in making
                                               apply for employment authorization.                     the initial parole period would set too                parole determinations under this rule).
                                               DHS agrees with the commenter that                      high an eligibility bar for many high-                 If international entrepreneurs are unable
                                               allowing spouses of entrepreneurs to                    potential entrepreneurs. Citing a range                to meet the threshold investment
                                               apply for work authorization may                        of different kinds of evidence, several                amount but have received some
                                               alleviate a significant portion of the                  commenters argued that the proposed                    qualified investments or qualified
                                               potential economic burdens that                         $345,000 threshold represented                         government awards or grants, they may
                                               entrepreneurs and their families may                    significantly more capital than is                     alternatively qualify for parole
                                               face, such as paying for education                      actually needed by most start-ups                      consideration under this rule if they
                                               expenses for their children, and to                     initially and would unnecessarily                      partially meet the threshold criteria and
                                               ensure that they satisfy the condition on               exclude from consideration some                        provide ‘‘other reliable and compelling
                                               their parole that they maintain                         entrepreneurs whose entities would                     evidence of the start-up entity’s
                                               household income that is greater than                   create significant public benefit in the               substantial potential for rapid growth
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                                               400 percent of the Federal poverty line,                United States.                                         and job creation.’’ See final 8 CFR
                                               as they grow and develop their start-up                   Response: In response to public                      212.19(b)(2)(iii).
                                               entities. Moreover, extending                           comments, DHS is reducing the
                                                                                                                                                                22 The data utilized by DHS is provided publicly
                                               employment authorization to the spouse                  proposed minimum investment of
                                                                                                                                                              by SeedDB: http://seed-db.com/accelerators, as well
                                               may further incentivize an international                $345,000 to $250,000 in the final rule.                as the Angel List: https://angel.co/, and the Angel
                                               entrepreneur to bring a start-up entity to              See 8 final CFR 212.19(b)(2)(ii)(B)(1).                Capital Association (ACA): https://
                                               the United States—along with new jobs,                  Multiple public comments                               www.angelcapitalassociation.org/.


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                                                  DHS disagrees with the suggestion                    receipt by the start-up entity is                      (SBIR) 23 and Small Business
                                               that evidence of rapid revenue growth                   contingent upon the approval of parole.                Technology Transfer (STTR) awards and
                                               or generation of a certain amount of                       Response: DHS is revising the                       dollar amounts.
                                               revenue should be a separate criterion                  proposed requirement that the                             Response: DHS declines to make the
                                               under 8 CFR 212.19(b)(2)(ii). In setting                                                                       suggested changes to the minimum
                                                                                                       substantial investment be received
                                               threshold criteria, DHS intends to                                                                             government grant or award threshold. In
                                                                                                       within the 365 days immediately
                                               identify reliable indicators of a start-up                                                                     light of the range of comments received
                                                                                                       preceding the filing of the application
                                               entity’s substantial potential for rapid                                                                       on increasing or decreasing the
                                                                                                       for initial parole. The final rule
                                               growth and job creation and, ultimately,                                                                       minimum grant amount, DHS believes
                                                                                                       increases this period from 12 months
                                               of the significant public benefit that a                                                                       its proposed minimum grant amount is
                                                                                                       (365 days) to 18 months. DHS made this
                                               grant of parole would provide in an                                                                            reasonable. Because government entities
                                                                                                       change based on feedback that it often                 regularly evaluate the potential of U.S.
                                               individual case. DHS does not believe
                                                                                                       takes longer than 12 months for a start-               businesses, the choice to provide a
                                               that revenue should be the sole external
                                               validation factor as compared to                        up to secure and receive investment                    significant award or grant to a particular
                                               substantial funding from qualified U.S.                 funding. This revised requirement still                start-up entity will often be a strong
                                               investors and government entities for                   ensures that a qualified investor or                   indicator of that start-up’s substantial
                                               initial parole applications. DHS                        government entity has recently                         potential for growth and job creation.
                                               reiterates, however, that a start-up                    validated (within 18 months) the start-                Additionally, because government
                                               entity’s revenue may be taken under                     up entity’s potential for rapid growth                 entities are by definition formed to serve
                                               consideration, both under the                           and job creation. With respect to the                  the public, the choice by such an entity
                                               ‘‘alternative criteria’’ test and as part of            comment suggesting that DHS accept                     to fund a particular business generally
                                               the totality of evidence relevant to                    funding contingent upon approval of                    indicates the government entity’s
                                               whether the grant of parole in an                       parole toward the qualified investment                 independent assessment that the
                                               individual case would be justified by                   amount, DHS believes that funds                        business’s operations would provide a
                                               significant public benefit and the person               contingent on the occurrence of a future               significant public benefit—and can be a
                                               requesting parole deserves a favorable                  event, such as a grant of parole to the                strong indicator of a start-up entity’s
                                               exercise of discretion. See 8 CFR                       entrepreneur, would not satisfy the                    substantial potential for rapid growth
                                               219.2(b)(2)(iii), 219.2(c)(2)(B)(iii).                  general criteria in 8 CFR 212.19(b)(2)(ii).            and job creation. The specific $100,000
                                                  Comment: Several individual                          DHS notes, however, that such funds                    minimum government funding
                                               commenters recommended that the                         may be considered under the alternative                threshold identified in this final rule is
                                               investment threshold be based upon the                  criteria in 8 CFR 212.19(b)(2)(iii) if the             based in part on the fact that seed
                                               type of business activity.                              entrepreneur partially meets one or both               funding awards (‘‘Phase I’’ awards) from
                                                  Response: In an effort to provide a                  of the criteria in 8 CFR                               the Federal SBIR/STTR program are
                                               reasonable level of simplicity and                      212.19(b)(2)(ii)(B), since DHS may                     generally below $150,000.
                                               predictability in the final rule, DHS                   consider such contingent funds as other
                                               decided to utilize a single investment                  reliable and compelling evidence of the                3. Initial Parole Alternative Criteria
                                               threshold rather than several amounts                   start-up entity’s substantial potential for               Comment: Several commenters
                                               based on the type of business activity.                 rapid growth and job creation. Given                   offered suggestions for the factors to be
                                               DHS believes that determining multiple                  that this process is a new and complex                 considered by DHS under the rule’s
                                               investment thresholds based on                          one, DHS has decided to take an                        alternative criteria for the initial parole
                                               business activity or industry would be                  incremental approach and will consider                 period, such as adding a metric for
                                               unduly complicated, making                              the suggested modification in the future               number of users or customers of the
                                               adjudications more labor-intensive and                  after assessing the implementation of                  entrepreneur’s start-up entity, the start-
                                               increasing processing times. DHS                        the rule and its impact on operational                 up entity’s social impact, and the start-
                                               believes that using a single investment                 resources.                                             up entity’s national scope or location in
                                               threshold, backed by available data, is a                                                                      a low- or middle-class neighborhood.
                                               reasonable approach and provides a                      2. Minimum Government Grants or                        Other commenters proposed the
                                               clearer benchmark for applicants,                       Awards                                                 following factors: The applicant’s
                                               investors, and adjudicators.                                                                                   academic degree; participation in or
                                                  Comment: Some commenters                                Comment: Several commenters argued
                                                                                                       that DHS should require less than                      training from a start-up accelerator;
                                               provided input on the requirement that                                                                         prior success as demonstrated by market
                                               funding be received within the                          $100,000 to meet the eligibility criteria
                                                                                                       based on a start-up entity’s receipt of                share from patented innovations, annual
                                               preceding 365 days. A CEO roundtable                                                                           sales volume, or job creation; and
                                               agreed that the $345,000 threshold was                  government grants and awards. An
                                               an appropriate amount, but questioned                   individual commenter said that most                       23 The Small Business Innovation Research (SBIR)
                                               the 365-day requirement,                                government grants were well beneath                    program is coordinated by the Small Business
                                               recommending that the rule be changed                   the $100,000 minimum threshold in the                  Administration to seed capital for start-up
                                               to require that only 65 percent of the                  proposed rule. Another individual                      businesses. It is designed to stimulate technological
                                                                                                       commenter recommended a $50,000                        innovation among small private-sector businesses,
                                               investment to have occurred within the                                                                         and it is the largest source of seed capital in the
                                               last 365 days. A trade association and a                government grant threshold. By                         United States for technology driven start-ups,
                                               joint submission from a professional                    contrast, one commenter stated that the                funding between 5,000 and 7,000 projects a year.
                                               association and a non-profit                            $100,000 minimum investment for                        The ‘‘first phase’’ award is an innovation grant
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                                                                                                       government grants and awards is too                    made for initial eligibility and corresponds to the
                                               organization recommended that the                                                                              start-up of the commercial business and proof of
                                               investment occur within a 3-year                        low to start a meaningful business and                 ‘‘concept phase’’—the average award amounts vary
                                               window. As an alternative, the trade                    suggested increasing the amount to                     by department, but most SBIR Phase I awards are
                                               association stated that some of a start-                $500,000 or more. Several commenters                   made at or below $150,000. The Phase I awards are
                                                                                                       stated that the $100,000 grant threshold               geared towards financing the startup of the private
                                               up entity’s capital that would otherwise                                                                       commercial entity and also the innovation and
                                               count toward the qualified investment                   aligns with the timing of the Federal                  research and development (R&D) that the enterprise
                                               amount should do so even if its ultimate                Small Business Innovation Research                     undertakes.


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                                               demonstrated success using alternative                  independently provide sufficient                       (one factor in making parole
                                               funding platforms.                                      external validation that a start-up entity             determinations under this rule). DHS,
                                                  Response: DHS agrees with these                      has the substantial potential for rapid                however, understands that some start-
                                               suggestions. DHS may consider the                       growth or job creation and meets the                   up entities with the potential to yield
                                               following additional types of evidence,                 ‘‘significant public benefit’’ requirement             significant public benefit may have
                                               among others, as factors under the                      under this rule. Evidence that the start-              legitimate economic or strategic reasons
                                               alternative criteria for those applicants               up is involved with certain initiatives in             to not pursue or accept capital
                                               who partially satisfy 8 CFR                             the public interest can, however, be                   investment or government funding at
                                               212.19(b)(2)(ii):                                       considered a positive factor in                        the levels set forth in 8 CFR
                                                  • number of users or customers;                      determining whether an entrepreneur                    212.19(b)(2)(ii)(B). Therefore, DHS has
                                                  • revenue generated by the start-up                  merits a grant of parole as a matter of                provided in the rule an alternative
                                               entity;                                                 discretion. Given that this is a new and               criterion for further consideration of
                                                  • social impact of the start-up entity;              complex process, DHS has decided to                    those applications where the applicant
                                                  • national scope of the start-up entity;             take an incremental approach and will                  only partially satisfies the capital
                                                  • positive effects on the start-up                   consider potential modifications in the                investment or government funding
                                               entity’s locality or region;                            future after it has assessed the                       thresholds, but provides additional
                                                  • success using alternative funding                  implementation of the rule and its                     reliable and compelling evidence that
                                               platforms, including crowdfunding                       impact on operational resources.                       establishes the substantial potential of
                                               platforms;                                                 Comment: One commenter said the                     the start-up entity for rapid growth and
                                                  • the applicant’s academic degrees;                  term ‘‘reliable and compelling                         job creation.
                                                  • the applicant’s prior success in                   evidence’’ in proposed 8 CFR                              Comment: A commenter suggested
                                               operating start-up entities as                          212.19(b)(2)(iii), with respect to the                 that, instead of focusing on capital
                                               demonstrated by patented innovations,                   start-up entity’s substantial potential for            investment and job creation criteria,
                                               annual revenue, job creation, or other                  rapid growth and job creation, is too                  DHS should focus on whether the start-
                                               factors; and                                            vague and should be elaborated on                      up entity would be in industries in
                                                  • selection of the start-up entity to                further in the regulatory text.                        traded sectors. The commenter
                                               participate in one or more established                     Response: DHS disagrees with the                    proposed that the following industries
                                               and reputable start-up accelerators or                  commenter’s suggestion to elaborate                    would qualify: Manufacturing, software
                                               incubators.                                             further in 8 CFR 212.19(b)(2)(iii) on the              publishers, Internet publishing, and
                                                  With respect to start-up accelerators                type of evidence that may be submitted                 research and development services.
                                               and incubators, DHS expects to evaluate                 and considered as reliable and                            Response: While DHS recognizes the
                                               them on several relevant factors,                       compelling. DHS believes that this                     benefits of increased exports to the U.S
                                               including years in existence, graduation                alternative criterion should be flexible               economy, it declines to limit eligible
                                               rates, significant exits by portfolio start-            so as not to restrict the types of evidence            start-up entities to traded sectors, since
                                               ups, significant investment or                          that may be submitted and relied upon                  start-up entities in a much wider set of
                                               fundraising by portfolio start-ups, and                 to determine if the start-up entity has                industries can yield significant public
                                               valuation of portfolio start-ups.                       substantial potential for rapid growth                 benefit to the United States through
                                                  DHS understands that some                            and job creation. DHS believes that such               rapid growth and job creation.
                                               applicants will be able to establish that               flexibility is important given the case-                  Comment: A commenter requested
                                               their start-up entity is likely to grow                 by-case nature of these discretionary                  that DHS form an advisory group of
                                               rapidly and create jobs based on other                  parole determinations. An applicant for                industry experts to recommend
                                               factors beyond only the amount of                       parole under this rule who does not                    alternative criteria.
                                               capital investment or government                        meet the threshold capital investment or                  Response: DHS afforded an
                                               funding received, which is why DHS                      government funding criteria in 8 CFR                   opportunity for notice and comment on
                                               has not limited the types of evidence                   212.19(b)(2)(ii)(B) may submit any                     the NPRM and expressly sought
                                               that may be considered under the                        evidence that the applicant believes is                proposals for alternative criteria from
                                               alternative criteria at 8 CFR                           reliable and compelling to support the                 the public. DHS does not believe that
                                               212.19(b)(2)(iii) for those who only                    claim that the applicant’s start-up entity             forming a new advisory group is
                                               partially meet the initial threshold                    has substantial potential for rapid                    necessary at this time.
                                               criteria at 8 CFR 212.19(b)(2)(ii)(B).                  growth and job creation. DHS, after                       Comment: One commenter suggested
                                                  Comment: One commenter suggested                     reviewing the application and all of the               that the term ‘‘rapid growth’’ should be
                                               linking the rule’s application to                       evidence submitted in support of the                   determined based on factors pertaining
                                               applications for other initiatives, such                application, will make a determination                 to the start-up entity’s industry, normal
                                               as National Minority Supplier                           as to whether the applicant is eligible                business growth in the industry,
                                               Development Council Certification and,                  for parole consideration under the                     geographic area, and the amount of
                                               when applicable, Minority Women                         relevant statutory and regulatory                      investment in the entity. The
                                               Based Entrepreneur Certification.                       standards, and as to whether the person                commenter also recommended that the
                                                  Response: DHS appreciates the                        seeking parole merits a favorable                      term ‘‘substantial potential’’ take into
                                               commenters’ suggestions but declines to                 exercise of discretion.                                account the start-up entity’s particular
                                               adopt these factors as evidence of                         Comment: One commenter asserted                     geographic area rather than a national
                                               substantial potential for rapid business                that securing an investment from a U.S.                scale.
                                               growth or job creation. Nothing in this                 investor or obtaining a U.S. government                   Response: While the industry- and
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                                               rule prohibits or discourages                           grant or award is not a viable option for              geography-specific factors suggested by
                                               entrepreneurs from participating in                     most people.                                           the commenter may be taken into
                                               initiatives or certification processes                     Response: DHS believes that qualified               consideration by DHS as part of the
                                               designed to help promote more diverse                   investments or government funding are                  totality of the circumstances for a given
                                               and inclusive entrepreneurship. DHS                     appropriate factors to consider when                   application, DHS believes that the
                                               does not believe, however, that such                    assessing the ability of a start-up entity             general and alternative eligibility
                                               initiatives and certifications                          to achieve rapid growth and job creation               criteria provided in the final rule are

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                                               sufficient to determine if a start-up                   criterion, moreover, he or she may still               start-ups focus more on growing their
                                               entity has the substantial potential for                be eligible for re-parole based on                     number of users in their early years.
                                               rapid growth and job creation, and                      revenue generated or jobs created. See                    Response: DHS declines to include
                                               provide a more predictable framework                    final 8 CFR 212.19(c)(2)(ii)(B)(2) and (3).            user growth as a stand-alone criterion
                                               by which these parole applications will                 Under the final rule, entrepreneurs                    for establishing eligibility for re-parole.
                                               be adjudicated than would a more                        partially meeting the threshold re-parole              DHS, however, may consider user
                                               mechanical and unduly rigid                             criteria may alternatively qualify ‘‘by                growth as a factor when evaluating an
                                               consideration of the variables suggested                providing other reliable and compelling                entrepreneur’s eligibility under the
                                               by the commenter.                                       evidence of the start-up entity’s                      alternative criteria provision. The list of
                                                                                                       substantial potential for rapid growth                 factors provided in the preamble to the
                                               4. Re-parole Criteria                                                                                          proposed rule was intended only to
                                                                                                       and job creation.’’ Final 8 CFR
                                               a. Minimum Investment or Grants/                        212.19(c)(2)(iii).                                     illustrate the kinds of factors that DHS
                                               Awards                                                                                                         may consider as reliable and compelling
                                                                                                       b. Minimum Annual Revenue                              evidence of the start-up entity’s
                                                  Comment: Several commenters
                                               discussed the proposed re-parole                           Comment: Several commenters                         substantial potential for rapid growth
                                               eligibility criteria at 8 CFR                           discussed the proposed re-parole                       and job creation.
                                               212.19(c)(2)(ii)(B)(1), namely that the                 criterion at 8 CFR 212.19(c)(2)(ii)(B)(3),                As noted in the NPRM, DHS is not
                                               applicant’s start-up entity has received                which establishes an eligibility                       defining in regulation the specific types
                                               at least $500,000 in qualifying                         threshold when the applicant’s start-up                of evidence that may be deemed
                                               investments, qualified government                       entity has reached at least $500,000 in                ‘‘reliable and compelling’’ at this time,
                                               grants or awards, or a combination of                   annual revenue and averaged 20 percent                 because DHS seeks to retain flexibility
                                               such funding, during the initial parole                 in annual revenue growth during the                    as to the kinds of supporting evidence
                                               period. Most commenters argued that                     initial parole period. Most commenters                 that may warrant the Secretary’s
                                               this funding level was unduly high,                     suggested alternative approaches,                      exercise of discretion in granting parole
                                               especially given the duration of the                    arguing that start-ups are often                       based on significant public benefit. DHS
                                               initial parole period.                                  legitimately focused on the                            believes, however, that such evidence
                                                  Response: DHS declines to adjust the                 development of an innovative product                   would need to be compelling to
                                               $500,000 funding threshold. See final 8                 or service, and not on generating early                demonstrate that the entrepreneur’s
                                               CFR 212.19(c)(2)(ii)(B)(1). DHS believes                revenue. Another commenter stated that                 presence in the United States would
                                               that $500,000 is a reasonable level for                 the revenue criterion is reasonable.                   provide a significant public benefit.
                                               re-parole. An industry report on startups                                                                      DHS will evaluate on a case-by-case
                                                                                                          Response: DHS declines to adjust                    basis whether such evidence—in
                                               shows the median seed investment                        these criteria. See final 8 CFR
                                               round for the first half of 2016 was                                                                           conjunction with the entity’s substantial
                                                                                                       212.19(c)(2)(ii)(B)(1). DHS chose                      funding, revenue generation, or job
                                               $625,000, which rose from $425,000 in                   $500,000 in revenue and 20 percent
                                               2015. This figure is valuable because it                                                                       creation—establishes that the
                                                                                                       annual revenue growth as threshold                     applicant’s presence in the United
                                               includes seed rounds for firms that                     criteria because, after consulting with
                                               participate with accelerators and that                                                                         States will provide a significant public
                                                                                                       SBA, DHS determined these criteria: (1)                benefit during a re-parole period.
                                               often start out with investment rounds                  Would be reasonable as applied across                     Comment: An individual commenter
                                               below $100,000.24 The median for angel                  start-up entities regardless of industry or            suggested that the minimum annual
                                               group seed investments is reported at                   location; and (2) would serve as strong                revenue threshold for re-parole be set as
                                               $620,000 as the annual average over                     indications of an entity’s potential for               just enough to sustain the
                                               2013–2015, which rose sharply to                        rapid growth and job creation (and that                entrepreneur’s salary and continue
                                               $850,000 in 2015 from a median of                       such entity is not, for example, a small               business operations.
                                               $505,000 from the previous two years.                   business created for the sole or primary                  Response: The final rule states that
                                               Venture capital round sizes are even                    purpose to provide income to the owner                 the start-up entity must be of a type that
                                               larger, as the 2014 median round size                   and his or her family). As noted, DHS                  has the substantial potential to
                                               for both seed and startup stage venture                 has also increased the length of the                   experience rapid growth and job
                                               rounds was $1,000,000.                                  initial parole period from 24 months to                creation, including through significant
                                                  DHS has also increased the length of                 30 months. This change will allow                      levels of capital investment, government
                                               the initial parole period from 24 months                entrepreneurs additional time to meet                  awards or grants, revenue generation, or
                                               to 30 months. This change will allow                    the minimum revenue threshold for re-                  job creation during the re-parole period.
                                               entrepreneurs additional time to seek                   parole. If an entrepreneur is unable to                These factors are intended to help DHS
                                               and receive qualified investments or                    meet the minimum revenue                               identify the types of start-up entities
                                               government funding, to meet the re-                     requirement, he or she may still be                    that are most likely to provide a
                                               parole criteria. If an entrepreneur is                  eligible under the minimum investment                  significant public benefit, while
                                               unable to meet the minimum funding                      or job creation criteria. See final 8 CFR              excluding entities without such
                                                                                                       212.19(c)(2)(ii)(B)(1) and (2). Under the              potential—such as a business with
                                                 24 The report on the seed median is published as
                                                                                                       final rule, entrepreneurs partially                    limited growth potential created by an
                                               a newsletter by Crunchbase and is found at: https://
                                               techcrunch.com/2016/09/07/crunchbase-sees-rise-         meeting the threshold re-parole criteria               entrepreneur for the sole or primary
                                               in-average-seed-round-in-2016/. The Angel group         may alternatively qualify ‘‘by providing               purpose of providing income to the
                                               median round size is obtained from the Angel            other reliable and compelling evidence                 entrepreneur and his or her family.25
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                                               Resource Institute’s annual (2015) ‘‘Halo Report,’’     of the start-up entity’s substantial                   Because this latter type of business is
                                               found at http://angelresourceinstitute.org/reports/
                                               halo-report-full-version-ye-2015.pdf. The venture       potential for rapid growth and job                     less likely to experience rapid growth
                                               capital figures are obtained from the Ernst and         creation.’’ Final 8 CFR 212.19(c)(2)(iii).
                                               Young Venture Capital Insights Report (4th quarter         Comment: An individual commenter                      25 Erik Hurst & Benjamin Wild Pugsley, ‘‘What Do

                                               2014) and are found at: http://www.ey.com/                                                                     Small Businesses Do?’’ (Aug. 2011), available at
                                               Publication/vwLUAssets/Venture_Capital_Insights_
                                                                                                       suggested that DHS should include in                   http://www.brookings.edu/∼/media/files/programs/
                                               4Q14_-_January_2015/%24FILE/ey-venture-capital-         the rule a criterion for user growth,                  es/bpea/2011_fall_bpea_papers/2011_fall_bpea_
                                               insights-4Q14.pdf.                                      rather than revenue growth, as many                    conference_hurst.pdf.


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                                               and job creation, DHS believes it is                       Response: DHS declines to adopt the                 under this rule of up to 5 years. The
                                               unlikely that the entrepreneur of such a                commenter’s suggestion. DHS believes                   additional time for the initial parole
                                               business would be able to meet the                      that a start-up entity would have to                   period will provide entrepreneurs with
                                               significant public benefit requirement                  generate a significant level of revenue or             more time to receive additional
                                               for a grant of parole. Establishing a                   job creation (which are already criteria               qualified investments or government
                                               minimum annual revenue threshold for                    under this rule) to meet any separate,                 funding, increase revenue, or create
                                               re-parole that would, by definition,                    standalone tax-based threshold. Any                    qualified jobs sufficient to meet the
                                               cover only an entrepreneur’s salary and                 such additional criterion would                        eligibility criteria for an additional
                                               continue business operations would not                  therefore be unlikely to be particularly               period of parole. While this change does
                                               likely help identify whether an                         probative in determining whether re-                   reduce the length of the re-parole
                                               entrepreneur’s activity in the United                   parole is justified by significant public
                                                                                                                                                              period, DHS believes that this approach
                                               States would provide a significant                      benefit or the person seeking re-parole
                                               public benefit. DHS therefore declines                  merits a favorable exercise of discretion.             is necessary to provide additional time
                                               to adopt the commenter’s suggestion.                    DHS therefore declines to include the                  during the initial period of parole while
                                                                                                       payment of taxes as a stand-alone                      maintaining the same maximum overall
                                               c. Minimum Jobs Created                                                                                        parole period of 5 years. DHS further
                                                                                                       eligibility criterion.
                                                  Comment: Several commenters                             Comment: A commenter suggested                      believes that a 5-year total maximum
                                               discussed the proposed re-parole                        that if DHS lowers the funding and job                 parole period is consistent with the
                                               criterion at 8 CFR 212.19(c)(2)(ii)(B)(2),              creation thresholds for re-parole, there               amount of time successful start-up
                                               which establishes an eligibility                        should be no need for alternative                      entities generally require to realize rapid
                                               threshold for applicants whose start-up                 criteria.                                              growth and job creation potential.
                                               entities have created at least 10                          Response: While DHS did reduce the                  Moreover, an entrepreneur of a start-up
                                               qualified jobs within the start-up                      job creation threshold for re-parole in                entity that is almost 5 years old when
                                               entities during the initial parole period.              the final rule, DHS believes that                      the parole application is filed would
                                               Most commenters argued that this job                    parolees should have the flexibility to                have the possibility to obtain up to 5
                                               creation requirement was unduly high                    present other reliable and compelling                  years of parole, which would allow the
                                               or that the time period for compliance                  evidence of the start-up entity’s                      entity to realize its rapid growth and job
                                               was too short.                                          substantial potential for rapid growth
                                                  Response: Based on comments                                                                                 creation potential by the time it is 10
                                                                                                       and job creation. Examples of such
                                               received, DHS has lowered the job                                                                              years old—and to provide those benefits
                                                                                                       evidence are provided above, in the
                                               creation criterion for re-parole from 10                discussion on alternative criteria for the             in the United States.26 DHS retains the
                                               to 5 qualified jobs. See final 8 CFR                    initial parole period. DHS believes that               discretion to provide any length of
                                               212.19(c)(2)(ii)(B)(2). DHS agrees with                 it is important to retain such flexibility             parole to an applicant, including a
                                               commenters that requiring 10 jobs to                    in the final rule, consistent with the                 period shorter than 30 months where
                                               satisfy this criterion may be unduly high               case-by-case nature of these parole                    appropriate. DHS also notes that
                                               for many start-ups, even those with                     determinations. DHS, therefore, has not                although USCIS would designate an
                                               demonstrated substantial potential for                  adopted the commenter’s suggestions.                   appropriate initial parole period upon
                                               rapid growth and job creation. DHS                                                                             approval of the Application for
                                               believes that the creation of 5 qualifying              5. Authorized Periods of Parole
                                                                                                                                                              Entrepreneur Parole, CBP would retain
                                               jobs during the initial period of parole                   Comment: Several commenters                         its authority to deny parole to an
                                               is sufficient to determine that the start-              discussed the initial 2-year parole                    applicant or to modify the length of
                                               up entity continues to have substantial                 period at 8 CFR 212.19(d)(2). Most                     parole authorized by USCIS upon
                                               potential for rapid growth and job                      commenters argued that the 2-year                      issuing parole at the port of entry,
                                               creation, particularly in light of the                  period was unduly short, as start-ups                  consistent with CBP’s discretion with
                                               substantial capital investment,                         with significant potential for rapid                   respect to any advance authorization of
                                               government funding, or other reliable                   growth and job creation may require                    parole by USCIS.
                                               and compelling evidence that supported                  more time to meet re-parole eligibility
                                               the initial parole determination. In each               requirements. Some commenters                             26 Estimates based on the Census Bureau Business
                                               case, DHS must be persuaded that re-                    suggested having a 3-year initial period               Dynamics Statistics suggest that on average 55
                                               parole is justified by significant public               of parole and a 2-year period of re-                   percent of new firms survived after 3 years, but 80
                                               benefit and that the person seeking re-                 parole. Other commenters suggested a                   percent of the firms that survived 3 years also made
                                               parole merits a favorable exercise of                   range for initial parole from 3 to 5 years.            it through 5 years. Dane Stangler and Jared Konczal
                                               discretion. As discussed elsewhere in                   A number of comments discussed the                     ‘‘Give me your entrepreneurs, your innovators:
                                                                                                                                                              Estimating the Employment Impact of a Startup
                                               this preamble, DHS has also extended                    overall duration of the parole periods,
                                                                                                                                                              Visa’’, Ewing Marion Kauffman Foundation (Feb.
                                               the initial period of parole from 2 years               the majority of which advocated for                    2013), available at http://www.kauffman.org/∼/
                                               to 30 months, in order to allow                         longer periods ranging from 6 to 10                    media/kauffman_org/
                                               additional time for start-up entities to                years in total. Some of these                          research%2Oreports%20and%20covers/2013/02/
                                               grow, obtain additional substantial                     commenters based the need for an                       startup_visa_impact_final.pdf; ‘‘CrunchBase
                                                                                                       extended parole period on the typical                  Reveals: The Average Successful Startup Raises
                                               funding, generate substantial revenue,
                                                                                                                                                              $41M, Exits at $242.9M,’’ Techcrunch.com (Dec. 14,
                                               or create jobs. See 8 CFR                               duration of the start-up growth path                   2013), available at http://techcrunch.com/2013/12/
                                               212.19(c)(2)(iii).                                      from seed funding to venture capital                   14/crunchbase-reveals-the-average-successful-
                                                                                                       financing to exit (through an initial
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                                                                                                                                                              startup-raises-41m-exits-at-242-9m/; see also
                                               d. Re-Parole Alternative Criteria                       public offering or a merger or                         TruBridge Capitol Partners, Why the ‘Next Billion
                                                  Comment: One commenter suggested                     acquisition).                                          Dollar Startup’ Is not Always the Next IPO, Forbes,
                                               that DHS should consider taxes paid by                     Response: Based on the comments                     Apr. 15, 2015, available at http://www.forbes.com/
                                                                                                                                                              sites/truebridge/2015/04/15/why-next-billion-
                                               a start-up entity as a criterion for re-                received, DHS is changing the
                                                                                                                                                              dollar-startup-not-always-next-ipo/ (‘‘From 2001–
                                               parole, leaving the task to DHS to define               maximum periods for initial parole and                 2004, the average age of a company at its public exit
                                               the threshold of the amount and type of                 re-parole to 30 months (2.5 years) each,               was 5.4 years. . . . From 2009–2012, the average
                                               taxes paid.                                             for a total maximum parole period                      age was 7.9.’’).


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                                               6. Limitation on Number of                              parole will provide a significant public               above the poverty guidelines. Lastly,
                                               Entrepreneurs                                           benefit.                                               one commenter said the ‘‘significant
                                                                                                          The limitation, moreover, will help                 public benefit’’ determination should
                                                  Comment: Several commenters                          strengthen the integrity of the                        not just be applied to entrepreneurs who
                                               addressed 8 CFR 212.19(f) in the                        international entrepreneur parole                      meet a particular income or wealth
                                               proposed rule, which states that no                     process in various ways. Among other                   criterion, but should be liberally applied
                                               more than three entrepreneurs may be                    things, limiting the number of                         to all entrepreneurs who are seeking to
                                               granted parole based on the same start-                 individuals who may be granted parole                  build and grow a business.
                                               up entity. Most commenters on this                      under this rule in connection with the                    Response: DHS appreciates the
                                               provision recommended that DHS                          same start-up entity will provide an                   concerns raised by these commenters,
                                               increase the number of entrepreneurs,                   additional safeguard against an entity                 but declines to adopt the commenter’s
                                               with suggestions to increase the                        being used as a means to fraudulently                  suggestion to eliminate or alter the
                                               maximum number to 4 or 5. Several                       allow individuals to come to the United                income-related condition on parole.
                                               other commenters, including a trade                     States. Such a limit diminishes, for                   Establishing this income-related
                                               association and a professional                          example, the incentive to dilute equity                condition on parole is consistent with
                                               association, supported the proposed                     in the start-up entity as a means to                   the Secretary’s discretionary authority
                                               rule’s limit of 3 entrepreneurs obtaining               apply for parole for individuals who are               to grant parole ‘‘under conditions as he
                                               parole under this rule based on the same                not bona fide entrepreneurs. Finally,                  may prescribe.’’ INA section
                                               start-up entity. An individual                          DHS clarifies that the rule does not                   212(d)(5)(A), 8 U.S.C. 1182(d)(5)(A). As
                                               commenter stated that DHS should                        require that additional entrepreneurs,                 stated in the NPRM, DHS established
                                               allow for additional entrepreneurs to                   up to 3 entrepreneurs per start-up                     this income threshold to ensure that
                                               qualify for parole based on the same                    entity, apply for parole based on the                  applicants seeking parole under this
                                               start-up entity, not only at the time of                same start-up entity at the same time.                 rule will have sufficient personal
                                               application but also at a later date,                                                                          economic stability to make significant
                                                                                                       7. Income-Related Conditions on Parole
                                               asserting that it is very common for                                                                           economic and related contributions to
                                                                                                          Comment: Several commenters                         the United States. Those policy goals
                                               technology companies to introduce                       discussed the proposed rule’s provision
                                               multiple co-owners over time that are                                                                          remain valid and are appropriate in
                                                                                                       requiring that entrepreneurs paroled                   guiding the decision to retain the
                                               key personnel vital to the operations of                into the United States must maintain a
                                               the start-up entity.                                                                                           requirement that the household income
                                                                                                       household income that is greater than                  of an entrepreneur requesting parole
                                                  Response: DHS appreciates the                        400 percent of the Federal poverty line                under this rule be greater than 400
                                               comments regarding this limitation and                  for their household size, as defined by                percent of the Federal poverty line.
                                               recognizes that some start-ups may                      the Department of Health and Human                        Under this rule, DHS will take steps
                                               initially have more than 3 founders or                  Services. Many of these commenters                     to ensure that each grant of parole will
                                               owners. After reviewing all comments,                   discussed the financial difficulties faced             provide a positive net benefit to the
                                               DHS declines to increase the number of                  by start-ups and argued that the income                economy of the United States,
                                               entrepreneurs permitted to request                      requirements were unduly high or                       consistent with the statutory framework
                                               parole related to the same start-up                     suggested other alternatives. The                      authorizing parole only for significant
                                               entity, and will retain the current limit               majority of commenters on this issue                   public benefit absent urgent
                                               of no more than 3 eligible entrepreneur                 stated that entrepreneurs in start-up                  humanitarian issues. In addition to
                                               applicants per start-up entity. See final               endeavors typically do not take a salary               considering all the other positive
                                               8 CFR 212.19(f). As an initial matter,                  or take a minimal salary in the early                  evidence—from job creation to
                                               DHS believes it would be difficult for a                years. Several commenters                              investment to growth—DHS includes
                                               larger number of entrepreneurs                          recommended lowering this income                       the income threshold as an additional
                                               associated with the same start-up entity                threshold, with many suggesting                        safeguard that the entrepreneur and his
                                               to each meet the eligibility criteria and               lowering it to 100 percent, while others               or her family will not be eligible to draw
                                               comply with the conditions on parole                    suggested alternatives of 125 percent,                 upon Federal public benefits or
                                               while ultimately developing a                           200 percent, or 250 percent of the                     premium tax credits under the Health
                                               successful business in the United States.               Federal poverty level. An individual                   Insurance Marketplace of the Affordable
                                               A higher number of entrepreneurs                        commenter recommended that DHS                         Care Act. Furthermore, Secretary
                                               associated with the same start-up entity                institute a minimum yearly income                      Johnson indicated in his memorandum
                                               may affect the start-up’s ability to grow               requirement of $80,000, while another                  titled ‘‘Policies Supporting U.S. High-
                                               and succeed, and may even result in the                 individual commenter stated that DHS                   Skilled Business and Workers’’ that
                                               startup’s failure, thus preventing the                  should adopt a more nuanced approach                   such thresholds would be created so
                                               goals of the parole process under this                  that takes into account factors like                   that individuals would not be eligible
                                               rule from being realized.27 Imposing a                  standard of living, unemployment rates,                for these public benefits or premium tax
                                               limit on the number of entrepreneurs                    and economic growth by state. Other                    credits in light of the purpose of the
                                               who may be granted parole based on the                  commenters recommended that DHS                        policy.29
                                               same start-up entity is thus consistent                 allow for other types of compensation,                    DHS emphasizes that the funding
                                               with ensuring that each entrepreneur’s                  in the form of benefits or rewards, in                 amounts received by a start-up entity
                                                                                                       addition to salary to satisfy the income-              from governmental sources or from
                                                                                                       related conditions on parole. Another
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                                                 27 Max Marmer, Bjoern Lasse Herrmann, Ertan

                                               Dogrultan, Ron Berman, Startup Genome Report            individual commenter stated that DHS                   show that they have adequate means of financial
                                               Extra on Premature Scaling, Startup Genome              should use the income threshold                        support and are not likely to rely on the U.S.
                                               Report: Premature scaling v 1.2 (Mar. 2012 ed.)                                                                government for financial support.
                                                                                                       already established by the Affidavit of
                                               (explaining that ‘‘hiring too many people too early’’                                                            29 Memorandum from Jeh Johnson, DHS

                                               in a start-up’s development is one of several reasons   Support,28 which is set at 125 percent                 Secretary, Policies Supporting U.S. High-Skilled
                                               that most start-ups fail), available at https://                                                               Business and Workers 4 (Nov. 20, 2014), at https://
                                               s3.amazonaws.com/startupcompass-public/                   28 Affidavits of Support, filed using Form I–134     www.dhs.gov/sites/default/files/publications/14_
                                               StartupGenomeReport2_Why_Startups_Fail_v2.pdf.          or I–864, are required for certain immigrants to       1120_memo_business_actions.pdf.


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                                               qualified investors in order to meet the                understands that start-ups may have                    appear burdensome to the entrepreneur,
                                               rule’s eligibility thresholds are distinct              frequent ownership changes over the                    DHS believes that a new filing is
                                               from the possible sources of salary                     course of successive funding rounds,                   necessary in order to re-evaluate the
                                               payments to the individual                              and thus has revised the definition of                 entrepreneur’s eligibility when such
                                               entrepreneur. Nothing in this rule                      ‘‘material change’’ regarding ownership                material changes occur. Material
                                               prevents a start-up entity from raising                 changes to cover only those that are                   changes, by their definition, may affect
                                               higher funding levels than the minimum                  ‘‘significant’’ in nature. Clarifying the              the entrepreneur’s ability to
                                               parole eligibility thresholds, and from a               scope of the material change definition                demonstrate that the start-up entity has
                                               wider set of funders than those in the                  also limits the reporting requirement,                 potential for rapid growth and job
                                               rule’s definitions of qualified investors               which should help reduce the                           creation, and whether the entrepreneur
                                               and government entities. DHS intends                    anticipated burden on entrepreneurs.                   will continue to provide a significant
                                               for the eligibility criteria for parole to be           DHS also emphasizes that the rule                      public benefit to the United States.
                                               useful independent validation tools for                 requires notification of pending actions               Therefore, at present, the entrepreneur
                                               assessing the significant growth and job                only in the context of a criminal case or              must file a new application to allow
                                               creation potential of the start-up entity.              other action brought by a government                   DHS the opportunity to determine the
                                               While there is certainly validity to the                entity, while actions brought by private               entrepreneur’s continued eligibility for
                                               arguments made by some of the                           individuals or entities are not                        parole. Given that this is a new and
                                               commenters that many entrepreneurs do                   considered ‘‘material changes’’ until a                complex process, DHS has decided to
                                               not take large salaries, choosing instead               settlement, judgment, or other final                   take an incremental approach and will
                                               to re-invest available funds back into the              determination is reached. DHS does not                 consider potential modifications in the
                                               start-up entity or to take other forms of               believe that the material change                       future after it has assessed the
                                               non-cash compensation, DHS must                         reporting requirement under this rule                  implementation of the rule and its
                                               establish criteria that protect the overall             will impact an individual’s due process                impact on operational resources.
                                               policy goals of this rule in accordance                 or would otherwise be unfair. DHS
                                                                                                                                                              9. Other Comments on Parole Criteria
                                               with the requirements of the INA. The                   believes, however, that it is important
                                                                                                                                                              and Conditions
                                               income-related requirements offer a                     for an entrepreneur granted parole
                                               clear and predictable mechanism for                     under this rule to immediately inform                     Comment: Several comments
                                               DHS to have a strong measure of                         USCIS if certain actions are brought                   expressed concern that the rule did not
                                               confidence that the entrepreneur and                    against the entrepreneur or his or her                 require that the entrepreneur receive
                                               his or her family, while paroled into the               start-up entity.                                       prevailing wages for their work, with
                                               United States under this rule, will be                     Comment: One commenter                              some commenters expressing concern
                                               net positive contributors to the                        recommended that the process of                        that the only wage requirements relate
                                               American economy.                                       addressing material changes would be                   to the Federal Poverty Level.
                                                                                                       improved if DHS were to implement a                       Response: DHS appreciates
                                               8. Reporting of Material Changes                        policy similar to the ‘‘deference’’ policy             commenters’ concerns regarding
                                                  Comment: Several commenters                          it applies in the EB–5 investor program.               prevailing wages. Unlike some
                                               discussed the proposed requirement                      Such a policy provides that DHS will                   employment-based visa classifications,
                                               that entrepreneurs report any material                  defer to prior determinations regarding                however, the intention of this parole
                                               changes during a parole period to DHS                   certain documentary evidence used to                   process is not to address labor shortages
                                               by submitting a new application for                     establishing program eligibility                       in the United States. Rather, it is to
                                               parole. Most commenters argued that                     requirements absent fraud,                             encourage international entrepreneurs
                                               such a requirement would be onerous                     misrepresentation, a mistake of law or                 to create and develop start-up entities
                                               given the constantly changing nature of                 fact, or a material change.                            with high growth potential in the
                                               start-ups. A law firm argued that                          Response: As discussed above, DHS                   United States. DHS believes that
                                               requiring entrepreneurs to report and                   decided to narrow and clarify the                      requiring the parolee to maintain a
                                               reapply when there are pending actions                  definition of ‘‘material change’’ in order             household income of greater than 400
                                               against the start-up entity or                          to address commenters’ concerns about                  percent of the Federal Poverty Level
                                               entrepreneur would be unfair, as both                   reporting burdens. In the absence of                   adequately ensures that he or she will
                                               are entitled to due process, and                        specific suggestions, DHS could not                    have sufficient personal economic
                                               suggested a reporting requirement only                  ascertain from this comment what                       stability to provide a significant public
                                               if an adverse judgment were issued. An                  aspect of the EB–5 deference policy                    benefit to the United States through
                                               individual commenter stressed that a                    could be applied under this rule. DHS                  entrepreneurial activities.
                                               $1,200 fee to report every material                     believes it is important for this rule to                 Comment: One commenter
                                               change would create a major financial                   provide mechanisms, including the                      recommended that DHS should not
                                               burden for entrepreneurs.                               requirement to report material changes,                require an applicant’s start-up entity to
                                                  Response: DHS recognizes that the                    to ensure that parole continues to be                  receive investment prior to the initial
                                               nature of start-up entities involves                    justified by significant public benefit in             application for parole; that DHS should
                                               constant change. DHS also appreciates                   each particular case.                                  recognize cash infusions during the
                                               the concerns regarding the                                 Comment: A joint submission from a                  growth period of a start-up entity as
                                               administrative and financial burden                     professional association and a non-                    eligibility criteria for re-parole; and that
                                               placed on entrepreneurs by additional                   profit organization stated that, where a               at the end of the initial parole period,
                                               filings. DHS believes, however, that the                material change filing is mandated by                  if the venture is deemed successful, no
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                                               revised definition of material change in                the rule, the entrepreneur should only                 additional funding milestones should be
                                               the final rule will help to clarify the                 be required to file an update with                     required for re-parole eligibility.
                                               situations in which the entrepreneur                    USCIS, instead of being required to re-                   Response: DHS appreciates the
                                               must notify the agency of material                      file an entire parole or re-parole                     comment but declines to revise the rule
                                               changes, and thus limit the                             application.                                           as suggested. DHS believes that the
                                               administrative and financial burdens on                    Response: As explained above, while                 alternative criteria provided in this rule
                                               the entrepreneur. Specifically, DHS                     DHS appreciates that a new filing may                  to determine if the start-up entity has

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                                               substantial potential for rapid growth                  parole for entrepreneurs who are no                    in the entrepreneur’s own employment
                                               and job creation provide sufficient                     longer actively working in a central role              authorization. Such delays could create
                                               flexibility for those entrepreneurs who                 with the start-up entity that served as                difficulties for the entrepreneur’s
                                               may have received amounts of qualified                  the basis for the initial parole                       operation of the start-up entity, as he or
                                               investments or government funding that                  application. The individual’s activity                 she would be prohibited from working
                                               are less than those required to satisfy                 through a new start-up entity, however,                until work authorization was approved,
                                               the general criteria for parole                         could serve as a basis for a new grant                 and would frustrate the very purpose for
                                               consideration under this rule. The                      of parole if all requirements for such                 paroling the entrepreneur into the
                                               determination that the entity has                       parole are met.                                        United States. As an entrepreneur’s
                                               substantial potential for rapid growth                    Comment: One commenter suggested                     spouse would not be coming for the
                                               and job creation will be made based on                  that DHS should utilize the same                       same kind of specific employment
                                               the evidence in the record at the time                  methodology for granting parole for                    purpose, DHS does not believe there is
                                               the parole application is adjudicated,                  entrepreneurs as defined in a proposed                 a similar need to provide him or her
                                               rather than the possibility that the entity             nonimmigrant visa classification in a                  work authorization incident to parole.
                                               may receive cash infusions at some                      Senate bill, S. 744, 113 Cong. section                 Instead, this rule adds a new provision
                                               point in the future. If cash infusions                  4801(2013).                                            making the spouse of an entrepreneur
                                               from various sources are received by the                  Response: DHS appreciates the                        parolee eligible to seek employment
                                               start-up entity during the period of                    comment but declines to adopt the                      authorization. See final 8 CFR
                                               initial parole, evidence of such cash                   commenter’s suggestion. Under this                     274a.12(c)(34). Based on this provision
                                               infusions may be taken into                             rule, DHS has identified a process for                 and 8 CFR 274a.13(a), an entrepreneur’s
                                               consideration if the entrepreneur                       implementing the Secretary’s existing                  spouse seeking employment
                                               applies for re-parole. DHS, however,                    statutory authority to grant parole                    authorization under this rule would
                                               does not believe that cash infusions into               consistent with section 212(d)(5) of the               need to file an Application for
                                               the start-up entity during the initial                  INA. DHS does not believe it is                        Employment Authorization (Form I–
                                               parole period will independently suffice                advisable to import in this rule the                   765) with USCIS in accordance with the
                                               to establish that the entity continues to               standards from unenacted legislation                   relevant form instructions.
                                               have the significant potential for rapid                focused on nonimmigrant visas rather                      Comment: One commenter expressed
                                               growth and job creation. Infusions of                   than discretionary grants of parole.                   concern that the proposed employment
                                               cash, as a general matter, do not have                                                                         authorization provision is too narrow in
                                               the same validating qualities as do                     G. Employment Authorization                            scope. The commenter stated that DHS
                                               evidence of additional investment from                  1. Automatic Employment                                should clarify that employment with an
                                               qualifying investors, grants or awards                  Authorization Upon Parole                              entity that is under common control as
                                               from qualifying government entities,                                                                           the start-up entity, such as a subsidiary
                                               significant revenue growth, or job                         Comment: One commenter suggested                    or affiliate, would be permissible.
                                               creation.                                               that if employment authorization were                     Response: Under the final rule, the
                                                  Comment: One commenter asserted                      deemed incident to parole, rather than                 entrepreneur parolee’s employment
                                               that entrepreneurs who have left their                  through a follow-up application, then                  authorization is limited to the specific
                                               start-up entity should not have their                   the regulations governing employment                   start-up entity listed on the Application
                                               parole status immediately revoked. The                  verification would need to be amended                  for Entrepreneur Parole, Form I–941.
                                               commenter suggested that DHS issue                      to permit employment by the parolee                    This limitation helps ensure that the
                                               guidance and options for entrepreneurs                  and spouse without an EAD.                             entrepreneur’s work is consistent with
                                               who leave their start-up entity but have                   Response: DHS agrees that the                       the purposes for which parole was
                                               contributed to the significant public                   employment verification provisions of                  granted, especially since parole
                                               benefit of the United States. A similar                 the regulations should be appropriately                applications will be evaluated based in
                                               comment recommended that                                revised. In this final rule, and as                    part on the activities and performance of
                                               individuals be able to remain in the                    proposed, DHS is revising the                          that particular start-up entity. DHS
                                               United States under parole and qualify                  employment eligibility verification                    appreciates that there are certain
                                               for re-parole if a second start-up meets                regulations by expanding the foreign                   circumstances in which some flexibility
                                               the requirements of the rule. Another                   passport and Form I–94 document                        could further the purpose of
                                               related comment argued that                             combination described at 8 CFR                         encouraging entrepreneurship,
                                               entrepreneurs whose start-up entities                   274a.2(b)(1)(v)(A)(5) to include Forms I–              innovation, economic growth, and job
                                               fail should be given a second chance, in                94A containing an endorsement that an                  creation in the United States. Given that
                                               order to account for the dynamism and                   individual is authorized to work                       this is a new process however, DHS has
                                               uncertainty inherent in new businesses.                 incident to parole. This document                      decided to take an incremental
                                                  Response: DHS appreciates the                        combination was previously acceptable                  approach and will consider potential
                                               comments but declines to adopt the                      only for certain nonimmigrants                         modifications in the future after
                                               commenters’ suggestions. As a matter of                 authorized to work for a specific                      assessing the implementation of the
                                               statutory authority, once, in the opinion               employer incident to status pursuant to                rule.
                                               of DHS, the purpose of parole has been                  8 CFR 274a.12(b), which the final rule                    Comment: One commenter stated that
                                               served, parole should be terminated. See                amends to include those paroled into                   difficulties obtaining a work visa have
                                               INA section 212(d)(5)(A), 8 U.S.C.                      the United States as entrepreneurs                     caused many entrepreneurs to move out
                                               1182(d)(5)(A). DHS emphasizes that the                  under this rule. See final 8 CFR                       of the United States.
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                                               purpose of granting parole under this                   274a.12(b)(37).                                           Response: DHS agrees with the
                                               rule is to allow an entrepreneur to grow                   However, in this final rule, and as                 commenter’s statement. While this rule
                                               a start-up entity in the United States                  proposed, only the entrepreneur parolee                does not address all of the difficulties
                                               with substantial potential for rapid                    is accorded employment authorization                   that entrepreneurs may face, or make
                                               growth and job creation, by working in                  incident to his or her parole. See final               legislative changes that only Congress
                                               an active and central role for the entity.              8 CFR 274a.12(b). Given the basis for                  can make, DHS believes it will
                                               Accordingly, DHS will not continue                      parole, it is essential to limit any delays            encourage international entrepreneurs

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                                               to develop and grow their start-up                      employment from a broader range of                     who have already been admitted to the
                                               entities—and provide the benefits of                    employers can further the central                      United States are ineligible to be
                                               such growth—in the United States.                       purpose of the rulemaking—                             considered for parole inside the United
                                               Entrepreneurs paroled into the United                   encouraging international entrepreneurs                States because only applicants for
                                               States under this rule will be authorized               to develop and grow their start-up                     admission are eligible to be considered
                                               to work for the start-up entity for the                 entities within the United States and                  for parole. See INA section 212(d)(5)(A),
                                               duration of the parole (and any re-                     provide the benefits of such growth to                 8 U.S.C. 1182(d)(5)(A); see also INA
                                               parole) period.                                         the United States. It may also encourage               section 235(a)(1), 8 U.S.C. 1225(a)(1)
                                                                                                       entrepreneurs to create more jobs                      (describing ‘‘applicants for admission’’).
                                               2. Spousal Employment
                                                                                                       outside the family through the start-up                Individuals who have been admitted in
                                                  Comment: Several commenters,                         entity, furthering the benefits provided               a nonimmigrant classification, and are
                                               including a business incubator, asserted                to others in the United States. DHS                    currently in the United States pursuant
                                               that spouses should be granted                          therefore declines to revise the rule as               to that admission, may not be paroled,
                                               employment authorization and argued                     suggested.                                             even if they have overstayed their
                                               that spouse employment authorization                                                                           admission, unless they first depart the
                                               will entice more entrepreneurs to come                  H. Comments on the Parole Process                      United States.
                                               to the United States. Several other                     1. Ability of Individuals To Qualify for                  DHS appreciates that international
                                               commenters stated that, in order to                     Parole Under This Rule                                 entrepreneurs may face many challenges
                                               attract the best entrepreneurial talent,                                                                       in starting and growing a business in the
                                               spouses of entrepreneur parolees should                    Comment: Two individual
                                                                                                                                                              United States, including attracting
                                               automatically receive work                              commenters asked what kind of                          investment capital or government grants
                                               authorization incident to status without                immigration status or visa an                          or awards. DHS disagrees with the
                                               the need to apply separately.                           international entrepreneur should                      premise, however, that qualifying
                                                  Response: DHS agrees with                            maintain in order to be eligible to apply              investors will be very reluctant to make
                                               commenters that extending employment                    for parole under this rule. The                        a qualifying investment in a start-up
                                               authorization to spouses of entrepreneur                commenters expressed concern about                     entity that is wholly or partially owned
                                               parolees is important to help attract                   the types of activities that would need                by an individual that will be seeking a
                                               entrepreneurs to establish and grow                     to be conducted in the United States                   grant of parole under this rule. DHS
                                               start-up entities in the United States.                 prior to a parole application in order to              believes that there are a myriad of
                                               For reasons provided above, however,                    establish a business, obtain funds from                factors that go into a decision to invest
                                               DHS disagrees that these spouses must                   investors, and otherwise qualify for the               significant funds in a start-up entity.
                                               be provided with employment                             parole under this rule. These                          While the underlying immigration
                                               authorization incident to their parole.                 commenters also expressed concern                      status, or lack thereof, of the start-up
                                               Instead, these spouses may seek                         about requiring prior investment as a                  entity’s owner(s) may be a factor
                                               employment authorization under 8 CFR                    condition for parole, and that investors               presenting a degree of additional risk,
                                               274a.12(c)(34).                                         would be hesitant to make such an                      DHS believes that this rule will
                                                  Comment: A few commenters stated                     investment in a start-up entity if the                 effectively mitigate some of that risk by
                                               opposition to permitting employment                     entrepreneur lacked an immigrant or                    providing a known framework under
                                               authorization for the spouses of                        nonimmigrant visa. A professional                      which certain significant public benefit
                                               international entrepreneurs.                            association stated that, since parole does             parole requests will be reviewed and
                                                  Response: DHS disagrees with the                     not constitute formal admission to the                 adjudicated. This final rule provides
                                               commenters’ opposition to allowing an                   United States, it will likely be very                  investors and entrepreneurs with greater
                                               entrepreneur’s spouse to apply for                      difficult for international entrepreneurs              transparency into the evaluation process
                                               employment authorization. Permitting                    without formal immigration status to                   and manner in which such requests will
                                               spouses to seek employment                              enter into long-term contracts, raise                  be reviewed, so that those individuals
                                               authorization is an important aspect of                 significant investment capital, and                    and entities can weigh the various risks
                                               the rule’s intent to attract international              employ people.                                         and benefits that might apply to the
                                               entrepreneurs who may provide a                            Response: This final rule aims to                   particular investment decision being
                                               significant public benefit by growing                   encourage international entrepreneurs                  considered. Given that this is a new and
                                               their start-up entities in the United                   to create and develop start-up entities                complex process, DHS has decided to
                                               States.                                                 with high growth potential in the                      take an incremental approach and will
                                                  Comment: One commenter objected to                   United States, which are in turn                       consider potential modifications in the
                                               spousal employment authorization                        expected to facilitate research and                    future after assessing the
                                               unless it is restricted to the same new                 development in the country, create jobs                implementation of the rule.
                                               high-potential start-up entity that served              for U.S. workers, and otherwise benefit
                                               as the basis for the parole.                            the U.S. economy. Under this final rule,               2. Waiver for Entrepreneurs Presently
                                                  Response: DHS disagrees with the                     an international entrepreneur may                      Failing To Maintain Status
                                               suggestion that spousal employment                      request parole in accordance with the                     Comment: An individual commenter
                                               should be authorized only for                           form instructions. The final rule                      stated that international entrepreneurs
                                               employment with the start-up entity                     provides that individuals seeking initial              already in the United States should be
                                               that served as the basis of parole for the              parole under this program must present                 able to receive a waiver in order to
                                               entrepreneur. Nothing in this rule                      themselves at a U.S. port of entry to be               establish eligibility for parole under this
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                                               prevents people married to each other                   paroled into the United States; there is               rule if they do not have a valid prior
                                               from applying for parole associated with                no requirement that an international                   immigration status. Another commenter
                                               the same start-up entity. But DHS                       entrepreneur currently be in the United                suggested that immigration status
                                               believes that it is not appropriate or                  States or maintain any prior                           violations, such as unauthorized
                                               necessary to limit the employment of an                 immigration status. DHS notes,                         employment, should not be grounds for
                                               entrepreneur’s spouse to that entity.                   however, that under the statute                        denying parole under this rule and, if
                                               Making those spouses eligible to seek                   governing parole authority, individuals                parole is granted, any prior

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                                               unauthorized employment that was                          Response: DHS appreciates that some                  in a nonimmigrant status will not be
                                               used to meet the requirements for parole                entrepreneurs who are present in the                   able to change status or otherwise be
                                               should be disregarded for purposes of                   United States and who might otherwise                  granted parole without first departing
                                               any future immigration applications.                    qualify for parole under this program                  the United States and appearing at a
                                                  Response: As discussed above,                        may be unable to engage in certain                     U.S. port of entry for inspection and
                                               eligibility for parole under INA section                activities given the limitations placed                parole. Under this final rule, however,
                                               212(d)(5), 8 U.S.C. 1182(d)(5), is not                  on their nonimmigrant status, making it                an individual present in the United
                                               wholly dependent upon an individual’s                   difficult, for example, for them to raise              States in a nonimmigrant status may
                                               current immigration status.                             significant capital for a start-up entity.             apply for and obtain an approval of the
                                               Unauthorized employment or a prior                      DHS, however, disagrees with the                       Application for Entrepreneur Parole
                                               status violation will not necessarily                   commenters’ assertion that individuals                 (Form I–941). Filing and obtaining
                                               preclude an individual from qualifying                  present in the United States in F–1                    approval of a Form I–941 application
                                               for parole under this rule. However, the                nonimmigrant status will be unable to                  under this rule will not, by itself,
                                               fact that an entrepreneur has worked                    meet the requirements for parole under                 constitute a violation of the individual’s
                                               without authorization, is out of status,                this program, such as starting a business              nonimmigrant status. After approval of
                                               or not legally present in the United                    and raising significant investment,                    the Form I–941 application, if the
                                               States would be considered in                           without violating their F–1                            individual decides to rely upon parole
                                               determining whether DHS should grant                    nonimmigrant status. For example, an                   to actively grow his or her business in
                                               parole under its discretionary authority.               individual in F–1 status who has                       the United States, the individual will
                                               All requests for a discretionary grant of               obtained OPT employment                                need to appear at a U.S. port of entry for
                                               parole are adjudicated on a case-by-case                authorization may start and work for his               a final parole determination to allow
                                               basis and ultimately determined by                      or her own business in the United                      him or her to come into the United
                                               evaluating all positive and negative                    States. The OPT employment, and thus                   States as a parolee.
                                               factors.                                                the business, must relate to the F–1                      This final rule already provides
                                                  DHS will not adopt the commenter’s                   nonimmigrant’s program of study and                    appropriate criteria under which all
                                               suggestion to disregard, for purposes of                can occur either before (pre-completion                applications will be reviewed, including
                                               any future immigration applications,                    OPT) or after the completion of a                      those submitted by any F–1
                                               any prior unauthorized employment                       program of study (post-completion                      nonimmigrants. As indicated in this
                                               that was used to meet the requirements                  OPT).31 Additional requirements apply                  final rule, one basis on which an
                                               for parole. DHS believes that such a                    to F–1 nonimmigrants who are                           individual may be considered for parole
                                               provision would require a statutory                     otherwise eligible for a STEM OPT                      under this rule is if he or she has raised
                                               change, as eligibility for certain benefits             extension, such as establishing that their
                                                                                                                                                              at least $250,000 in investment capital
                                               is barred by statute if the applicant                   STEM OPT employer will have a valid
                                                                                                                                                              from a qualifying investor (and meets
                                               previously worked without                               employer-employee relationship with
                                                                                                                                                              certain other criteria). Individuals who
                                               authorization.30                                        the F–1 OPT nonimmigrant, but those
                                                                                                                                                              raise a substantial amount of capital
                                                                                                       additional requirements do not pertain
                                               3. Relationship Between Parole and                                                                             from a qualifying investor, but less than
                                                                                                       to the initial 12-month OPT period, and
                                               Various Nonimmigrant Visa                                                                                      $250,000, may still qualify for and be
                                                                                                       in any event do not present an absolute
                                               Classifications                                                                                                granted parole under other criteria
                                                                                                       bar against entrepreneurial activities.
                                                                                                                                                              identified in the rule—including the
                                               a. Pathway for Current Nonimmigrants                    DHS believes that it is certainly realistic
                                                                                                                                                              receipt of a qualifying government grant
                                               To Use Entrepreneur Parole                              that an F–1 nonimmigrant in the United
                                                                                                       States can start a business during his or              or award or other reliable and
                                                  Comment: Some commenters                             her OPT period, and during that time                   compelling evidence of the start-up
                                               expressed concern that it would be                      can take steps to obtain significant                   entity’s substantial potential for rapid
                                               challenging for foreign students, recent                investment in the start-up entity, which               growth and job creation.
                                               graduates of U.S. universities, and other               the individual may then rely upon if                   b. Switching Between Nonimmigrant
                                               nonimmigrants presently in the United                   applying for parole under this rule. DHS               Status and Parole
                                               States to meet this rule’s requirements                 declines to adopt the commenters’
                                               for parole consideration under the                      suggestion to include in this rule a                     Comment: Several commenters raised
                                               constraints of their current visas. These               blanket provision stating that potential               questions or provided suggestions
                                               commenters said that the rule should                    applicants currently in the United States              regarding switching from a
                                               allow these individuals a realistic and                 in nonimmigrant status will not be                     nonimmigrant status to parole, or from
                                               clear pathway to easily utilize parole,                 violating their existing status when                   parole to a nonimmigrant status.
                                               and should clarify that potential                       taking steps to establish eligibility for              Specifically, one commenter asked what
                                               applicants currently in the United States               parole. Such changes would pertain to                  her status would be if she were in the
                                               in nonimmigrant status will not be                      the statutory and regulatory limitations               United States as an H–4 nonimmigrant,
                                               violating their existing visa status when               placed on various nonimmigrant                         authorized to work pursuant to an EAD,
                                               taking the necessary steps to establish                 classifications and are outside the scope              but nevertheless pursued parole under
                                               eligibility for significant public benefit              of this rule.                                          this rule. Another commenter suggested
                                               parole. One commenter requested that                      DHS believes that this final rule                    that DHS should include a provision in
                                               students in F–1 nonimmigrant status                     provides a realistic and clear option for              this rule that expressly allows someone
                                               and eligible to work on Curricular                      certain entrepreneurs to actively grow                 to switch from nonimmigrant status to
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                                               Practical Training (CPT) or Optional                    their qualifying start-up entity in the                parole, and from parole to
                                               Practical Training (OPT) should become                  United States. As discussed below,                     nonimmigrant status, similar to DHS’s
                                               eligible for parole under the rule if they              parole is not a nonimmigrant status, and               policy to terminate and restore the H–
                                               founded a start-up and raised $100,000                  individuals present in the United States               1B or L–1 status of certain individuals
                                               in capital.                                                                                                    who have temporarily departed the
                                                                                                         31 https://studyinthestates.dhs.gov/training-        United States but came back using an
                                                 30 See, e.g., INA section 245(c), 8 U.S.C. 1255(c).   opportunities-in-the-united-states.                    advance parole document that was

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                                               issued based on a pending Form I–485                    entrepreneur than the parole rule, so                  prohibit the individual from obtaining a
                                               application for adjustment of status.                   adjudicators should continue to approve                grant of parole under this rule.
                                                  Response: DHS declines to adopt a                    petitions in that spirit. The commenter                   DHS recognizes that international
                                               provision in this rule allowing                         asserted that the unique requirements                  travel can be essential for the success of
                                               individuals to change between                           under the parole rule, such as a                       some start-up entities. Under existing
                                               nonimmigrant status and parole while                    threshold investment amount, should                    law, an individual’s authorized period
                                               in the United States. An individual who                 not be allowed to ‘‘bleed into and taint’’             of parole ends each time he or she
                                               is present in the United States as a                    the adjudicatory process for securing                  departs the United States. See 8 CFR
                                               nonimmigrant based on an inspection                     employment-based visas traditionally                   212.5(e)(1)(i). DHS may, however,
                                               and admission is not eligible for parole                used by entrepreneurs.                                 authorize advance parole before
                                               without first departing the United States                 Response: DHS appreciates the                        departure and can specify that such
                                               and appearing at a U.S. port of entry to                commenter’s suggestions, but the                       authorization is valid for multiple uses.
                                               be paroled into United States. See INA                  suggested changes to the H–1B                          An entrepreneur granted advance parole
                                               section 212(d)(5)(A), 8 U.S.C.                          regulations are outside the scope of this              would be able to leave the country,
                                               1182(d)(5)(A). Moreover, an individual                  rulemaking. DHS agrees with the                        present himself or herself at a port of
                                               who has been paroled into the United                    commenter that parole under this                       entry upon return, and request a
                                               States cannot change to nonimmigrant                    program is intended to complement,                     subsequent grant of parole for the
                                               status without leaving the United States,               and not supplant, other options that                   remaining period of his or her initially
                                               as INA section 248, 8 U.S.C. 1258, only                 may already exist for entrepreneurs                    granted parole period. At such time,
                                               permits individuals who are                             under other immigrant and                              DHS must then inspect the individual
                                               maintaining nonimmigrant status to                      nonimmigrant visa classifications. This                and determine whether or not to grant
                                               change to another nonimmigrant status.                  rule does not alter existing rules or                  parole into the United States.33 If the
                                               If an individual who has been paroled                   policies regarding the ability of                      individual is granted parole, he or she
                                               into the United States under this rule                  entrepreneurs to qualify for any                       may only be paroled for up to the time
                                               has a petition for nonimmigrant                         immigrant or nonimmigrant status. This                 initially granted. Any time spent outside
                                               classification approved on his or her                   rule does, however, provide an                         the United States after the parole period
                                               behalf, he or she would have to leave                   additional avenue for entrepreneurs to                 is initiated will count against the total
                                               the United States and pursue consular                   consider when exploring options that                   period of parole, so that the total time
                                               processing of a nonimmigrant visa                       may be available to them to grow a start-              period of the parole period remains
                                               application before seeking to return to                                                                        consistent with the date of initial parole
                                                                                                       up entity in the United States.
                                               the United States.                                                                                             granted by CBP.
                                                                                                       4. Travel Document Issuance
                                               c. Entrepreneur Pathways and                                                                                   5. Parole in Place
                                               Entrepreneur Parole                                       Comment: A commenter urged DHS to                       Comment: Several commenters
                                                  Comment: One commenter stated that                   grant multiple-entry parole to foreign                 requested that DHS allow parole-in-
                                               the international entrepreneur parole                   nationals so that they may travel                      place under this rule. Some of these
                                               rule should complement and not                          internationally and return to the United               commenters stated that parole-in-place
                                               supplant prior USCIS policy pertaining                  States, as this is not explicit in the                 should be added so that individuals
                                               to entrepreneurs, including those                       regulation. The commenter stated that                  already in the United States in a
                                               reflected on the USCIS Entrepreneur                     this ability is essential to ensure that               nonimmigrant status, such as H–1B or
                                               Pathways Web site.32 The commenter,                     entrepreneurs can raise additional funds               F–1 nonimmigrant status, can apply for
                                               while expressing concerns with aspects                  and market innovations worldwide. In                   and be granted parole under this rule
                                               of existing policies pertaining to                      addition, this commenter stated that                   without having to depart the United
                                               entrepreneurs and this rule, suggested                  some foreign nationals may begin their                 States. Several other commenters noted
                                               that if an entrepreneur cannot qualify                  businesses and seek entrepreneur parole                that DHS has the jurisdiction to allow
                                               for parole under this rule, USCIS should                while in nonimmigrant status in the                    parole-in-place for spouses or
                                               encourage the entrepreneur to seek a                    United States, such as in F–1 or H–1B                  dependents, as they do for military
                                               visa associated with his or her start-up                nonimmigrant status (and thus seek to                  family members, and that this could be
                                               entity under the existing immigrant or                  depart the United States with advance                  applied to the International
                                               nonimmigrant visa system. Specifically,                 parole and then request parole from CBP                Entrepreneur Rule. Some commenters
                                               the commenter suggested that the final                  upon their return to a U.S. port of                    argued that the requirement to be out of
                                               rule should expressly include an                        entry). The commenter suggested that                   the country to apply for parole under
                                               amendment to the H–1B regulations to                    the regulation clarify how these foreign               this rule puts an unnecessary financial
                                               allow approval of an H–1B petition                      nationals will be able to return to the                burden on applicants who are already
                                               under the policies articulated on the                   United States.                                         residing in the United States.
                                               Entrepreneur Pathways Web site, and                       Response: DHS notes that individuals                    Response: DHS appreciates, but
                                               that USCIS adjudicators should see an                   who have been admitted to the United                   declines to adopt, the commenters’
                                               express statement in the final rule that,               States, such as those in nonimmigrant                  suggestions that parole-in-place be
                                               notwithstanding the existence of this                   status, are not eligible to be granted                 allowed under this rule for individuals
                                               rule, the H–1B visa remains available for               parole unless they first depart the                    already in the United States in H–1B or
                                               working owners of start-up entities. The                United States. DHS clarifies that any                  F–1 nonimmigrant status. Only
                                               commenter noted that the USCIS                          immigration status violations by any                   applicants for admission are eligible to
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                                               Entrepreneur Pathways Web site also                     applicant for parole, including those
                                               provides guidance for entrepreneurs to                  related to their entrepreneurial efforts,                33 This process is not appropriately described as

                                               use other existing nonimmigrant visa                    will be taken into account as negative                 ‘‘multiple-entry parole.’’ Parole does not constitute
                                               classifications (e.g., L–1, O, and E visas)             factors in the case-by-case                            an admission to the United States, INA sections
                                                                                                                                                              101(a)(13)(B), 212(d)(5)(A), 8 U.S.C. 1101(a)(13)(B),
                                               that could be more advantageous to the                  determination of whether the applicant                 1182(d)(5)(A); and parole terminates upon the
                                                                                                       merits an exercise of discretion to grant              individual’s departure from the United States, 8
                                                 32 See https://www.uscis.gov/eir.                     parole, though they will not necessarily               CFR 212.5(e)(1)(i).


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                                               be considered for parole, thus                          retention of priority dates in the                     DHS has concluded that granting a right
                                               precluding individuals who have                         immigrant petition context. The rule                   of appeal following a decision to deny
                                               already been admitted from being                        does not, however, establish a direct                  entrepreneur parole would be
                                               considered for parole inside the United                 path to lawful permanent residence by                  inconsistent with the discretionary
                                               States. See INA section 212(d)(5)(A), 8                 creating a new immigrant visa                          nature of the adjudication and contrary
                                               U.S.C. 1182(d)(5)(A); see also INA                      classification for international                       to how DHS treats other parole
                                               section 235(a)(1), 8 U.S.C. 1225(a)(1)                  entrepreneurs, which could only be                     decisions. The final rule also precludes
                                               (describing ‘‘applicants for admission’’).              done by Congress.                                      applicants from filing motions to reopen
                                               Such individuals are not eligible for                      As discussed in the NPRM, the                       or for reconsideration under 8 CFR
                                               parole, regardless of whether they have                 entrepreneur and any dependents                        103.5(a)(1). DHS retains its authority
                                               overstayed their admission, unless they                 granted parole under this program will                 and discretion, however, to reopen or
                                               first depart the United States.                         be required to depart the United States                reconsider a decision on its own motion
                                                                                                       when their parole periods have expired                 as proposed. See final 8 CFR
                                               6. Comments on Options After 5-Year                     or have otherwise been terminated,
                                               Total Parole Period Ends                                                                                       212.19(d)(4). Applicants may alert DHS,
                                                                                                       unless such individuals are otherwise                  through existing customer service
                                                  Comment: Many commenters                             eligible to lawfully remain in the United              channels, that they believe that a
                                               provided views on the options available                 States. Such individuals may apply for                 decision to deny parole was issued in
                                               to entrepreneurs who have exhausted                     any immigrant or nonimmigrant                          error and include factual statements and
                                               their up to 5 years of eligibility for                  classification for which they may be                   arguments supporting such claims.
                                               parole under this rule. Some                            eligible (such as classification as an O–                 Because the determination to grant or
                                               commenters were concerned that the                      1 nonimmigrant or lawful permanent                     deny a request for parole is
                                               rule does not provide a direct path to                  residence through employer                             discretionary, the parole process in this
                                               lawful permanent residence, which                       sponsorship). Individuals who are                      final rule may not be relied upon to
                                               could limit the investment prospects for                granted parole under this rule may                     create any right or benefit, substantive
                                               start-up entities. Other commenters                     ultimately be able to qualify for an EB–               or procedural, enforceable at law or by
                                               were concerned that including such a                    2 immigrant visa with a National                       any individual or other party in removal
                                               path could exacerbate current                           Interest Waiver. If an entrepreneur is                 proceedings, in litigation with the
                                               immigrant visa backlogs and thus                        approved for a nonimmigrant or                         United States, or in any other form or
                                               disadvantage those already in the queue                 employment-based immigrant visa                        manner. Parole determinations would
                                               for immigrant visa numbers.                             classification, he or she would generally              continue to be discretionary, case-by-
                                                  A number of commenters were more                     be required to depart the United States                case determinations made by DHS, and
                                               broadly concerned that the overall                      and apply for a visa at a U.S. embassy                 parole may be revoked or terminated at
                                               uncertainty inherent in parole may                      or consulate abroad. As noted above,                   any time in accordance with the
                                               discourage entrepreneurs from using                     because parole is not considered an                    termination provisions established by
                                               this rule to start and grow their                       admission to the United States, parolees               this rule at 8 CFR 212.19(k). Parolees
                                               businesses in the United States. One                    will be unable to apply to adjust or                   under this final rule would assume sole
                                               particular commenter expressed                          change their status in the United States               risk for any and all costs, expenses,
                                               concerns about an entrepreneur’s ability                under many immigrant or nonimmigrant                   opportunity costs, and any other
                                               to demonstrate nonimmigrant intent for                  visa classifications. DHS does not
                                               purposes of a visa that does not permit                                                                        potential liability resulting from a
                                                                                                       believe that merely being granted parole               revocation or termination of parole. A
                                               dual intent. Others wanted DHS to                       under this rule would prevent an
                                               consider entrepreneurs who have                                                                                grant of parole would in no way create
                                                                                                       individual from demonstrating                          any reliance or due process interest in
                                               completed a 5-year parole period, and                   nonimmigrant intent for purposes of
                                               whose start-ups continue to demonstrate                                                                        obtaining or maintaining parole or being
                                                                                                       obtaining a subsequent nonimmigrant                    able to remain in the United States to
                                               growth, as eligible for an EB–2                         visa for entry into United States. DHS
                                               immigrant visa with a National Interest                                                                        continue to operate a start-up entity or
                                                                                                       believes that this rule presents sufficient            for other reasons.
                                               Waiver based upon the economic                          clarity and predictability for many
                                               benefit to the United States. Other                     individuals who want to establish and                  J. Termination of Parole
                                               commenters urged DHS to establish                       grow their businesses in the United
                                               prima facie eligibility for lawful                                                                             1. Discretionary Authority To Revoke/
                                                                                                       States, and will contribute significantly              Terminate Parole
                                               permanent residence based on 3 years of                 to economic growth and job creation
                                               parole under this rule. Still others                    here. Such positive outcomes may be                       Comments: One commenter expressed
                                               wanted assurance that an individual                     relevant in the event that entrepreneurs               concern that the basis for terminating
                                               who is the beneficiary of an approved                   granted parole under this rule later seek              parole is subjective, particularly with
                                               immigrant petition would keep his or                    to apply for an existing nonimmigrant or               respect to reporting material changes.
                                               her priority date for purposes of                       immigrant visa.                                        This commenter suggested that USCIS
                                               receiving lawful permanent residence if                                                                        should limit such reporting to adverse
                                               he or she were granted parole under this                I. Appeals and Motions To Reopen                       judgments, since entrepreneurs and
                                               rule.                                                      Comment: Several commenters                         start-up entities are entitled to due
                                                  Response: DHS appreciates the wide                   requested that applicants be allowed to                process. Other commenters requested
                                               range of comments about immigration                     file appeals or motions to reconsider                  that USCIS adjudicators be specifically
                                               options for entrepreneurs after the end                 adverse parole decisions. A business                   trained on entrepreneurship issues so
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                                               of their authorized period or periods of                association requested that submissions                 that they can make the most informed
                                               parole under this rule. Nothing in this                 of motions to reopen or motions for                    decisions regarding parole.
                                               rule forecloses otherwise available                     reconsideration result in uninterrupted                   Response: USCIS is committed to
                                               options for international entrepreneurs                 employment authorization for the                       providing sufficient training on
                                               who are granted parole. DHS further                     parolee.                                               entrepreneurship issues for those
                                               notes that this rule does not impact                       Response: DHS appreciates but                       adjudicators who will be assigned to
                                               existing rules and policies pertaining to               declines to adopt these suggestions.                   adjudicating entrepreneur parole

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                                               requests. DHS does not believe that                     entity; and a cessation of the                         decision to terminate parole may not be
                                               further revisions to the rule are                       entrepreneur’s qualifying ownership                    appealed, that USCIS will not consider
                                               necessary to protect against possible                   interest in the start-up entity or the                 a motion to reopen or reconsider a
                                               unfair or inconsistent determinations                   entrepreneur’s central and active role in              decision to terminate parole, and, upon
                                               among adjudicators. By statute, parole                  the operations of that entity. See final 8             its own motion, USCIS may reopen or
                                               decisions are discretionary and must be                 CFR 212.19(a)(10).                                     reconsider a decision to terminate. See
                                               made on a case-by-case basis. This rule                 2. Notice and Decision                                 final 8 CFR 212.19(k)(4).
                                               establishes transparent parameters for
                                                                                                          Comments: A couple of commenters                    3. Other Comments on Application
                                               termination of parole, including
                                                                                                       suggested that DHS provide notice and                  Adjudication and Parole Termination
                                               automatic termination and termination
                                               on notice. Automatic termination                        opportunity to respond before                             Comments: Multiple commenters
                                               applies at the expiration of parole, or                 terminating parole.                                    suggested an expedited or premium
                                               upon written notification to DHS from                      Response: DHS agrees with the                       processing option for entrepreneur
                                               the entrepreneur parolee that he or she                 commenters that providing the                          parole applicants. Some of these
                                               is no longer employed by the start-up                   entrepreneur parolee with notice and an                commenters suggested a maximum 30-
                                               entity or no longer possesses the                       opportunity to respond prior to                        day adjudication time period.
                                               required qualifying ownership stake in                  termination is reasonable in certain                      Response: While DHS appreciates the
                                               the start-up entity. See final 8 CFR                    scenarios, such as when grounds for                    concern for timely adjudications, at this
                                               212.19(k)(2). Termination on notice                     termination require an assessment of the               time DHS declines to include premium
                                               with an opportunity for the                             underlying case by the adjudicator.                    or expedited processing as part of the
                                               entrepreneur to respond is authorized                   However, where no such assessment is                   final rule. DHS may consider the
                                               by 8 CFR 212.19(k)(3). These bases for                  required, DHS believes that automatic                  possibility of premium processing or
                                               termination are tied to objective facts                 termination is appropriate. The NPRM                   expedited processing after assessing
                                               regarding eligibility for parole, thereby               provided for termination at DHS’s                      implementation of the rule and an
                                               placing all parolees on the same footing.               discretion, including automatic                        average adjudication time for processing
                                                                                                       termination in limited circumstances                   requests for parole under this rule has
                                                  The commenter expressed particular
                                                                                                       and termination on notice under a range                been determined.
                                               concern regarding terminations based
                                                                                                       of circumstances deemed appropriate by
                                               on material changes. DHS believes that                                                                         K. Opposition to the Overall Rule
                                                                                                       DHS. This rule finalizes that proposal
                                               this concern is sufficiently addressed by
                                                                                                       without change. See final 8 CFR                           Comment: Multiple commenters
                                               the parameters set by this rule’s
                                                                                                       212.19(k)(2) and (3). Under this rule,                 expressed overall opposition to the rule,
                                               definition of material change. Under
                                                                                                       therefore, DHS will generally provide                  stating that there is no reason to add an
                                               this rule, material change means any
                                                                                                       notice of termination and an                           additional parole process for highly
                                               change in facts that could reasonably
                                                                                                       opportunity to respond where it                        trained and talented entrepreneurs
                                               affect the outcome of the determination
                                                                                                       believes that:                                         when visa and residency pathways
                                               whether the entrepreneur provides, or                      (1) The facts or information contained              already exist, such as the O
                                               continues to provide, a significant                     in the request for parole were not true                nonimmigrant visa, EB–5 immigrant
                                               public benefit to the United States. See                and accurate;                                          visa, or EB–2 immigrant visa based on
                                               final 8 CFR 212.19(a)(10). This rule                       (2) The alien failed to timely file or              a National Interest Waiver. Other
                                               provides further guidance by listing                    otherwise comply with the material                     commenters asserted that the United
                                               several examples illustrating material                  change reporting requirements in this                  States needs to limit immigration, not
                                               changes, including: Any criminal                        section;                                               create more immigration programs.
                                               charge, conviction, plea of no contest, or                 (3) The entrepreneur parolee is no                  Several individual commenters argued
                                               other judicial determination in a                       longer employed in a central and active                that the U.S. Government should reform
                                               criminal case concerning the                            role by the start-up entity or ceases to               other visa programs, such as the H–1B
                                               entrepreneur or start-up entity; any                    possess the required ownership stake in                nonimmigrant classification, and
                                               complaint, settlement, judgment, or                     the start-up entity;                                   address the current immigrant visa
                                               other judicial or administrative                           (4) The alien otherwise violated the                backlog before creating more programs.
                                               determination concerning the                            terms and conditions of parole; or                     Several individual commenters asserted
                                               entrepreneur or start-up entity in a legal                 (5) Parole was erroneously granted.                 that taxpayer money should be used on
                                               or administrative proceeding brought by                    Automatic termination will apply
                                                                                                                                                              domestic issues, such as reviving the
                                               a government entity; any settlement,                    upon the expiration of parole or if DHS
                                                                                                                                                              American economy, rebuilding
                                               judgment, or other legal determination                  receives written notice from the parolee
                                                                                                                                                              infrastructure, promoting national
                                               concerning the entrepreneur or start-up                 informing DHS that he or she is no
                                                                                                                                                              security, and supporting veterans, rather
                                               entity in a legal proceeding brought by                 longer employed by the start-up entity
                                                                                                                                                              than on administering a parole process
                                               a private individual or organization                    or no longer possesses the required
                                                                                                                                                              for international entrepreneurs.
                                               other than proceedings primarily                        qualifying ownership stake in the start-
                                                                                                                                                                 Response: DHS disagrees with the
                                               involving claims for damages not                        up entity. DHS believes that these bases
                                                                                                                                                              commenters’ assertions that sufficient
                                               exceeding 10 percent of the current                     for automatic termination clearly
                                                                                                                                                              avenues for international entrepreneurs
                                               assets of the entrepreneur or start-up                  evidence that the entrepreneur no
                                                                                                                                                              already exist. DHS believes that this
                                               entity; a sale or other disposition of all              longer qualifies for parole under this
                                                                                                                                                              final rule will, by further implementing
                                               or substantially all of the start-up                    rule; therefore, notice and opportunity
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                                                                                                                                                              authority provided by Congress, reduce
                                               entity’s assets; the liquidation,                       to respond are unnecessary.
                                                                                                                                                              barriers standing in the way of
                                               dissolution or cessation of operations of               Additionally, parole of the spouse or
                                                                                                                                                              innovation and entrepreneurial activity
                                               the start-up entity; the voluntary or                   child of the entrepreneur will be
                                                                                                                                                              that will benefit the U.S. economy.34
                                               involuntary filing of a bankruptcy                      automatically terminated without notice
                                               petition by or against the start-up entity;             if the parole of the entrepreneur has                    34 Nina Roberts, For foreign tech entrepreneurs,
                                               a significant change with respect to                    been terminated. This rule also finalizes              getting a visa to work in the U.S. is a struggle, The
                                               ownership and control of the start-up                   the provision indicating that the                                                                   Continued



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                                               This final rule provides an avenue for                  suggested providing tax incentives to                  review is necessary. DHS intends to
                                               innovative entrepreneurs to pursue their                established U.S. corporations that                     review all aspects of this parole rule and
                                               entrepreneurial endeavors in the United                 would agree to mentor immigrant                        process subsequent to its
                                               States and contribute to the U.S.                       entrepreneurs, or establishing a system                implementation and consistent with the
                                               economy. In the absence of this rule,                   of compensation for certain senior                     direction of Executive Order 13563.
                                               these innovative entrepreneurs might be                 citizens in the United States to mentor                Given that this is a new and complex
                                               delayed or discouraged altogether in                    immigrant entrepreneurs. Other                         process, DHS will consider potential
                                               contributing innovation, job creation,                  commenters recommended balancing                       modifications in the future after
                                               and other benefits to the United States.                parole for entrepreneurs with refugee                  assessing the implementation of the rule
                                                 DHS also disagrees with the                           admissions.                                            and its impact on operational resources.
                                               commenters’ assertions that reforms                        Response: DHS thanks commenters                        Comment: One commenter said these
                                               should be made to the H–1B                              for these suggestions but declines to                  rules should serve as a guide, but that
                                               nonimmigrant classification and that the                make changes to the rule as these                      companies and entrepreneurs should be
                                               immigrant visa backlog should be                        comments are outside the scope of this                 analyzed on case-by-case basis.
                                               addressed before this rule is finalized.                rulemaking.                                               Response: DHS may grant parole on a
                                               Parole is an entirely separate option                      Comment: A joint submission from an                 case-by-case basis under this rule if the
                                               within the Secretary’s authority to allow               advocacy group and professional                        Department determines, based on the
                                               individuals to come to the United States                association recommended that DHS                       totality of the evidence, that an
                                               on a case-by-case basis for urgent                      consider parole for individuals who                    applicant’s presence in the United
                                               humanitarian reasons or significant                     work in social services fields that do not             States will provide a significant public
                                               public benefit. While DHS appreciates                   command a high income or who might                     benefit and that he or she otherwise
                                               the commenters’ sentiment that changes                  otherwise perform work in the national                 merits a favorable exercise of discretion.
                                               should be made in other contexts, the                   interest.                                                 Comment: An individual commenter
                                               exact changes contemplated by the                          Response: This final rule is aimed at               suggested that DHS should, as part of its
                                               commenters are unclear, are outside the                 international entrepreneurs who will                   assessment of parole applications under
                                               scope of this rulemaking, or would                      provide a significant public benefit to                this rule, evaluate the performance of
                                               require congressional action.                           the United States—which could include                  applicants’ prior start-ups in their home
                                                 DHS also disagrees with the assertion                 entrepreneurs whose startup entities                   countries.
                                               that taxpayer funds will be misallocated                operate in the field of social services, so               Response: DHS agrees with the
                                               to process applications for parole under                long as they meet the criteria for parole              commenter and believes that the
                                               this final rule. Applicants for parole                  in this final rule. Furthermore, this rule             performance of applicants’ prior start-
                                               under this rule will be required to                     does not limit the Secretary’s broader                 ups in their home countries is the type
                                               submit a filing fee to fully cover the cost             authority to grant parole to other                     of evidence already contemplated by the
                                               of processing of applications.                          applicants for admission on a case-by-                 final rule both under the alternative
                                                                                                       case basis for urgent humanitarian                     criteria provisions and as part of the
                                               L. Miscellaneous Comments on the Rule                                                                          determination as to whether an
                                                                                                       reasons or significant public benefit.
                                               1. Additional Suggested Changes to the                                                                         applicant merits a favorable exercise of
                                               Rule                                                    2. Information/Guidance                                discretion. The alternative criteria allow
                                                  Comments: A number of commenters                        Comment: One commenter                              an applicant who partially meets one or
                                               suggested additional changes to the final               recommended that DHS make parole                       more of the general criteria related to
                                               rule that are beyond the scope of this                  data from the program publicly                         capital investment or government
                                               rulemaking. These comments proposed                     available.                                             funding to be considered for initial
                                               changes to the regulations governing                       Response: While DHS did not propose                 parole under this rule if he or she
                                               certain nonimmigrant programs,                          to disclose parole data related to this                provides additional reliable and
                                               namely: Employment of F–1                               rule, DHS appreciates the commenter’s                  compelling evidence that his or her
                                               nonimmigrant students through                           suggestion, and may consider making                    parole would provide a significant
                                               Optional Practical Training (OPT);                      such data publicly available after this                public benefit to the United States. Such
                                               annual H–1B numerical limitations;                      rule is implemented.                                   evidence would need to serve as a
                                               ‘‘period of stay’’ duration for L–1                        Comment: Other commenters                           compelling validation of the entity’s
                                               nonimmigrants starting a new office in                  suggested that DHS provide additional                  substantial potential for rapid growth
                                               the United States; and merging                          guidance to those granted parole under                 and job creation. DHS is not defining
                                               significant public benefit parole with                  this rule and to provide resources for                 the specific types of evidence that may
                                               the O–1 visa program. A commenter                       small start-ups interested in applying                 be deemed ‘‘reliable and compelling’’ at
                                               suggested providing Employment                          for the rule.                                          this time, as DHS seeks to retain
                                               Authorization Documents or lawful                          Response: DHS will evaluate whether                 flexibility as to the kinds of supporting
                                               permanent resident status to individuals                to provide additional guidance                         evidence that may warrant DHS’s
                                               who obtained their Master’s degrees in                  following publication of this final rule               exercise of discretion in granting parole
                                               the United States. Other commenters                     and an assessment of its                               based on significant public benefit.
                                                                                                       implementation.
                                                                                                          Comment: One commenter suggested                    3. Comments Regarding the E–2
                                               Guardian, Sept. 14, 2014, available at http://                                                                 Nonimmigrant Classification
                                               www.theguardian.com/business/2014/sep/14/               that DHS add a provision to the rule for
                                               foreign-tech-entrepreneurs-visa-us-struggle; Amy        retrospective review, in order to analyze                 Comment: Several commenters
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                                               Grenier, Majority of U.S. Patents Granted to Foreign                                                           submitted comments regarding the E–2
                                               Individuals, April 11, 2014, available at http://
                                                                                                       the effects of the rule’s implementation.
                                               immigrationimpact.com/2014/04/11/majority-of-u-            Response: DHS agrees with the                       nonimmigrant classification. The
                                               s-patents-granted-to-foreign-individuals/ (‘‘Because    commenter’s suggestion that the effects                majority supported the inclusion of
                                               of the limitations of the H–1B visa program, and the    of the rule, after its implementation,                 E–2 businesses into the parole process
                                               lack of a dedicated immigrant visa for entrepreneurs
                                               or innovators, foreign inventors struggle with
                                                                                                       should be reviewed; however, DHS does                  under this rule. Several companies and
                                               inadequate visa options that often prevent them         not believe adding a provision to the                  an individual commenter further
                                               from obtaining permanent residency.’’).                 final regulatory text requiring such                   recommended that the rule should

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                                          VerDate Sep<11>2014   20:02 Jan 13, 2017   Jkt 241001   PO 00000   Frm 00032   Fmt 4701   Sfmt 4700   E:\FR\FM\17JAR5.SGM   17JAR5
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                                               accommodate E–2 businesses already in                   consistent with the Secretary’s parole                 requirements based on ownership
                                               the United States.                                      authority, to allow entrepreneurs to                   interest, type of investor, and amount of
                                                 Response: The final rule lays out                     build and grow their businesses in the                 money invested. The commenter
                                               specific criteria for determining the kind              United States, providing significant                   asserted that international entrepreneurs
                                               of start-up enterprise that has                         public benefit here.                                   that engage with campus-based
                                               substantial potential for job growth and                                                                       incubators cannot meet these
                                               job creation, and for assessing whether                 4. Usefulness of the Rule
                                                                                                                                                              requirements because the structure and
                                               an individual entrepreneur’s parole                        Comment: Multiple commenters                        opportunities provided by a higher
                                               would be justified by significant public                argued that this rule will not necessarily
                                                                                                                                                              education institution do not follow the
                                               benefit. DHS believes it is unnecessary                 help international entrepreneurs
                                                                                                                                                              traditional models. The commenter
                                               to identify these enterprises even more                 succeed, because there are too many
                                                                                                                                                              urged DHS to create alternative criteria
                                               specifically than in this final rule. DHS               restrictions in place for foreign residents
                                                                                                       to qualify. One commenter asserted that                to recognize the role higher education
                                               notes that the rule does not prevent
                                                                                                       the rule as proposed is too complex and                plays in fostering international
                                               individuals who might otherwise
                                                                                                       its goals will be impossible to achieve.               entrepreneurs.
                                               qualify for an existing immigrant or
                                               nonimmigrant classification from                           Response: DHS disagrees with these                     Response: DHS appreciates the
                                               applying for parole under this rule.                    assertions. DHS acknowledges that this                 comment but will not adopt changes to
                                                 Comment: One commenter stated that                    final rule will not benefit all                        the rule in response. DHS recognizes
                                               the proposed rule is much more                          international entrepreneurs seeking to                 and values the important role that
                                               complicated than the E–2 nonimmigrant                   enter or remain in the United States. As               incubators and accelerators located on a
                                               classification, and that DHS should                     several commenters have stated, the                    U.S. university or college campuses
                                               incorporate elements of the E–2 program                 final rule does not and cannot create a                perform in the entrepreneur community.
                                               into this rule’s parole process.                        new visa classification specifically                   DHS believes, however, that the
                                                 Response: DHS disagrees with the                      designed for international                             framework provided by this rule does
                                               commenter’s suggestion.35 A grant of                    entrepreneurs, which is something that                 allow DHS to consider, in its
                                               parole under this rule is based on a                    can only be done by Congress. This final               discretionary case-by-case
                                               determination that the individual will                  rule, however, provides an additional                  determination, the fact that the start-up
                                               provide a significant public benefit to                 option that may be available to those                  entity is participating in such an
                                               the United States. Eligibility for E–2                  entrepreneurs who will provide a                       incubator or accelerator. DHS believes
                                               nonimmigrant classification is based on                 significant public benefit to the United               that evidence of such participation is
                                               different standards, and DHS believes                   States. This parole option complements,                one factor to be weighed for those
                                               that applying E–2 requirements would                    but does not supplant, current
                                                                                                                                                              individuals who do not fully meet the
                                               not suffice to meet the statutory                       immigrant and nonimmigrant visa
                                                                                                                                                              general capital investment or
                                               requirements for parole and establish                   classifications for which some
                                                                                                                                                              government funding criteria and are
                                               that an individual merits a favorable                   international entrepreneurs might
                                               exercise of discretion. DHS therefore                                                                          relying on additional reliable and
                                                                                                       qualify to bring or keep their start-up
                                               declines to adopt the commenter’s                                                                              compelling evidence that the start-up
                                                                                                       entities in the United States.
                                               suggestion.                                                The requirements governing eligibility              entity has the substantial potential for
                                                 Comment: A commenter suggested                        for consideration for parole under this                rapid growth and job creation. DHS
                                               that the proposed rule is unnecessary                   rule establish a high evidentiary bar that             believes that reliable and compelling
                                               since the E–2 program already supports                  must be met in order to assist DHS in                  evidence may, depending on all the
                                               international entrepreneurs.                            its determination that the individual                  circumstances, include evidence that
                                                 Response: DHS disagrees with the                      will provide a significant public benefit              the start-up entity is participating in a
                                               commenter’s statement. The E–2                          to the United States. DHS, however,                    reputable incubator or accelerator
                                               program allows nationals of a treaty                    does not agree with the commenter’s                    located on a U.S. university or college
                                               country (a country with which the                       assertion that the requirements are                    campus.
                                               United States maintains a qualifying                    impossible for all entrepreneurs to meet.              6. Objection to Use of the Word
                                               Treaty of Friendship, Commerce and                      Given that this is a new and complex
                                               Navigation or its equivalent) to be                                                                            ‘‘Parole’’
                                                                                                       process, DHS will consider potential
                                               admitted to the United States when                      modifications in the future after                        Comment: Multiple commenters
                                               investing a substantial amount of capital               assessing the implementation of the rule               objected to the use of the word ‘‘parole’’
                                               in a U.S. business. Foreign                             and its impact on operational resources.               to describe the provisions in this rule.
                                               entrepreneurs from nontreaty countries,                                                                        Commenters are concerned that use of
                                               such as Brazil, China, India, Israel, or                5. Include On-Campus Business
                                                                                                       Incubators in the Rule                                 the word in an immigration context will
                                               Russia, are currently not eligible for an                                                                      be confused with the use of the word in
                                               E–2 nonimmigrant visa. Also, the E–2                       Comment: One commenter urged                        the criminal context. A commentator
                                               category requires the entrepreneur to                   USCIS to tie eligibility for parole to an
                                                                                                                                                              suggested using the term ‘‘conditional
                                               invest his or her own funds, and is                     applicant’s participation in business
                                                                                                                                                              status’’ or ‘‘provisional status.’’
                                               therefore not applicable to                             incubators and accelerators located on
                                               entrepreneurs relying upon funds from                   U.S. university and college campuses                     Response: DHS declines to accept the
                                               investors or government entities to build               that allow international entrepreneurs to              commenters’ suggestion. ‘‘Parole’’ is a
                                               and grow their business. DHS believes                   grow start-up companies. The                           term established by statute at section
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                                               that this rule provides a viable option,                commenter stated that these programs                   212(d)(5) of the INA, 8 U.S.C.
                                                                                                       meet the goal of the rule while                        1182(d)(5). The use of that term in the
                                                 35 The E–2 nonimmigrant classification allows a       providing benefits on a local and                      INA should not be confused with the
                                               national of a treaty country (a country with which      national scale. The commenter                          word’s usage in non-immigration
                                               the United States maintains a treaty of commerce                                                               contexts. Use of alternative terms as
                                               and navigation) to be admitted to the United States
                                                                                                       elaborated that the proposed rule only
                                               when investing a substantial amount of his or her       contemplates a traditional start-up                    suggested by the commenter would be
                                               own capital in a U.S. business.                         arrangement, which creates                             misleading.

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                                               7. Concern Over Possible Exploitation of                payments or upon return. Furthermore,                  opportunities to invest in start-up
                                               Entrepreneurs                                           individuals may be interested in                       entities that would not have otherwise
                                                  Comment: Two commenters suggested                    returning to their home countries in the               been able to locate in the United States,
                                               that international entrepreneurs would                  future for a variety of reasons, including             this is also true for a range of other
                                               be vulnerable to exploitation by venture                the temporary nature of parole.                        ‘‘qualified investors’’ as defined in the
                                               capital investors under this rule. The                                                                         rule. Moreover, many international
                                                                                                       M. Public Comments on Statutory and
                                               commenters compare the influence of                                                                            entrepreneurs may qualify for parole
                                                                                                       Regulatory Requirements
                                               venture capitalists over entrepreneurs                                                                         under this rule without having raised
                                                                                                          1. Regulatory Impact Analysis                       private-sector capital investment at all,
                                               granted parole to the influence of                         Comment: Two commenters suggested
                                               employers over H–1B employees. One                                                                             since funding from government entities
                                                                                                       alternative estimates for the number of                is also an eligibility criterion.
                                               commenter expressed concern that the                    applicants that could apply to this rule.                 Comment: Several commenters stated
                                               rule could allow a venture capitalist                   One commenter estimated that 5,000                     that the rule would provide significant
                                               almost total dominance over the                         international entrepreneurs will apply                 economic benefits.
                                               international entrepreneur’s life,                      for parole under this rule. This estimate                 Response: DHS agrees with these
                                               through the threat of withdrawing                       was approximately 2,000 more                           commenters that the rule will provide
                                               funding and thereby triggering                          entrepreneurs than the estimate                        significant economic benefits to the
                                               termination of parole.                                  provided by DHS. Another commenter                     United States. As discussed in the
                                                  Response: DHS disagrees with the                     stated that the rule’s eligibility criteria            proposed rule and elsewhere in this
                                               commenters’ assertions that the final                   are narrow and therefore, the rule would               section, DHS believes that this rule will
                                               rule will facilitate such exploitation of               cause fewer than 3,000 people to apply.                help the United States compete with
                                               international entrepreneurs by venture                     Response: DHS recognizes that                       programs implemented by other
                                               capital investors. As a general matter,                 uncertainty in business and economic                   countries to attract international
                                               venture capitalists and other investors                 conditions, as well as data limitations,               entrepreneurs. International
                                               cannot easily withdraw funding from a                   make it difficult to accurately predict                entrepreneurs will continue to make
                                               start-up entity once this investment                    how many entrepreneurs will apply for                  outsized contributions to innovation
                                               transaction has been duly executed.                     parole under this rule. However, as                    and economic growth in the United
                                               Once an entrepreneur has applied for                    discussed in the ‘‘Volume Projections’’                States.
                                               parole on the basis of prior investment,                section of this rule, DHS utilized limited                Comment: Several commenters
                                               and has been granted such parole, the                   data available to estimate that                        provided feedback on the costs of
                                               investor will not be in a position to                   approximately 2,940 entrepreneurs                      applications. One commenter stated that
                                               directly interfere with the                             could seek parole each year. This                      the fees were reasonable. Another
                                               entrepreneur’s continued eligibility                    estimate was bolstered by an alternative               commenter suggested allowing market
                                               during the parole period. The final rule                estimate based on accelerator                          prices to determine parole costs,
                                               will not create significant new                         investment round data that DHS                         essentially allowing those entrepreneurs
                                               conditions for exploitation that do not                 analyzed. Given limits on DHS’s                        with more likelihood of success to
                                               already exist currently for international               information about such entrepreneurs                   invest in parole opportunities. Still
                                               entrepreneurs—or for that matter,                       and that this is a new process, DHS does               other commenters stated that the
                                               domestic entrepreneurs—in the United                    not know how many people within the                    application fee was too high, especially
                                               States.                                                 estimated eligible population will                     compared to various visa applications.
                                                  Comment: One commenter stated that                   actually apply. Additionally,                             Response: DHS appreciates
                                               the United States should be mindful of                  fluctuations in business and economic                  commenters’ feedback on the costs for
                                               what may happen to poorer countries                     conditions could cause the number of                   applications. DHS determines the costs
                                               when the United States attracts their                   applications to vary across years.                     of applications through a biennial fee
                                               best entrepreneurs.                                        While one commenter estimates that                  study it conducts, which reviews
                                                  Response: DHS stresses that                          the eligible number of entrepreneurs                   USCIS’ cost accounting process and
                                               application for parole under this rule is               will be higher than the DHS estimate,                  adjusts fees to recover the full costs of
                                               voluntary and has the primary goal of                   another commenter estimates it will be                 services provided by USCIS. The
                                               yielding significant public benefit for                 lower. Neither of the commenters                       established fees are necessary to fully
                                               the United States. DHS believes that                    provided a basis or data from which                    recover costs and maintain adequate
                                               applicants will assess economic and                     their figures were derived. DHS                        service by the agency, as required by
                                               business conditions both in the United                  reaffirms that the estimate provided in                INA section 286(m); 8 U.S.C. 1356(m).
                                               States and in other countries and will                  this rule is reasonable. The assessment                   Comment: Several commenters
                                               consider these conditions, along with                   is based on analysis of data and publicly              generally stated support for the rule
                                               numerous others, in the decision to                     available information, and reflects,                   because it will likely improve
                                               apply for parole under this rule. DHS                   where data and analysis allow,                         innovation for local and regional
                                               does not believe that the rule itself,                  reasonable medians or averages.                        economic areas. Another commenter
                                               which authorizes parole only for a                         Comment: One commenter argued                       stated support for the rule because it
                                               limited period of time and under                        that the rule would only benefit certain               would increase intangible assets.
                                               specific limited circumstances, will                    special-interest venture capitalists.                     Response: DHS concurs with this
                                               create significant negative consequences                   Response: DHS respectfully disagrees                expectation that the rule will foster
                                               for poorer countries. Additionally,                     with this commenter. Fundamentally,                    innovation at the local and regional
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                                               positive spillovers from new                            this rule is designed to yield significant             level. Studies on entrepreneurs reveal
                                               innovations are not limited to the                      public benefit to the United States—                   that they are key drivers of innovation
                                               specific country in which they were                     including through economic growth,                     throughout the United States, and that
                                               developed. Parole under this rule in no                 innovation, and job creation—and not to                such innovation benefits local, regional,
                                               way prevents an entrepreneur                            any particular private-sector interest                 and the national economy through
                                               contributing to the economy of his or                   group. While some venture capital firms                technical progress and improvements in
                                               her home, including through remittance                  may benefit from the rule by having new                efficiency and productivity. The rule’s

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                                               eligibility criteria focus on start-ups                 through investment of native U.S.                          c. Impact on Innovation
                                               with high growth potential, and DHS                     entrepreneurs instead of foreign                              Comment: Several commenters
                                               expects that new firms started by                       entrepreneurs. Several commenters also                     provided feedback on the rule’s impact
                                               entrepreneurs covered by the rule will                  stated that the government should assist                   on innovation. Two commenters stated
                                               conduct research and development,                       U.S. entrepreneurs and workers before                      that this type of international
                                               expand innovation, and bring new                        helping international entrepreneurs.                       entrepreneurship supports innovation
                                               technologies and products to market in                  Commenters also mentioned that the                         in the United States. Another
                                               addition to creating jobs in the United                 need for international innovators was                      commenter stated that the rule would
                                               States. These activities will produce                   overstated and that the number of native                   not help foreign innovators because of
                                               benefits that will spill over to other                  U.S. innovators is already adequate.                       complications with patents and
                                               firms and sectors.                                      Finally, these commenters asserted that                    modeling designs.
                                                  DHS also agrees with the commenter                   foreign workers are often exploited for                       Response: DHS agrees with the
                                               on impacts to intangible assets.                        cheap labor and harm job prospects for                     commenters that stated that this rule
                                               Intangible assets are generally integrated              native U.S. workers.                                       supports innovation in the United
                                               into a firm’s or sector’s total assets and                                                                         States. Entrepreneurs tend to engage in
                                               have become important in broad                             Response: DHS disagrees with these
                                                                                                       commenters’ assertion that the rule will                   research and development in order to
                                               analyses of productivity and efficiency.
                                                                                                       have negative impacts on native U.S.                       develop and commercialize new
                                               Such assets can include proprietary
                                                                                                       entrepreneurs and native U.S. workers.                     products and technologies, and often
                                               software, patents, and various forms of
                                                                                                       This rule focuses on identifying                           stimulate patents and other intellectual
                                               research and development. This rule is
                                                                                                       entrepreneurs associated with start-up                     capital linked to these efforts. DHS does
                                               intended to attract the types of ventures
                                                                                                       entities with significant potential for                    not agree with the commenter that
                                               that will increase intangible assets.
                                                                                                       bringing growth, innovation, and job                       stated the rule is not helpful to foreign
                                               a. Job Creation                                         creation in the United States. Much                        innovators because of issues with
                                                  Comment: Many commenters agreed                      research supports the conclusion that                      patents and modeling designs, and DHS
                                               that this rule would help create jobs and               high-growth firms drive job creation for                   sees no basis for this comment. Nothing
                                               significantly benefit the U.S. economy.                 workers in the United States, including                    in the rule poses specific burdens or
                                               A commenter noted that immigrants                       for native U.S. workers. As discussed in                   constraints on the ability of
                                               have helped to found one quarter of U.S.                further detail in the RIA, research also                   entrepreneurs to seek and obtain patents
                                               firms and therefore allowing more                       shows that immigrants have been                            or other intellectual capital.
                                               international entrepreneurs would                       outsized contributors to business                          2. Review Under the National
                                               result in new job creation. Commenters                  ownership and entrepreneurship in the                      Environmental Policy Act (NEPA)
                                               also mentioned that immigrants have                     United States and abroad. Self-
                                               historically been successful in creating                                                                              Comment: An advocacy organization
                                                                                                       employment rates for immigrants are                        stated that all rules, including
                                               and establishing new businesses, which                  higher than for the native U.S.
                                               in turn create jobs in the United States.                                                                          immigration rules, are subject to review
                                                                                                       population. As discussed in the RIA,                       under the National Environmental
                                               Commenters also more specifically                       although one economic study has
                                               endorsed the need to provide more                                                                                  Policy Act. The commenter suggested
                                                                                                       suggested that a very small number of                      that, at minimum, an Environmental
                                               investment opportunities for venture                    native U.S. entrepreneurs may be
                                               capitalists and angel investors who                                                                                Assessment be conducted to account for
                                                                                                       displaced by international                                 the growth-inducing impacts that would
                                               indirectly create jobs. Finally,                        entrepreneurs, other researchers have
                                               commenters from the technology                                                                                     occur with an influx in population
                                                                                                       noted that the finding simply raises the                   under this rule.
                                               industry stated that attracting                         possibility that such displacement could                      Response: DHS agrees that NEPA
                                               entrepreneurs to the Unites States to                   occur without providing evidence that it                   applies to this, as to every, final
                                               operate in high unemployment areas                      actually does.36 DHS reiterates,                           rulemaking. As explained in section
                                               could provide access to new jobs where                  moreover, that the numbers of                              IV.E of this preamble, the rule has been
                                               they are most needed.                                   entrepreneurs who may be eligible for
                                                  Response: DHS appreciates the                                                                                   reviewed for environmental effects and
                                                                                                       parole under this rule is limited and                      found to be within two categorical
                                               commenters’ support of this rule with                   that the aim of the rule is to increase
                                               regard to attracting international                                                                                 exclusions from further review because
                                                                                                       overall entrepreneurial activity and                       experience has shown rules of this
                                               entrepreneurs, and emphasizes that job                  significant economic benefit throughout
                                               creation for U.S. workers is one of the                                                                            nature have no significant impacts on
                                                                                                       the United States. In any event, the                       the environment. DHS also notes that
                                               rule’s primary goals, as discussed in the               purpose of the parole rule is to foster
                                               Regulatory Impact Analysis (RIA).                                                                                  any entrepreneurial ventures
                                                                                                       innovation and entrepreneurial                             undertaken will be governed by local,
                                               b. Impact on Native U.S. Entrepreneurs                  activities in new or very young                            state and federal laws and regulations,
                                               and Native U.S. Workers                                 endeavors, where the literature much                       including those protecting human
                                                  Comment: Several commenters                          more decisively indicates a strong                         health and the environment. We
                                               suggested the rule will have negative                   potential of creating new net jobs for                     disagree with the commenter’s assertion
                                               consequences for native U.S.                            U.S. workers.                                              that an Environmental Assessment is
                                               entrepreneurs and native U.S. workers.                                                                             required.
                                                                                                          36 Compare Fairlie, R.W., and B.D. Meyer. ‘‘The
                                               These commenters were concerned that                                                                               3. Proposed Information Collections
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                                                                                                       effect of immigration on native self-employment.’’
                                               the rule would be disadvantageous to                    Journal of Labor Economics 21:3 (2003): 619–650,           Under the Paperwork Reduction Act
                                               native U.S. entrepreneurs and would                     available at: http://people.ucsc.edu/∼rfairlie/
                                               create incentives for venture capital                   papers/published/jole%202003%20-                           a. Employment Eligibility Verification,
                                               firms to find international entrepreneurs               %20native%20se.pdf, with, e.g., Magnus Lofstrom,           Form I–9
                                                                                                       ‘‘Immigrants and Entrepreneurship,’’ Public Policy
                                               instead of investing in native U.S.                     Institute of California, USA, and IZA, Germany
                                                                                                                                                                     Comment: An individual commenter
                                               entrepreneurs. The commenters argued                    (2014), p. 4, available at: http://wol.iza.org/articles/   suggested that List A documents should
                                               that job creation could be accomplished                 immigrants-and-entrepreneurship.pdf.                       be updated to include the verified

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                                               driver’s licenses (sample attached and                  entity, and that these restrictions could              considered all those comments and has
                                               included in the file) that meet federal                 impact start-up entities if the                        made policy changes in this final rule to
                                               guidelines and require the presentation                 entrepreneur were no longer eligible to                address the comments. Specifically, the
                                               of the same documentation needed to                     stay in the United States. For these                   SBA commented that thresholds to
                                               obtain a passport. The commenter stated                 reasons, SBA concluded that this rule                  qualify for parole are directly tied to the
                                               that it is no longer reasonable for those               directly impacts start-up entities. The                ability of the international
                                               who receive a verified license and who                  SBA recommended that DHS submit a                      entrepreneur’s start-up to produce
                                               paid the premium necessary for the                      supplemental analysis on the impact of                 significant public benefit for the United
                                               processing of the extra documents, to                   the final rule on small entities.                      States. DHS has considered this
                                               have to locate their birth certificate and                 Response: DHS has concluded that a                  comment along with other public
                                               social security card in order to complete               RFA certification statement for this final             comments on this issue and has made
                                               the Form I–9 process.                                   rule is appropriate. This final rule does              the decision to lower the eligible
                                                  Response: DHS presumes that by                       not regulate small entities nor does it                threshold investment amount for initial
                                               ‘‘verified driver’s licenses’’ the                      impose any mandatory requirements on                   parole from the proposed $345,000 in
                                               commenter is referring to State driver’s                such entities. Instead, it provides an                 the NPRM to $250,000 in the final rule.
                                               licenses that comply with the REAL ID                   option for certain individual
                                                                                                                                                              Additionally, in the NPRM and in this
                                               Act of 2005, Public Law 109–13, 119                     entrepreneurs to seek parole on a
                                                                                                                                                              final rule, DHS has provided some
                                               Stat. 302. The specific suggestion about                voluntary basis. There are no
                                                                                                                                                              flexibility and alternative criteria for
                                               amending List A on Form I–9, which                      compliance costs or direct costs for any
                                                                                                                                                              those entrepreneurs meeting partial
                                               would have wide-ranging effect and not                  entity, small or otherwise, imposed by
                                                                                                                                                              eligibility requirements, as described in
                                               be limited to entrepreneurs under this                  this rule since it does not impose any
                                               rule, is outside the scope of this                      mandatory requirements on any entity.                  further detail in the preamble.
                                               rulemaking. This rule and                               Historically, when an employer                            SBA also commented that the rule
                                               accompanying form revisions limit                       petitions on behalf of an individual or                only allows the entrepreneur to work for
                                               changes to List A of Form I–9 to the                    employee, DHS has provided an RFA                      the business identified on the parole
                                               modification of an existing document                    analysis for the impact to small                       application without providing leniency
                                               specified at 8 CFR 274a.2(b)(1)(v)(A)(5)                businesses. However, under this rule, a                in transferring the work authorization to
                                               to include individuals authorized to                    small entity or an employer does not                   another entity. The SBA further
                                               work incident to parole.                                apply for parole on behalf of an                       comments that the start-up entity may
                                                                                                       employee; instead, an entrepreneur                     be imperiled if the entrepreneur is no
                                               b. Application for Entrepreneur Parole,
                                                                                                       applies for parole on a voluntary basis                longer eligible to stay in the United
                                               Form I–941
                                                                                                       on his or her own behalf, and only those               States. The eligibility criteria for
                                                  Comment: DHS received a public                       eligible individuals seeking parole                    consideration for parole under this rule
                                               comment that stated that the time                       would be subject to the anticipated costs              require an entrepreneur to have recently
                                               burden estimate of 1.33 hours for the                   of application. Entrepreneurs with an                  formed a new entity in the United States
                                               respondent to complete the information                  ownership stake in a start-up make the                 with substantial potential for rapid
                                               collection was too low.                                 cost-benefit decision to voluntarily                   growth and job creation. Before an
                                                  Response: DHS appreciates and agrees                 apply for parole.                                      application for parole under this rule is
                                               with this comment. Based on further                        In both the RFA and SBA’s Guide for                 approved, USCIS must make a
                                               review of the information collection and                Government Agencies on the RFA,                        discretionary determination that the
                                               public comments on this specific issue,                 government agencies are required to                    entrepreneur is well-positioned to
                                               DHS is revising the estimated time                      consider significant alternatives to the               provide a significant public benefit to
                                               burden from 1.33 hours to 4.7 hours for                 rule when providing a full RFA                         the United States. Therefore, these
                                               Form I–941 respondents.                                 analysis. Among the kinds of                           eligibility criteria are not limiting
                                                                                                       alternatives that SBA suggests                         entrepreneurs, but aimed at ensuring
                                               4. Comments and Responses to Impact
                                                                                                       considering include ‘‘the exemption for                that only those entrepreneurs with high
                                               on Small Businesses
                                                                                                       certain or all small entities from                     growth potential are eligible for parole
                                                  Comment: The U.S. Small Business                     coverage of the rule, in whole or in
                                               Administration, Office of Advocacy                                                                             consideration under this rule. DHS has
                                                                                                       part.’’ 38 Even if this rule directly
                                               (SBA) commented by supporting the                                                                              also provided avenues for an additional
                                                                                                       impacted small entities and DHS were
                                               goals of this rule, but expressed concern                                                                      parole period specifically to prevent
                                                                                                       required to engage in an analysis to
                                               that the rule could significantly impact                                                                       instability of a start-up entity.
                                                                                                       minimize negative impacts of the rule
                                               small entities. The SBA commented that                  on small entities by exempting them                       DHS reiterates that RFA guidance
                                               the proposed rule was erroneously                       from the rule, that alternative would                  allows an agency to certify a rule,
                                               certified under the Regulatory                          only harm small entities, which would                  instead of preparing an analysis, if the
                                               Flexibility Act (RFA). The SBA stated                   no longer be able to benefit from the                  rule is not expected to have a significant
                                               that the only international                             rule’s allowing entrepreneurs to seek                  economic impact on a substantial
                                               entrepreneurs eligible for this parole                  parole and work authorization.                         number of small entities.39 DHS
                                               program are those with significant                         The SBA also commented on various                   reiterates that this rule does not regulate
                                               ownership stakes in a start-up entity                   policy issues on the eligibility of                    small entities. Any costs imposed on
                                               formed in the previous three years. The                 entrepreneurs in this rule.                            businesses will be driven by economic
                                               SBA also stated that the thresholds to                  Notwithstanding DHS’ belief that                       and business conditions and not by the
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                                               qualify for parole were directly tied to                entrepreneurs when filing for parole are
                                               the ability of the entrepreneur’s start-up              not small entities, DHS has carefully                    39 See SBA, Office of Advocacy, ‘‘A Guide for

                                               to produce significant public benefit to                                                                       Government Agencies; ‘‘How to Comply with the
                                               the United States. The SBA noted that                      38 The Regulatory Flexibility Act, 5 U.S.C.         Regulatory Flexibility Act, Implementing the
                                                                                                       603(c)(4). The Small Business Administration’s         President’s Small Business Agenda and Executive
                                               under the proposed rule, an                             RFA Guide for Government, p. 38, available at          Order 13272’’ (May 2012), available at: https://
                                               entrepreneur is not permitted to transfer               https://www.sba.gov/sites/default/files/advocacy/      www.sba.gov/sites/default/files/advocacy/rfaguide_
                                               work authorization to another start-up                  rfaguide_0512_0.pdf.                                   0512_0.pdf.


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                                               voluntary participation for benefits from               Executive Order 12866. Accordingly,                    substantial investment from U.S.
                                               this rule.                                              the rule has been reviewed by the Office               investors and otherwise qualify for
                                                                                                       of Management and Budget.                              entrepreneur parole, because changes in
                                               IV. Statutory and Regulatory
                                                                                                                                                              the global market for entrepreneurs, or
                                               Requirements                                            1. Summary
                                                                                                                                                              other exogenous factors, could affect the
                                               A. Unfunded Mandates Reform Act of                         This final rule is intended to add new              eligible population. Therefore, these
                                               1995                                                    regulatory provisions guiding the use of               volume projections should be
                                                                                                       parole with respect to individual                      interpreted as a reasonable estimate of
                                                 The Unfunded Mandates Reform Act
                                                                                                       international entrepreneurs who operate                the eligible population based on past
                                               of 1995 (UMRA) is intended, among
                                                                                                       start-up entities and who can                          conditions extrapolated forward.
                                               other things, to curb the practice of
                                                                                                       demonstrate through evidence of                        Eligible foreign nationals who choose to
                                               imposing unfunded Federal mandates
                                                                                                       substantial and demonstrated potential                 apply for parole as an entrepreneur will
                                               on State, local, and tribal governments.
                                                                                                       for rapid business growth and job                      incur the following costs: A filing fee for
                                               Title II of the Act requires each Federal
                                                                                                       creation that they would provide a                     the Application for Entrepreneur Parole
                                               agency to prepare a written statement
                                                                                                       significant public benefit to the United               (Form I–941) in the amount of $1,200 to
                                               assessing the effects of any Federal
                                                                                                       States. Such potential is indicated by,                cover the processing costs for the
                                               mandate in a proposed or final agency
                                                                                                       among other things, the receipt of                     application; a fee of $85 for biometrics
                                               rule that may result in a $100 million or
                                                                                                       significant capital financing from U.S.                submission; and the opportunity costs
                                               more expenditure (adjusted annually for
                                                                                                       investors with established records of                  of time associated with completing the
                                               inflation) in any one year by State, local,
                                                                                                       successful investments, or obtaining                   application and biometrics collection.
                                               and tribal governments, in the aggregate,
                                                                                                       significant awards or grants from certain              After monetizing the expected
                                               or by the private sector. The value
                                                                                                       Federal, State or local government                     opportunity costs and combining them
                                               equivalent of $100 million in 1995
                                                                                                       entities. The regulatory amendments                    with the filing fees, an eligible foreign
                                               adjusted for inflation to 2015 levels by
                                                                                                       will provide the general criteria for                  national applying for parole as an
                                               the Consumer Price Index for All Urban
                                                                                                       considering requests for parole                        entrepreneur will face a total cost of
                                               Consumers (CPI–U) is $155 million.
                                                                                                       submitted by such entrepreneurs.                       $1,591. Any subsequent renewals of the
                                                 This rule does not exceed the $100
                                                                                                          DHS assesses that this final rule will,             parole period will result in the same
                                               million expenditure in any one year
                                                                                                       by further implementing authority                      previously discussed costs. Filings to
                                               when adjusted for inflation ($155
                                                                                                       provided by Congress, reduce a barrier                 notify USCIS of material changes to the
                                               million in 2015 dollars), and this
                                                                                                       to entry for new innovative research and               basis for the entrepreneur’s parole,
                                               rulemaking does not contain such a
                                                                                                       entrepreneurial activity in the U.S.                   when required, will result in similar
                                               mandate. The requirements of Title II of
                                                                                                       economy.40 Under this final rule, some                 costs; specifically, in certain instances
                                               the Act, therefore, do not apply, and
                                                                                                       additional international entrepreneurs                 the entrepreneur will be required to
                                               DHS has not prepared a statement under
                                                                                                       will be able to pursue their                           submit to USCIS a new Form I–941
                                               the Act.
                                                                                                       entrepreneurial endeavors in the United                application to notify USCIS of such
                                               B. Small Business Regulatory                            States and contribute to the U.S.                      material changes and will thus bear the
                                               Enforcement Fairness Act of 1996                        economy. In the absence of the rule,                   direct filing cost and concomitant
                                                  This rule is not a major rule as                     these innovative entrepreneurs might be                opportunity cost. However, because the
                                               defined by section 804 of the Small                     delayed or discouraged altogether in                   $85 biometrics fee will not be required
                                               Business Regulatory Enforcement Act of                  bringing innovation, job creation, and                 with such filings, these costs will be
                                               1996. This rule will not result in an                   other benefits to the United States.                   slightly lower than those associated
                                               annual effect on the economy of $100                       Based on review of data on startup                  with the initial parole request and any
                                               million or more, a major increase in                    entities, foreign ownership trends, and                request for re-parole.
                                                                                                       Federal research grants, DHS expects                      Dependent spouses and children who
                                               costs or prices, or significant adverse
                                                                                                       that approximately 2,940 entrepreneurs,                seek parole to accompany or join the
                                               effects on competition, employment,
                                                                                                       arising from 2,105 new firms with                      principal applicant by filing an
                                               investment, productivity, innovation, or
                                                                                                       investment capital and about 835 new                   Application for Travel Document (Form
                                               on the ability of United States
                                                                                                       firms with Federal research grants,                    I–131), will be required to submit
                                               companies to compete with foreign-
                                                                                                       could be eligible for this parole program              biographical information and biometrics
                                               based companies in domestic and
                                                                                                       annually. This estimate assumes that                   as well. Based on a principal applicant
                                               export markets.
                                                                                                       each new firm is started by one person                 population of 2,940 entrepreneurs, DHS
                                               C. Executive Orders 12866 and 13563                     despite the possibility of up to three                 assumes a total of 3,234 spouses and
                                                  Executive Orders 12866 and 13563                     owners being associated with each start-               children will be eligible for parole
                                               direct agencies to assess the costs and                 up. DHS has not estimated the potential                under this rule. Each dependent will
                                               benefits of available regulatory                        for increased demand for parole among                  incur a filing fee of $575, a biometric
                                               alternatives and, if regulation is                      foreign nationals who may obtain                       processing fee of $85 (if 14 years of age
                                               necessary, to select regulatory                                                                                and over) and the opportunity costs
                                               approaches that maximize net benefits
                                                                                                          40 Nina Roberts, For foreign tech entrepreneurs,
                                                                                                                                                              associated with completing the Form
                                                                                                       getting a visa to work in the US is a struggle, The    I–131 application and biometrics
                                               (including potential economic,                          Guardian, Sept. 14, 2014, available at http://
                                               environmental, public health and safety                 www.theguardian.com/business/2014/sep/14/              collection.41 After monetizing the
                                               effects, distributive impacts, and                      foreign-tech-entrepreneurs-visa-us-struggle; Amy       expected opportunity costs associated
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                                               equity). Executive Order 13563                          Grenier, Majority of U.S. Patents Granted to Foreign   with providing biographical information
                                                                                                       Individuals, April 11, 2014, available at http://      to USCIS and submitting biometrics and
                                               emphasizes the importance of                            immigrationimpact.com/2014/04/11/majority-of-u-
                                               quantifying both costs and benefits, of                 s-patents-granted-to-foreign-individuals/ (‘‘Because   combining it with the biometrics
                                               reducing costs, of harmonizing rules,                   of the limitations of the H–1B visa program, and the
                                                                                                       lack of a dedicated immigrant visa for entrepreneurs     41 The filing fees have been updated and reflect
                                               and of promoting flexibility. This rule                 or innovators, foreign inventors struggle with         those promulgated in the 2016 Fee Rule (1615–
                                               has been designated a ‘‘significant                     inadequate visa options that often prevent them        AC09, CIS No. 2577–15 DHS Docket No. USCIS–
                                               regulatory action’’ under section 3(f) of               from obtaining permanent residency.’’).                2016–0001).


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                                               processing fee, each dependent                          attracted to this parole process may                      The purpose of the rule is to attract
                                               applicant will face a total cost of $765.               develop high-growth and high-impact                    talented entrepreneurs to the United
                                               DHS is also allowing the spouse of an                   firms that can be expected to contribute               States who might otherwise choose to
                                               entrepreneur paroled under this rule to                 disproportionately to U.S. job creation.               pursue such innovative activities
                                               apply for work authorization. Using a                   In summary, DHS anticipates that this                  abroad, or otherwise be significantly
                                               one-to-one mapping of principal filers to               rule will produce positive effects that                delayed in growing their companies in
                                               spouses, the total population of spouses                would greatly exceed any negative                      the United States, given the barriers
                                               eligible to apply for work authorization                consequences.                                          they presently face. In addition to the
                                               is 2,940. To obtain work authorization,                    Using an estimate of 2,940 annual                   benefits associated with entrepreneurial
                                               the entrepreneur’s spouse will be                       applications for significant public                    innovation, including new products,
                                               required to file an Application for                     benefit entrepreneur parole as                         business networks, and production
                                               Employment Authorization (Form                          developed in the ensuing volume                        efficiencies that such activities are
                                               I–765), incurring a $410 filing fee and                 projections section of this analysis, DHS              likely to generate, entrepreneurs have
                                               the opportunity costs of time associated                anticipates the total cost of this rule for            been and remain vital to economic
                                               with completing the application. After                  principal filers who face a total per                  growth and job creation in the United
                                               monetizing the expected opportunity                     applicant cost of $1,591 to be                         States and have generated a cohort of
                                               costs and combining it with the filing                  $4,678,336 (undiscounted) annually for                 high-growth firms that have driven a
                                               fees, an eligible spouse will face a total              any given year. (These estimates focus                 highly disproportionate share of net
                                               additional cost of $446 (rounded). DHS                  only on principal initial filers, not                  new job creation.42
                                               expects that applicants will face the                   entrepreneurs who might be eligible for                   A body of research documents both
                                               above costs, but does not anticipate that               a re-parole period of up to 30 months,                 the importance of entrepreneurial
                                               this rule will generate significant                     or their spouses.) Dependent spouses                   activity to the U.S. economy and its link
                                               additional costs and burdens to private                 and children who must submit the Form                  to immigration. In this background
                                               entities, or that the rule will generate                I–131 application and biometrics will                  section, DHS does not attempt to
                                               additional processing costs to the                                                                             comprehensively summarize this large
                                                                                                       face a per-applicant cost of $765, for a
                                               government to process applications.                                                                            body of work but instead focuses on
                                                                                                       total cost of $2,474,914 (undiscounted).
                                               While applicants may face a number of                                                                          specific aspects central to the purpose of
                                                                                                       Dependent spouses who apply for
                                               costs linked to their business or research                                                                     the rule and to its potential impacts.43
                                                                                                       employment authorization will face a
                                               endeavors, these costs will be driven by                                                                       In summary, DHS focuses on the role of
                                                                                                       per applicant cost of $446, which DHS
                                               the business and innovative activity that                                                                      new entrepreneurial firms in job
                                                                                                       projects will total $1,311,830
                                               the entrepreneur is engaged in and                                                                             creation in the United States, and the
                                                                                                       (undiscounted). Adding together the
                                               many other exogenous factors, not the                                                                          role that immigrant entrepreneurs have
                                                                                                       costs for the principal filers and family
                                               rule itself or any processes related to the                                                                    played in innovation and the high
                                                                                                       members—including filing costs, costs
                                               rule. Thorough review of academic,                                                                             technology sector.
                                                                                                       of submitting biometrics, and monetized                   The labor market of the United States
                                               business, and policy research does not                  opportunity costs—yields a total cost of               is highly dynamic. DHS analysis of data
                                               indicate that significant expected costs                this rule for the first year, 2017 and                 published by the U.S. Department of
                                               or negative consequences linked to                      subsequently 2018, of $8,465,080                       Labor’s Bureau of Labor Statistics (BLS)
                                               attracting international entrepreneurs                  (undiscounted). The total annual cost of               indicates that between 2004 and 2013,
                                               are likely to occur. As such, DHS                       the rule of $8,465,080 can be expected                 on average about 847,000 firms were
                                               expects that the negative consequences,                 for each subsequent year in the ten-year               ‘‘born’’ each year and 784,000 ‘‘died.’’ 44
                                               if any, will be greatly exceeded by the                 period. The total ten-year undiscounted                To illustrate the extent of the labor
                                               positive effects of this rule.                          cost is $84,650,081.                                   market churn, since 1980 the private
                                                  In each case in which an entrepreneur                2. Background and Purpose of the Rule                  sector has generated about 16.3 million
                                               will be granted parole under this rule,                                                                        gross jobs annually but an average of
                                               DHS will have made a determination                        Section 212(d)(5) of the Immigration                 only about 1.4 million net jobs annually.
                                               that parole will yield a significant                    and Nationality Act (INA), 8 U.S.C.                    In both general business cycle
                                               public benefit and that the person                      1182(d)(5), grants the Secretary of                    expansions and contractions, large
                                               requesting parole merits a favorable                    Homeland Security the discretionary                    numbers of jobs are created and
                                               exercise of discretion. Consistent with                 authority to parole applicants for                     destroyed, comprising a key dynamic in
                                               those decisions, the rule is expected to                admission into the United States                       the forces of creative destruction.45
                                               produce broad economic benefits                         temporarily, on a case-by-case basis, for
                                               through the creation of new business                    urgent humanitarian reasons or                            42 See Richard L. Clayton, Akbar Sadeghi, David

                                               ventures that otherwise would not be                    significant public benefit. DHS is                     M. Talan, and James R. Spletzer, High-employment-
                                               formed in the United States. These                      amending its regulations implementing                  growth firms: Defining and counting them, Office of
                                                                                                                                                              Industry Employment Statistics, Bureau of Labor
                                               businesses are likely to create                         this authority to increase and enhance                 Statistics (BLS), Monthly Labor Review (June 2013),
                                               significant additional innovation,                      entrepreneurship, research and                         p. 1–2, available at: http://www.bls.gov/opub/mlr/
                                               productivity, and job creation. It is                   development and other forms of                         2013/article/pdf/clayton.pdf.
                                                                                                                                                                 43 DHS notes that the body of research concerning
                                               reasonable to conclude that investment                  innovation, and job creation in the                    immigration in general and its impact on the labor
                                               and research spending on new firms                      United States. The rule will establish                 market, most notably germane to earnings and
                                               associated with this rule will directly                 general criteria for the use of parole                 employment of domestic workers, is not addressed
                                               and indirectly benefit the U.S. economy                 with respect to individual entrepreneurs               in the present analysis.
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                                                                                                                                                                 44 Figures were obtained from the BLS, Business
                                               and create jobs for American workers. In                who operate start-up entities and who                  employment Dynamics, Table 8, ‘‘Private sector
                                               addition, innovation and research and                   can demonstrate through evidence of                    establishment births and deaths, seasonally
                                               development spending are likely to                      substantial and demonstrated potential                 adjusted:’’ available at http://www.bls.gov/
                                               generate new patents and new                            for rapid business growth and job                      news.release/cewbd.t08.htm. Firm ‘‘births’’ in these
                                                                                                                                                              data only include new firms and thus exclude new
                                               technologies, further enhancing                         creation that they would provide a                     franchises and expansions of existing firms.
                                               innovation. Some portion of the                         significant public benefit to the United                  45 See Ryan Decker, John Haltiwanger, Ron

                                               international entrepreneurs likely to be                States.                                                Jarmin, and Javier Miranda, The Role of


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                                               Research into the highly dynamic and                     firms’’ are defined by the BLS and the                   same general result has been found
                                               volatile labor market in the United                      Organization for Economic Cooperation                    internationally; the OECD reports that
                                               States has evolved. Earlier focuses on                   (OECD) as those with at least ten                        between three percent and six percent of
                                               small- and new-firm size as the primary                  employees that grow by at least 20                       all firms can be considered high-growth
                                               co-determinants of job creation has been                 percent for each of 3 consecutive years                  firms but about one percent can be
                                               reoriented to focus on the role of a                     based on employment. As of 2012, there                   considered the even more high-
                                               relatively small subset of                               were 96,900 high-growth firms in the                     performing ‘‘gazelles.’’ 53
                                               entrepreneurial firms.                                   United States that had created about 4.2                    Despite the finding across a large
                                                 This rule focuses on identifying                       million jobs.49 A key finding by the BLS                 number of studies that small new firms
                                               entrepreneurs associated with types of                   is that high-growth firms especially add                 tend to exhibit an ‘‘up or out’’ dynamic
                                               start-up firms that are more likely to                   jobs in their first ten years, though they               in which a small number survive to age
                                               experience high growth, contribute to                    generally continue to add a diminishing                  five to become high-growth firms or
                                               innovation, and create jobs in the                       number of new jobs even after that                       ‘‘gazelles,’’ other key findings that have
                                               United States. This deliberate focus is                  period of time to the extent they                        emerged in the literature suggest that
                                               critical to ensuring that parole in                      survive. Job creation in the United                      the growth and performance of new
                                               individual cases is justified by                         States for the last several decades has                  firms, even high-growth firms, vary
                                               significant public benefit. Research has                 been driven primarily by high-growth                     substantially (as indicated by metrics
                                               shown that the average start-up                          firms that tend to be young and new,                     that include labor productivity,
                                               company does not survive long.46 Most                    and by a smaller number of surviving                     profitability, revenue, and research and
                                               new firms do not add much net job                        high-growth firms that age for a decade                  development intensity).54 Models that
                                               creation either, as they are not focused                 or more.50                                               can sort out various business
                                               on achieving high growth. By some                           This highly disproportionate, ‘‘up or                 characteristics and economic conditions
                                               estimates, the vast majority—as much as                  out’’ dynamism of high-growth firms                      to predict high-growth probabilities are
                                               95 percent—of all new firms are not                      has been substantiated by many                           still in nascent stages. Nevertheless, this
                                               substantial job creators or innovators.47                researchers. The SBA reported that                       rule includes threshold criteria for
                                               About 95 percent of new firms start with                 about 350,000 ‘‘high impact firms’’—                     parole consideration meant to identify
                                               fewer than 20 employees, and about the                   defined as enterprises whose sales have                  entrepreneurs associated with the kinds
                                               same percentage ultimately close with                    at least doubled over a 4-year period                    of promising start-up entities that
                                               fewer than 20 employees, indicating                      and which have an employment growth                      appear more likely to contribute to
                                               that business turnover is heavily                        quantifier of 2 or more over the same                    American innovation, economic
                                               influenced by small firms.48                             period—generated almost all net new                      development, and job creation. As
                                                 There is significant research,                         jobs in the United States between 1994                   described in more detail below,
                                               however, demonstrating that a small
                                                                                                        and 2006.51 The Kauffman Foundation,                     businesses started and run by
                                               subset of new firms tends to be highly
                                                                                                        a leading institute on research, data                    immigrants have propelled these kinds
                                               dynamic and to contribute
                                                                                                        collection, and advocacy for                             of broadly shared economic benefits for
                                               disproportionately to net job creation.
                                                                                                        entrepreneurial activity, reports that the               many years.
                                               The BLS has highlighted the role of the
                                                                                                        top-performing one percent of firms                         Broadly speaking, high-growth
                                               small subset of high-growth firms that
                                                                                                        generates roughly 40 percent of new job                  entrepreneurs engage in research and
                                               comprise about 2 percent of all firms but
                                                                                                        creation, and, the fastest of them all—                  development (R&D) in order to develop
                                               have accounted for 35 percent of gross
                                                                                                        the ‘‘gazelles’’—comprising less than                    and commercialize new products and
                                               job gains in recent years. ‘‘High-growth
                                                                                                        one percent of all companies, generated                  technologies. Several studies have
                                               Entrepreneurship in U.S. Job Creation and
                                                                                                        roughly ten percent of new jobs.52 The                   found that such entrepreneurs tend to
                                               Economic Dynamism, Journal of Economic                                                                            engage in R&D spending in the first
                                               Perspectives—Vol. 28, Number 3 (Summer 2014),               49 See R. Clayton et al. (June 2013), supra n. 50,
                                                                                                                                                                 year, tend to attract patents and other
                                               pp. 3–24, available at: http://pubs.aeaweb.org/doi/      p. 2–4. For a description of the methodology             forms of intellectual capital, and tend to
                                               pdfplus/10.1257/jep.28.3.3.                              utilized to measure high growth firms, see OECD,
                                                  46 According to BLS findings, ‘‘20 percent of         OECD-Eurostat Manual on Business Demography              attract venture capital financing.55
                                               newly created establishments don’t survive their         Statistics (2007), pp. 59–65, available at: http://
                                               first year in business, 32 percent don’t survive their   www.oecd.org/std/39974460.pdf.                           research%20reports%20and%20covers/2010/04/
                                               first two years, and 50 percent don’t survive their         50 For specific detailed information on survival      highgrowthfirmsstudy.pdf.
                                               first 5 years.’’ See Richard L. Clayton, Akbar           rates and employment creation at various intervals         53 David B. Audretsch, Determinants of High-

                                               Sadeghi, David M. Talan, and James R. Spletzer,          along the HGF life span, see R. Decker et al. (2014),    Growth Entrepreneurship, report prepared for the
                                               High-employment-growth firms: Defining and               supra n. 53, pp. 6–24. The BLS and others use the        OECD/DBA International Workshop on High-
                                               counting them, Office of Industry Employment             term ‘‘gazelles’’ to differentiate the fastest growing   growth firms: local policies and local determinants,
                                               Statistics, Bureau of Labor Statistics (BLS), Monthly    young HGFs.                                              OECD, p. 2–5, available at: http://www.oecd.org/cfe/
                                               Labor Review (June 2013), p. 1, available at: http://       51 See Spencer Tracy, Jr., Accelerating Job           leed/Audretsch_determinants%20of%20high-
                                               www.bls.gov/opub/mlr/2013/article/pdf/                   Creation in America: The Promise of High-Impact          growth%20firms.pdf.
                                               clayton.pdf.                                             Companies, SBA Office of Advocacy (2011), pp.              54 See R. Decker et al (2014), supra n. 53, pp.
                                                  47 See Jason Wiens and Chris Jackson, The             1–4, available at: https://www.sba.gov/sites/default/    5–7; see also Davis, Steven J., R. Jason Faberman,
                                               Importance of Young Firms for Economic Growth,           files/advocacy/HighImpactReport.pdf; see also Acs,       John Haltiwanger, Ron Jarmin, and Javier Miranda,
                                               Ewing Marion Kauffman Foundation (2014), pp. 1–          Zoltan, William Parsons, and Spencer L. Tracy, Jr,       Business Volatility, Job Destruction, and
                                               2, available at: http://www.kauffman.org/∼/media/        High-Impact Firms: Gazelles Revisited; Study             Unemployment. American Economic Journal:
                                               kauffman_org/resources/2014/                             prepared for the SBA, Office of Advocacy (2008),         Macroeconomics 2(2) (2010): 259–87. Research and
                                               entrepreneurship%20policy%20digest/                      p. 1, available at: http://www.sba.gov/advo/             development intensity is typically measured as the
                                               september%202014/entrepreneurship_policy_                research/rs328tot.pdf. The SBA high-impact cohort        ratio of research and development spending to
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                                               digest_september2014.pdf; see also Hurst, Erik, and      is about 6.3% of all firms, which is higher than the     revenue, net income, or overall costs.
                                               Benjamin Wild Pugsley. 2011; What Do Small               2% high-growth category found in the BLS studies.          55 See Shah, Sonali K. and Winston Smith, Sheryl
                                               Businesses Do? Brookings Paper on Economic               The SBA cohort is larger because the criteria are        and Reedy, E. J., Who are User Entrepreneurs?
                                               Activity, no. 2 (2011), pp. 73–142.                      slightly less restrictive and it includes older firms.   Findings on Innovation, Founder Characteristics,
                                                  48 See Headd, Brian, An Analysis of Small                52 See Dane Stangler, High-Growth Firms and the       and Firm Characteristics, The Kauffman Firm
                                               Business and Jobs, SBA Office of Advocacy (2010),        Future of the American Economy, Kauffman                 Survey (Feb. 2012), pp. 2–5, available at: http://
                                               p. 6, available at: https://www.sba.gov/sites/default/   Foundation Research Series: Firm Formation and           www.kauffman.org/∼/media/kauffman_org/
                                               files/files/an%20analysis%20of%20                        Economic Growth (2010), p. 2, available at: http://      research%20reports%20and%20covers/2012/02/
                                               small%20business%20and%20jobs(1).pdf.                    www.kauffman.org/∼/media/kauffman_org/                   whoareuserentrepreneurs.pdf.


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                                                  Immigrants have been central                         of entrepreneurs in technology-oriented                advocacy centers have also advocated in
                                               contributors to business ownership and                  privately held companies with venture                  recent years for the United States to
                                               entrepreneurship in the United States                   backing also showed about one-third                    enact a formalized pathway for
                                               and abroad. According to OECD data,                     were foreign born, and 61 percent held                 immigrant entrepreneurs. DHS is aware
                                               self-employment rates for immigrants                    at least one patent.60                                 of one estimate of the potential benefits
                                               are higher than those of the native-born                   Further evidence points to similar                  of a theoretical start-up visa (which, as
                                               populations in many counties,                           findings. Between 1995 and 2005, 25                    an entirely new visa classification, only
                                               including in the United States.56 Based                 percent of science and technology                      Congress can create). A Kauffman
                                               on the most recent data available from                  focused businesses founded in the                      Foundation study (2013) estimated that,
                                               the U.S. Census Bureau, 12.9 percent of                 United States had a foreign-born chief                 under certain conditions, the
                                               the United States population was                        executive or lead technologist. In 2005,               establishment of a start-up visa program
                                               foreign-born. Their rate of self-                       those companies generated $52 billion                  could lead to the creation of between
                                               employment is about 30 percent higher                   in sales revenue and employed 450,000                  500,000 and 1.6 million new jobs after
                                               than that of the native-born population                 workers. In Silicon Valley, the share of               ten years.64 The potential benefits of
                                               (7.7 percent vs. 5.9 percent; n=1.8                     immigrant-founded start-ups increased                  attracting immigrant entrepreneurs have
                                               million). The Census Bureau’s 2012                      to 52 percent by 2005. In 2006, foreign                not gone unnoticed internationally.
                                               Survey of Business Owners showed that                   nationals residing in the United States                Thirteen of the thirty-five nations that
                                               14.4 percent of U.S. firms were owned                   were involved (as inventors or co-                     are part of the Organization of Economic
                                               by at least one person not born a citizen               inventors) in about 26 percent of patent               Cooperation and Development (OECD)
                                               of the United States.57 Two studies                     applications filed that year. Immigrant                have enacted special immigration
                                               based on samples of U.S firms found                     founders of Silicon Valley firms tend to               programs for entrepreneurs, although
                                               slightly higher r foreign-born ownership                be highly educated, with 96 percent                    the eligibility criteria vary among them
                                               rates.58                                                holding bachelor’s degrees and 74                      to a significant extent.65
                                                  Many high-growth firms are involved                  percent holding advanced degrees, and
                                               in activities classified in the STEM                    with three-quarters of the latter in STEM              3. Population of Entrepreneurs
                                               (science, technology, engineering, and                  fields. As of 2010, according to one                   Potentially Eligible
                                               math) fields. The high concentration of                 study, more than 40 percent of the                        DHS cannot precisely predict the
                                               immigrant entrepreneurs in these                        Fortune 500 companies had been                         volume of new businesses that will start
                                               industries has garnered much attention.                 founded by an immigrant or the child of                in the United States due to this rule.
                                               Between 2006 and 2012, one-third of                     an immigrant.61                                        DHS has instead examined available
                                               companies financed with venture                            To reiterate, high-growth firms tend to             data to provide a broad estimate of the
                                               capital that made an initial public                     be new and young, and one of their                     population of individual entrepreneurs
                                               offering had an immigrant founder, a                    primary contributions to the highly                    who may be eligible to request parole
                                               sharp rise from seven percent in 1980.                  dynamic labor market of the United                     consideration under this rule. Given
                                               These companies have generated 66,000                   States has been through job creation.                  limits on DHS’s information about such
                                               jobs and $17 billion in sales.59 A survey               High-growth firms tend to innovate and                 entrepreneurs, DHS does not know how
                                                                                                       focus on developing new products and                   many people within the estimated
                                                 56 OECD, Migrant Entrepreneurship in OECD             services. The intense involvement of                   eligible population will actually seek
                                               Countries, prepared by Maria Vincenza Desiderio         immigrant entrepreneurs in successful                  such consideration; the estimates
                                               (OECD) and Josep Mestres-Domènech for the                                                                     contained in this section represent an
                                               Working Party on Migration (2011), pp. 141–144,
                                                                                                       technology-driven activities suggests
                                               available at: http://www.oecd.org/els/mig/              substantial economic contributions.                    approximation to the size of the eligible
                                               Part%20II_Entrepreneurs_engl.pdf. This, and many        While measuring the precise value and                  population. DHS has estimated the
                                               other similar studies and analyses are based on self-   impact of innovation is difficult and                  population of entrepreneurs potentially
                                               employment rates, which are a proxy, but not a          still at a nascent stage in research, many             eligible for parole under this rule based
                                               perfect measure, of business ownership, because
                                               some ownership structures such as partnerships,         economists believe innovation creates                  on two sub-groups: (1) Foreign
                                               that could involve a foreign-born owner, are            positive externalities and spillover                   individuals who seek to come to the
                                               generally not considered to be proprietary.             effects that further drive economic                    United States to start a new business
                                                 57 The categorization of ‘‘foreign-born’’ does not
                                                                                                       growth.62                                              with financial backing from a qualified
                                               differentiate between lawful permanent residents           Notwithstanding the research on the
                                               and naturalized citizens. It also does not provide
                                                                                                                                                              U.S. investor; and (2) foreign
                                               details of the firm history, implying that some firms   positive effects of high-growth                        individuals who seek to come to the
                                               owned by persons not born in the United States          entrepreneurship, there is some                        United States to start a new business as
                                               could have been founded by U.S. citizens and sold       evidence of a long-term slowing in start-              recipients of U.S. funded and awarded
                                               to foreign-born persons.                                up dynamism and entrepreneurial
                                                 58 See David M. Hart, Zoltan J. Acs, and Spencer

                                               L. Tracy, Jr., High-tech Immigrant Entrepreneurship
                                                                                                       activity in the United States; this trend                 64 See Dane Stangler and Jared Konczal, Give Me

                                                                                                       began several decades ago, driving many                your Entrepreneurs, Your innovators; Estimating
                                               in the United States.; report developed under a                                                                the Employment Impact of a Startup Visa, Ewing
                                               contract with the Small Business Administration,        economists to advocate for policies that               Marion Kauffman Foundation, (Feb. 2013), pp.
                                               Office of Advocacy (2009), page 8, available at:        attract more entrepreneurs in general.63               1–3, available at: http://www.kauffman.org/∼/
                                               https://www.sba.gov/sites/default/files/advocacy/       Many business entrepreneurial                          media/kauffman_org/
                                               rs349tot_0.pdf; see also Robert W. Fairlie and                                                                 research%20reports%20and%20covers/2013/02/
                                               Magnus Lofstrom, Immigration and                                                                               startup_visa_impact_finalsada. The estimates are
                                                                                                         60 Id. at pp. 2–5.
                                               Entrepreneurship, Institute for the Study of Labor                                                             based on a fixed pool of 75,000 startup visas for a
                                               (2013), p. 1, available at: http://ftp.iza.org/           61 Vivek Wadhwa, Foreign-Born Entrepreneurs:
                                                                                                                                                              10-year period, in which firm deaths each year
                                               dp7669.pdf. The foreign born ownership rates for        An Underestimated American Resource, Ewing             cycle some of visa to new entrants.
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                                               U.S. firms reported in these papers is 16% and          Marion Kauffman Foundation (2008), pp. 2–6,               65 Most programs have been enacted after 2010. A
                                               18.2%, in order.                                        available at: http://www.kauffman.org/∼/media/         country list and some descriptive data can be found
                                                 59 This information is found from various sources     kauffman_org/z_archive/article/2008/11/                at Jean-Christophe Dumont, Investor Visas in OECD
                                               and found in Stuart Anderson, American Made 2.0.        wadhwatbook09.pdf.                                     Countries, OECD Conference on Global High-
                                                                                                         62 See SMEs, Entrepreneurship and Innovation,
                                               How Immigrant Entrepreneurs Continue to                                                                        Skilled Immigration Policy, The National
                                               Contribute to the United States Economy, National       OECD (2010), pp 26–28, available at: http://           Academies Board on Science, Technology and
                                               Foundation for American Policy, sponsored by the        www.oecd.org/berlin/45493007.pdf.                      Economic Policy (2014), available at: http://
                                               National Venture Capital Association (NVCA)               63 See R. Decker et al. (2014), supra n. 53, p.      sites.nationalacademies.org/cs/groups/pgasite/
                                               (2013), pp. 3–7.                                        16–22.                                                 documents/Web page/pga_152202.pdf.


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                                               research grants and who intend to                       that this number will hold steady for the                parole parameters.70 DHS also excluded
                                               conduct the concomitant research in the                 second year as well. The next section                    grant amounts recorded as negative,
                                               United States. DHS assumes that each                    provides key data and analytical                         zero, and trivial amounts of less than
                                               member of the eligible population will                  approaches utilized to arrive at the                     $1,000—such values were recorded if
                                               start a business and that the general                   estimates of eligible individuals. DHS                   grants were rescinded or for some other
                                               criterion for investment from a qualified               first considers volume estimates of                      reason not ultimately funded. On
                                               investor (e.g., venture capital firms,                  eligible individuals based on official                   average, 138,447 grants comprised the
                                               angel investors, or accelerators or                     U.S. data. The resulting estimates based                 annual resulting analytical cohort
                                               incubators) be set at $250,000, while for               on official data are those utilized for the              derived from the above filtering
                                               government grants or awards the general                 cost projections of the rule. Due to                     procedures. Of that total, a small
                                               criterion will be $100,000. Based on                    particular constraints in the data, DHS                  portion, 2,043 grants, or 1.5 percent,
                                               these amounts, DHS analyzed various                     follows with an alternative method of                    were awarded to foreign-born
                                               past endeavors for the potential sources                volume estimation of eligible                            individuals. Having determined a
                                               of funds. DHS estimates that                            individuals that adds robustness to the                  reasonable eligibility threshold of
                                               approximately 2,940 foreign nationals                   official estimate.                                       $100,000, DHS proceeded to the next
                                               annually could be eligible to apply for                                                                          step, to determine the potential annual
                                                                                                       Volume Projections Data and
                                               parole under this rule. Table 1                                                                                  eligible population of grant-sourced
                                                                                                       Methodology
                                               summarizes the analysis by source of                                                                             researchers. Over the period of analysis,
                                               funds.                                                   A. Grants                                               41 percent of the Federal grants
                                                                                                           Because U.S.-funded research grants                  awarded to foreign recipients equaled or
                                                   TABLE 1—NUMBER OF ENTRE-                             may be a qualifying investment under                    surpassed the $100,000 benchmark, for
                                                  PRENEURS POTENTIALLY ELIGIBLE                         this rule, DHS obtained publicly                        an average of 835 annually.
                                                                                                        available data on federally funded                      B. Investment Capital
                                                                                          Annual        grants for fiscal years 2013–2015.67
                                                         Sub-group                                                                                                To estimate the number of potential
                                                                                         eligibility    Although numerous agencies within the
                                                                                                        Federal Government award grants to                      new entrepreneurial start-ups, DHS
                                               New firms funded with in-                                                                                        obtained and analyzed data from the
                                                 vestment capital ................               2,105 foreign-born individuals, most are                       BLS and the Census Bureau. From the
                                               New firms funded with U.S.                               humanitarian or development
                                                                                                                                                                BLS Business Employment Dynamics
                                                 grants or awards ...............                   835 focused.68 For this reason DHS parsed
                                                                                                        the very large data set comprising 1.7                  (BED) data suite, DHS obtained the
                                                   Total ...............................         2,940 million records to obtain a viable                       number of private establishments aged 1
                                                                                                        analytical cohort. First, the records were              year or less for nine broad sectors likely
                                                  DHS has no way of predicting with                     filtered to capture Federal Government                  to be involved in innovative activity, in
                                               certainty the actual number of foreign                   agencies that award grants to both                      order to focus on entrants.71 Although a
                                               nationals who will seek parole under                     United States and foreign-born                          reasonable proxy, the number of
                                               this rule over time, as the size of the                  recipients. Secondly, the records were                  establishments aged 1 year or less is not
                                               eligible population could change                         sorted to only include the Federal                      a perfect measure of firm start-ups
                                               significantly. DHS acknowledges that                     Government agencies that award grants                   (births). The chosen metric may
                                               the estimate of eligible individuals                     focused on ‘‘projects,’’ thereby                           70 There is a particular way in which the data
                                               annually is an approximation based on                    excluding block and assistance grants.69                germane to foreign grants were parsed and
                                               past foreign ownership and start-up                      The foreign-born cohort used for the                    analyzed. There are two possible foreign indicators
                                               capital amounts. The analysis utilized to eligibility projections excluded grants                                listed for each grant. One is the ‘‘principal place’’
                                               estimate the potential eligible                          made to recipients in U.S. territories, as              involving the research and the other is the
                                               population is also based implicitly on                                                                           ‘‘recipient country.’’ The incumbent volume
                                                                                                        such recipients may be subject to                       projections are based on the latter because this
                                               assumptions that: (1) The rule will not                  special considerations outside the                      indicator generally implies that the grant was made
                                               significantly change the frequency of                                                                            to a person or institution outside the United States.
                                               U.S. funded grant applications from                      types of investments involved, such as venture          The former is not used because this indicator could
                                               international researchers; and (2) that                  capital, are fluid and becoming more global in          apply to grants awarded to U.S. or foreign persons
                                                                                                        scope. DHS has no means to determine how the            in order to conduct the ensuing research outside the
                                               the rule will not significantly affect the               evolution of these investment markets will affect, or   United States. Implicit in this analysis is that
                                               market for international entrepreneurs                   be affected by, the rule.                               persons awarded U.S.-funded grants that are
                                               and the market for the types of                            67 The data were obtained from                        overseas could conduct their research and
                                                                                                                                                                innovation in the United States, and are not
                                               investment structures the rule will                      USASpending.gov: https://www.usaspending.gov/
                                                                                                                                                                otherwise precluded from doing so, even if the
                                                                                                        Pages/Default.aspx. From the homepage, the data
                                               involve. Based on these assumptions                      can be accessed from the linked ‘‘data download’’       focus of such research is in a foreign country.
                                               and the data limitations, DHS projects                   section. The files were obtained on April 20, 2015.        71 The BLS data is found at http://www.bls.gov/

                                               that for the first full year that the rule                 68 It is certainly the case that U.S. State           bdm/bdmage.htm. DHS utilized the ‘‘Establishment
                                               will be effective, annual eligibility will               governments and other governmental entities issue       age and survival BED data for nation by major
                                                                                                                                                                industry’’ set and figures from Table 5, ‘‘Number of
                                               be approximately 2,940.66 DHS projects research                     grants that foreign recipients could
                                                                                                        potentially utilize for parole eligibility. However,    private sector establishments by age,’’ for the nine
                                                                                                       DHS is not aware of any database that collects and       major sectors shown in Table 2. The BLS does
                                                 66 DHS emphasizes that the total is a broad           provides such data publicly.                             provide figures on firm births that could be used in
                                               estimate, as the Department has no means to                69 The Federal entities that awarded scientific       the present analysis. However, DHS chose
                                               determine the demand for entrepreneurial parole,        focused research to foreign recipients were:             establishment age data because it is broken down
                                               changes in the eligible population that the rule may    Agricultural Resource Service, National Institutes of    in a way that corresponds precisely to the
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                                               cause, time-variant possibilities, and application      Health, Centers for Disease Control and Prevention,      innovating sectors, discussed below. The firm birth
                                               preferences. These conditions could change, if, for     Food and Drug Administration, Department of              data is not categorized in the exact same manner.
                                               example, some foreign researchers see parole as         Defense, National Aeronautics and Space                  The nine major sectors were chosen to envelope the
                                               attractive and apply for federally funded grants that   Administration, National Oceanic and Atmospheric         approximately 430 individual activities that DHS
                                               they otherwise might not have applied for in the        Administration, National Institute of Standards and      considers to involve ‘‘science, technology,
                                               absence of the rule. In addition, volume estimates      Technology, and National Science Foundation. The         engineering, and math’’ (STEM). The full list based
                                               should be interpreted to apply to only initial          U.S. Department of State and the Agency for              on the 2012 update can be found at: http://
                                               applications, not considerations for re-parole at       International Development (USAID) were excluded          www.ice.gov/sites/default/files/documents/
                                               some future point in time. Lastly, the market for the   from the analysis.                                       Document/2014/stem-list.pdf.


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                                               overstate births, by including                                               data set.72 73 For brevity, we utilize the                                  the data do not provide a category
                                               expansions and new franchises of                                             term ‘‘foreign’’ here to describe such                                      bound by the threshold minimum. In
                                               existing businesses. Conversely, it may                                      firms. The foreign share was obtained by                                    fact, the encompassing tranche is very
                                               understate the actual number of start-                                       dividing the number of foreign-owned                                        large, from $249,500 to $1 million in
                                               ups, because some fraction of firms does                                     private firms in a sector by the total                                      range. The SBO does not provide actual
                                               not survive the first year (the data are                                     number of reporting firms in the same                                       cohort data or other information from
                                               tabulated in March of the respective                                         sector. This share applies to firms that                                    which DHS could evaluate the
                                               year such that the establishments aged                                       have a least one owner who was not                                          distribution and, therefore, DHS has no
                                               1 year and less are those that opened                                        born in the United States but does not                                      way of ascertaining how many firms in
                                               within the previous year but remained                                        differentiate between various types of                                      this large range will occupy the
                                               in business as of March of the following                                     ownership structures. The figure for                                        $250,000 to $1 million segment. As a
                                               year), and those that opened in the                                          new firms obtained from the BLS BED                                         result, DHS relied on the share of firms
                                               previous year and were still in business                                     data was multiplied first by the foreign                                    in this tranche and the additional
                                               but had not reached 2 years of age. DHS                                      share to generate an estimate of firms                                      tranches over $1,000,000 relative to the
                                               utilized the relevant figure for March                                       per sector started by a person not born                                     share of all firms reporting for the
                                               2015, because the latter is the most                                         in the United States.                                                       sector, and recognizes that the volume
                                               recent figure reported in the BED                                               Next, DHS attempted to calculate how                                     projection is likely larger than is
                                               dataset.                                                                     many of the firms were started with at                                      realistic. An additional assumption is
                                                 For each sector, DHS obtained the                                          least $250,000, the minimum                                                 that the startup threshold is the same for
                                               corresponding share of firms owned by                                        investment threshold that the rule sets.                                    businesses with native and foreign-born
                                               a person ‘‘not born a citizen of the                                         The SBO data provides ranges of such                                        founders. The relevant data and
                                               United States’’ from the Census                                              startup capital amounts but DHS could                                       estimates per sector are shown in Table
                                               Bureau’s Survey of Business Owners                                           not conduct a precise estimate because                                      2.

                                                                                                                TABLE 2—SUMMARY OF ENTREPRENEUR ESTIMATES
                                                                                                                                                                                                                                    Start-up
                                                                                                                                                                                                    Foreign share
                                                                                                     Sector                                                                 New firms                                              threshold              Annual eligible
                                                                                                                                                                                                         (%)                          (%)

                                               Agriculture ........................................................................................................                  10,182                           4.9                        2.5                  12
                                               Utilities .............................................................................................................                1,204                          10.8                        5.5                   7
                                               Manufacturing ..................................................................................................                      29,883                          11.0                        5.4                 178
                                               Information .......................................................................................................                   22,855                          11.9                        2.0                  55
                                               Professional Services * ....................................................................................                         165,425                          12.8                        1.2                 248
                                               Management ....................................................................................................                        7,334                           7.3                       20.2                 108
                                               Waste Services ................................................................................................                       66,161                          16.4                        0.9                  94
                                               Education .........................................................................................................                   15,226                          11.9                        0.7                  13
                                               Health Care ......................................................................................................                   210,977                          18.0                        3.7               1,391

                                                     Total ..........................................................................................................    ........................   ........................   ........................            2,105
                                                  * Abbreviation for ‘‘Professional, Scientific, and Technical Services’’.


                                                  As is discussed in the preamble, DHS                                      size bin relevant to the level proposed                                     C. An Alternative Estimate of
                                               has revised two substantive components                                       is the $249,500 to $1 million in range,                                     Entrepreneurs Based on Investment
                                               of the eligibility criteria for this final                                   which includes both figures. Because                                        Structures
                                               rule. Foremost, the general investment                                       DHS does not have data on the
                                               amount requirement has been lowered                                          distribution of amounts within this                                            DHS recognizes the imperfections in
                                               from $345,000 to $250,000. DHS                                               range, the entire bin was included in the                                   estimating the potential population of
                                               believes that the volume estimate of                                         proposed estimates and is retained in                                       eligible entrepreneurs based on
                                               entrepreneurs based on investment                                            the final estimates. However, as is                                         extrapolating past conditions of foreign
                                               capital will be higher than the 2,105                                        described below, DHS has conducted an                                       ownership rates and capital thresholds.
                                               presented above but cannot make a                                            alternative method of estimation—to                                         The main benefit of this method is that
                                               determination of exactly how much                                            include updates from the initial                                            it is based on official data. A main
                                               higher. The reason is that the lower                                         proposal based on new information and                                       limitation is that it assumes that the
                                               investment amount will allow some                                            data—that compares very closely to the                                      annual crop of firms created are
                                               firms to be created that otherwise would                                     estimated total volume of 2,940.                                            entrepreneurial and the types of firms
                                               not at the higher amount proposed                                            Specifically, an alternative estimate of                                    covered by the parole process in the
                                               initially, but the Census Bureau capital                                     total volume annually is 2,920.                                             rule. In practice, some, but not all, will
                                                  72 The Census SBO data are found at: http://                              Firms by Total Amount of Capital Used to Start or                           differentiate between foreign owners who came to
                                               www.census.gov/data/tables/2012/econ/sbo/2012-                               Acquire the Business by Industry, Gender,                                   the United States to open a business and those who
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                                               sbo-characteristics.html. The foreign ownership                              Ethnicity, Race, and Veteran Status for the United                          acquired one after being in the United States for
                                               figures per sector are found under ‘‘Characteristics                         States: 2007.’’ The foreign ownership share of firms                        some period of time (e.g., lawful permanent
                                               of Business owners,’’ Table SB1200CSBO11:                                    is provided in the table and thus did not need to                           residents or naturalized citizens). A general finding
                                               ‘‘Statistics for Owners of Respondent Firms by                               be calculated by DHS. The SBO data are part of the                          among the literature on this topic is that many
                                               Whether the Owner Was Born in the United States                              2012 survey for which data was released publicly                            foreign-born business owners were driven to start
                                               by Gender, Ethnicity, Race, and Veteran Status for                           between February and June 2016.                                             a business by ‘‘push’’ factors in the labor market
                                               the U.S.’’ and the startup capital data are found                               73 A possible source of upward bias in the foreign                       after arrival in the United States. DHS does not have
                                               under Characteristics of Businesses, Table                                   ownership share and hence the estimate of eligible                          a means to parse out the ownership rate in a more
                                               SB1200CSB16: ‘‘Statistics for All United States                              entrepreneurs is that this share does not                                   granular way to account for such differences.


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                                               be innovators, even though the present                  investors, and accelerators.75 From the                 average number of firms by 0.25 to
                                               analysis focuses on the sectors of the                  Seed-DB Web site DHS utilized the link                  capture the foreign share and then by
                                               economy linked to STEM activity (DHS                    to ‘‘firms that have exited’’ to collect the            0.5 to reflect the median and also the
                                               is not aware of any methods or data that                cohort of firms that underwent                          investment level DHS has set yields an
                                               can allocate a research-innovation share                accelerators and then exited via an                     annual estimate of 2,920.
                                               of firms to each sector). A second                      acquisition or public offering. Next,                     This estimate compares well to the
                                               limitation is that the DHS method of                    DHS parsed the data to capture firms                    official total volume estimate of 2,940.
                                               measuring new firms in the context of                   that reported total funding, exit value,                The accelerator data captures seed
                                               the rule is imprecise. The final rule                   and were not recorded as ‘‘dead’’ (last                 rounds that involve venture capital,
                                               revised the definition of ‘‘start-up                    accessed on Nov. 7, 2016). The parsing                  angel, accelerator investments, and
                                               entity’’ in 8 CFR 212.19(a)(2) to include               described above yielded a cohort of 89                  grants, which is why it is compared to
                                               firms that were formed up to 5 years                    firms. DHS followed the Seed-DB links                   the total volume estimate.
                                               prior to the filing of the application for              to Crunchbase for each firm and                         D. Potential Variability in the Volume
                                               parole, compared to three years as                      extracted the seed round, recording its                 Projections
                                               proposed in the NPRM. However, the                      value.76 Analysis of the investment
                                                                                                       rounds reveals that the median is                          This section discusses several
                                               BLS cohort of new firms utilized for the
                                                                                                       $250,000. Having determined a median                    potential cohorts involving
                                               volume projections are 1 year of age or                                                                         entrepreneurial activity that is difficult
                                               less, not five or even three years, and is              seed round size from the data, DHS next
                                                                                                       attempted to estimate a foreign share of                to estimate.
                                               thus a smaller estimate of the number of                                                                           In light of the potential benefits to the
                                               new firms that could be eligible. This                  accelerated firms. The exit cohort from
                                                                                                       which the median was calculated did                     U.S. economy and job creation, DHS is
                                               limitation cannot be overcome because                                                                           proposing this rule to provide a
                                               of the manner in which the survival                     not provide such information, hence
                                                                                                       DHS turned to the Seed-DB data suite                    mechanism that, consistent with the
                                               cohorts are presented.74 Because the                                                                            requirements of the INA, encourages
                                               volume projections are derived from                     that lists the total number of companies
                                                                                                       incubated for each accelerator and the                  international entrepreneurs described
                                               information obtained from official                                                                              herein to form and create innovative
                                               sources—the BLS and Census Bureau—                      countries that the companies were
                                                                                                       located in. Since there is wide variation               firms in the United States. In 2011, DHS
                                               DHS retains them for purposes of the                                                                            began outreach and stood up the
                                               costs and volume estimates of the rule.                 in the number of companies per
                                                                                                       incubator, ranging from 1 to over a                     Entrepreneurs in Residence initiative to
                                               DHS believes, however, that an                                                                                  try to encourage entrepreneurship
                                                                                                       thousand, DHS grouped the incubators
                                               alternative method of estimation will                                                                           among foreign nationals.78 DHS began
                                                                                                       by country and then weighted each one
                                               inform readers and strengthen the                                                                               tracking the number of foreign nationals
                                                                                                       for its share of total companies. The
                                               regulatory analysis by providing a viable                                                                       who indicated interest in starting up an
                                                                                                       resulting weighted average indicates
                                               comparison to the official projections. In                                                                      entrepreneurial endeavor at some point
                                                                                                       that one quarter of incubated companies
                                               this alternative approach, DHS focuses                                                                          during their admission as an H–1B
                                                                                                       were foreign.77 Having determined a
                                               on business accelerators and incubators                                                                         nonimmigrant. Over four fiscal years
                                                                                                       median seed round and a foreign share
                                               (described together as ‘‘accelerators’’ for                                                                     (FY 2010–2013), an average of 77
                                                                                                       estimate, the final point required is the
                                               brevity). By analyzing the foreign                                                                              foreign nationals indicated such
                                                                                                       number of firms to apply these figures
                                               component of these structures, data                                                                             interest. In light of the relatively small
                                                                                                       to. Based on the most recent data from
                                               permitting, an alternative estimate of                                                                          numbers of foreign nationals who
                                                                                                       the Center for Venture Research, the
                                               entrepreneurs can be obtained for                                                                               indicated their entrepreneurial
                                                                                                       2013–2015 annual average for angel
                                               comparison purposes.                                                                                            intentions, DHS believes that
                                                                                                       financed firms in the seed and startup
                                                  DHS obtained publicly available                      phase was 33 percent, which equals                      considering parole requests under this
                                               information from Seed-DB, which                         23,336 firms annually. Multiplying this                 rule will promote further innovation
                                               provides data on U.S. accelerators                                                                              and other economic benefits in addition
                                               collected from industry associations and                   75 The Seed-DB information is found at               to those created by existing programs
                                               fee-based data providers such as                        www.seed-db.com/.                                       and policies used by foreign nationals to
                                               Crunchbase, which is a large data                          76 For most of the firms in the exit cohort, the     pursue high-growth entrepreneurial
                                                                                                       initial round of investment date-wise was also the      activity in the United States. When the
                                               provider for venture capital, angel                     smallest round in terms of value and labeled as the
                                                                                                       ‘‘seed’’ or ‘‘angel’’ round. For about 10 percent of
                                                                                                                                                               rule is effective, there could be some
                                                  74 Specifically, the BLS BED provides the number     the firms however, determining which round to use       small substitution effects as some
                                               of firms surviving to a specific age and below. For     for the analysis was not straightforward and DHS        portion of this cohort could switch to
                                               example, the five year cohort includes all firms        had to utilize some discretion. For example, for        seeking parole instead of relying on
                                               started within five years surviving up to that point,   some firms the seed round was listed after other
                                                                                                       rounds, such as venture capital or Series A rounds.
                                                                                                                                                               other existing nonimmigrant programs
                                               and so on for younger cohorts. However, the data
                                               does not count the number of firms within each          For others, the seed round was not the smallest         and policies. DHS, however, does not
                                               survival cohort by their true age. Hence, the five      round recorded. DHS does not know why these             believe such substitution will occur on
                                               year survivals do not include firms that started up     anomalies are present but proceeded to choose the       a large scale because the ability to be
                                               and may have died after three years that could have     ‘‘seed round’’ regardless of its dating or amount.
                                                                                                       The only exception was in the few cases in which
                                                                                                                                                               admitted to the United States as a
                                               been eligible at one time. Therefore, the five year
                                               survival cohort significantly undercounts the           the seed round post-dated other rounds and was          nonimmigrant offers materially more
                                               number of firms that will potentially have been         larger in amount. In these few cases the initial        benefits and protections than parole.
                                               considered new in the context of the final rule.        round was chosen, regardless of what investment            In addition, the rule lists a number of
                                               Conversely, adding up the survival cohorts to a         type it was.
                                                                                                                                                               ancillary conditions for eligibility—and
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                                               point, say year five, will significantly over-count        77 This foreign share found by DHS in the analysis

                                               the number of firms considered new in the context       corresponds strongly to a finding in a study of high    conversely a number of conditions that
                                               of the final rule. The reason is that a firm that       technology firms that found that 24 percent of such
                                               survived four years and went on to age five will be     firms were founded by a foreign born person. See          78 Source: ‘‘USCIS Announces ‘Entrepreneurs in

                                               included in both the five and four year cohort, not     America’s New Immigrant Entrepreneurs, Vivek            Residence Initiative,’ ’’ available at: http://
                                               to mention the younger ones. Thus, adding the two       Wadhwa, AnnaLee Saxenian, Ben Rissing, and Gary         www.uscis.gov/news/public-releases-topic/business-
                                               (age four and five) cohorts together would double       Gereffi, available at: http://                          immigration/uscis-announces-entrepreneurs-
                                               count the survivor. This problem is less onerous for    people.ischool.berkeley.edu/∼anno/Papers/               residence-initiative; see also http://www.uscis.gov/
                                               firms aged one or zero.                                 Americas_new_immigrant_entrepreneurs_I.pdf.             eir/visa-guide/entrepreneur-visa-guide.


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                                               will leave individuals unlikely or                        In addition, DHS is proposing that                        $33.16 hourly time value for applicants
                                               unable to be paroled into the United                      applicants for parole as an entrepreneur                  to the total biometrics-related time
                                               States (or continue to be paroled in the                  submit biometrics and incur the $85                       burden, DHS finds that the opportunity
                                               country). Because ancillary conditions                    biometric services fee. Because                           cost for a principal applicant to travel to
                                               can be considered for eligibility, the                    entrepreneurs could start firms in any                    and from an ASC, and to submit
                                               actual volume may be smaller than the                     number of occupations, DHS believes it                    biometrics, will total $121.68.82 In
                                               estimates herein. Two examples are                        is appropriate to utilize the mean hourly                 addition to the opportunity cost of
                                               that, under the rule, applicants must                     wage for all occupations, which is                        providing biometrics, applicants will
                                               maintain household income greater than                    $22.71.80 In order to anticipate the full                 experience travel costs related to
                                               400 percent of the poverty line and that                  opportunity cost to petitioners, DHS                      biometrics collection. The cost of such
                                               the qualifying start-up capital cannot                    multiplied the average hourly U.S. wage                   travel will equal $28.75 per trip, based
                                               come from family members. The volume                      rate by 1.46 to account for the full cost                 on the 50-mile roundtrip distance to an
                                               estimates presented in this analysis                      of employee benefits such as paid leave,                  ASC and the General Services
                                               assume all ancillary eligibility                          insurance, and retirement, for a total of                 Administration’s (GSA) travel rate of
                                               conditions are met.                                       $33.16 per hour.                                          $0.575 per mile.83 DHS assumes that
                                                  Finally, two potential elements of the                    DHS estimates that the application                     each individual will travel
                                               eligible population are considered. First,                will take 4.7 hours to complete. After                    independently to an ASC to submit his
                                               as alluded to in the summary, the                         DHS receives the application and fees,                    or her biometrics, meaning that this rule
                                               volume estimates and ensuing cost                         if the applicant is physically present in                 will impose a time cost on each of these
                                               estimates assume one individual owner                     the United States, USCIS will send the                    applicants.
                                               for each new firm; under the rule, DHS                    applicant a notice scheduling him or her                     DHS estimates that each principal
                                               will allow up to three individuals per                    to visit a USCIS Application Support                      parole applicant will incur the
                                               firm to seek parole but does not attempt                  Center (ASC) for biometrics collection.                   following costs: $1,285 in filing fees to
                                               to estimate how many of the startups                      Along with the $85 biometric services                     cover the processing costs for the
                                               could have more than one owner.                           fee, the applicant will incur the                         application and biometrics; $306.27
                                               Second, the volume estimate for grants                    following costs to comply with the                        after summing the monetized cost of
                                               is based on Federal awards only. DHS                      biometrics submission requirement: the                    travel to submit biometrics, the total
                                               will consider eligibility based on State                  opportunity cost of traveling to an ASC,                  opportunity costs of time of the initial
                                               or local grants and awards, including                     the mileage cost of traveling to an ASC,                  applications, biometrics, and estimated
                                               those from State or local Economic                        and the opportunity cost of time for                      travel costs, resulting in a total cost of
                                               Development Corporations (EDCs).                          submitting his or her biometrics. While                   $1,591.27 per application, rounded to
                                               However, unlike in the case of Federal                    travel times and distances vary, DHS                      $1,591.84 If DHS receives 2,940
                                               awards, there is not a database capturing                 estimates that an applicant’s average                     applications from persons eligible to
                                               State and local grants or the                             roundtrip distance to an ASC is 50                        apply, DHS anticipates that such
                                               transmission mechanisms through                           miles, and that the average time for that                 applications will result in annual filing
                                               which some Federal grants are                             trip is 2.5 hours. DHS estimates that an                  fee transfers of $3,777,900
                                               distributed to other entities, such as                    applicant waits an average of 1.17 hours                  (undiscounted), which comprise the
                                               EDCs, and as such DHS was unable to                       for service and to have his or her                        application fee and cost of submitting
                                               estimate the number of entrepreneurs                      biometrics collected at an ASC, adding                    biometrics, and opportunity and other
                                               potentially eligible for parole as a result               up to a total biometrics-related time
                                                                                                                                                                   burden costs of $900,436 for a total
                                               of receiving State and local grants.                      burden of 3.67 hours.81 By applying the
                                                                                                                                                                   annual cost of $4,678,366. Any
                                               4. Costs                                                                                                            subsequent renewal of the parole period
                                                                                                         adjudicated) to calculate a fee or fee adjustment for
                                                                                                         a benefit type. A completion rate reflects an average     will result in costs similar to those
                                                  A. Principal Filer Costs                               time an adjudicator spends actually working on a          previously discussed, with the
                                                  The rule will permit certain foreign                   case but does not include ‘‘queue’’ or wait times.        exceptions of travel costs, since the
                                               nationals to apply for a 30-month (2.5-                   Because parole under this rule has not yet been
                                                                                                                                                                   applicant will not be required to depart
                                               year) initial period of parole into the                   implemented, the completion rate used is based on
                                                                                                         a 4-hour estimate provided by USCIS’ subject              the United States and re-enter.
                                               United States provided they meet the                      matter experts. At this time, USCIS has estimated         Similarly, the same costs will result for
                                               eligibility criteria. Those who seek such                 that 30 additional staff will be required to satisfy      material changes requiring the filing of
                                               parole into the United States will face                   the forecasted workload associated with this rule.
                                                                                                         However, USCIS requires adjudicators to report
                                                                                                                                                                   amended applications, with the
                                               the costs associated with the                             actual adjudication hours and case completions by         exception of the travel costs noted above
                                               application, which involve a $1,200                       benefit type. This reporting will occur after this rule   and costs associated with biometrics
                                               application fee plus other costs, detailed                is implemented. Adjudication hours will be divided        collections, including the time and
                                               below. The costs will stem from filing                    by the number of completions for the same time
                                                                                                         period to determine the actual average completion
                                                                                                                                                                   travel to an ASC.
                                               fees and the opportunity costs of time                    rate. This rate will be used in future fee adjustments
                                               associated with filing the Application                    and will help determine future staffing allocations       impacts of the rule, DHS has estimated costs of
                                               for Entrepreneur Parole (Form I–941).                     necessary to handle the projected workload for            submitting biometrics under the assumption that all
                                                  The filing fee for the Form I–941                      parole under this rule.                                   applicants are traveling to an ASC in the United
                                                                                                            80 Please see U.S. Department of Labor, Bureau of      States.
                                               application is $1,200. The fee is set at                                                                              82 Calculation: $33.16 * 3.67 hours = $121.68.
                                                                                                         Labor Statistics, Occupational Employment
                                               a level intended to recover the                           Statistics program, National Occupational                   83 Calculation: 50 miles multiplied by $0.575 per
                                               anticipated processing costs to DHS.79                    Employment and Wage Estimates, United States              mile equals $28.75. See 79 FR 78437 (Dec. 30, 2014)
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                                                                                                         (May 2014), available at: http://www.bls.gov/oes/         for GSA mileage rate.
                                                 79 USCIS calculates its fees to recover the full cost   2014/may/oes_nat.htm.                                       84 Calculation: $1,285 + 306; $1,285 is the sum of

                                               of USCIS operations, including meeting national              81 Foreign nationals who submit their                  the direct cost of the $1,200 filing fee and the $85
                                               security, customer service, and adjudicative              applications from outside the United States will          cost of biometrics. The $306(rounded) figure is
                                               processing goals. As with other fees, USCIS uses          still be required to pay the $85 biometric processing     obtained by adding the cost of travel ($28.75) plus
                                               Activity Based Costing (ABC) to assign costs to           fee and travel to a USCIS office abroad, if available,    the total opportunity cost of $277, the latter of
                                               specific benefit requests. This model uses                or a U.S. embassy or consulate office for biometric       which is the product of the total time burden (8.37
                                               completion rates (actual or estimated depending on        processing at the time of travel document issuance.       hours) and the average burdened hourly wage
                                               whether the benefit type is already being                 Due to data limitations, and to capture general           ($33.16).


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                                               B. Dependent Spouses and Children                       traveling to an ASC, and the                              biometrics. The total time burden is 7.23
                                                 The rule will require all dependent                   opportunity cost of submitting his or her                 hours. At the cost-burdened wage, the
                                               family members (spouses and children)                   biometrics. While travel times and                        total opportunity cost is $76.53. Adding
                                               accompanying or joining the                             distances vary, DHS estimates that an                     the $28.75 cost of travel, the total non-
                                               entrepreneur to file an Application for                 applicant’s average roundtrip distance                    filing cost is estimated to be $105.28,
                                               Travel Document (Form I–131), and will                  to an ASC is 50 miles, and that the                       and the total cost per applicant is
                                               require all spouses and children 14                     average time for that trip is 2.5 hours.88                $765.28. At the projection of 3,234
                                               years of age through age 79 to submit                   DHS estimates that an applicant waits                     applicants, the non-filing cost is
                                               biometrics.85 Those spouses and                         an average of 1.17 hours for service and                  $340,474 (undiscounted), and combined
                                               children will face the costs associated                 to have his or her biometrics collected                   with filing costs of $2,134,440, the total
                                               with filing the application and                         at an ASC, adding up to a total                           estimated cost for dependents germane
                                               submitting biometrics. DHS recognizes                   biometrics-related time burden of 3.67                    to the Form I–131 application is
                                               that many dependent spouses and                         hours. In addition to the opportunity                     $2,474,914.
                                               children do not currently participate in                cost of providing biometrics, applicants                     In addition, DHS is allowing
                                               the U.S. labor market, and as a result,                 will experience travel costs related to                   independent employment authorization
                                               are not represented in national average                 biometrics collection. The cost of such                   for spouses of entrepreneurs granted
                                               wage calculations. In order to provide a                travel will equal $28.75 per trip, based                  parole under this rule. DHS will permit
                                               reasonable proxy of time valuation, DHS                 on the 50-mile roundtrip distance to an                   these individuals to apply for
                                               has to assume some value of time above                  ASC and the General Services                              employment authorization by filing a
                                               zero and therefore uses an hourly cost                  Administration’s (GSA) travel rate of                     Form I–765 application. To estimate the
                                               burdened minimum wage rate of $10.59                    $0.575 per mile.89 DHS has assumed                        number of potential persons applying
                                               to estimate the opportunity cost of time                that each applicant will travel                           for employment authorization, DHS
                                               for dependent spouses. The value of                     independently to an ASC to submit his                     used a simple one-to-one mapping of
                                               $10.59 per hour represents the Federal                  or her biometrics, meaning that this rule                 entrepreneurs to spouses to obtain 2,940
                                               minimum wage with an upward                             will impose a time cost on each of these                  spouses, the same number as
                                               adjustment for benefits.86 The value of                 applicants. DHS also assumed all                          entrepreneur parolees.
                                                                                                       children were over the age of 14 for the                     The current filing fee for the Form I–
                                               $10.59 per hour is consistent with other
                                                                                                       purposes of this analysis and, therefore,                 765 application is $410.00. The fee is set
                                               DHS rulemakings when estimating time
                                                                                                       this cost estimate may be slightly                        at a level to recover the processing costs
                                               burden costs for those who are not
                                                                                                       overestimated.                                            to DHS. Based on the projection of 2,940
                                               authorized to work.87
                                                 DHS will require dependents of                           DHS projects that approximately                        applicants, the total filing cost is
                                               parole applicants (spouses and children                 3,234 dependents will be required to file                 $1,205,400 (undiscounted). DHS
                                               of the parole applicant) to file an                     a Form I–131 application and submit                       estimates the time burden of completing
                                               Application for Travel Document (Form                   biometrics, based on the estimate of                      the Form I–765 application is 3.42
                                               I–131). There is a $575 filing fee                      2,940 principal applicants and using a                    hours.91 At the cost-burdened wage, the
                                               associated with the Form I–131                          multiplier for expected family members                    total opportunity cost is $36.20. At the
                                               application, and DHS estimates it will                  of 1.1.90 The total cost for those spouses                projection of 2,940 applicants, the non-
                                               take 3.56 hours to complete each                        and children requesting parole under                      filing cost is $106,430 (undiscounted)
                                               submission. In addition to filing the                   this program includes the filing fee,                     and combined with filing costs of
                                               Form I–131 application, each dependent                  biometrics processing fee, travel costs                   $1,205,400 the total estimated cost for
                                               spouse and child 14 years of age and                    associated with biometrics processing,                    spouses germane to the Form I–765
                                               over will be required to submit                         and the opportunity cost of filing the                    application is $1,311,830.
                                                                                                       Form I–131 application and submitting                        In addition to the filing costs,
                                               biometric information (fingerprints,
                                                                                                                                                                 applicants for parole may face other
                                               photograph, and signature) by attending                    88 DHS has estimated travel distances and ensuing      costs associated with their
                                               a biometrics services appointment at a                  travel times at 2.5 hours in prior rulemakings. See,      entrepreneurial activities. These could
                                               designated USCIS Application Support                    e.g., ‘‘Employment Authorization for Certain H–4          include the administrative costs of
                                               Center (ASC). The biometrics processing                 Dependent Spouses; Final rule,’’ 80 FR 10284 (Feb.
                                                                                                       25, 2015); and ‘‘Provisional and Unlawful Presence        starting up a business, applying for
                                               fee is $85.00 per applicant. In addition
                                                                                                       Waivers of Inadmissibility for Certain Immediate          grants, obtaining various types of
                                               to the $85 biometrics services fee, the                 Relatives; Final Rule,’’ 78 FR 536, 572 (Jan. 3, 2013).
                                               applicant will incur the following costs                                                                          licenses and permits, and pursuing
                                                                                                          89 See U.S. General Services Administration Web

                                               to comply with the biometrics                                                                                     qualified investments. However, these
                                                                                                       site for Privately Owned Vehicle (POV) Mileage
                                               submission requirement: the                             Reimbursement Rates, http://www.gsa.gov/portal/           costs apply to the entrepreneurial
                                               opportunity and mileage costs of                        content/100715 (accessed Aug. 8, 2015).                   activity and the business activity that
                                                                                                          90 The multiplier of 1.1 was obtained from DHS
                                                                                                                                                                 the applicant has chosen to be involved
                                                                                                       estimates of the average historical ratio of principal    in and are not driven by the parole
                                                  85 Note: If a child under the age of 14 requires a
                                                                                                       versus dependent recipients of lawful permanent
                                               travel document, he or she will need to appear for      resident status. DHS studies based on statistics          process or other governmental functions
                                               biometrics by traveling to an ASC, but will not be      obtained from office of Immigration Statistics reveal     attributable to the rule itself. Hence,
                                               required to pay a biometrics fee.                       that multipliers for the employment preference            DHS does not attempt to estimate,
                                                  86 U.S. Department of Labor, Wage and Hour           categories EB–1, EB–2, and EB–3 range from 2.04
                                               Division. The minimum wage in effect as of July 24,     to 2.27. DHS believes that 2.1. is a reasonable
                                                                                                                                                                 quantify, or monetize such costs.
                                               2009. Available at http://www.dol.gov/dol/topic/        multiplier for the estimates and utilized this               Lastly, DHS recognizes that some
                                               wages/minimumwage.htm. The calculation for total        multiplier in regulatory assessments involved in          individuals who were lawfully admitted
                                               employer costs for employee compensation for            American Competitiveness in the Twenty-First              in the United States in certain
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                                               dependent spouses and children of principals with       Century Act, (AC21) provisions, specifically:
                                               an approved Form I–140: $7.25 per hour × 1.46 =         ‘‘Retention of EB–1, EB–2, and EB–3 Immigrant
                                                                                                                                                                 nonimmigrant classifications may seek
                                               $10.59 per hour.                                        Workers and Program Improvements Affecting
                                                  87 See ‘‘Employment Authorization for Certain H–                                                                 91 Source: Paperwork Reduction Act (PRA)
                                                                                                       High-Skilled Nonimmigrant Workers’’ (RIN 1615–
                                               4 Dependent Spouses; Final rule,’’ 80 FR 10284          AC05), rule. Because the Form I–131 filings relevant      Supporting Statement for Form I–765 (OMB control
                                               (Feb. 25, 2015); and ‘‘Provisional and Unlawful         to this rule do not apply to principals, only spouses     number 1615–0040). The PRA Supporting
                                               Presence Waivers of Inadmissibility for Certain         and dependent children, DHS believes it is valid to       Statement can be found at Question 13 on
                                               Immediate Relatives; Final Rule,’’ 78 FR 536, 572       subtract 1 from the 2.1 multiplier to yield the final     Reginfo.gov at http://www.reginfo.gov/public/do/
                                               (Jan. 3, 2013).                                         multiplier of 1.1.                                        PRAViewICR?ref_nbr=201502-1615-004.


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                                               parole. Individuals who are present in                  entrepreneurship, other researchers                     to have a significant impact on the labor
                                               the United States at the time their parole              have noted that this finding only raises                market.
                                               application is approved, based on                       the possibility that displacement could                    While the figures above apply to the
                                               admission as a nonimmigrant, will have                  not be ruled out completely, but did not                general U.S. labor force, DHS recognizes
                                               to depart the United States and appear                  actually provide evidence that it had                   that concentration of new labor force
                                               at a U.S. port of entry in order to be                  actually occurred.93 Another study,                     entrants can impact specific labor
                                               granted parole since USCIS is unable to                 conducted by the Brookings Institution,                 markets. DHS believes that any such
                                               grant parole to individuals who are not                 did not find displacement but                           potential impacts linked to this rule will
                                               applicants for admission. See INA                       acknowledged that more research and                     be insignificant. The NVCA and other
                                               section 212(d)(5), 8 U.S.C. 1182(d)(5).                 refined control techniques, along with                  sources of information that DHS
                                               These individuals will be ineligible for                longitudinal data, will need to be                      reviewed indicates that while the area of
                                               a change of status under section 248 of                 studied before ruling out the possibility               California known as Silicon Valley has
                                               the INA, 8 U.S.C. 1258. Such applicants                 completely.94 In any event, the purpose                 traditionally been, and continues to be,
                                               will therefore bear the travel costs of                 of the parole rule is to foster innovation              the primary recipient geographically for
                                               exit and returning to a port of entry.                  and entrepreneurial activities in new or                technology startup capital, other large
                                               However, because there are no similar                   very young endeavors, where the                         urban centers on the East Coast and,
                                               programs for comparison, DHS cannot                                                                             even more recently, parts of the Mid-
                                                                                                       literature much more decisively
                                               determine the demand for parole or                                                                              and Mountain West have seen increased
                                                                                                       indicates a strong potential of creating
                                               substitution effects from other                                                                                 technology startup activity. To provide
                                                                                                       new net jobs for U.S. workers.
                                               classifications and thus cannot estimate,                                                                       just one example of a potential area-
                                               quantify, or monetize such potential                       DHS recognizes that the potential                    specific impact, DHS considered the
                                               travel costs. Finally, because the                      inclusion of spouses can incur labor                    San Jose-San Francisco-Oakland (CA)
                                               program allows for re-parole under                      market implications and possibly                        Combined Statistical Area (CSA)
                                               conditions that DHS has set,                            impact U.S. workers. As was noted in                    conjoining the seven Metropolitan
                                               entrepreneurs and their spouse and                      previous sections of the regulatory                     Statistical Areas (MSAs) and nine
                                               children, if applicable, will likely face               impact analysis, DHS did not attempt to                 encompassed counties constituting the
                                               filing and opportunity costs associated                 assess or measure the labor market                      economic linkages of Silicon Valley.
                                               with applying for re-parole. However,                   impact of the estimated entrepreneurs                   Based on data from the BLS, the
                                               DHS has no means of estimating the                      potentially eligible for parole because as              population of this CSA is about 8.6
                                               share of the potential eligible                         founders of firms, these persons will not               million (as of May 2014) and the
                                               population that will seek and be eligible               affect the labor market in the same way                 employed population (a narrower
                                               for re-parole, hence re-parole conditions               as other workers. Although spouses                      measure of the labor market than the
                                               are not included in this analysis. In                   could have labor market impacts as new                  labor force) about 3.75 million. If the
                                               summary, DHS believes that it is                        labor market entrants, DHS believes                     share of new entrants is based on the
                                               possible that there could be some                       such potential impacts will be                          proportion of venture capital to the area,
                                               substitution into the parole program                    negligible. The main reason is that the                 which is 42 percent, then 2,746 spousal
                                               from other programs and such                            size of the potential new cohort is very                entrants could impact the area.97
                                               applicants and dependents will incur                    small. As of the end of 2015, there were                Assuming such entrants gain
                                               travel and possible other costs related to              an estimated 157,130,000 people in the                  employment, this cohort represents just
                                               exit and requesting a grant of parole at                U.S. civilian labor force.95                            0.02 percent of the employed
                                               a U.S. port of entry.                                   Consequently, the estimated ‘‘new’’                     population of the specific CSA.
                                               C. Potential for Negative U.S. Labor                    available workers in the first year will
                                                                                                                                                               D. Government Costs
                                               Market Impacts                                          represent approximately 0.001 percent
                                                                                                       of the overall U.S. civilian labor force.96               The INA provides for the collection of
                                                  DHS does not expect the rule to
                                                                                                       DHS believes this fraction is too small                 fees at a level that will ensure recovery
                                               generate significant costs or negative
                                                                                                                                                               of the full costs of providing services,
                                               consequences. Extensive review of
                                                                                                          93 See Magnus Lofstrom, Immigrants and               including administrative costs and
                                               information relevant to immigrant
                                               entrepreneurship indicates that while
                                                                                                       Entrepreneurship, Public Policy Institute of            services provided without charge to
                                                                                                       California, USA, and IZA, Germany (2014), p. 4,         certain applicants and petitioners. See
                                               much about the impact of such                           available at: http://wol.iza.org/articles/immigrants-
                                               entrepreneurship is not known, there is                 and-entrepreneurship.pdf.
                                                                                                                                                               INA section 286(m), 8 U.S.C. 1356(m).
                                               no reason to expect that substantial                       94 See Zoltan J. Acs and David M. Hart,              DHS has established the fee for the
                                               negative consequences, including                        Immigration and High-Impact, High-Tech                  adjudication of the Form I–941
                                               adverse impact on domestic workers,
                                                                                                       Entrepreneurship, Brookings, Issues in                  application based on notional
                                                                                                       Technological innovation (Feb. 2011), available at      application filing volumes and
                                               are likely. The possibility that                        http://www.brookings.edu/research/papers/2011/
                                               immigrant entrepreneurs may displace                    02/immigration-hart-acs.                                estimated resource commitments.
                                               (‘‘crowd-out’’) native entrepreneurs has                   95 See News Release, United States Department of     During the biennial fee review, DHS
                                                                                                       Labor, Bureau of Labor Statistics, Local Area
                                               been raised by a few researchers. One                   Unemployment Statistics, Regional and State                97 The employment figures are provided by the
                                               study indicated that a very small                       Unemployment–2015 Annual Averages, Table 1              BLS, Occupational Employment Statistics (OES),
                                               number of native entrepreneurs were                     ‘‘Employment status of the civilian non-                found at: http://www.bls.gov/oes/current/oes_
                                               possibly displaced by immigrant                         institutional population 16 years of age and over by    42100.htm. The population data is provided by the
                                               entrepreneurs.92 However, because of                    region, division, and state, 2014–15 annual             Census Bureau, which tabulates CSAs: ‘‘Combined
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                                                                                                       averages’’ (Mar. 24, 2016), available at http://        Statistical Area Totals Dataset: Population and
                                               difficulties in controlling for a large                 www.bls.gov/news.release/pdf/srgune.pdf.                Estimated Components of Change: April 1, 2010 to
                                               amount of variables related to                             96 Source: United States Department of Labor,        July 1, 2014’’ (CSV), 2014 Population Estimates.
                                                                                                       Bureau of Labor Statistics, Local Area                  United States Census Bureau, Population Division.
                                                  92 Fairlie, R.W., and B.D. Meyer, The effect of      Unemployment Statistic. Figure applies to               March 2015. The information on the venture capital
                                               immigration on native self-employment, Journal of       seasonally adjusted level for December 2014,            share for the region is found in the NVCA 2015
                                               Labor Economics 21:3 (2003): 619–650, available at:     available at: http://data.bls.gov/timeseries/           yearbook, and is found in figure 8, p. 14. The
                                               http://people.ucsc.edu/∼rfairlie/papers/published/      LNS11000000. Calculation for new worker labor           calculation is as follows: (.42 ×1813) = 761, which
                                               jole%202003%20-%20native%20se.pdf.                      force share: 1813/157,130,000.                          is then divided by the CSA population of 3,750,000.


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                                               will examine whether the fee is                         significant impact on a substantial                    not the entrepreneurial venture (firm).
                                               sufficient to recover the full costs of                 number of small entities. DHS made this                This rule will not alter or change the
                                               adjudication, as required by the INA.                   determination based on the following                   normal procedure for fundraising or
                                                                                                       facts: This is not a mandatory rule; this              other start-up administrative costs that
                                               5. Benefits
                                                                                                       rule only impacts those individual                     occur in forming a business entity. Such
                                                  As referenced previously, evidence                   entrepreneurs who make the voluntary                   costs are not direct costs of this rule and
                                               suggests that innovation-focused start-                 decision to apply for parole; and this                 could include, but are not limited to,
                                               ups contribute disproportionately to job                rule does not regulate the business                    business application fees, legal fees, and
                                               creation. The rule will reduce entry                    entities in any way. After reviewing                   licensing that precede significant
                                               barriers, and thus support efforts by                   public comments, including the formal                  infusions of investment, the latter of
                                               international entrepreneurs to generate                 letter submitted on the record by the                  which are primarily utilized for
                                               entrepreneurial activity in the United                  U.S. Small Business Administration’s                   operational and capital expenses in
                                               States.                                                 Office of Advocacy (Advocacy), DHS                     order to produce goods or services.
                                                  The rule is expected to generate                     maintains its certification that the rule                 It is possible that some of the 2,940
                                               important net benefits to the U.S.                      does impose a significant impact on a                  estimated entrepreneurs who could be
                                               economy. For one, expenditures on                       substantial number of small entities. For              eligible for parole annually could
                                               research and development by the grant-                  a full discussion of the DHS response to               involve business structures in which the
                                               based researchers that DHS has                          the letter submitted by Advocacy, please               filing fees are paid by a business entity.
                                               identified that could qualify for                       see Section III.M.4 of this preamble.                  In the event that small business entities
                                               entrepreneur parole will generate direct                   Individuals are not defined as a                    are impacted by this rule because they
                                               and indirect jobs. In addition, this                    ‘‘small entity’’ by the RFA. The rule will             choose to pay the filing fees on behalf
                                               research-focused spending could                         not mandate that all individuals apply                 of an individual entrepreneur, DHS
                                               potentially generate patents, intellectual              for parole. This rule provides                         believes that the filing cost of $1,285 per
                                               property, licensing, and other intangible               flexibilities and options that do not                  application will be insignificant
                                               assets that can be expected to contribute               currently exist for individuals who wish               compared to such entities’ annual gross
                                               to innovation and technological                         to establish or operate a start-up                     revenues, potential for revenue, and
                                               advances and spill over into other                      business in the United States.                         other economic activity.
                                               sectors of the overall economy. DHS                     Importantly, the rule does not require                    For businesses that may pay the filing
                                               acknowledges that it is extremely                       any individuals or businesses, including               costs, the expected impact to such
                                               difficult to gauge the precise economic                 those created by foreign nationals, to                 businesses will be small. For businesses
                                               value of such assets and that peer-                     seek parole—either generally or as a                   that utilize either the minimum
                                               reviewed research in this area is still                 specific condition for establishing or                 threshold of $100,000 for a qualifying
                                               nascent. Despite the nascent stage of the               operating a business in the United                     government grant or award or $250,000
                                               research and the difficulty of measuring                States. Rather, as mentioned previously,               in capital investment to source the filing
                                               quantitatively the benefit of innovation                this rule is intended to provide an                    costs, such costs will constitute 1.3
                                               driven by new high technology firms, a                  additional flexibility for foreign                     percent and 0.4 percent, respectively, of
                                               large body of research indicates that the               individuals who are unable to obtain                   the total capital amount. These
                                               innovation driven by entrepreneurs                      another appropriate nonimmigrant or                    relatively low cost proportions apply to
                                               contributes directly to economic growth,                immigrant classification, in order to                  those firms that only obtain the
                                               generates important efficiencies and                    facilitate the applicant’s ability to                  minimum investment amounts and have
                                               cost reductions for firms that utilize                  oversee and grow the start-up entity. If               no other source of funding or revenues.
                                               such innovation, and increases                          any individual believes this rule                      In addition, DHS analyzed the cost
                                               productivity and profitability for firms                imposes a significant economic impact,                 impact relative to more typical RFA
                                               that benefit indirectly through new                     that individual could simply choose not                indices. DHS analysis of Census Bureau
                                               products generated by such innovation.                  to seek parole under the rule and thus                 data on the smallest firms found that the
                                                  Lastly, DHS believes that many of the                incur no economic impact. As discussed                 average revenue based on sales receipts
                                               start-up firms operated by international                previously, this rule imposes direct                   for firms with no paid employees is
                                               entrepreneurs during the parole period                  filing costs of $1,285 (which includes                 $309,000, while the average for firms
                                               could eventually become high-growth                     the $1,200 application fee and the $85                 with one to four paid employees is
                                               firms that generate exceptionally high                  biometrics fee), plus $194 in time-                    $411,000.98 The filing cost relative to
                                               levels of economic activity and                         related opportunity costs for those                    these averages is 0.42 percent and 0.31
                                               contribute disproportionately to job                    individuals who do choose to apply for                 percent, respectively.
                                               creation in the United States.                          parole as entrepreneurs under the rule.                   DHS also analyzed the average
                                                                                                       This cost is relatively minor when                     revenue for new firms. Since the rule
                                               D. Regulatory Flexibility Act                           considering the costs of starting up a                 defines a new firm as one that is less
                                                  In accordance with the Regulatory                    new business and the capital necessary                 than five years old at the time the initial
                                               Flexibility Act (RFA), 5 U.S.C. 601(6),                 to start a business.                                   parole application is filed, DHS grouped
                                               DHS examined the impact of this rule                       Under the general term                              private sector firms for the 2012 survey
                                               on small entities. A small entity may be                ‘‘entrepreneur,’’ DHS includes those                   as those responding that the year of
                                               a small business (defined as any                        who desire to form firms with
                                               independently owned and operated                        investment funds from certain U.S.                        98 The data utilized for the analysis are found in

                                               business not dominant in its field that                 investors. For purposes of the RFA, the                the SBO Table SB1200CSA09, ‘‘Statistics for All
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                                                                                                                                                              U.S. Firms with Paid Employees by Industry,
                                               qualifies as a small business per the                   regulatory requirements place                          Gender, and Employment Size of Firm for the U.S.
                                               Small Business Act, 15 U.S.C. 632), a                   compliance costs and establish                         and States: 2012, 2012 Survey of Business Owners:
                                               small not-for-profit organization, or a                 eligibility criteria for the individual                http://census.gov/library/publications/2012/econ/
                                               small governmental jurisdiction                         requesting consideration for parole                    2012-sbo.html. The file location is: http://
                                                                                                                                                              factfinder.census.gov/faces/tableservices/jsf/pages/
                                               (locality with fewer than 50,000 people).               under this rule. DHS believes that the                 productview.xhtml?pid=SBO_2012_
                                                  In the proposed rule, DHS certified                  costs of application for parole will                   00CSA09&prodType=table. The figures are rounded
                                               that this rule would not have a                         burden the individual applicant, and                   from $309,279 and $410,900, respectively.


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                                               establishment was either 2012, 2011,                    E. National Environmental Policy Act                   environment. Therefore, this rule is
                                               2010, 2009, or 2008. DHS obtained the                      DHS Directive (Dir) 023–01 Rev. 01                  categorically excluded from further
                                               average revenue per firm and then                       establishes the procedures that DHS and                NEPA review.
                                               weighted the average by the yearly                      its components use to comply with                      F. Executive Order 13132
                                               proportion of firms. Based on the                       NEPA and the Council on
                                               resulting weighted average of $162,000,                                                                          This rule will not have substantial
                                                                                                       Environmental Quality (CEQ)
                                               such new firms will face a filing-cost                                                                         direct effects on the States, on the
                                                                                                       regulations for implementing NEPA. 40
                                               burden of 0.8 percent.99 DHS notes that                                                                        relationship between the National
                                                                                                       CFR parts 1500 through 1508.
                                               there is a large difference between the                                                                        Government and the States, or on the
                                                                                                          The CEQ regulations allow federal
                                               revenue of new firms with paid                                                                                 distribution of power and
                                                                                                       agencies to establish, with CEQ review
                                               employees and those without such                                                                               responsibilities among the various
                                                                                                       and concurrence, categories of actions
                                               employees (i.e., sole proprietors). For                                                                        levels of government. Therefore, in
                                                                                                       (‘‘categorical exclusions’’) which
                                               the latter, average revenues are about                                                                         accordance with section 6 of Executive
                                                                                                       experience has shown do not
                                               $34,000, and the cost burden will be 3.8                                                                       Order 13132, it is determined that this
                                                                                                       individually or cumulatively have a
                                               percent. However, because a central                                                                            rule does not have sufficient federalism
                                                                                                       significant effect on the human
                                               component of this parole program                                                                               implications to warrant the preparation
                                                                                                       environment and, therefore, do not
                                               requires a demonstration of significant                                                                        of a federalism summary impact
                                                                                                       require an Environmental Assessment
                                               public benefit in the form of economic                                                                         statement.
                                                                                                       (EA) or Environmental Impact
                                               activity and job growth, DHS does not                   Statement (EIS). 40 CFR                                G. Executive Order 12988
                                               anticipate that sole proprietors will be                1507.3(b)(1)(iii), 1508.4. DHS Directive
                                               eligible to participate in this program.                                                                         This rule meets the applicable
                                                                                                       023–01 Rev. 01 establishes Categorical                 standards set forth in sections 3(a) and
                                                  In summary, DHS believes that per-                   Exclusions that DHS has found to have                  3(b)(2) of Executive Order 12988.
                                               applicant costs will be primarily                       no such effect. Dir. 023–01 Rev. 01
                                               incurred by the individual (which is not                Appendix A Table 1. For an action to be                H. Paperwork Reduction Act
                                               covered by the RFA), any direct cost due                categorically excluded, DHS Directive                    Under the Paperwork Reduction Act
                                               to this rule will be relatively minor, and              023–01 Rev. 01 requires the action to                  of 1995 (PRA), Public Law 104–13, all
                                               these costs will only be borne by those                 satisfy each of the following three                    Departments are required to submit to
                                               who voluntarily choose to apply for                     conditions: (1) The entire action clearly              the Office of Management and Budget
                                               parole under this rule. While the                       fits within one or more of the                         (OMB), for review and approval, any
                                               applicant for parole may be the owner                   Categorical Exclusions; (2) the action is              reporting requirements inherent in a
                                               of a firm that could be considered small                not a piece of a larger action; and (3) no             rule. See Public Law 104–13, 109 Stat.
                                               within the definition of small entities                 extraordinary circumstances exist that                 163 (May 22, 1995). This final rule
                                               established by 5 U.S.C. 601(6), DHS                     create the potential for a significant                 involves a new information collection
                                               considers the applicants to be                          environmental effect. Dir. 023–01 Rev.                 and makes revisions to the existing
                                               individuals at the point in time they are               01 section V.B (1)–(3).                                information collections as follows:
                                               applying for parole, particularly since it                 DHS analyzed this action and does
                                               is the individual and not the entity that               not consider it to significantly affect the            Overview of Information Collection,
                                               files the application and it is the                     quality of the human environment. This                 Application for Entrepreneur Parole,
                                               individual whose parole must provide a                  rule provides criteria and procedures for              Form I–941
                                               significant public benefit under this                   applying the Secretary’s existing                        This final rule requires that an
                                               rule. Furthermore, even if firms do                     statutory parole authority to                          applicant requesting entrepreneur
                                               voluntarily decide to incur the                         entrepreneurs in a manner to assure                    parole complete an Application for
                                               compliance costs on behalf of the                       consistency in case-by-case                            Entrepreneur Parole, Form I–941, and is
                                               individual requesting consideration for                 adjudications. DHS has determined that                 considered a new information collection
                                               parole under this rule, the only                        this rule does not individually or                     under the PRA. USCIS did receive one
                                               compliance costs those businesses will                  cumulatively have a significant effect on              comment regarding the time burden of
                                               be permitted to incur will be the filing                the human environment because it fits                  this form and, upon review of the work
                                               costs for the applications. As indicated                within two categorical exclusions under                involved to review the form, gather
                                               previously, based on the comparison                     DHS Directive 023– 01 Rev. 01,                         necessary information to support the
                                               metric used, those costs are expected to                Appendix A, Table 1. Specifically, the                 submission, and the time required to
                                               be insignificant.                                       rule fits within Categorical Exclusion                 complete and submit the form, USCIS
                                                  Based on the evidence presented in                   number A3(a) for rules strictly of an                  has revised the estimated hour burden
                                               this RFA section and throughout this                    administrative or procedural nature and                per response to 4.7 hours.
                                               preamble, DHS certifies that this rule                  A3(d) for rules that interpret or amend                  a. Type of information collection:
                                               will not have a significant economic                    an existing regulation without changing                New information collection.
                                               impact on a substantial number of small                 its environmental effect.                                b. Abstract: This collection will be
                                               entities.                                                  This rule is not part of a larger action            used by individuals who file an
                                                                                                       and presents no extraordinary                          application for entrepreneur parole
                                                  99 The data utilized for the analysis are found in   circumstances creating the potential for               under INA section 212(d)(5)(A) (8 U.S.C.
                                               the SBO Table SB1200CSCB11, ‘‘Statistics for All        significant environmental effects. Fewer               1182(d)(5)(A)) and proposed new 8 CFR
                                               U.S. Firms by Year the Business Was Originally          than 3,000 individuals, an insignificant               212.19. Such individuals, other than
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                                               Established or Self-Employment Activity Begun by
                                               Industry, Gender, Ethnicity, Race, and Veteran
                                                                                                       number in the context of the population                those filing an application on the basis
                                               Status for the U.S.: 2012: 2012 Survey of Business      of the United States, are projected to                 of a material change, are subject to
                                               Owners: http://census.gov/library/publications/         receive parole through this program.                   biometric collection in connection with
                                               2012/econ/2012-sbo.html. The file location is:          Furthermore, any ventures will be                      the filing of the application.
                                               http://factfinder.census.gov/faces/tableservices/jsf/
                                               pages/productview.xhtml?pid=SBO_2012_
                                                                                                       governed by local, state and federal laws                c. Title of Form/Collection:
                                               00CSCB11&prodType=table. The average revenue            and regulations, including those                       Application for Entrepreneur Parole,
                                               figure is rounded from $162,293.                        protecting the human health and the                    Form I–941.

                                                                                                                                                                               Cuba AR_000063
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                                                 d. Agency form number, if any, and                      g. Hours per response: The estimated                   e. Affected public who will be asked
                                               the applicable component of the                         hour per response for Form I–131                       or required to respond: Business or
                                               Department of Homeland Security                         Supplement is 1.9 hours; the estimated                 other for-profit; Individuals or
                                               sponsoring the collection: Form I–941,                  hour burden per response for the                       households; State, local or Tribal
                                               U.S. Citizenship and Immigration                        biometric processing is 1.17 hours; the                Government.
                                               Services.                                               estimated hour burden per response for                   f. An estimate of the total annual
                                                 e. Affected public who will be asked                  the passport-style photographs is .5                   numbers of respondents: 78 million
                                               or required to respond: Businesses and                  hours.                                                 employers and 78 million individuals.
                                               other for profit; Not-for-profit                          h. Total Annual Reporting Burden:                    (The total number of responses will be
                                               Institutions.                                           The total estimated annual hour burden                 only 78 million responses. Each
                                                 f. An estimate of the total annual                    associated with this collection is                     response involves an employer and an
                                               numbers of respondents: 2,940.                          1,372,928 hours.                                       individual who is being hired.)
                                                 g. Hours per response: The estimated                                                                           g. Hours per response:
                                                                                                       Overview of Information Collection,
                                               hour per response for Form I–941 is 4.7                                                                          • Time Burden for Employees—20
                                                                                                       Employment Eligibility Verification,
                                               hours; the estimated hour burden per                                                                           minutes (.33 hours) total;
                                                                                                       Form I–9, OMB Control No. 1615–0047
                                               response for the biometric processing is                                                                         • Time Burden for Employers—10
                                               1.17 hours.                                                In accordance with new 8 CFR                        minutes (.17 hours) total;
                                                 h. Total Annual Reporting Burden:                     274a.2(b)(1)(v)(A)(5), DHS is revising                   • Time Burden for Recordkeeping—5
                                               The total estimated annual hour burden                  the Employment Eligibility Verification,               minutes (.08 hours) total
                                               associated with this collection is 17,258               Form I–9, Lists of Acceptable                            h. Total Annual Reporting Burden:
                                               hours.                                                  Documents, List A item 5 to replace                    Approximately 40,600,000 total annual
                                                                                                       ‘‘nonimmigrant alien’’ with                            burden hours.
                                               Overview of Information Collection,                     ‘‘individual,’’ to replace ‘‘alien’s
                                               Application for Travel Document Form                    nonimmigrant’’ with ‘‘individual,’’ and                Overview of Information Collection,
                                               I–131, OMB Control No. 1615–0013                        to add ‘‘or parole’’ after ‘‘status’’ in List          Application for Employment
                                                  DHS is revising this collection by                   A item 5.b.(2). With these changes the                 Authorization, Form I–765, OMB
                                               including spouses and children seeking                  acceptable List A document is described                Control No. 1615–0040
                                               parole on the basis of an entrepreneur                  as the following: For an individual                      DHS is making minor revisions to the
                                               parolee.                                                authorized to work for a specific                      form instructions to reflect changes
                                                  In addition to revising the form and                 employer because of his or her status or               made by this final rule that allow
                                               form instructions, DHS is revising the                  parole, a foreign passport and Form I–                 spouses of an entrepreneur parolee to
                                               estimate of total burden hours has                      94 (or Form I–94A) that has the same                   request employment authorization.
                                               increased due to the addition of this                   name as the passport and has an                          a. Type of information collection:
                                               new population of Application for                       endorsement by DHS indicating such                     Revised information collection.
                                               Travel Document, Form I–131, filers,                    employment-authorized status or parole,                  b. Abstract: This collection will be
                                               and the increase of burden hours                        as long as the period of endorsement has               used by individuals who file an
                                               associated with the collection of                       not yet expired and the employment is                  application for entrepreneur parole
                                               biometrics from these applicants.                       not in conflict with the individual’s                  under INA section 212(d)(5)(A) (8 U.S.C.
                                                  a. Type of information collection:                   employment-authorized status or parole.                1182(d)(5)(A)) and proposed new 8 CFR
                                               Revised information collection.                         DHS is also updating the Lists of                      212.19. Such individuals are subject to
                                                  b. Abstract: This collection will be                 Acceptable Documents, List C so that                   biometric collection in connection with
                                               used by dependents of individuals who                   the most current version of the                        the filing of the application.
                                               file an application for entrepreneur                    certification or report of birth issued by                This form was developed for
                                               parole under INA section 212(d)(5)(A) (8                the Department of State is acceptable for              individual aliens to request employment
                                               U.S.C. 1182(d)(5)(A)) and proposed new                  Form I–9.                                              authorization and evidence of that
                                               8 CFR 212.19. Such individuals are                         a. Type of information collection:                  employment authorization. The form is
                                               subject to biometric collection in                      Revised information collection.                        being amended to add a new class of
                                               connection with the filing of the                          b. Abstract: This form was developed                aliens eligible to apply for employment
                                               application.                                            to facilitate compliance with section                  authorization, specifically a spouse of
                                                  c. Title of Form/Collection:                         274A of the Immigration and                            an entrepreneur parolee described as
                                               Application for Travel Document, Form                   Nationality Act, which prohibits the                   eligible for employment authorization
                                               I–131.                                                  knowing employment of unauthorized                     under this rule. Supporting
                                                  d. Agency form number, if any, and                   aliens. This information collection is                 documentation demonstrating eligibility
                                               the applicable component of the                         necessary for employers, agricultural                  must be filed with the application. The
                                               Department of Homeland Security                         recruiters and referrers for a fee, and                form lists examples of relevant
                                               sponsoring the collection: Application                  state employment agencies to verify the                documentation.
                                               for Travel Document, Form I–131, U.S.                   identity and employment authorization                     c. Title of Form/Collection:
                                               Citizenship and Immigration Services.                   of individuals hired (or recruited or                  Application for Employment
                                                  e. Affected public who will be asked                 referred for a fee, if applicable) for                 Authorization, Form I–765.
                                               or required to respond: Individuals or                  employment in the United States.                          d. Agency form number, if any, and
                                               households.                                                c. Title of Form/Collection:                        the applicable component of the
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                                                  f. An estimate of the total annual                   Employment Eligibility Verification.                   Department of Homeland Security
                                               numbers of respondents: 594,324.                           d. Agency form number, if any, and                  sponsoring the collection: Form I–765,
                                                  The total number of respondents                      the applicable component of the                        U.S. Citizenship and Immigration
                                               includes the additional population of                   Department of Homeland Security                        Services.
                                               3,234 individuals as estimated                          sponsoring the collection: Form I–9,                      e. Affected public who will be asked
                                               previously in the analysis in Section                   U.S. Citizenship and Immigration                       or required to respond: Individuals or
                                               IV.C.                                                   Services.                                              households.

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                                                  f. An estimate of the total annual                      (KKK) Application for Entrepreneur                   purposes of paragraphs (a)(3) and (5) of
                                               numbers of respondents: 2,139,523.                       Parole (Form I–941). For filing an                     this section, an entity may be
                                                  This total represents the aggregate                   application for parole for entrepreneurs:              considered recently formed if it was
                                               estimate for this information collection,                $1200.                                                 created within the 5 years immediately
                                               to include the additional estimate of                    *    *     *     *     *                               preceding the receipt of the relevant
                                               2,940 respondents under this rule.                                                                              grant(s), award(s), or investment(s).
                                                  g. Hours per response: The estimated                  PART 212—DOCUMENTARY                                      (3) Qualified government award or
                                               hour per response for Form I–765 is 3.42                 REQUIREMENTS: NONIMMIGRANTS;                           grant means an award or grant for
                                               hours; the estimated hour burden per                     WAIVERS; ADMISSION OF CERTAIN                          economic development, research and
                                               response for biometric processing is                     INADMISSIBLE ALIENS; PAROLE                            development, or job creation (or other
                                               1.17 hours; the estimated hour burden                                                                           similar monetary award typically given
                                               per response for Form I–765 WS is .5                     ■ 3. The authority citation for part 212               to start-up entities) made by a federal,
                                               hours; the estimated hour burden per                     is revised to read as follows:                         state, or local government entity (not
                                               response for passport-style photographs                    Authority: 6 U.S.C. 111, 202(4) and 271; 8           including foreign government entities)
                                               is .5 hours.                                             U.S.C. 1101 and note, 1102, 1103, 1182 and             that regularly provides such awards or
                                                  h. Total Annual Reporting Burden:                     note, 1184, 1185 note (section 7209 of Pub.            grants to start-up entities. This
                                               The total estimated annual hour burden                   L. 108–458), 1187, 1223, 1225, 1226, 1227,             definition excludes any contractual
                                                                                                        1255, 1359; 8 CFR part 2.                              commitment for goods or services.
                                               associated with this collection is
                                               8,985,859 hours.                                           Section 212.1(q) also issued under section              (4) Qualified investment means an
                                                                                                        702, Pub. L. 110–229, 122 Stat. 754, 854.              investment made in good faith, and that
                                               Regulatory Amendments                                    ■ 4. Add § 212.19 to read as follows:                  is not an attempt to circumvent any
                                                 DHS adopted most of the proposed                                                                              limitations imposed on investments
                                               regulatory amendments without change.                    § 212.19    Parole for entrepreneurs.                  under this section, of lawfully derived
                                                                                                           (a) Definitions. For purposes of this               capital in a start-up entity that is a
                                               List of Subjects                                         section, the following definitions apply:              purchase from such entity of its equity,
                                               8 CFR Part 103                                              (1) Entrepreneur means an alien who                 convertible debt, or other security
                                                                                                        possesses a substantial ownership                      convertible into its equity commonly
                                                 Administrative practice and                            interest in a start-up entity and has a
                                               procedure, Authority delegations                                                                                used in financing transactions within
                                                                                                        central and active role in the operations              such entity’s industry. Such an
                                               (Government agencies), Freedom of                        of that entity, such that the alien is well-
                                               information, Immigration, Privacy,                                                                              investment shall not include an
                                                                                                        positioned, due to his or her knowledge,               investment, directly or indirectly, from
                                               Reporting and recordkeeping                              skills, or experience, to substantially                the entrepreneur; the parents, spouse,
                                               requirements.                                            assist the entity with the growth and                  brother, sister, son, or daughter of such
                                               8 CFR Part 212                                           success of its business. For purposes of               entrepreneur; or any corporation,
                                                                                                        this section, an alien may be considered               limited liability company, partnership,
                                                 Administrative practice and                            to possess a substantial ownership
                                               procedure, Aliens, Immigration,                                                                                 or other entity in which such
                                                                                                        interest if he or she possesses at least a             entrepreneur or the parents, spouse,
                                               Passports and visas, Reporting and                       10 percent ownership interest in the
                                               recordkeeping requirements.                                                                                     brother, sister, son, or daughter of such
                                                                                                        start-up entity at the time of                         entrepreneur directly or indirectly has
                                               8 CFR Part 274a                                          adjudication of the initial grant of parole            any ownership interest.
                                                  Administrative practice and                           and possesses at least a 5 percent                        (5) Qualified investor means an
                                               procedure, Aliens, Employment,                           ownership interest in the start-up entity              individual who is a U.S. citizen or
                                               Penalties, Reporting and recordkeeping                   at the time of adjudication of a                       lawful permanent resident of the United
                                               requirements.                                            subsequent period of re-parole. During                 States, or an organization that is located
                                                                                                        the period of initial parole, the                      in the United States and operates
                                                  Accordingly, DHS amends chapter I of                  entrepreneur may continue to reduce                    through a legal entity organized under
                                               title 8 of the Code of Federal                           his or her ownership interest in the                   the laws of the United States or any
                                               Regulations as follows:                                  start-up entity, but must, at all times                state, that is majority owned and
                                               PART 103—IMMIGRATION BENEFITS;                           during the period of initial parole,                   controlled, directly and indirectly, by
                                               BIOMETRIC REQUIREMENTS;                                  maintain at least a 5 percent ownership                U.S. citizens or lawful permanent
                                               AVAILABILITY OF RECORDS                                  interest in the entity. During the period              residents of the United States, provided
                                                                                                        of re-parole, the entrepreneur may                     such individual or organization
                                               ■ 1. The authority citation for part 103                 continue to reduce his or her ownership                regularly makes substantial investments
                                               continues to read as follows:                            interest in the start-up entity, but must,             in start-up entities that subsequently
                                                                                                        at all times during the period of parole,              exhibit substantial growth in terms of
                                                  Authority: 5 U.S.C. 301, 552, 552a; 8 U.S.C.
                                               1101, 1103, 1304, 1356, 1365b; 31 U.S.C.                 maintain an ownership interest in the                  revenue generation or job creation. The
                                               9701; Pub. L. 107–296, 116 Stat. 2135 (6                 entity.                                                term ‘‘qualified investor’’ shall not
                                               U.S.C. 1 et seq.); E.O. 12356, 47 FR 14874,                 (2) Start-up entity means a U.S.                    include an individual or organization
                                               15557, 3 CFR, 1982 Comp., p.166; 8 CFR part              business entity that was recently                      that has been permanently or
                                               2; Pub. L. 112–54.                                       formed, has lawfully done business                     temporarily enjoined from participating
                                               ■ 2. Section 103.7 is amended by adding
                                                                                                        during any period of operation since its               in the offer or sale of a security or in the
                                                                                                        date of formation, and has substantial                 provision of services as an investment
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                                               paragraph (b)(1)(i)(KKK) to read as
                                               follows:                                                 potential for rapid growth and job                     adviser, broker, dealer, municipal
                                                                                                        creation. An entity that is the basis for              securities dealer, government securities
                                               § 103.7   Fees.                                          a request for parole under this section                broker, government securities dealer,
                                               *       *     *       *      *                           may be considered recently formed if it                bank, transfer agent or credit rating
                                                   (b) * * *                                            was created within the 5 years                         agency, barred from association with
                                                   (1) * * *                                            immediately preceding the filing date of               any entity involved in the offer or sale
                                                   (i) * * *                                            the alien’s initial parole request. For                of securities or provision of such

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                                               services, or otherwise found to have                    concerning the entrepreneur or start-up                   (iii) Alternative criteria. An alien who
                                               participated in the offer or sale of                    entity in a legal or administrative                    satisfies the criteria in paragraph
                                               securities or provision of such services                proceeding brought by a government                     (b)(2)(ii)(A) of this section and partially
                                               in violation of law. For purposes of this               entity; any settlement, judgment, or                   meets one or both of the criteria in
                                               section, such an individual or                          other legal determination concerning                   paragraph (b)(2)(ii)(B) of this section
                                               organization may be considered a                        the entrepreneur or start-up entity in a               may alternatively meet the standard
                                               qualified investor if, during the                       legal proceeding brought by a private                  described in paragraph (b)(2)(i) of this
                                               preceding 5 years:                                      individual or organization other than                  section by providing other reliable and
                                                  (i) The individual or organization                   proceedings primarily involving claims                 compelling evidence of the start-up
                                               made investments in start-up entities in                for damages not exceeding 10 percent of                entity’s substantial potential for rapid
                                               exchange for equity, convertible debt or                the current assets of the entrepreneur or              growth and job creation.
                                               other security convertible into equity                  start-up entity; a sale or other                          (c) Additional periods of parole—(1)
                                               commonly used in financing                              disposition of all or substantially all of             Filing of re-parole request form. Prior to
                                               transactions within their respective                    the start-up entity’s assets; the                      the expiration of the initial period of
                                               industries comprising a total in such 5-                liquidation, dissolution or cessation of               parole, an entrepreneur parolee may
                                               year period of no less than $600,000;                   operations of the start-up entity; the                 request an additional period of parole
                                               and                                                     voluntary or involuntary filing of a                   based on the same start-up entity that
                                                  (ii) Subsequent to such investment by                bankruptcy petition by or against the                  formed the basis for his or her initial
                                               such individual or organization, at least               start-up entity; a significant change with             period of parole granted under this
                                               2 such entities each created at least 5                 respect to ownership and control of the                section. To request such parole, an
                                               qualified jobs or generated at least                    start-up entity; and a cessation of the                entrepreneur parolee must timely file
                                               $500,000 in revenue with average                        entrepreneur’s qualifying ownership                    the Application for Entrepreneur Parole
                                               annualized revenue growth of at least 20                interest in the start-up entity or the                 (Form I–941) with USCIS, with the
                                               percent.                                                entrepreneur’s central and active role in              required fees (including biometric
                                                  (6) Qualified job means full-time                    the operations of that entity.                         services fees), and supporting
                                               employment located in the United                                                                               documentation in accordance with the
                                                                                                          (b) Initial parole—(1) Filing of initial
                                               States that has been filled for at least 1                                                                     form instructions, demonstrating
                                                                                                       parole request form. An alien seeking an
                                               year by one or more qualifying                                                                                 eligibility as provided in paragraph
                                                                                                       initial grant of parole as an entrepreneur
                                               employees.                                                                                                     (c)(2) of this section.
                                                  (7) Qualifying employee means a U.S.                 of a start-up entity must file an
                                                                                                       Application for Entrepreneur Parole                       (2) Criteria for consideration—(i) In
                                               citizen, a lawful permanent resident, or                                                                       general. An alien may be considered for
                                               other immigrant lawfully authorized to                  (Form I–941) with USCIS, with the
                                                                                                       required fees (including biometric                     re-parole under this section if the alien
                                               be employed in the United States, who                                                                          demonstrates that a grant of parole will
                                               is not an entrepreneur of the relevant                  services fees), and supporting
                                                                                                       documentary evidence in accordance                     continue to provide a significant public
                                               start-up entity or the parent, spouse,                                                                         benefit to the United States based on his
                                               brother, sister, son, or daughter of such               with this section and the form
                                                                                                       instructions, demonstrating eligibility as             or her role as an entrepreneur of a start-
                                               an entrepreneur. This definition shall                                                                         up entity.
                                               not include independent contractors.                    provided in paragraph (b)(2) of this
                                                                                                       section.                                                  (ii) General criteria. An alien may
                                                  (8) Full-time employment means paid                                                                         meet the standard described in
                                               employment in a position that requires                     (2) Criteria for consideration—(i) In
                                                                                                       general. An alien may be considered for                paragraph (c)(2)(i) of this section by
                                               a minimum of 35 working hours per                                                                              providing a detailed description, along
                                               week. This definition does not include                  parole under this section if the alien
                                                                                                       demonstrates that a grant of parole will               with supporting evidence:
                                               combinations of part-time positions                                                                               (A) Demonstrating that the alien
                                               even if, when combined, such positions                  provide a significant public benefit to
                                                                                                                                                              continues to be an entrepreneur as
                                               meet the hourly requirement per week.                   the United States based on his or her
                                                                                                                                                              defined in paragraph (a)(1) of this
                                                  (9) U.S. business entity means any                   role as an entrepreneur of a start-up
                                                                                                                                                              section and that his or her entity
                                               corporation, limited liability company,                 entity.
                                                                                                                                                              continues to be a start-up entity as
                                               partnership, or other entity that is                       (ii) General criteria. An alien may
                                                                                                                                                              defined in paragraph (a)(2) of this
                                               organized under federal law or the laws                 meet the standard described in
                                                                                                                                                              section; and
                                               of any state, and that conducts business                paragraph (b)(2)(i) of this section by                    (B) Establishing that the alien’s entity
                                               in the United States, that is not an                    providing a detailed description, along                has:
                                               investment vehicle primarily engaged in                 with supporting evidence:                                 (1) Received at least $500,000 in
                                               the offer, purchase, sale or trading of                    (A) Demonstrating that the alien is an              qualifying investments, qualified
                                               securities, futures contracts, derivatives              entrepreneur as defined in paragraph                   government grants or awards, or a
                                               or similar instruments.                                 (a)(1) of this section and that his or her             combination of such funding, during the
                                                  (10) Material change means any                       entity is a start-up entity as defined in              initial parole period;
                                               change in facts that could reasonably                   paragraph (a)(2) of this section; and                     (2) Created at least 5 qualified jobs
                                               affect the outcome of the determination                    (B) Establishing that the alien’s entity            with the start-up entity during the
                                               whether the entrepreneur provides, or                   has:                                                   initial parole period; or
                                               continues to provide, a significant                        (1) Received, within 18 months                         (3) Reached at least $500,000 in
                                               public benefit to the United States. Such               immediately preceding the filing of an                 annual revenue in the United States and
                                               changes include, but are not limited to,                application for initial parole, a qualified            averaged 20 percent in annual revenue
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                                               the following: Any criminal charge,                     investment amount of at least $250,000                 growth during the initial parole period.
                                               conviction, plea of no contest, or other                from one or more qualified investors; or                  (iii) Alternative criteria. An alien who
                                               judicial determination in a criminal case                  (2) Received, within 18 months                      satisfies the criteria in paragraph
                                               concerning the entrepreneur or start-up                 immediately preceding the filing of an                 (c)(2)(ii)(A) of this section and partially
                                               entity; any complaint, settlement,                      application for initial parole, an amount              meets one or more of the criteria in
                                               judgment, or other judicial or                          of at least $100,000 through one or more               paragraph (c)(2)(ii)(B) of this section
                                               administrative determination                            qualified government awards or grants.                 may alternatively meet the standard

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                                               described in paragraph (c)(2)(i) of this                re-parole may be required to submit                    reasonable conditions in its sole
                                               section by providing other reliable and                 biometric information.                                 discretion with respect to any alien
                                               compelling evidence of the start-up                       (f) Limitations. No more than three                  approved for parole under this section,
                                               entity’s substantial potential for rapid                entrepreneurs may be granted parole                    and it may request verification of the
                                               growth and job creation.                                under this section based on the same                   parolee’s compliance with any such
                                                  (d) Discretionary authority; decision;               start-up entity. An alien shall not                    condition at any time. Violation of any
                                               appeals and motions to reopen—(1)                       receive more than one initial grant of                 condition of parole may lead to
                                               Discretionary authority. DHS may grant                  entrepreneur parole or more than one                   termination of the parole in accordance
                                               parole under this section in its sole                   additional grant of entrepreneur re-                   with paragraph (k) of this section or
                                               discretion on a case-by-case basis if the               parole based on the same start-up entity,              denial of re-parole.
                                               Department determines, based on the                     for a maximum period of parole of five                   (j) Reporting of material changes. An
                                               totality of the evidence, that an                       years.                                                 alien granted parole under this section
                                               applicant’s presence in the United                        (g) Employment authorization. An                     must immediately report any material
                                               States will provide a significant public                entrepreneur who is paroled into the                   change(s) to USCIS. If the entrepreneur
                                               benefit and that he or she otherwise                    United States pursuant to this section is              will continue to be employed by the
                                               merits a favorable exercise of discretion.              authorized for employment with the                     start-up entity and maintain a qualifying
                                               In determining whether an alien’s                       start-up entity incident to the conditions             ownership interest in the start-up entity,
                                               presence in the United States will                      of his or her parole.                                  the entrepreneur must submit a form
                                               provide a significant public benefit and                  (h) Spouse and children. (1) The                     prescribed by USCIS, with any
                                               whether the alien warrants a favorable                  entrepreneur’s spouse and children who                 applicable fee (not including any
                                                                                                       are seeking parole as derivatives of such
                                               exercise of discretion, USCIS will                                                                             biometric fees), in accordance with the
                                                                                                       entrepreneur must individually file an
                                               consider and weigh all evidence,                                                                               form instructions to notify USCIS of the
                                                                                                       Application for Travel Document (Form
                                               including any derogatory evidence or                                                                           material change(s). The entrepreneur
                                                                                                       I–131). Such application must also
                                               information, such as but not limited to,                                                                       parolee must immediately notify USCIS
                                                                                                       include evidence that the derivative has
                                               evidence of criminal activity or national                                                                      in writing if he or she will no longer be
                                                                                                       a qualifying relationship to the
                                               security concerns.                                                                                             employed by the start-up entity or
                                                                                                       entrepreneur and otherwise merits a
                                                  (2) Initial parole. DHS may grant an                                                                        ceases to possess a qualifying ownership
                                                                                                       grant of parole in the exercise of
                                               initial period of parole based on the                                                                          stake in the start-up entity.
                                                                                                       discretion. A biometric services fee is
                                               start-up entity listed in the request for               required to be filed with the application.                (k) Termination of parole—(1) In
                                               parole for a period of up to 30 months                  Such spouse or child will be required to               general. DHS, in its discretion, may
                                               from the date the individual is initially               appear for collection of biometrics in                 terminate parole granted under this
                                               paroled into the United States. Approval                accordance with the form instructions                  section at any time and without prior
                                               by USCIS of such a request must be                      or upon request.                                       notice or opportunity to respond if it
                                               obtained before the alien may appear at                   (2) The spouse and children of an                    determines that the alien’s continued
                                               a port of entry to be granted parole, in                entrepreneur granted parole under this                 parole in the United States no longer
                                               lieu of admission.                                      section may be granted parole under                    provides a significant public benefit.
                                                  (3) Re-parole. DHS may re-parole an                  this section for no longer than the                    Alternatively, DHS, in its discretion,
                                               entrepreneur for one additional period                  period of parole granted to such                       may provide the alien notice and an
                                               of up to 30 months from the date of the                 entrepreneur.                                          opportunity to respond prior to
                                               expiration of the initial parole period. If               (3) The spouse of the entrepreneur                   terminating the alien’s parole under this
                                               the entrepreneur is in the United States                parolee, after being paroled into the                  section.
                                               at the time that USCIS approves the                     United States, may be eligible for                        (2) Automatic termination. Parole
                                               request for re-parole, such approval                    employment authorization on the basis                  granted under this section will be
                                               shall be considered a grant of re-parole.               of parole under this section. To request               automatically terminated without notice
                                               If the alien is outside the United States               employment authorization, an eligible                  upon the expiration of the time for
                                               at the time that USCIS approves the                     spouse paroled into the United States                  which parole was authorized, unless the
                                               request for re-parole, the alien must                   must file an Application for                           alien timely files a non-frivolous
                                               appear at a port of entry to be granted                 Employment Authorization (Form I–                      application for re-parole. Parole granted
                                               parole, in lieu of admission.                           765), in accordance with 8 CFR 274a.13                 under this section may be automatically
                                                  (4) Appeals and motions to reopen.                   and form instructions. An Application                  terminated when USCIS receives
                                               There is no appeal from a denial of                     for Employment Authorization must be                   written notice from the entrepreneur
                                               parole under this section. USCIS will                   accompanied by documentary evidence                    parolee that he or she will no longer be
                                               not consider a motion to reopen or                      establishing eligibility, including                    employed by the start-up entity or
                                               reconsider a denial of parole under this                evidence of the spousal relationship.                  ceases to possess a qualifying ownership
                                               section. On its own motion, USCIS may                     (4) Notwithstanding 8 CFR                            stake in the start-up entity in
                                               reopen or reconsider a decision to deny                 274a.12(c)(11), a child of the                         accordance with paragraph (j) of this
                                               the Application for Entrepreneur Parole                 entrepreneur parolee may not be                        section. Additionally, parole of the
                                               (Form I–941), in accordance with 8 CFR                  authorized for and may not accept                      spouse or child of the entrepreneur will
                                               103.5(a)(5).                                            employment on the basis of parole                      be automatically terminated without
                                                  (e) Payment of biometric services fee                under this section.                                    notice if the parole of the entrepreneur
                                               and collection of biometric information.                  (i) Conditions on parole. As a                       has been terminated. If parole is
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                                               An alien seeking parole or re-parole                    condition of parole under this section,                terminated, any employment
                                               under this section will be required to                  a parolee must maintain household                      authorization based on that parole is
                                               pay the biometric services fee as                       income that is greater than 400 percent                automatically revoked.
                                               prescribed by 8 CFR 103.7(b)(1)(i)(C).                  of the federal poverty line for his or her                (3) Termination on notice. USCIS may
                                               An alien seeking an initial grant of                    household size as defined by the                       terminate on notice or provide the
                                               parole will be required to submit                       Department of Health and Human                         entrepreneur or his or her spouse or
                                               biometric information. An alien seeking                 Services. USCIS may impose other such                  children, as applicable, written notice of

                                                                                                                                                                               Cuba AR_000067
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                                                                 Federal Register / Vol. 82, No. 10 / Tuesday, January 17, 2017 / Rules and Regulations                                                5289

                                               its intent to terminate parole if USCIS                   Authority: 8 U.S.C. 1101, 1103, 1324a; 48            status or parole. The following classes
                                               believes that:                                          U.S.C. 1806; 8 CFR part 2; Pub. L. 101–410,            of aliens are authorized to be employed
                                                  (i) The facts or information contained               104 Stat. 890, as amended by Pub. L. 114–              in the United States by the specific
                                               in the request for parole were not true                 74, 129 Stat. 599.
                                                                                                                                                              employer and subject to any restrictions
                                               and accurate;                                           ■ 6. Section 274a.2 is amended by:
                                                                                                                                                              described in the section(s) of this
                                                  (ii) The alien failed to timely file or              ■ a. Revising paragraphs (b)(1)(v)(A)(5)
                                                                                                                                                              chapter indicated as a condition of their
                                               otherwise comply with the material                      and (b)(1)(v)(C)(2);
                                                                                                       ■ b. Removing paragraph (b)(1)(v)(C)(3);
                                                                                                                                                              parole or of their admission in, or
                                               change reporting requirements in this
                                                                                                       and                                                    subsequent change to, the designated
                                               section;
                                                  (iii) The entrepreneur parolee is no                 ■ c. Redesignating paragraphs                          nonimmigrant classification. An alien in
                                               longer employed in a central and active                 (b)(1)(v)(C)(4) through (8) as paragraphs              one of these classes is not issued an
                                               role by the start-up entity or ceases to                (b)(1)(v)(C)(3) through (7).                           employment authorization document by
                                               possess a qualifying ownership stake in                   The revisions read as follows:                       DHS:
                                               the start-up entity;                                    § 274a.2 Verification of identity and                  *      *    *     *     *
                                                  (iv) The alien otherwise violated the                employment authorization.                                 (37) An alien paroled into the United
                                               terms and conditions of parole; or
                                                  (v) Parole was erroneously granted.                  *      *     *     *     *                             States as an entrepreneur pursuant to 8
                                                  (4) Notice and decision. A notice of                    (b) * * *                                           CFR 212.19 for the period of authorized
                                               intent to terminate issued under this                      (1) * * *                                           parole. An entrepreneur who has timely
                                               paragraph should generally identify the                    (v) * * *                                           filed a non-frivolous application
                                               grounds for termination of the parole                      (A) * * *                                           requesting re-parole with respect to the
                                                                                                          (5) In the case of an individual who                same start-up entity in accordance with
                                               and provide a period of up to 30 days
                                                                                                       is employment-authorized incident to                   8 CFR 212.19 prior to the expiration of
                                               for the alien’s written rebuttal. The alien
                                                                                                       status or parole with a specific
                                               may submit additional evidence in                                                                              his or her parole, but whose authorized
                                                                                                       employer, a foreign passport with an
                                               support of his or her rebuttal, when                                                                           parole period expires during the
                                                                                                       Arrival/Departure Record, Form I–94 (as
                                               applicable, and USCIS will consider all                                                                        pendency of such application, is
                                               relevant evidence presented in deciding                 defined in 8 CFR 1.4) or Form I–94A,
                                                                                                       bearing the same name as the passport                  authorized to continue employment
                                               whether to terminate the alien’s parole.                                                                       with the same start-up entity for a
                                               Failure to timely respond to a notice of                and containing an endorsement by DHS
                                                                                                       indicating such employment-authorized                  period not to exceed 240 days beginning
                                               intent to terminate will result in                                                                             on the date of expiration of parole. Such
                                               termination of the parole. When a                       status or parole, as long as the period of
                                                                                                       endorsement has not yet expired and                    authorization shall be subject to any
                                               charging document is served on the                                                                             conditions and limitations on such
                                               alien, the charging document will                       the employment is not in conflict with
                                                                                                       the individual’s employment-authorized                 expired parole. If DHS adjudicates the
                                               constitute written notice of termination
                                                                                                       status or parole;                                      application prior to the expiration of
                                               of parole (if parole has not already been
                                               terminated), unless otherwise specified.                *      *     *     *     *                             this 240-day period and denies the
                                               Any further immigration and removal                        (C) * * *                                           application for re-parole, the
                                               actions will be conducted in accordance                    (2) Certification or report of birth                employment authorization under this
                                               with the Act and this chapter. The                      issued by the Department of State,                     paragraph shall automatically terminate
                                               decision to terminate parole may not be                 including Forms FS–545, DS–1350, FS–                   upon notification to the alien of the
                                               appealed. USCIS will not consider a                     240;                                                   denial decision.
                                               motion to reopen or reconsider a                        *      *     *     *     *                                (c) * * *
                                               decision to terminate parole under this                 ■ 7. Section 274a.12 is amended by:
                                                                                                                                                                 (11) Except as provided in paragraphs
                                               section. On its own motion, USCIS may                   ■ a. Revising paragraph (b) introductory
                                               reopen or reconsider a decision to                                                                             (b)(37) and (c)(34) of this section and
                                                                                                       text;
                                               terminate.                                              ■ b. Removing the word ‘‘or’’ at the end
                                                                                                                                                              § 212.19(h)(4) of this chapter, an alien
                                                  (l) Increase of investment and revenue               of paragraph (b)(24);                                  paroled into the United States
                                               amount requirements. The investment                     ■ c. Removing the period at the end of                 temporarily for urgent humanitarian
                                               and revenue amounts in this section                     paragraph (b)(25) and adding ‘‘; or’’ in               reasons or significant public benefit
                                               will be automatically adjusted every 3                  its place;                                             pursuant to section 212(d)(5) of the Act.
                                               years by the Consumer Price Index and                   ■ d. Adding and reserving paragraphs                   *      *    *     *     *
                                               posted on the USCIS Web site at                         (b)(26) through (36);                                     (34) A spouse of an entrepreneur
                                               www.uscis.gov. Investment and revenue                   ■ e. Adding paragraph (b)(37);
                                               amounts adjusted under this paragraph                   ■ f. Revising paragraph (c)(11); and
                                                                                                                                                              parolee described as eligible for
                                               will apply to all applications filed on or              ■ g. Adding paragraph (c)(34).                         employment authorization in
                                               after the beginning of the fiscal year for                 The revisions and additions read as                 § 212.19(h)(3) of this chapter.
                                               which the adjustment is made.                           follows:                                               *      *    *     *     *

                                               PART 274a—CONTROL OF                                    § 274a.12 Classes of aliens authorized to              Jeh Charles Johnson,
                                                                                                       accept employment.                                     Secretary of Homeland Security.
                                               EMPLOYMENT OF ALIENS
                                                                                                       *     *    *     *    *                                [FR Doc. 2017–00481 Filed 1–13–17; 8:45 am]
                                               ■ 5. The authority citation for part 274a                 (b) Aliens authorized for employment
                                                                                                                                                              BILLING CODE 9111–97–P
                                               continues to read as follows:                           with a specific employer incident to
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